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EXHIBIT A

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K.JC Doc 1-

54010-

Case 10

 

 

§§ §_

mmmo.hnvmm (_O w¥<._ mu>>O.__

own ibm 01

 

m:.num Dn_

Z.E_. aia z §§

 

 

 

 

       

b.§m __§sm
assn m Ez

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

»..§¢BS _.z zw¢omo: §§ § iss § § mm 555

o§.§$ .__ 2955 a 253 §§ 55 §§ 551

2245; $._ mew:uz§ mm ¢§|: u._£n_ 2 _.__e%_ou §a§¢.

§.m.~§m ss zz:m:< um 2.< §§ §§ _.a&. c»§__.n_ gang 5 E §E=E m _.3 B§__..“_ =2_5.

m$_.§$ _: z$_uz§m_m 5 =zu?s_ § 553 n sun

2 :..S§ »_ ruo_._.z< § »_B._E_ z Ezn __£ .__ 5§§._ 35 §e£ §§

~SQS~ _~ E._ mmo.._:._<m H §§ m § 2: 23 § § a E_._m _»=_3 § §u ._=__m .ES._

~S...¢S~ _~ ns mmc::._<m .m §§ w § e= esm § § _._ §§ §EE §_< soo E=_m .EB._

:2._~.§ § zo._.z<u 5 __ z SN § ums?o#mm< u§_m uranium

BE.ESQ .= om<o_:o B.mm 5 §§ z SN_ ..Eu§u Q"z

S...I 53 .__ oo<o_zu >< §§ z ~S. man em mm-e_~m §§ 2253 s_ E=_o m 5._ 5 ._. 4 ._§._,_
$@E l__ ou<u_:u §§ E£u_s 33 e_ §§ § £=.2_._.3.._ 53 §§ dE...l_,_

§ZS$ .__ ¥ao»wnoo>., _..E¢ 233 §§ ¥Su m =Ew

~=NIE § n _,_ §zuo:.“_ 6 55 §EEW _: ~__0==§_ h_ §§

m~mn...;..m __.s zo»w._n_%_ 2a 33 Q.< amoco _s 59 §§ l_ _..§e <5 ;: :N= sep »__“82.§ __. __B_uz l_ san
$m~.$:: § jmz.nzm 2a Ea.a> tm i¢__§> _,» 2

 

 

hn_ ..E._ _._u._wz umwa

 

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NB§§@ .__ mun__x §§ »>< §§u l. w EE. §32§ §§
~»...388 .__ mun_m §§ »><EY.Q w m_ if 2%“§$¢ §§
mmE.BSw .__ oo<u_.o 26 §§
mnmm.mm~mm ~< w._¢ow._._.o" w 5 viii van 232
§§ l__ Emmom mw>m 22 §§ mB_ E.~§ _ <.: _
m!n.B:.m ___s :<w_._<§ 225 su> n §
§§EB <n_ z_so»zm._._< 5 §§ z 2
3va :E __,z w...__>u_z$_um: § §§ 3 =E ~_. _..H__,_ _, 55
55¢~3__ _2 ma_%.m v:m § §§ §§ _E
_En._~w~m <u §§ a §§ § =2»_?¢ »._»_§E»m
E$mnm§ 40 Eo_zm_E 5 SEQ. 2 §m.£ _:~5_¢
S¥.RQR E. zo.E:cr 25 9_§.33: § Y_Ez o_soz §§
§m.~..;¢~ oz zammr.,wm _im &£m,.>l> hon QEE~: E._E §§
..B~.E~B ¢o m.:_... >._zm>mm § _EE.“_ z 8 n.uo =»Bt_.§
NMS.SS@ 1__ $:mzz§ 23 3_..§.:, $_ usage >_:_.Eh_
RE.SWNM d onz<._mo 5 umzam_.nm_.._ :E §§ E_a_. EE._.
§ _.@~Sm J_ zm_>zm._o 5 egva 33 5_.__. =QE._.=. w.=_:.m _Wmo a 355 fe . .EEm E.»_._.
_$~.m=~£ § Q<._._<n 5 §,_Eo.sn § §5_$ m =BE§
;S.»:B =s zomE<: s£§u §§ _am__u§ m 555
m-n.m~§ .__ .Em:_._:._m §§ 2 c §
EB._BB J_ ou<u_:u 2 2a =&_B_s_ z § §a§< >e§: _=~n_ m.z §:: 5 h . §§ m,.a: _=E
E~§$E _.z auo__smwo_z § imisz § _E.§u_£n m EB_B 1236 z »mm=.nn
§ _.2_ :m <o czmn<m§ BN 3m §m 358 § own 3%3$ %E.,.u
Nmmn.~_§m <o :u<mm wzo._ 3...:& §m §an m 32
mh¢m$; 5 502me ._._ 853 05 EE m._s_._ :._mE._ m___~_£n q a_ _~r EEQE E§: 5 F
QNQN.E=B _.z m._.___._ Eorw § v E §o 223 3
zoning <o mm._mwz< mo._ in .SE? m :. _._S.o u_=_> §§
._.:».P.Sm <_s ozo:nmm »z 2< §§ nga __B =. 355 _._ 323 ._. § w BEM_.
»33 5 <a<z_: <._ $::o E_u_m.am :~2 .2£. 2350 ._ »_E_..B 555 5 . E%au .H x===£.
n$~.$$m <o zomzm¢§ =._ §__iz 93 .B=. z=£.a._ 595 n :=§E._ ___.o_. B._mu.. § z m__§§._ ~_=,E_|> 3=3=5 §§
mmanme K._. m<l_.._<n_ 5 §vaus_ 250 v _Nm ._»» 5on $_5> E_
SB.NS_ >z v_mo> _smz 3 §§ _B.;o umw _u._» o_oG_:am §§m EE=._ Noa§ F 5 :. iam .;EE
»~»~._ 53 <u mm._moz< mo._ 3 2§_€_ §§ __. m§£=< Eeur
§3~§ 5 §§ 352 5 sic S_Ew m»..~ §S= 5 E.E. rif _§.Q._ ~z ... o._£_om z 123 ~z __u_§._ o ._2_£
SE.BSN ns_ m._._.=,mmzx<m w$ § on_ __o_§§. 520an e£_._s
mavo.ogow Ds_ mjsmmzmc_m now xom Om govtn.s._. :Qu:z£. :o_m
~mow.$m_: ..,z w._<nmm.....om 231 misuse mt §§ EE:
mnn§m~m 40 <mm_z E.moo a 3__.6 32 brim z .E>_
RF¢ _EB <o mmdoz< mo._ ._._ geaqu 32
GE.»:B >z m<om_> m<._ 55 &=Ew gm BE . .
SR.H§ ou nz<._m>o._ 5 cars in use 2a2
zam. §§ <> zm»mmxuz=s 5 =_3_ z m EE §~SBW__ __, u|._€ “_ §§ Nw__m~.__o 5 :. m k 355 _.. usm m bar
924§@ .__ ou<o_:u !_E,< EE__E § 92 §§m _. §.._
§§ __,z xmo> §uz .~Em§§> mm 8 .w=._. . 5 05
Rs....,.$mn d 25um “_.__..w E_m 535 €cz run _B_;. _ua~: s_ .Em: n§_ m_._ §
§ xu~_.sam ¢mn

 

thTmN_w._.o 24 mDv_.OI.Gr

  

 

¢no»¢mwmom ..= OO¢O_IU

u>< :mE_m`_. m comm

 

 

 

 

 

 

   

 

 

  

 

w:¢.ncnm._. M.o_ m._J_>m.E.w><w _.n_ mv_mO ¢>_u._s._, §

hmm_..mmom~ fm m._.Ouz>>> u>< .Smao_.$a:.

on H.:.._....nh K._. Z_._.wD¢ oE. n==w am nom>w._ cch

m_. _w.noh~h md m._l__>m._l_.m>¢.n_ ..n_ 330 ozu>>._. nNNN

vwmm.o_.w_.w DE mz_us_c.._d.m um coo>_s_:m._ anv :_.£m_._:U
333on co mooz<: z¢m mv..<._ §§ §§ _n:.

 

 

 

 

  

 

amoco l= <v_pNZZS> Now _m¢ ~mmaw me :h E.:._. >um __a:C l_ ?_m__$ nmm_._.N_..___mo n: .._.
mmno.nmonw l__ <v_._.mzz§> NQN 54 .iu:M x¢O :h

mamm.m“mom .= m>OmO mmmz>>on_ gm .u.wnu:> uNmo

h_n_ noa.$:_ unmh ~m_.:._. m=§._ u__mom um hm. _. m3 »._.

 

ma o immune K._. ZD._.W.SOI

 

th_..vah_.._ _.Z m_d._ DI OI

 

...a _m.Nmoow l__ zDDEmI._.EOZ

 

u:m._ m utno,._£w _.nmN

of xoguumm mmq

   

 

crmU .E_Eun_ _.m__no`hc m_._. »._

 

 

mmau.nmnom l__ §EZZ_>>

NoN ~mm_

U§><xwo sr

 

 

nmoom l__ <.x._.mZZ__.S

mem E.¢_

exam me _. r.»

~v.:._._. >um dmn:o o._on_

nmm :NEmn m3 ._._

 

mu._. _..hmvam l__ m._l=I >¢D¥U_I

 

t:uu _.=um E=om reg

 

 

  

 

womw.w_.._o_g K._. ZO._.mDDI nonN uaw gm 524 FNoF
mu._._..hnvom .__ mj_I >EO¥Q_I E=eu Smn £:um wnNm
vwag _.E>mu._ 325

  

 

umwa >Z m._d.nm§m

of ._o_mu£u._on_ nw_.

  

 

 

 

w F_.mm N< zDWUD._.

com u¢.=ma omc_.=¢w m onto

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_EB__._¢._. ignqu E=z u£.

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>u_m_€_:m._. gom=._§ous_ £:z

 

 

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NQE_ENM d m=.m_._m 5 255 5 Rm~ .E._.. §§ m 2.~._=5: 333 .__._ 5 235 m o=s..%:
m §§ § __,_z m:omm:o:m._¢ nz § 322_5 32 §§ l_ viii
55 ¢o <z_>uu S.E¢u § §§ m:=~ 552 n 2255
§.Wm_§ .__ o._m_mmmmn _sw:|.=. ss 52 .u&. §§ <E§n .._. §§ .” 535 5an 2 b §§ <ESB §§ ._ 228
33.32 _._z mm <._.z<m sss § NE §§ 20 § §§ w .s=m
552 >z ;._sz_>>n._<m 535 § v 25 man =»_Ez §§
md~.§$ 1 u §:_m>§mn__ 5 sm mm ix z »E__
ER.¢__S.D. .= oo<u=._u 5 R<_ § _._m_u_§_m z 23 sees § B_S_.
S.N.m@m: >z mmm:noo_s § § _a 335 nom .§_=> 352
m:.m.»:mm z_z m._.__>mmo~._ 5 .£Eo Nx: ~»_Eos§ 5 E,_mem
m~NISS _z zm§<>__ si _aee.,. ma E..r =. E._=s _. Eg__>_. §§ ..32_§ s=,§
582 d ménzwns<.. z 32 ._.___._ 525 52 gm §§ §§ 5 m S.Ea>
_E.E§m ,__ ow<uiu 52 § § __§§_m z m3 %__s ._3:£
SB.§B <u o.m_h_mmmv?.m rs §§ now §§ §
~B~.=§m 5_ noo>>:w_: _£..s 325 _:23._ § v¥.=.m H¢: u.¢._
§§ <o §_._mma._$_r »>.5 §§ 52 =..v__s _im_az
335-»~ oz mbo._m<:u 5 _E_Eu 23 __ §§ 5 E_=n_§m§ _._ Es. 56
m~D.:__§ § amou_zw><: uzq §§Em._ n :. N d w 355 3th __,.__Wi§ »=»=3§ m_|vmavu 52
298 .5 >¢:mms__m § 25 Sa§mw z
mg 15 § 3 oz_m<z z<m aaa ,_§ 32 v_u_§_¢m o .zl%__¥w
:~v.-o$ .__ uouzm._u 24 §§ 92 mem m =E<
354wa l__ zoz¢m> .E § 2sz ms __u:£. o z
mmm~.§$ .__ mwz~_:w ¢>< _=_~5. 55 au m 2_._5 538 u__»_»m
§Q.NEB 52 zomzo<w B$ gm § ;E.§_$m guam
ES.N.=,S co memo mo._ 5 52 _B B~" §§ m 322
BNAN: >z mmo:zmv_ 24 _.§z_w 5 haw _ 320
QB..S§ .__ oo<u_ro o>< 225 z 83 N_E_=§m o §§

 

 

 

 

 

 

 

 

 

 
 

  

          

 

 

 

 

m§_.omv_.m <U mx<D Z<s_mm:w o>< _mE_>m mva ..n.:._. o_nmup>dm =u_ o._ux u_.EmmnM 4 :nm$_uv_ mix hm__mot.c ma _._. nmio._vz uccmmo.m camm.u¥ mir
mom 5 40 DDO>__>._._O: Z En,z\m.v_ ._. usi

Emn.om:um .__ v_¢c.m mmam._m_z 5=0._. Z ma _.F E_._ § uni

m :.N.m_.mom ..__ m>OxO mmwz__$On_ u>< ov_¢mm..gv. om¢n ._o Smwoz Iucm_“_

INE >z v_.mO> ___,>mz .§_u¢>> bu_o._. n_. _m x§€ma~m umw monom_.c&:< n< _.G.“_: 34 5a 00 ~w::. , m =o=us_ D_u 00 d 2d

huv~.vo:m <U I<zz¢>¢w o>< co~wcuv._am. __._. mario m _P.wu

h._.§.moc=m ..__ w`SDn_<ms_ m.Z_._¢_O¢_ 5 E_Ex ann _vnEumEn_ w _u_=ma

 

 

 

 

 

 

emma _t.|F$ E._._uE

 

 

55 ._“_ umw m._.zoz§é sen »=3§__“_ me e_ §S§.._ < EE=. 25
N=~I~..E 2 m_._v_ or ar mg S§ESE h §§ E§m =>._ §§ §§ 5 5 5 Emz§ 5 352
.~¢ZSE <o §m.§.§< u>< _a§_¥ _s m § _E=£. E_.?.
S.E.NSE >z oz$w_ zm.EHm §< vig_s N_: 5... =, mgms§ .=E=Nm §

 

 

 

 

zEB__.._m »_._&=m §Eun deem

 

 

 

 

 

 

 

 

 

 

 

m¢m_w.mm._hm du z¢<n_ Mm._.Z_>>

»..nwnm l_m ru<mm zD._.Z>Om Z._n_ Zo_> .=uumc._u whom ~RE¢ uo=. NmNn_N_. m_._ »._.
¢QN _ uaw On_ »E_m::o_wcow wausau Hms_
von v xam on_ _!_N§Bm=m.._ ow»»._ u==<
nan-m room gm m.,?_n_¢mn_._d\_ ._.. ~m 52 .Sw ann .€.:l wv:o¢
3__. EN._ 20 mz_m<:._.<o ._. cadc now.Em w §§
5 _ms=s_s e_~.. m§ 5» ._. 535 §m =...HG a 333

 

 

aaa l_ z §§ ._. §§ _._ §§

 

 

 

 

 

 

 

 

 

NaN_.~._.mmnm ¢.D m._.__>mm._.w_on_ n>tn_ v:m_:m=._ 552 one ._m:._P w_nnoo>u¢ m m._m mm~§.?_n nD .
won F»m_.._muw ..__ §<n_ Zwmm Umm_>m a um wm __5 nunn mmm Eom._m ~R.__F _O :uum.n_ou.u :.
m_.omv _E v_mmzu m._._l_.<m um m=h. u:Bw occur eu:._._. 5 zE_mO m _._on_._om mm`no_._. v 53 C. 1530 < m.=..£om
§§ rohm Z._. IUO_._.Z< vw_ uoEmm nm: “o.E. »v>u_m_ x gear u>o_U 0 o:u::< mm`oo_.mo m3 _P _w z u_EuI
m _nm.nmumh K». OZ<._n_ `_n_ mno!m uu~m=>_ ma¢m ¢o.mnumu 15 E_ P_m=ma:.mo
n_.hn._.umom <U.mm_.C._I=> v>_m _F_u!vm m»mnr

 

 

 

 

.O wu_mmo ummv_.

 

m _u:n_ § doing 4 z cu.:m>>

 

canon <w (.Zm>Em

 

5~ 55 nw 5 §§ _...._ 23

i$v...v>> vo_=¢

<._)_ mn__mo__ha ~n..c._. uHamuo>_oy_ ..._. mm_u_._n_ _2 ££.omn_ m§._.“_ E cotm>>

 

 

 

.E.E§ N<.Bm>> >._._u znw
2~355 mo >.=u zou§o 5 .._me§_o m:. EEz z 55
HSENH az E.o._zs._o 5 535 N; 53 san H§
2.$.3§ z_ w_._om<z<_nlzld_ 5 28 Eg_s> own §§ _. 2593
2 _SSB .__ §§:< 5 §§_i t §§ §§ £._ §§

 

 

maww.Nco...h K._. ZO._.mDOI

comm u“..._w gm 322 _.No_.

  

§§ sam mm 5 scm

5 555 5 _E=<

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mm _n._wmmw <> ZO._.a_z<I

n_.._ 560an ._H mUn_E ¥K<n_ ._o~moru w o._: m=um_v_ n_ xomz

_w:.on _.Nn <E wwn__zm§ NN~m< _n_ u_m.__._vm nn =om EnEmm

mnmm\whmvn am QEO¥OZ *m>> _u.EmI NnnN ¢B.:h ~U:u__$._r m£__us_ wmaan ab ._._. =x._v>> ._. w£»m_z
;n_._.nmom l__ OO<U_IG :m__mmO 2 ewww mu:m=I ( mR._

homm~:oom 5 mNE< hn_ co~=_.=aI NmNN _.E=_m >> :m.:m

mn_._T;S.m ._.3 mUmmev ._.m move v_"_".m On_ ._wm._ua£_gw Emu__._S

woNN.wo_.wN f> Z<m._ U_a ._n_ w~o:m._ w¢n_ =m._. ¢_. Emuum w cowan u._muom m >£oEF

` m_.meNoom .__ :>m_>zm.._mu 5 B£mm hm: _.-.z€_mm a cannon

wm Fm.m_..nmw ._< E<IOZ_E.E_m mmwm w nom On_ _._Emw~_ :Emv_

Nna?mmvmo <_z EWHZMU ZO._.>>mZ mmwomm xnm Dn_ umwa :mvuo_.

o>< ov__»u%no;u 32 Eo=nm.ogoz NHEon_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~:...R§_ _,z zoE:<: 5 mo§ 558 2 =§_H_, 55
B:¢E c >z m._._$uz_s.~_& 325 iam w E.=E.<_ ..sa._@w
»BYBH_B .__ wz_._mm:_s 25 .3.=5 gm § =.§Sw 324 §Su E=s
$n~,m..~$ <o <zw§..._u B< 2253 §§ 535 o o_=_m
$_w.§f xh Ezz:m BN m o 53 E._=z~,_m u §§
335 52 §oa._<_s 5 §§ 595 22 §§ 555 uh3_$_2`._ w §§ mma~.§ 5 ¢. .€5~_,_: w maj
_¢.NE!SH~ ._"_ w.:_>zom¢os. »>< ==B: m 55 _»E.H§ E§§ §§
:B.BSQ .__ mc._m_w: zEuz_._~_< |\.H§ nis m 25 =E ._. 535 o »=§£. 535 §§§
5me 33 .__ w>§o wmmz>>on §< 2313 watu=_um sa_. §:H 5 =. §§ oE_.
53 z_u_s zonzoJ 5 E$u§u go § =S_u_!< w H=§=.
E.B¢$§ <u .Eo:m_m“_ ._._ E_E._ 2 EE 55 § _£ § 35 d .m_mmm: E.,_»E 532 w ~_._ :. .u_=§ EER. .¢_€: §§
womw.mmmwm >>> mm._.mm:uz<m m3 nom 05 vw maez m wm ur E.F_. ~_=Em 0 uEE>> z v__._Ew _s>mm mEn:NF a . ._ 5__.§“_ n E>¢n_
SS.¢SB as mm$m:oz§ ms 55 05 § _Sx 5 5 mr _u__» §§ u 3§2,_ 5 §§ 255 329 a . _ §§ n §§
§.1~§@. <u mw._muz< mod m * E< § §§ m 2 .w..E. §_.Eu> _. sem.__am .» S§a> 2_.__~58 323 c . . S»§u> _. EE_=&
B~w~_§ <u mm._muz< mo._ ml_|§ B< § §§ m 2 .M:=. ..Ha.a> _, §EE€ 5 8§_¢> 2555 353 m . _ Sw...a> _. §§~m
Bm~.w§@ ._H mmz_¢.€ mma § smm.§s w 35 E_. ._. Sm_m §§ .»_¢E§_~§ »_=~_~§
t-.F §§ >z m._._Szon:o._ 5 “_._.a> F 55 w ._3_.
SH.N$£ .= on_s 5 5 :_ _s 32 _.§_B z §§
53 w § § <u mwo_. z<m 35 Bh~m§ mut EE ~e~.,._.,_§_ 59 555an 5 :. §§ m 2_=.£
358 .__ Er zoGz_.E< E..EE m §§ e_ §§ umw H=_N_. 21 E_o EH._ §§
25~.3“3 <u ndm§mv_<m §<a_x_%_o 53 § ._. __=w¢im 552 _._s_ z .§
m~w..m§m 5 mm.mmz< mo._ §E§ 25 555 E._.~ ss §§
5 §._ 3231 h §§ BQ_%< w !__._ HE_»§ m 25 HE_..§ ..Em._ HE_°§ n 25 »“2§< N 25 »§m_mw v _ m._q_“._F w§§_.,.

 

 

 

 

 

 

 

 

 

 

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mvmw.:r.mho _.Z DOD__SWJGZN

“u§m §_uuv__: _:H

cu._. ~_» Bmv_ museum

dmv_ qu_I_¢

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NNFNm <Q OUm_n_ Zd.w mom w __.:D 5 _aooZ comm u._.mm m 255

_.um _..._.h.',..__.. X._. n_mOmn_dFm ._0 vuo~>u_oc_"< m_.w_._. co._. =. _=._oI u_.__~m>> t._uI v:_£m

amwno 00 mZmOI-_.w_m>.__m tm nmb _ 5 v no ___0._. .=. soon w_mo¥ =auw >.._ _u_ncan_

mhvm.umomw u.Z W._¢BZ>_.S vmum u_m§_oom men dial _o_=an_ =me_U

non T :wo.m l__ OU<Q=._D 5 o§._w oxm._ 02 om: o>SI nom

inm_.m*oao l__ ._.mmmom w¥d.._ vi nmmox_._u>> Z umw u:mcmvun£ v_ Em_tcm

:co._.mnhh K._. ZD._.mOZ_>§ Nno nom humor m_ E>_<

_honl.\.mmom l__ wl_._§¢m...._¢Z 5 §qua_z N...NN :o._. ~_. N=oz ___,_ Um_tmm DEZ ___ <

cumm\nnmcw »,¥ m._l=>m__._O|_ ommm.m me Om u:D lamm Ean! o_.._mo._.>v_ xoo_m m cmtms_

nnoN.vm__.mo FU ZOh.._wIw . . _.=._I._G no on car z- _: .mEuZ £oomd_m .__. ¢_._m»quZ ~_.._P_m

nwmuw l__ m._.=>w_mn_dz v.._d. m~o:w_o.__ mNm __o!ov~ w _Eo_.

aunv.m” Fm_\. 2_>_ ._D<m ._.Z_.<m o>d. ummudm.._ w _n» 235 mmu»oc._. rj._m__¢

hmoo.._.o=m~. KP ._._<>>v_OOz wm nom 01 EmES E.::uO EmE_>>

nmmm¢mmmmo .P> E.<IDZ__.S Uz __=._ xuuusn=I ann cu::m_.m m toonm

m_#m\n_._mm 22 ml__.__>mmoz Hw»n_ an__ _uE_u£oM mv_._._n_. cox 3m

ammm.muvmm 40 <mOM ¢.._.Z(w ven 54 ._D an u=£<. won mm_.@o_._o m_._ _.w:._._. ___n.a E¢um ..vSoN_ w B._ot._mI _m m u._m.sb: ~._. ._uv:vm m uao___._mI

Nmmmv_vmnm n=a mn_>Om 3m E._m=am:m §an .m.r_._. u§m m E¢z€m nm..No_.mo 63 h._. v.sm m _v._m>>ow

m$.m._wmnm _>> Z>._zODEm F_E§>_.. n:.nom:oN`m on “w_.:._. u_nmuu>um EoU I :m_< ~._. _u~omu 5 _.§_(

canadaan wl €._D_Kms_ comm nod ~n~:._. mum::ou mE=m u»|:m. mm_.m ___wc m_»_ »._. uE:m D t

wonN.Nunmn mi Z.<_n__¢ws_ noon gm On_ mud 23 w_._ _R:.F ounnu vom.w NM_._M..< _._. mt_._m n I

nwmm~._.go" <n_ Emrm.=._._Nm c_.__.._o mE. ~w ___on£._ comm nooNB_.m E_ hannum <.Hm_a ._._. »u_om.mm hu§.>> _.Eun_
_KKhm 10 w_m>._b..v 5 ou:wv_._:m kw moon

 

 

 

 

n.>~n __ EEn_
m:.SmmI a v=oua|m

 

mm wn.mot _ >z mEOIm ><m

m 5 uo:n£num :

cch c.. u=mmm=.__ m _Emm“m$.

 

nn _.N¢nm. nn .E _S_d.=._

c._ worn 3m _.vmn

 

 

 

 

 

 

waived air

 

own _.m ¢0 m OQEI._.EOZ a_.i._ .:mmmmw NNm_ hmw =<
mNoO.N,..om._. ¥O Z¢SEOZ u>¢ n-v._uncmo mmm_. m:on_oK oo_._n_ 30qu

nwnN.mnwm¢ _E onmn_wm rif Eu~mo!£:ow oDE.N :v.__§xmur v_ m_£>

ch__...momwm 5 mn__mmw>_m ~O Eot_un¢ n_om xu.G v_o._m:

 

 

wwhw.nmvnm l__ .Z>><._ v_d.O

:B._ws_ w mn._.m

_._o._. »_. Em§h_ _. atc_U Em§oml .m wéEm_.

 

 

 

 

 

 

 

  
    

 

 

 

 

 

 

 

 

 

 

NFNT¢N_.mm <u me_. 246 :\_ _no=uno._m NNN» arm _. cv:m_<_

m S.c»_.naoo ._.U 10_>>.2mmm0 hwm+ nom Gn_ :um.:_o_. < nmm_._w

mwmm.novam <0 <0_20$_ E.Z<m mt .oo.aw 52 m¢|ml_! ._. >=En..._ »onvn_ §u>m d tuaum m£un_mo mb E. owned oi.as” gm monon_ =mO iam
n:N._o_NN ¢>de._ 05 v¢..£uo: m_o... cukt.:m m=UE_c_nu 5 msu _zco_._ 3m

_.DnN.ovmom 40 O._¢_mmm._.ZD|E_ o>< unou< Z _...mm 320 vo._ nca§>

nvn_..hnwom l__ OUJ.O_IQ »vEmI gun whom conf m n:turumv_

w_.o»+m _*m <U Oum_UZ<m_“_ Zim u>¢. Ecbo_. ._.th no outcum >mm guam I §D

:. _. _.hmcom <u wml_mUZ.< mO._ am o:u¢ m mnN nv_m:._uu ._ _:e._.

wm 325 § :NN __u?uz .m :u>£m vu._. uniuz m:m§

mva.vaNm .¢_U mmz_.mn_w E¢_<a

 

._.qu.nhmom <O wmn_d.m_._d.m u_m_u<a

vw wsv:=ns_ mac

m.u._=»=o: Eum
E.E.

 

m Un:o=cr E>_NE ¢_E_o_.mo m_._ .._.

 

 

935=§ m B»m ma_._§.°: §§

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

  

§§ <u Q_Ez_._m <n<z<u 5 5 u§._.=m §§ .€E“_ Ss_es v£. mw§?.d § ..F 322$2 §§ B~_Es §$E£
._.B....§$ _: meade az§o um mma §§ __B =. §§wmm_u"_ z n___=3_. E§%_£ 4 EB
SE.§B 1__ <v.._.wzz_>> 2a u_%:."_ o.£ EJE: < §__E.msm
E$.$Sm <o mw._m_wz< mo._ 2a ies §§ 351 vi
223 § <u oum_uz<z"_ z<m 92 _.__._m §§ i._m ¢- 350 mass 05 »=E_=s 252
=~¢IE: __,z m...__>._m: 5 mm;§~m 3 _=_S§$ seem
..E.EN_. 3 3 :¢._:mm m § _»Ee§>> §§ 5» __. »=9~_,~._ <hul,. 2935 >> n_w_._n_
BE.,..~“B .= §§ wuz<zu 5 3< E"..z»z E_ mis==u z .EBE< E< §§ _Eu i§=o z ~_=_£_..< ¢2»..§_£ E__E: ..=E& ¢__.§=o
§ _.».~w~m <u 52 mn ¢zomou 5 n=_.u._ §§ § EE :&Em: 54 2. B.._ §§ng .__..< _,_. EB..N= .5 § _§__m_._ oz 2&§_,_ E< 2.
§ni~; 5 <Emommmu 5 525 §§ DEN _=§.___,_ z 332=.
NBR § zoE:o: 32 5 ,_E,_ _~E __§»_u < §§
533 ._m :u<mm o._._o& §§ m_£ H.w. _,_ ¥~ _a$w~ m E§.
NEE$S ._¢ <woo._<um:h 25 .5§.£ man ___ u§u_.c o B»E_.
»§.§~,.. s zo_m<: u>< §._ §§ uaw o u.am_.m
§ F.~_ § ou aoo,>w._ozm 5 z_m§ m 23 agr z EEEm
E~E§E § mz:mma_._om»m ~E_. § a a §§ < _>§_o
mEF.mS$ 5 _§_:uz§§m 5 § »_%: mr __2§§£ .=._E..m ._EB E< EB
:R.:§ .__ oo<o_:u §§ EEEB m mt £i._ m __Be»z
§§~§u .__ zoozm_¢¢oz 5 235 23 253 .Fi.<
`.;o.o~_§ _: o._i 23 uaw on 223qu
ns _ nz§v_u:< =._=__20 __$.- usm on § mvn_.,_s=m ga .€E>.__
E...\=$S <u x._<__smoz u>< §.,>_;§2 EE ;E£ issz ..EES 5 # §sz "_ E.m E~“a§ m =m§__.
HB¢H 5 <u <z_>oo .Em=s u>< §__=s w 52 E__,H__ ss§_~w
224 ::. :o az<._m>w._u csa §§ _s 3 5 E§._ 256 06 Ec§_ §§
§~_.8¢3 <u w<z_._<m 326 §§ §§ .uE 1 _._¢&f £._m §$= _5 =. ._..Hmi aim
§§ _ § >z m<wm_> m§ 5 UH. mm gm §§ mze...é§ .
3$~@: >z mm.meuom 5 o a v>=w m E._<
m §.:u& ._.z mmaz< E~:m oo_ §m§w m 555
3§.§_3 _.z Em:znz>._ vi §E N : E.S_. §§ <E%z § ._ a=§w
S_~.$w~m <o ro<um zo_.oz:z:,. 5 _=Bar h §: 3 _._Soz

 

 

mNo_..mm _N_. >Z ._.m_l_>mm._.<__<

 

 

 

 

 

 

 

 

 

 

 

   

 

   

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

manlme .__ m._§zm..._§ 5 __.2_.._32 33 ~=§im >£.§m

m _Sm l__ ou<u=._o ~mw» a E$ m 52 _L£u “___E“_

324~3~ § zuomm:._ 5 §§ 33 ,_3..§> ana m

HSASB § ¢<o .E>o~_ 5 55 _.a_§o 3m .E.=. wm tm =§:.. §§ m $E__u

22.5~3 .__ zo.Ez<>m §< §§ § 2530 335

~E.m.w£mm 40 osz<mu<m §m eeo __¢“_ Bx.. E.~B.BN __ §< 355 ap m_ ou ._ new : §§ $E..u

QE.~...NS@ .__ oo<u_.._u § :H_=a m 35 22:__~ _ 20 EE § s_m sam us .§E& § as 55 m ,_3_.

§_.N.NEB l__ z..§mmm v>< _§_:E_w m ._.XN ~BN_E_.~ va E_ haas 5&2 .w._u Er_._, ssqu

m$=m 00 zowEmos_ 5 2228 w one 855 m §§

:QI_SS. 5 ww._woz¢ mo._ 5 »_2"_25 2 := §§ »E._.___.B am..w§»._ .§3_ q .~m$%_$ §§ near m_._ :. um_§_»_u._ __E». mq=o_§¢._ 250
SS.-~D N< mnz<mu <w¢u 5 ~=E§_ m 32 5...=. 225 l_ 2a z..$m o §§

Em_.B,..E <u ¢z<mz:m 5 =¢Em.la z ¢~m __£ =. §===m ¢==e.> e, §§»__3_ HE_$§

caugan .E E<ou :._<m _n_ 333 F §_Eum m §§ ;_._ F 553 m §§

§ 335 co xz§z:m §< s___~_s m o§ E.F =. _o$m < §§ =. ammw < 536

m§.m§m .= ow<u_:o %S$ _s nn ._ x =Be,._.__=s 2=_2.

B»~.ES_ >z ¢mo> __<m_z ana §.. 24 §§ h § 8 525 ~_E, .F m dies _. Em._._m_._

m~mm.o$$ l__ ou<u; o §B¢. m ex ¢_.mm§ § ama

$-.m~£w .= wmz§u<._ §< m_._.mwm m m3 s_=_m “_..,_=E..._ 05 3§_.~= . : §§ §§ s_._.m a 235 =. iam z 2550

S._.#m 33 <m<»z<._»¢ 5 E_as_¢€m 52 u_$_ n_ §§

o 051- umm._t_u¢. h cia mmpi-§§ w v_._»l' nowhqu m W:m»_ mmv._v_u< § W:m.- mme_uu< n G_._m._ mmU=u.-u¢ N neml_ umd.__ul¢. _.0___~\_ mmU.-VQ¢

 

 

 

 

 

 

 

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CaS€ 10-540lO-K.]C DOC l

 

E:_u>> gun

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Gt.¢§_m .__ mun_mzm<n _B_Em_z H_n_§z

ENI:@% l__ om<o_:o §§ 5 seem §§ ..§..n =E ~_. E%»E z seem _x§_!m __v_w

m~..._.n.-:___ mo w._._._o_m.._ zm§.xm § __2_8 nga ,_H: < §qu

S,N.~?B .E :o¢mm zo.E>om 5 v__€a_an 33 _Em _£_._E =H_m s_ m._z omm§ z :E_E c$_m z

$Em l__ <om.¢..: »m..a._ v sm .u.a_o 3m |||]Q§

32432 § zo.,m:o: _w 2523 mut =.E_§o < _=>5
B..n.omtm co .Eu m._n_:m_. § E.~_._ m rm .E. ._. ii .Eso ga az
_NS.B~S <u :o<wm <mo:mmx .w E~ 25 EE. §.H~uw z E_Eam n §§ : Eo_. 3.;_=.- ~_._ :. :E_>B z !Eam
BE.$»; z< §§me »,< B.Bom §§

 

 

 

m...nN.on an 40 d.w_<mw_¢.m f.._.Z<m

chemung § _..~.nv

 

q&z§_ _s,_;z

 

_._mm%ms_ < Em__ES gunn

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

§§ l__ §Ezz=s 5 EEEUE._ §§ = ¢§_._
BSm J_ Sc.“.zz_§ 5 S§EE._ BE _H §§ ._. =;: z 9_=._ san coupons _.s§l:
§§ .= §.Ezz_>> 5 E._;E§._ B~_ __ §§ ._mm§z a vi€m va ._~m_,H: >€_.”s_
SE.B§ .__ §.Ezz_>> § ¢_€:m n x =&_\32 _,>fmz
535 mEm<uz<._ z<=w>w... !< § § m 555 >»ESU
,_._m n<._ mgqu mmz<um_mo: ___Em z §< § ad a . §§al~££w
~§.:E.s z» m._._SmE$. v.¢. w=a:.._ 20 man »_.u »£ BB:! § . . §§ sa _.E.G
m~$.§; <o m._._i _.._z¢._noo_s .=< 50 on sub § .€s__m ._Sn,w __5_.
m~..n.§; <u 3.=: az<._noo§ 2a eo va sm> § v §§ Swa>w 50_.
GR.B~S zz zo.GzSo._ 5 5 z I csaqu
.Hm~.x..a£ >z H._m_,_uom >>mz §§ =_Es.u 5 §§ image
§ 333 .__ :zz:m a am 3 32 ;B=.S §§ E_ E_QW& §§ ages z n§§§=_ .£»_E
33on E. zoE:o: 858 25 _S~_§m< via
38 l__ oo<uiu § »E..§_ § 32 $..§:..BB o_.< s_ disc .F §§ § 50 §Eow .EE!€¢ $Eo
23ng 5 munoz <z:u§ 3 __..5 § § . § m_> 33 l m EE H=_E“_ §E_»._ S=.QS .5 ¢. _»E£._ > ¢SE£
:._.$.m §§ § zom¢n§ 25 ¢_,=_..6 23 § §§ § =.~= §§ ._E.=u id __§.E.: w 355
w.._m.m~$.m 5 320 m_E is §§ 325 23 aim m 328 <5 ._¢a:: EE. §§ _ F §§ m 558
:2.-3» l__ moos_mwo._“_ § .SE§_¢ mm EE. §§ .=_._ >_._ .=E_§_ mem _._E 5 _ F §._ w _E$m
DE.ESW l__ ow<u_:u § 24 gm umw §§ § ~ 223 §§ §
§EEB .__ m>omu mzwz.soa a §§>> 33 _E.=. §§ .€B»M _E.:_ 53
mE_.$§ Z z_#_<n_ .m 3&~._ uss=e~._ si
23§¢2 § zoBz_,E< 3m .s_§. >.__ 3m §_~m § §§
RNE_NE § w¢._.?.n_ 2a s§w& § ¢.E.,B Bj|x n~n_
53 §§ § E.Ea §E us_e@._u a 3 Et_. _=_o> <§___F§ I>B ,_u,_~_§“_
§~.n~w$ _: uz_mz§ .E<m § =B_“<SE can ?.§._w § 3 o Em_ § m..im%o: $|&3_. mE:B 5 __. 33 § m ¢._.
: §§ § 5 <zm§_w§ § Fi__.i mt §§_§> §H§. =E.~S=
.S.a.w£~m 5 grass §§ .__.§m 322 ai § _§E_E m Em»_»_:,z
SH.E§ <o §<._u E.z<m §< §§ 33 __»t_. §§ 3._ mme|¢u §§ §§ _=Eu&
§§ ns_ §mm:._.wm §§ im .sES_Ea .~.=E 551 §&_=3_ ._ 25 dsm§z»|§§._z

 

 

m_.m_..n¢mom Ou DOQ>>NX<¢_

:nnn ._m m._<OKmn_D<\_ hu_

 

___:zo:u um=n._ =nz
__Ew m oo=us_i._

_uurw 332 Nmm
am mm.__ mme

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

wmcu W.>OO mz<._ am !um>~v£z mm om_=am _..au_.rooO 3 §§ vF_LC _._o_ummuomm< uo:um.m :m=w_.£u oF_.
hen _..m».onm l= ._.mm.mOm wv_dl_ oa:u>< iam m qh_.
vnb _.hmomv <n_ >w._n_m.<> o>< oxfomr.o._ hn_.
wm._.r.mm...: >Z NUJJ.LLD<I hn_ _Zo.m mmN
mth\namhm ¢B w.:c.u_ I._.<E<._¥ mm _,I. mvn~.
mchmE__o _.Z wZ_<._m I.\.Z.Ouw u...¢. EuEuI mvv . .
._._. .w.ommmv Z_ mmOZ<EU .__U u_w:mm cnn£s>> mm._.r . .
mumm.noanm .: <v_._NZZ=S uz cath mm_. :u._. =. 350 csa . . .
nNmN,a._.oho _.Z H._.:I ._.¢OIm vi umwa me vr_._>> on §mnm H___|._, s_
!.m _.....mnnn ._m Em._.<>>m<m._n. man% >m>> E._m_m_ arm “m=»._. 00 m 1 om__m r_o_. m3 »._. Em .
NomN.+wan >2 vEO>>>mZ ::n< ~m 5._.m¢mu___5 m..._.
nvn._..__ _. §m 40 OUm=O Z¢m $NP_U on_ uc_Ecu wmwuveu...
mmnv.hhn: >Z mn__mgoo>> >n amm o>ca £mn cn.Nm cu._. ~_.. .u:u<._ < Hmum
meuém._.» _. >2 n_mOh_<mm u>d. ..F zm:o=$> hnvN
mmmw\mmocm .= ¥m<m DZ<JIU_I u>.n_ ._o ._. mmmw :E ~_. munz >__._u._.
____..mu.mamo+ >v_ M\_.=>m_§O._ 5 E£t¢ml nvon
hohm.+mnmm J_ ZOZEW>._.ZDO$ of n_uc~.mm own
nw _Tv»_bnm ._H mZ_._.<-?.n_ ._n_ un_._o._ oxm._ mn:
ow§m _»z Z>><._ man now »m n_Bm ._._..h_
nm+om l__ Z`S<._ K<D umE.EoE m_nm
an_..I:wum .__ OU<Q_IU
hnnmrwwcam l= >>m_>Zm._D Nun rob
nomn.mNva =2. ._._Oz._.mn_ 303th m _m m we o~m ~wEP macon m :omgd. v__.._m~_.mo nD ._._.
hmmm\momhu <._z mm <._¢Z<m 2034 cum o:NEmU N _ :.

 

 

 

 

mm_w.:..=mm <U OUW_D Z<m

nmv* ._uoaw Q~Sm ama

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~_B.¢~_§_ § mm>_m ._._<“_ 3 v._..a._ $..
2$.3“2. __z mn=m<~._ nz<mu gm 5 BB§§.B m _H_~ ,
§n.m§w l__ mnoo§~_m>_m 25 E=_=£B =B~ § m H_...Ew
S§.~o~$ :o _._.<zz_uz_o § F sm 5 5=_£ m mm QH_¢E_._B crim w _§B=,_
¢:I_ _3_ >z oz<._w_ zw_.Em §< __3. ~R 5_. ._. 530 §_~._m E=maz§u _=_£
RE.¢.BH E. oz§m eeo ,_35 §§ § §> 3§£
§ _.»SE _.z mwn_m 250 5 Bsmn>w 2 §§ z ~__..§_n_
_§ENN: >z z>._v_oomm 5 52 w n s S¢z § 82
§ _.R~B <w wm:mmn_m¢:m E z_§§._§ :., map ____E._ §§ m £_m BB__.B § :. §§ n »E_. §§ m uaw
5~.12~$ ro m:m::._ou a E_=. m § 52=_5 z 322 s.< _€&Eou mSE¢ %.mmm.g
§EN_B .__ _.m¢:r_zl_m a__==zu § 223 ¢.__=__.
SE..,EG .__ zokuz_:oo._m 5 §§ mt _E ._. §_v_ow §§ v_u§¢o z §§
B_:.r§~o E 250 ,__._ §§ vii 3 alan m 225
33£=3 _z 56 ._<>uz 313 on 33 .m EE»>
3=§$ _: mn_m<¢ oz<zo am 5 §__=_z .. § _=.F ._. E.a._ E»SE 3 us < _»_w_.w
§§ 4a owen 25 235 Eamr 32 sam 5 _E_,.z BE.. _.;.~m sa_u c__o 23 _£En _.%3_. § _.F m_==.m§< §§ 223
§~.¢E$ z_ m_z><>... EE §§ E_m=z §: E_P_»m EE_».E
S~§S@ .__ £._.G_mr zE.oz_._m< SN Em ._3_=_3 l_ §§ _a< 2__ ES§_.E ,_§E&
¢.SN.S§ 52 >oz_:a mm § 555 .E ._, .,_§s 2525 E_E: < eoz
N :~.m§w l__ mm_:mz.“ouz:_ 6 §$§: n _§I
§n.$~:. ._h_ mgzu> ...~2 E, .Emme£ § __£ 4 552 _s __~._£z .BE: u §H_..
§ _.RS@ l__ $_Ezz__s 5 .E~£$: 52 E.Em m §§
B.F.G l__ zom_uz§ E §§qu § _§§Em m _¥a._
~B~.Em$ .__ ow¢o_xu !< €%§ z 23 _E:.___» m_§> E_.i _ §ng .__ o
n E._ HEE& h ».__._ RE_»_E w ¢___._ 233 m E_._ $E_.i¢ §.._._ "wE!& n 25 RE€< ~ u_~..: HB._€< _.._ _ ue._wmw._h._uh

 

 

 

 

 

 

 

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_._mm.mowmm <U mn=m¢w>_m

 

 

nnmw.+¢.mow 02 U<EO._.OA

 

 

§.E.

_.oc._m_u m_>,>m mm`NE_.._ ab _P

   
 

 

m:..r.novam <U <Q_ZOE ¢._.Z<m n:. u>< m:BcoE _.mm
m _oe.awvmm <u mmD_. 245 ._n_ hu>.m _nm Nnno 202 tenor ._o:m_.
m vom._w_.vw 5> mume_Ol_m um mo_.=n_ __o._. wmwr _num_w 02 Uso:mm

 

 

 

mon¢.mmmon n__>_ m'_¢=.>¥uod

5 _.Eon:m_oI oumh_.

    

 

womw.mnmom l__ §Om__._<

 

noonanan <0 mBOO>> ¢ZDE<J

nn z_._: __5 mucm_._u_z n_.> nmnN

m “m_._._._.

551 __E=.._..“_ __$_5$_

 

5 xon_u munson E.nnw

   

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BE..§B =s s>ozm~<o

3-, >z > <m._.___ om_§_¢o m

¢EQSMB 00 muz_~_n_m §o._ou 5 E_.,.H man §§ 050 %B______ E_n

238“£ 00 muz_~_,_m §o._ou §§ §§ man 253 E.__=_Em »__=3...: in

ER.QSS ..__ 0040__,_0 a 54 _am on

DBEBS 12 mmm=._moo> 6 E___E?B h

m _...~0_"30 .__ ow¢o_xo §4 332 w 33 5._. ._, _,_E_._m~ z 32

_EN.@$S .__ 0049_._0 __m.svz 2._ 32

22.§50 .__ §§ 440 24 B__Eo_u w g _!¢ §w S__m~.__a 3 0_.
083 40 §§ 30 sep §§ Ew R .»E_. ,__EE %__u : 8§=_“_ 4 _§Es_m §S§ 5
4~5.§ a 40 mu<_.__> mv_§.,mm_>> 00 _=__E._am n :: E.F =. __H§»: w __EE4

SQ._.~§ ._h_ onz<._zo §§ § m.~:
: :..$Sm 40 noo>._,>._._o_._ ._.wm_s 5 § 5 nem._ :v_v=§

§.J,EB .__ m>omu mmmz§on 5 m.e_._u 4 22 E.,=. |J._|,_. v_um£u Noam_.a 5 ._. “_§£0§§1

  

 

 

 

 

 

hardinan <n_ Z>>O._.¢:O._n_

hm_. xom Om mom ENN__NF

m ._ _\_. =_u~mEom ..._ =En< ._._.

 

 

 

“N._._..m Enm <u mm_.“mwzd. mOl_

 

mnvw.wmmo_m l= OU¢.O_Iu

~uohm uxnm >> mmmn

 

_;w~. memm 10 Iu<mm <z_._U<._

    

§§0=4 ._2_0=~ s__=__.

 

 

 

 

 

 

 

 

 

gamban Z._. mu_._>.ZOmmmOzmr o>no mmEm. 0:_m ma_. :E_£_.:>> m$_:_“.=._.

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mnnn`nommm ._m OBZ<._EO 5 onvm_m nom ooem =u\_. :. mar mvo_._m._v_ _mI §cnn_

Nwmm_.mn _..; ID m._.__>mOZOE.m Nn_. 34 um room once Emmw:w 2 mem

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wrvw.nwvmn <E m._.__>_zO.S>mZ gaf gino : mE mE§ :=x m_o.:< §u _.Ev_ m__§>

wmww.ewnhn _.2 mr_\_<m ZO._.z:. vz __qu :mEE§m _.nn _._m>£oa ho_=Em

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o$~.m-.: »z z>._v_oomm !.4 53_50 32 E_.__. E_.éeu ._ ~_E.._ S_Eso .. as__§
h$».§n 5 40 4.:44.._0 4.540 v=_=>< ._._E=E ~_B~ Ez u=.__a:
05 I=SN 00 zo_.cz_:m§> .sz 24 _E.EEEB §§ E_. =. ._u__,_o m E%m 33 a€§
350 ._“_ zw_.<>>z<m_._u _._~ ___5 _. _0_m § 3 §§ E_.=. §§ v__ m__mw _mE 4 E§m 5__ 330 255 a%m__,.o 4 .,9_._
2_.~.5:¢ 40 052 z<> 24 _._.E._m ~m~u EE. 54 ._$5_2, z ~____9_> B:QE 5 c =EE¢_. v_ ~\m|_..__ ._.>
321330 .__<40¢:4 an §Y_w.$_ 53 Bm:oo.: .!.Eo S__E~_Bn 525 § =3._”0 4 £.E
~m¥.~mn_._~ n_>_ md_>v_uom 5 n__.§c_o _.E.: E_. __. B~El._m “_ 22 a $umdm §§ YE_.
§m. §§ _.__z m<z_._._ mo._ ._._ 123 548 2 §
2 : oz<._..._o_._4 =,__=_so E.- ven on_ E._ §__Ee_._m mm 2052
an.NBE _.2 mm._o czm_._wzm 34 .§2=5 mr gang
235QO 40 muz<m¢n; _»Bw E_H~ _s 52 EE _=a“_ __E:»._m _._H§_ NQ¢~.= 5 ..F E.E£m m ...._Ea =~_Es_m 433
SS..."BB l__ m._._._ zo_.oz_.§_ 34 __~__u__s_ m 25 ,_"=EG _. _E»u
RB.§:: 4,_ z_so.=,_m._é 5 _§_u §§ m fm E_. ._. 525 0 m_._ 5500 m viii
$E.ES_. =._ n._m_h__._._.:om 5 E,E mean nNNB §
~S_.N=S .__ mouzm._o _aw_~_,_£. G_. __ ,.E__._ §§ 0 %Es..<=__o §§ nez
mg _._FBS .__ 0040___0 _§._s..,_m_.__ 552 §§ BNB$.~.S: ¢ _§804 _v%o¢_"_ ._u.=in_ 55 hiram _.__B 34
mmwom <u :m_._<z nuntu._. sqqu IWR
SE.£ § 40 ouw_oz<~_“_ 240 w><.=oEmHu § E_.__. E_»:»p_ ~m_§_€ 5 P 2254 z 528
N_B.S.tm 40 $Enzm._m §4 d_:_£ m _x.._ 235 4~_.3._
S_N.§o~ 4> zoEwm 3 §Eum_.n_¢u SNN ago z Em__...£
m~wo.c~,_._a ._._._ >:o m4nm0 m 33 >> _.~ 5 ..u_. =. ua=_.v_ 4 mu=:._. v§w
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3012on 40 amo"_:m 5 __~_.. S_§: ;~n
:_2.¢~._3 .__ _sm_>zm._m 25 _E._E_»m 52 .E._Ew _. _._Eom.
350 _N_; >z z>._v_oomm _~.~.% _w §§ m3 E$Zm _=.> _._v_$_
§§ on zokuz_rw¢.>> m._~ :_4 az 824 zones 33 335 _. o__§m
~5._..$§ 40 mn_mz<muo >»>._,:B§n 33 552 Ez_»w gaf §§
N$.~¢E._.E x_. z_.E_._4 34 §§ mix §§ §_u.“_ a w.n__sw
mmnn.n...=$ ____ 020 ._4._.04 5 305 E~._eo mm §§ E4l.__.
nno_.§~m 40 n4mw._m40 5 335 30 uaw £._. __. __w__£: __ »_Evn 55sz n_ »E_.E.
2_~_1~.~42 _.z z_so._.mm_<._m § z__¥_ nw E§._¢¢. 40_§..._
whomth 3 Q=B»_m~u §§ =...w 23 §§ 235 2002 5_. =. 230 m rim 230 ____ 5_»:
ES.N§S ._4 wz:mmmm_mn_ 5 w .€_s§.a_._ mme 5_. =. 23...: z __£:ix ¢._Eu_._ _. EE§~._
_E.I:mno ms 1043 zmo> § 3m 04 §§ n m ummvo
Nm..m.h§n 40 zmam.__._ 5 o__§§z __S B%_._ n §§
m__m~.m,...$¢ .__ 0040_:0 _m o_...__m_<`___, ~m£ E_.__. v 00 2555 uaqu =._3_.
BB.§E .__ >0_,.=.__0 5 .~E_s> 83 »Eg__._s z esso
_NE~ oz zo._.>q._u B~_m =B_Zo_ _~_ . S._=h_ §§
nnwnm l__ OO<O_IO am u:mma.. m nm “m..:._. :m n:m_u_ _;. 22 oaam`no__m 43 C. _.__mwcn_m 2 ::2. >:mmEou B:_._. Eo:cnz oF_.
.Ao~.uh~om <u mmc¢m<._<n_ 0_4_04.4 25 _u_m£_z 32 §§ msoau_m >._.Son 4 v§_§qm u£. swath m a :. mEvnu_m ._ __£Eoo 55sz _.§
G:.B=B .__ mon_~_ 1444 ______..._s EN~ __ ~E__._ _8=2.§_ _. »_~_o__u_z E.u no_§~_.__ 0 H_e_¢_z
n:N.oRE oz w~_o_____.~._4m § §§S_.s 80 _§Br §§ 532
RB.~S$ .__ zoomm:»moz 23 E.io 23 253 __§
§§is .__ mug_~_ §§ sees cum §
B_.W~BB l__ zoozmr._.zoz 424 .»E_u,_m __..§ §_._. 335 _. _._,_2. m____:_§ 5 _ §_3=._ .F =__._=
eune.hkum .__ OU<Q=.G _._uEmn 2 Nvo _o._£z n v_..an_
§ §an .__ mwo_m §§ sr__~_s §§ ~E__.._ _S_da_a _. »_.E£$. 050 ._B§~: »~_¢§z
a u£._ mmu._vv<, h !__._ mmu.__.i< w ue_._ mmu._vu< m uc_._ mmm._uu¢. § un_._ nuu._vn¢. n n=~._ mu!uu< n o:_._ HBEQ< w w&._ 38qu

 

 

 

 

 

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§~I._ 33 ._v_ ._.__:En_._§ §§ § __§zm sam ._%E: z §
~N§.$Sw .= oo<u__._u 52 § ¢£.E.B z 33 __es __ ;..§::
mmm._..nmomh X._. nl_w_umz<£ 5 __$u_§n_z Emnm mob :cE K >> :_.
_.S_._..m~h _m 40 ._m_mm<w z<w um u_uEu:m nunc m _\§:. EQ>BW uE. ._.Enr.m= n_.. .c. m:o>£w n _usum
n _n.m.»omon 05 Dz_mn_m xm>.=m u>cn ing soo h$:. Sa_wr _. Ew=_=$
rumo.:woo l= OO<u=._o :N: x_".m OL m_om=mo 4 300
355 §§ ou zm>zmn a zoo m 33 m§ml<g.._w
__._. Twonow Ou zmn_.=._Om ..E. 35=0 noo_ SEEEG m !Ev:<
annum 40 ._.mwmwn_ E._<n o.n§o ov£m=u vo_. Eu.mn_ 1 Em=ES
23ng .,z zomzu< §§ E§~_ v _.:G m 5
m~@~£_§ d nmE.a §§ 5 um§lo w 2~ ._u§o¢ §S|_n.._..u
wm_~.nmmn_. >z ml_.q_n_m¢<vw um amon one coal _uEnn
waoTN.\nom <D¢.._.z<._._.< um _IZ m....v_ mbm mU ,_O 55 !._._. 525 w.oc=>_ hu=__uu §E:um =£w:ar_ ._uu=axu_< ~E_O .u=__um §E:um _.Fu._.
oN:. F.¢_. >z L_J.m_ m ._D w ._._.._v_. vcm_,_u=.m uu:w.$§._
_.:¢.m¢cam d.U DDO>>>._¢_OI ._.mm_$ 5 E=o_.£wu>> hmm ou m_..._m: hu_x..=i“.m cmo.... gunn $.._0 =. _uRu_.=_um _ mw__m:u
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mmm _..m_.mmm <U m_><n_

  

 

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mhmm~__..mvom ..__ xzc_n_ n_Z.<._mO :.:on£»_._v_ N;_._. =u._.:. Eo¥m_=\_ Esmn_ Euam==._ uu:m._
m"oo" _rZ ¥¢O> >>mz imaqu £om >> w _N EnO cu._. __m_“_.E< :m> 1 c __nvw?_. :m> m tuao¢
nnmm.m#mmm 22 m._.»d.m ._.E/__ o>< Em_.¢ NNI. E.=._. u_amuu>oz mmc_g_~._ ._. mom m,_._.._.o__mu nD .._. Mo_gn._ ._. mom
momw.mammv 10 Dn_m._D.r _§_m uoo?=oz nova _.w_.:._.wm _.. m ocaw d .G_.=. m Em:._mm ._.o_.§_.¢u n: h._. __ w o=u_., .€:_. Em_bvm
m_Nn.oano _.2 Qszmm¢\_U 5 mB_._E NF N:E<£um u¢_.__.
nnon._.nw~h .mdiul_m_ >49._01 ,..ncn xnm On_ cch =. EmE_u=.__.E 5._ v£m.._ EmE_u§m §...:m
t _.N.a¢hwm 40 Z_._.m_._._. »m>> u:m_.<&I _.=N: sub =. NN.SE m N_lmm x¢t:E U ur-._n_._on_
Nm__.._..mmvow l__ >>w_>mmvn=mm mmEE._._. m emma cor =. »uuu_:ow m u:=..»t_._u .uo$cuw § xv£mn_
acmn.mw~nv =a ._._DM.GD v§O gm m_.v u_w o_.__ anD :m_:EQE oF_. _£< EE._. >bm ._ox._mn_ w hogan mw.d~._mo m3 ~._.
vw HQE am mvo: q 553 oiqu oc=u

   

 

 

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SB.`..SB .= z<om§$s 5 52 32 5._. ._. 23 EE._£ ._§. m §§

...»_S.Bn¢ :o mw:_...<z won ad sss v_%s|c§m 93

RE.».ES <_ zoh.z:u 22 xi
mSE»B¢ N<x_zmo:a
§B.En .m :o<wm >$:mn §§ u_¢_._u.mz._ 3 ii
§~.N...S@ l__ nm<o_:o N=Es. m 33 EE ¢_§eim

 

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324 scm .__ w._.__: zoozwm§u ~: .o<§__§> m~ §§ 505 §§ .
h§.~BB .__ zo§m:>_ __2=5 z ~_... 323 h 356
E_.R.§ .__ ou<o_:u 2a _~E_$_ z 33 E.F =. ...E~_v< §§ »s~_u< m =a___=s
22.83» ¢.... <E:w_.._< §§ gm ___ »E°z w E~____..s
§._Q§N <> mdnz<z_é EE_ §§ 32 _E. _1 §§ §§ =§~m __s §_~_s
mmp TEEm ..__ zom_..¢._n_< o>EO m _Nr =m._,=. Eu=ns_ NMEon_ 2352 .r o_oeooc._.
§EEB l__ Em_mou_ wva.._ 5 ,_u__ESu: ms S_~Eam < §§ am
mNE:Q ._h_ m._<ozwn_._<._ EE 2_=¥< 53 am BH 555 S§Eum 5
§§~9 § m._.__>m__._o._ 33 § §§S._ z 33
ama 322

anm,NN_.mm >Z m<wm> m<._

 

 

o>(_ um:U munum=mm h_.mm

 

 

 

 

 

 

 

 

 

 

 

 

 

Bmw.`..o.x_w .__ §§ nz§mo 5 viz QE: ._£. ._. _.Bmm=eo m E€m u|v=m_§u n_ §§
of 322 .__ n._m_“_z__s .w in EQG~ § _i E~E_s_.am _.__.Ev. _.e¢. E~E_~E._m ES_
_.E.Bm=w .__ <um<zo ¢>¢ museum m +N., sam < §§

§ 333 .__ mwo_m §§ §EE_._ z N 2 =E ,_. 8=. < _28 SF n_ E._.
M.§.BE._.._ ..z ooo>>m._n_$,_ 24 355 m 5 n .§_ 2350 _22.
.Em x:s zonzo._ 3¢_.“_ __an S. h_. ._¢Em: ¢BE~_.

Emw.t§_ .__ ow<u_xo a § 3 m 35 _.£. ._. Eu_m Eea._ Eu__w o§_
§§Em_ .__ m¢._wm: n oo>>m<x §< _=a_~._ § 53 §§ Hm$;u

m _t.:mou .__ ow<u_ro v: a E...s~_uo m R~ ..K..H.B <.: t v=!i § =m §Em

 

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amn.mNNm._. K._.m< c.n_

 

 

:¢_ m~m£=om momn

 

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wmnm.wuono l__ IUO_._.ZJ. u>tD umu._ 552 mnoNv ._ and u_un_.. 5.<. mcmmo§ gard
on:l$mam .= ZO._.mZd.>w wm oxm._ NNN_. :u._. =. stu_._._ onus M__z ¥mNo_._\_ h uo=¢zu
mrm¢.no_nv _E EOmM< 22 >m)> x_nE_._w ._.ve
mnmw.m..vwom .__ OD<O_IG zu=h_ ..5 moon $_.: uctE_N n_ u::< hm..m __Bo ab ~._.
Fth.mo~_.Nm 40 d.ZJ. <._.Z<m hn_ EB.E?. sun co._. =. u_mw u:m m£._w§
wmmn.thNm <U m_z¢_<n_ DZ¢.DDOI._. m>€. mn=._ Ev£bcw o._.wmn ~w:»._. comm vs NE_NE:. m_._ _._.
m _NanmNm <u IU<mm ._.m_Qa>>mZ o>< hu~u.._.EEu.=_> +nm
._.won\¢n _.om .__ d.>wzww gm wm.m _.a._..
nmmu.whmm+ __2 _>OZ hD __,>u_>~mv._v mnmm_‘
mwwm.mom _o f.U DDD>>>._¢_OI I._.EOZ N ._.:D.._m o_uo§__=._¢ wonN_.
w._.nw.n ann .E <m§d..__. _NN_ ~m.< m:Son_ m uo€m mmmv_. “E.r_._. ___on m _.Eo_. Fm~nm__mo mb h.r :o:w w :so_.
§N# >¥ ZO_¢.<E ._5 am m _._ mach :v._. :. _“_._c_.)w._O < hmum Ea__¥€u 0 Em=.>>
mgm-v §§ Z‘_. w._.“§m_<Z um com:.=m =NmN :wEuu._ _z_ _oe_.
mNmN\whoE _.Z U._\__I ._.EOIW vmoz uqu gao orz>> ou_ Sxmmm _EE.€N
omNN-_.mwmm <Q IQ¢Wm <ZDO<|_ hu._. wu:o>> nom m._._. m €=un_
vo._.n.mowm._. K._. m<l_._<n_ u><>wwo\_< anne § 0 v:cv£mo
uqhm.ma _.nN 02 Em.?.m ZO._.mZ=_S rm ~:=E._mw crow :wm._w .~5 mE?.
Nmm _.»m_....~.”m fu l_mE_m<U de o>d. _w~mum:£ 2 m _ § E:aou Nu=_ :v_uw._
nmmNm du Iu<mm Omm_> 2 ~mG 20th uv_o_.~m Emn_ _S now cuban N:nw._ z Em_m Nuam._ z r-.z£m_
hnNN._w_.mmw N<.>m._._d.> ZNNKO mm..._._ m.m._ m Nvm ._u§o__s:us: < oucn._
N".F:v_.aa_. >Z me> >>uz mm E< gm .So:om Nh =ovcm_z :m£nco_.
¢ u£m¢_ me_uQ¢ h H:m._ wmu.iu.¢ w maj mmu_vv< w uE.._ mmEuvc_ _' !._3 mmv__uu< n ¢=_1_ mmu.__vv< N mci m§vd¢. __ ue_l_ mmm._vv<

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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nmwo\...mmom l__ 00<0=.~0 vum_n_ ._mm._m mom nom Pm.t_m

mtmm.onuom 40 mW._mOZd. wD._ o>< coram m row § m o=mrus_

iam F.No__.@a `_.D roof >n_z.<w gte v:m_o>n§ m ___ mE=m ._.Euo:$

nhwo.mwocm <u wm._muzd. wO¢_ 933 nom OL m:|o__<.. wu coEmw

.~n+w. FN_.._E. >Z ¥NO> >>m_Z E~ _L vw EP_. m nmu :o._. ~_.. cove 0 ur__u:n._m =uE _EEBI
:hn..m+Nw_ <n_ L¢D._E<m_._w odom £mE:oE Nm¢ _.6._. ~_.. mcmw m !__u.= m:mO w zwwo_.
.n_.#w.wm._. _.N 02 wUD_mm ZO_zD um >u=m> nova mnmo_. v:m_._o"_ uE :um:m

mwnn.howam <U Io<mm OZO._ N_.Nv>_m rsuum u:o._ :hn _._mvE_._o._ < v_ 05 u_l_ =__oEo wcm_z »mm»< Ea nw 0 on_ oc:a>>
:N F.Nmiho _.Z van m Zw._G _L Em£mzu 3 :!=Eu“_ o__..__.

nwan.w!uom ¢_O DDO>>>¢_.HDI >> N _mm&n_ _vol n._ FF_oz ..._I. :m.:_.. o:£mi »Eo_on_ !_.a_oi <¢zo_.
.vn.vm._.Nnow >Z z¢ U>>>m E:. “mM gm ém... m non tu§ 0 u£ucm._n_

amon.¢m._._._. >2 »FzOmI._.EO~, gm c=x:m~“_ _.m e__=_=n¥ xo?.

3 FN.mownm l__ v_¢<n_ me¢¢umm.>m Em_§z w mn¢m xu:to: U u=:m==_.

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m._.om.NmmmN UZ ¢¢mm >>wz am>> ._chth cum na~mn_ ::u_.

mann._mm§um l___ vd.Uw¥_._<>> v>¢_ coram haw ¢=§mml aged

wam.no_.._no az .Fl_ x »¢Mmru 5 sr Zu._oom mow §U m.§u

monw.$.ann ._m >.,._U mmz_<_._ nam__..___ ~Em¥_uo..>w mmm v_w:uvum_z m o_nHu

mwmmm ._¢. E<IOZ_E.E_m mm Fm_ nom on zimmm 552

cu._. ._. ~o§om 5-§ l_ m::oD §cm < muEm_.

   
 

 

 

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Nmmm.~ohwn l_u_ muz_mlw m._.ZDE<.._.,_<

 

 

 

 

 

 

 

 

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5 Qt»=n_ Em 232 _. Em£nm 625 mu=.._u _._n Enx =q>
hmvh.n:. _.N O_z Z>>O.wmmww<r 5 hux£.~m NNnF __uN=.n_ co._w Emu=_§
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§ § =._3.._ 132 §

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§ 8 EE iam _..E_ £>

 

 

 

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224 §§ .__ ou<u_:o 22 § §§ 225 35 552 § EE §§ E.E_. §§ Z.ES ¢_._ :.
§ 333 55 E_on_ Ez_._: § §§ n_=_: me § § §§
m _E.S.a» § zom:a:< 25 E_&.i..az § § ._. .E§._ z §§ E,§=.. “_ HEF
-3.§ § <> m<mm<z<: 5 §.m§. HS 5 ii !2..3€.
gisth mo nz<#zog E_.E§ § §§ ga §§
=~.I.BB .= 205ng _..=S 552a 32 ,_£ ,_. _,.§ v%s$§ §§ _. _,EE§
§§ 5 ru_zz_mmmo §§ von 6 me : __§ E< ~_Ew E.u § 53
n §."$B .__ oum>>mo 225 w..l_._e_z£. § Ssm m .a_£
nm$§~n ._“_ :u¢mm omm> mm an § §§ § usc ga §§§
2.£.§:. ._o <>wzmo m § §§ w 231 E§. w=z~_m §§ s.__a_m §§
mm~m.§$ ma 7052_:.__>.__ 5 n%_< § ..u§. 33 __,_ §§ "_,_u 2 =H_m
o$$§w .P n._m_§mmu o_a.,|$i§m m3 E_.._. ,Es._$_ _. §§ §§ finn
§E-: >z z>._zoomm ¢>< SH_.§N__,> 32 525 ...__a§ 25
HF.~._ _~$ :o __.<zz_uz_u 5 =.Hau §§ 5.§. usa m .§E_o §§ _.z.l;§
EE.-§ .__ mouzm._u E»a§. § ,_.»E m_§
BB.H§ l__ §§ nz§_._m=._ 5 v is § 2235 § EE. _a§§_< z B|Ho._. 555 5 =. c|_w_.._%=<. z _.~3|°_.
R$.m§: >z §o> >.mz __§9“. .H__m 53 3 § l ||.%Bz §
m$f...m§ <u mmow z<m _n_ 353 :..B ;.=m_§ m.€._§
ES~ um <_mz:._ou __i .,=_m=.=u § ||:a§ m §
EB.:.§ _z _>oz 5 §§as §§ §§ m_ §§Es.
53% : >z wl_.=: Ewmo"_ w__i seal § .m< a §n: mn.k SE; _. _,_£§
»~._.I ann ._L mda~_ma:§ h 5 § 32 . 3 m._.;s._u u $En_.
NEJ._ 53 .__ Q._m_§mmn 25 §s_§m 3 iii § m 593
Eo~.$$m 5 E.<>oz is §_. 2 §§ n_. sep £_.§__£ o §§ _ i.§i_._ w B_$§
MBN.§ 5 40 <.E<.E E.z<m n ~2: v gm ~»__»>13._._.~ E&. 825 w s__w S..§S 2 » Ea_s m £w
t.$i§~ ns o§o»§ § iii rm “_=E==_u as.§_
P. _E§S l__ wwn_m §§ 320 m §§ ..E ._. __§_.:»j < adm _uz_.w m m
wame §_ re \Eon_m>§o %< 526 § amsc §§
§~. §§ J_ ow<o_:o § on:§uz z 33 _,_§_v=iu _.EES

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

  

 

 

 

       

 

 

 

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$.._ I.:Bw .__ zoEz_§_<m magic § §§ __ §§ ,_E_“_ o 553 _Su §§ 2_ .;.EB §§u_<
§n.$~; ._“_ mu_zw> 25 s_.w__.§ § 3...£.~» 5 c Z,§B m §§ es~==vu m »E¢E
§§ l__ ou<o_:u § §§ ;Em_s § _:.@ .2___§ §§
§.m.~§, § w.._.__z zm._u 5 _S__§_u B_~ __Eu <€Eev_
mg §§ >z zom_mm<u § §§ § 530 _s E§s:
§m¢$$ .= m._.__>§wa<z ._._ in §§ §§ § E§QN 2a E_ BD_E,_§ § 2a co 3=§_ §§
~Qa.:_§ .m cm:m§w»mn_ 5 352 gm on_ B.§._._ _. E=e..i
GE.:..§ .?. <um$.._._E § § o.“_ _=_._m § m_._ E__§»;B guam §§ 31_22 : mE§E. 5 §§ _E§z fm 2=.
~..Eo.§mn ._¢ <uwn<._._E § z,.§a o m EE. guam … §§w m.u.s§ 333 m_._ § .E§e. _o §§ ,~§.»z§_.._ ..E
B~.T§_m <u <u_“_d§ 5 55 22a NS_ BE sam
ES.R§ ss mz_.mmo=m zz §< st :x= __=.._>>»Eaf
E_¢BNE 5 zo§mz § § z 5 § § 350 §§ 5aqu ~,E»m
E-.B§ 5 §E:<.G § “.SZ£ 3
EN.S§ ¢> z<m._o: §§ 223 32 _.E .= 23§ _a,._.m__=_.»r
.= am_>a<o~_m H m._§._ @_»...Eu§.§ Nz:§ .___£EH%£ z §§

_...E EE_.ESW >>mow
co._. =. xuu=mvcol < _EmU

   

     

  

EnEnu>... z v_!tE

 

 

 

 

  

=§_Sw m _$.vi

 

   

E.%__w z ins

 

 

 

gaw.m 53 ._.U zohz<c 5 u_._m=uou_.$ l z _EEUE mm..mo~no nD _._.
man.nv_.nm l__ n_.m<m_zD._ wm 3cm> 5==m n*~

m"wm.mrnom .= n_._m_"_mwmu ~m E_n.u:_m cwa

N_.vm.Ncwom .__ zD._.mz<>w ¢m_ o>< ~m!o»_ nam

mvn_..mc_¢m l__ de.DUZ_EDO._m “U BE__S nom 3d :m._. ad meE.om _v__uzm d meEmm ~utonE$_

 

 

nm._.N.__.oo_.._n ¢mvd_._l_|u_Z<In_l_<

E.u I._ ___Em§_._ §§

 

 

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§§ m :_ 25

 

 

 

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¢_.a._ §§va 33

map

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cmcow_O 0 u£cm=.._

 

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o>< m:i.mI £:ow no o_.

 

EB»§z _z 155

 

 

 

 

 

 

 

 

 

nmoow l__ NUQN_ ¥m<m _uoam _mtoE Z 5a ___S_mu§ <E>mB

._.»nn.nwmow l= OU<u_IU tu.~os_ 2 nNnv >Hm_.._m_z < avco

mo._Tam_._.._m l= 25me ._OM<u munn § 5 x._qn_ hom_.v§e._ !r._ m_mm==ou $:o_._.,md

NooN.N_.nam l__ DOU>>Z._DOZ_._ o::u>< w::u._. _.._N_.v =u\_. =. oN_=.._ dmi mE:._ _u:Emm
mowno l__ ZO._.mZ<>m _qm :mnco;w runs r.co.t_u_._l_ Esm£m

___._.mv._..__o: >Z mm<_._dw Z“._v_Z<m.._ o><_.r._ 3m voo>> amax

,..wah K._. wUmeD.E _.omuo_ _m__. u:mu___uu.._m l_ =u__m_a

 

 

=nmwo ._.U fo_>>waMO

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xm tan. mv Evammgm

 

 

a 25 »“E_“u<_

 

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313 .__ ._.:E.mmmu 5 g_5 iam § § .= ;_. minn <£.__5
m §¢m~£ ~< Emm.:o o 325 umw _B~
§§ .= ow<u_:u § .__5 o a ..s §§ 2_ 52 §%E 25 id BE._ =.Ev_z
B°l~=$ N<§zmo:l 5 am z 28 .u__a_so §§
2:.,..-£ ._< :<:uz_zm_m §§ a=em§ w§ u_=o E~=§ 52
SE.E§ §_ .Em>> >.:u z_._m 5 §§ 33 §
2.._. :Sm .__ ow<u_:u a 2§~_5 m m §§ ._._. mi 2 §§5.
wkwéwnn ._"_ <us,&. § : _s_m assn m sam §§ EE m§m l_ _u~£ mQE~_ 5 c § ._ _§£
§§sz .__ .Emmom m§_._ a »=z_§>> 3m §§ ._.um?m ,..u.|j
§R.DSB .= m._sn=_ uz_._._o¢ 5 ___S§_n_ mann 358 § EE. 551 =Sw u..§. w §§ 5 333 :. =Bm 5 §§
SN_EEE § amome § § on_ §§ w EEEM_
B¥$_..: >z z__soE>m._ ._._ ii 2 525 _._ usa
m §.~$G .__ w>ozw m._mE u~§m §§ sam gen ii 90 E.F ,_. am _. _§.u §§ 3325 o
§§ 53 .__ m._.§._¢<w m3 § m_§.m ZE,__E
§2.$§ ._ ou<uiu §§ z _s 32 255 _. §§
~$.~.S_.~m <o oz_nm<z~mm 25 __§s §§ z 13 ~E=u 33
hamm __s m_._<n_zw_m § §§ § 3 522 __wmsw __,_ 52 |w|§ eo z 325
HBESE 5 v_z<mm§ a §§ z 22

 

 

 

 

 

won.vaun <U <._,2<._._.<

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m_.o=m l__ mwz_<._n_ mmn_

u>d. c$xu£m ann

 

 

munm.a room .__ ZDFUZ_§

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_m,_o 951

_._0._. =. =_M_n_.m=_¥ m_§cj

 

 

 

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nz§_¢ <§K

 

 

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§ §__o: §§va Sw 255 m ._ .3

5 §§ §§ §E~,z o 05 §me 22 m amos

¢_E.$E.Q _.z m_¢.._upzoz >< se_=_§ z man E_~_E w gin
aero 305 ~_.> $.E~ E~_m>> vu._ ._FE

 

wn._.N.mmn_m du <_Uzml_¢>

 

 

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~nm~ » _m .§o._ §

=._E_m _=& 255

 

 

 

 

 

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hu#m¢mwnnm ._H _Sm__>Zm._U
~550 o_poz n 5

 

 

 

 

mmmw.mhmow n=z v_n__zmn_mzm woz_mn_

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mmm__..a...mon Ds_ zu»zmn_mzm muzuz...._

 

t_._nU b_a=? n._.m

§ _EE_ § aim m _=_e.

§ ssa ._§Ex xii 55 =§Ez .F _28
§ 553 __£.E_._ mem §u §E_._ .F _sB
§ ssa §.EE §§ .w_u S»_E: .F _Emo

 

 

¢NbT_.mmNm 40 ru€.mm <230¢1_

 

 

hn__,> oEZ :wm mgch mc=mov_ m
o=mn_ m al ._.Q`an..mo =D ._._. gin gm Ha_z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§...I~n$ 5 z<uc._ 5.$55 25 EE. 52
oz...§s... ._“_ w._<ozmn:<._ :Eoz 2_5_,< 55 gm 33 G.E~m§ ___ §< eeo 5 m §§ E_u §__.e,=§ E_._
§N....caw l__ ._._iBmEu 5 v_§§___ 52 .€__,.E.o _._ §§
SS.§E l__ H._Swunw._._“= § §§ §a.=s mlm.___sm
o$$~§ ._ ma_m>m§:ou E.< »_.E._:o m § _ESu <E._=m
§m.-e# x._. az_._o: mm§o.z 5 &== mg §§: es§>__$§¢
368 _ m.:_>>§mm: 25 §§z ha 535 §§
B_~.E§ .__ m_v_ozw H.Su § 515 w §§
~.§. §§ .__ m._.__r zozmw> 5 §§ z 52 _E. m §§
E_H+BS <u <nz_.. §§ 25 g> mt _ _ u__=.$ game
»B,.§$ >z oz.“E »_§&“|< nme _S&~_s <Enu
mE$§@ .= oo<uiu §§ 333 |EB~R_ m SA_.
2 _n.~§~ 52 0¢03~_§_ m%__, vi E_H..._s E-, =§§Z =3=
$.:.~E- <> z<m._u: E|__.a§€=_o § ._. eE =¢u E=SF .5 _» § §§ ,__E_m 555
».EB _.z ma.§.zoz man § __§u>.,:os_ - §§ w san
Bn_.S:.m 5 >._._o mv.<._ lF._.n_m _s .w §§ z § ._S§_m m H=§:

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§m.~$$ J_ §§ az<._zo 5 ice _s o §§ §§ m 45st

BN.~.NSS l__ zo»mz¢>m §§ § iia ass iii

QSN._R§ 5 oum_uz<E 55 6 ~_E> E_> 925 m e%§F

>mn Ez zonzo.k § 355 m 3:.%§_._ o §§

SS.N:.B _.z ._.zo:mmw ._._ mHS: 3 Bw E_£=B §§

2_=.$:¢ 5 §§ >mmEzo: §¢. =_S=: m § 5.:_. uu5 > mms 35 g 52.
_EN.~ES .G zm_><: .E¢m §< sine § § .%=Hn_ a H§£.

.__¢RE~E mo nz<._Eog_ 5 2535 5 3a §§ s§.

m§._:éa m_z mn_o: § 5_§5 § _§m.m. 5: m E.=_§

232 >z m._<omm<uw § §sz 3 5 £E~Bw 333

BR.NBS hs w_z§<.__ § 525 m 52 _=_wm,_.ea.._ m nm=_»o

v~...n.:~£ E. m¢.:<n__ §< s_.: §B~s_ ~E... 5er 3 six

Mmqm.m»whn oz Im._mJ<m uum_m =o~m_mm our _uEu._. < =_.n_.

R@w § 5 <o<monzm.ho 95 §§ m § m _ §
m$_l.__,$= 5 _v_w.ooz_§ q a 5 %.._E_B 3 §EEH §§
BB¢~HB ¢u 5__5>» §.§,< ,§m_§ _.E__~ 555 __.§_

§ _.m_§w .__ wEo_mr zoEz_._m< E_=,_ was mm §§ 5 M_B°_.

HE.§S .__ zonmm_._Enz 33 §§ 33 253 §§ __:d

 

 

 

m¢mr.._‘nnow OD ZOPOZMIM<:>

 

m N gm 32 §< n____YS SQN

 

u_m mQEO 2a __v.m>>

 

uswa ucco>> §u>m

 

 

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um o_uEE umw

   

._. ..§_ < n §E.o

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

S~N.S@t § ¢mE<uz<._ 22 _H,_Er 22 _=.F ._. .€o€o §25 |. go §§
:§.w§¢. 40 <o<m_z <._ a _%§2 m 35 E.F q EE_..z l_ m_§“_ 4 ___=.§z m _=5 §__.5 EE_=&. §§
:m~.-~_~ 52 mzos_=.._<m §§Eu:.£ m:: _2_§£5 m ¢_zv=,_
QS.EE z_ w._._sz<_.m_ 5 §§ ~..N.. max sioux
SR.B§ d_ .Gn_mmomm § 25 £_NN< m 22 B._,=.»_Esx E§E ass q §E_z
S~ 323 5 >m,m§mm 535 o §§
SEBNB N< ménmhoom ~.a mda€_ar »E=Eo
§~.2.~5. _: nmoh_mz $§J§NE §_5 >=.un_
EH.N$$ <u om__> zo_mm=.. 2€3_._ §_ §
h~m~\m_- <> adamz_mmw 25 xS_ev_§n_ :S ies “_ nasa
§EES <u mm._mwz< wo.. 5 552 §§ §§ _._ 52
QN_.::B oz w_:n.. .E_<m _S_"_ §.. 2a .a_m;im__s § E.S_ 1 350 05 ._§m 2 §E_>
§§ 5 mm_rmm:u §§ wdz_m> 2 E_ 35 l_ 285 E_o 55 §an
§EE: >z oxu_mm_. w 35 E£ 2 =__§m n_ _=_$=_.
S:._BB .= m._.m_:.___s 2< €§%E m~n_ f used §
§§ ou Bw_“zao¢m E>S§ n § En.=w z 235
E€A.N§ 5_ zE._m ,_§§§m_ ~S %.Sz=z §§
.F.~Nm.§mm <u o§m___,_wmu<m §§ 353 S anew m 530
awng 40 o._._mBEoz »>< ¢Sw z ..§ gas 5 2__..1._~8_.

-n~.€.§ o._._ § § 2a v_. §
»~_._._ “»E_s< `.2.: H....E.¢ ¢ 25 352 m 25 ““2_§.. .. »_..._ 353 3m u._w_mw_m.q%ud~ ~ N._: mwhm.mw . w_¢m=n: »H._.L

 

 

 

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Case 10

 

o==u>< =n_uu:=a E_

 

om._.-. u_E._oO < nu:.=d.

xm_s_._aw ==|u_w

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

vm._.oo _.Z v_U_¢m
mw+_..wwmoo 00 n_OO>>m¥d\_ 5 §EE< m hnN :n;__.oz w ago
mNaw+m 50 l__ gamsz 225 _u:mu>> _S _.wwcn __ mE_D ._ 22 muuvnu¢ § HME ~:Em
Ommn._mmnm <u foam (ZDO<¢_ hn_ u_._o.u$ hm._.w uuu_>__uw _n~u_cm¢i._ _m:o=wz
mmhm.,vommm 02 N¢I_>m=..m< um ummz H.__uzunN w _u£=vmum u:.:mn_
mm_.n.~u__.o_. >z sz¢m o>¢. m£n_:mm mnm“ _.HEN_._U u»._oE.F.z
NN»N.Nmam l__ I._.EO>> _m £v:. >> mmhm ___uP =. uu_:um.n::uv_us_ ux uu__._um ¥ xuSmn_
nnnN.mn_.mm <U mwon Z(m t=ou vo_m>> nunn nu mE§ xu=__i < nmm.__. _h._u v_o~§._ 0 m._._o._
nnnN.mnrmm <U wwO_. 245 §U u!m.__$ nNom no 252 xur>z £unmn=w §W _D._u v_o=>v_ £K_nN-m cENV_
wohN.;h_.m <n. §ODZN\_U u>d. §sz w ..n._. co»_mI Mmmv
mv_...om <D Zme.<U mm ~mm_ _.w :mnE w _n.uNN coooz x R=u=.>
mmmvm 40 ._.zOs_mz“_ wong _m =nu¢o>u_w umwa _Mm_>|nn_ Q§ui:d.
5 EE<_G_< 3 =°__=¥5 <u_._mo

 

_nh Tnomwu .._.O n_mOm_Z<._.w

  

 

 

momN.hFo*v IO <mmwm

 

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;==._E. _. _5>5

 

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wong <u<nm_.__<,_¢ E_au veto _m __ ,_us=_$_ §§
§ _.~R_E mo nzwm 6 ______ _e__=_m 25 5 ;_E __._u_v%__o 56 _£_._o__>_ S_.E.S 5 P _»_u__m._o 30 _2._5: 5_.__56 30
Eh I§E ¢.u o_.zm:<mo<m 55 20 5 ¢E m$~ E.F __. =;£m _. _5~: 555 o __¥o
3m 328 l__ §§ zwmmumm>m ____ E=.o m »_:.. _Bz >>__.a.m_w
n-..mNS. <_.._ mm:mwmn 5 EE___$_ 32 .~_._su=%n w .G£z
$mm¢~o:m <u §§ o._zm__.__ 5 § h 32 E_.:. 580 m S.E_.
»~n _.B.~$ _._o z.<zz_uz_u __u 3_5_.___5 z o.:
mo_.m.~m~om <u >mm mo ¢z_m<_._ 53 »>< 3055 own ~
253 39 z_ mm__,n_ §§ §52_£ own §§ m _oao
:..o.$$h E. 524 _...L_,. :_. 55 o 5__¢5_ m 55
@:_l~Im <u mx<o <:zm=. w 5 E~E~__m._o 33 __E_s..\._ _. 255
~3._.__. x._. o._.m:n_._ »m_i._ on 53 .§_£2 ._m_$_=. §§
2 _N.EB_. >z mae z nz:on_ § 35sz v _S_._»_m R__,n_ 535
233 z_ mmoz§w E.F ._. §§ gm 52 .
03?_.:5~ 05 zo»wz_xm<_s oz _m S_.s¢z 23 5__:. _s 555 55 5__2 _s 95._._3._.
§§ >z v_zo> _zm_z ._m ¢ 5 Q:E£E § d.§~_me._»_. 235
=~Q..N~R~ <> mx<mg¢wm:u 5 ¢u=__==u 3m §§ m 555
3cng o>v_o.r 5a .EE_%E Q~u.§_mm q~.-.n __EE_._: o 556
n$ vthw .__ mv_ov_m § 550 §z mSm EEu o ,_»_$m
:m».w~$m .__ om<o_:u ?_....E_._< ..s ft 5._. =. 552 u B= < §§ _.._ 551
533 § .__ 555sz 3_§__§: w am ipsa _. san
2a ..§B .__ m._._.w_z.__>.._ § =m_u__£w 32 3 __=_._ q=.v: l_ v_m==a¢
SE$BS l__ oo<u__._u a_[lmEEs_ w 23 5_. ._. seamen 555 n E=__.__..__ §§ 155 usa
n~$.NmSw .__ zoomm:Eoz 9=.._ §§ 33 __ 552 855 §§ 55 255 w 52
n~.~m.NmS@ l__ zoo¢m:Eoz u=q._ 255 23 __ ssa 255 v,.__§sm 56 255 mass
E.B.Q.=S .__ mx<._ az:oz _u_£__._$.u _____ 22 E._.__.PE..§.F a ame§m ._m=_§_. _s 3_55___
SQ.¢SB .__ z_m.mnza: 5 1555 ._.B 555 §§ EB_.
:_ §an l__ .Emmoh_ mm>_m __§_H_. _._H! _§. =. =2._§ di S_E___ _._ £¢_.
395 .__ mwn_~_zoz x _ E__.G _s o :h E_.=. E$=E$m m E_v 5$._=_"§ »__.u=._
»¢-.$m : >z m><m zov.._s_$_ »>< u=mom§m m 555 355
,..NE.EuN <> zo_.oz_._z< 5 E 2 z §§ ___.=__~z H__._ 350
n~_~.hm§ co <_._o_.<._ E~__m=_=uz ...~,» __3.._, ___es §§ =o_s §§
835me <u opmmoo: _§ 2 551 E~§§ ._ =.,__a: 22 2525 m B_E_u
_.~£AE :._ l__ 513sz »__§§ _$>__ u>< E:Sz z § E.F =. Eu m ¢=_~m Eu _s ....x_._m
B~,A:NN § 2052 .E< z_w §§ 33 _______¢z guam =,_=_,
:_..._.nn§ z_ m.=m<uzmmmw 5 _Ela.__=§_m § E.:_Em m s=_m_.>
BNI_H$ 40 »w.mm.rzo: § 535 ._.5 E:.. 2 memo _e_u=um 2. E<E._o §_S¢m u=_.a:
32.-$.. z_ nz¢.__._o_: ¥< 525 m § E_.._. 555___ _. m_wm £_£§ l_ 555
~§¢G~.m <u 920 z<:_. z<w E__H“_ ms _~__B §§ 5_;5 BEN_.
352qu ,__ oz<._._o: :._._._om 355 552 w 32 EG __»_§Sz_
~»t.;_o~ <> zo._.mw~_ § ca8 _;S_v.s“_ saw _______oz gsa _=»n_
_.G~.H§_ .__ zoomm z<o __Q __En.. 535 mw~. 525 § §§ E_._
~mnm.n&_a 5,_ n<m_._w._mm<: Nm_: 55 am .,moE$_ ._.H§m
m,m_.._. 33 l__ OO<Q_IQ BE_o£._u>> »o.Eu_. O.m.h_ E._._._. umum_a 383 :zu>m n_E.oBo ms .F 335 BBE. u__.m
m$.~._.._§m __ oo<u __u =£.w m _S»_ 554 z 25_
32.$3..._ l__ »mmmoh_ m¢<._ Su__ 2_,5,< E_._E_s 552 ._@~_ 225 x sam
H$.S~S .__ zo.Ez.._..m_ won §_. § .__ _m 03 =~_€_¢u _.E.:
m_m~.x.§m <u ooo__>>._._a_._ E.muz ~__=m_,_u 232 uE_.am m 3553
ann I_B~.a. 40 <._._o_. <._ 22 _am 325 .,§
25 332 ._»_ m._<nmwn:¢._ Eou_ .m ._GN oz 82 ~..$:: § _n=_. mo m ...Eo§ =a___=s ..F m m 25_5. E£=s m 913 ~_w
w:~ rm: zo o»zomo._. §§ ssa 530 mm 32 sam B=E_._ ___m$._ Eu€aw
-§.».Bo_._ .__ m_zov_m o__.EE 33 250 m gear
: _.i§mm <u ._._mmn__§_u §< _“_>5 :H _%__95¢ m swim
.3.3__8¢ ...__ om<o_:u »>< @u.ma._=m _S 23 55 _»ES"__ < EEEE 2=. ~m_.m__.~_ § ._.
mn;._a@$ <_ zo»mz_._m@_ u>< _a_w .._=um E: E_.=. Eecn_u 553
m~m$§m_ .__ om<o_ru ¢_%§z 532 m_$
n_.~m.m~:_m ou zo_.m._.E._ _.» §§an 595 §§ 39
U:H.§: >z wn_m><m 55 3 :.!N E.E»_E_._ 35 EE
EN,...%~B l__ zo._.wz<>m 24 r=i< 3m
~§#x...w& ¢o _r_._u o_oE.m 5 3325 esa §§
8-.33¢ .__ om<o__._u »>< u=m___»< w @m~_. E_.=. __33_ _. %§__s
503 5_ w.£w_z.___s §< §~E_§ ZE
133 ._h_ zo.,<z <oom §§ 5 »_.E§m 302
-2....25 :,_ m.:_>m._._mm _m sam m . .
962 ._< muzm~_o.: gao v_~o §§ng EE. uz§>um __2_5_ o §§ §:5 5 # 552 o 255
§~._SS l__ mfwz.__>___ 25 ___x @_~n EE. m__.s_._ E==v_z __ .m_az ._. =~252 __ m¢i_=: 5 ._. E_.E_z @G
255 :.»~ oz z_Ez_._o: zo¢._m @R 55 on ..u_s__§ .___.Em m_su
mm€.:_w$ _____ o<._.__n<u »§._ 555 52 E_. _1 585 o _.___mo 535 q 155
G_N.S__B l__ 235 v_<o §< _5__§»_ § 33 . ._m _. E..._Em
3~333 <o :o<wm uzo._ §¢. 252 :.~n E.F =. .w.mm?.m 0 ivan s _»m m _.._.__.
B_._.o§m .__ zo._.mz_mm<m vm§_wo sss 535 __ §§ ___§“_ § 555 e_=a.§. _!u
F.B.w;m_ 5 __,E.zm>oo § usc _5_~> v s_ him _s 555 §u 8 .»=._._. _EE» §§ .
§ql$uw .__ om<u_:u =$_££ _s m § §§ .__.,_._ $_EBO ._ 358 353 _.F B_EBQ l_ uEEu
_._‘_~._N § <_s m:._.Emm EN~_H 2< § 32 ._¥=Nm :v__mHn:
535 sam co mm.muz< mo._ __ .5< 5 §v__.sm §§ ___: 0 595
a E_._ 3231 h E._._ EE_§._ @ »___._ 5qu m 95 »»E.._& .B=_._ HEE§ n »=.._ »“EEE ~ o___._ $¢=i< _ u.__._ $2_:&

 

 

 

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__~_.__.R_§. _____ w._.__x >._¢."_>mm ...E § n~§ 55 <c£o

2__..__§0 <o >.:u mw>._:u .s< __N_E_ 53 .a_. __. 5on _. ___E...§ §§ < §§
m:_l_~h: >z :u¢mmm:zmu § ==_ _. 5 2 EE=.G w _____________

EK.NRB <o 55 E>._:u 5 _._;_=G NE: ____S_ 35

§§ § z__soEm._C_ 2 van on_ __£__£ __________5

~$_+N§ .__ oc¢u_:u 5 25 _____ 53 »__S_s »__»_=a_u

£E.__NS l__ zo_.mz<>m 2__§< _~_.._Hu _.s 53 l. 55 §___m _._HS ________Eu 5 __. _=__.5 _.>RB
23.3__3 __ o._m_ui_.~_oz § ii ___o m mo_____ _.Eew

§3_~_..... _¢ ___§uz_zm_m 5 __eu _§._u h :~ imm m._.___£

 

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aoom\:m_om .__ ODJ.O_Iu .m o=mm w._ Z owe vw:_._. u_&N.¢>u._.__ ¢cv=nu m ooom gene _ _. w_._.x_¢u _. ____wtim
oonw..._.mam .= DU¢O=\_O ~m o__om 5 Z own organ 1 ____m.____im

mm“N.mo_o-m <U 590¢< nm memo com o 5 §._. u£m_m m£._mf

v_m_..hohom l__ v_¢c.a ODD>>El_m o>< u_nh Z snow yv._.=._. cum_O !._J._._o._ NE_n:Nn _ _. _._oRD m o:m=..ou

comminch l_m wwz_mmw 500 500 £n w >>2 nnmu wingo m 33

Nmme\hmmom l__ OU<U=._D nnn_. _Wc. _n_ 2on uxn._ Z conn nu_€_um oi.m_m nw_F_.

omwn._r\m... wm ¢D <Z_>OO ~m Eon_oE. m 2wa v_n=E.u _um:mn_

___ room 00 §DK_._< odd _L co_vu.+_n_ w am _m_. now ._. onom_ < u_._.._o£mu ummm_ _$Emu¥

 

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__9 333 .__ xozm._ _smz 25 _3 52 5._. __. §Em m ama wm__._Em _. __._o_.
~§_.$__$ :o zom<_,_ § ving SN E» __. 3§_ n was 351 l_ 525
mnm~...a£~ uz m._.__>m_._m< § £._!m 2 55 to 35 o..o m___§_ 353 _»___Em
h _3.~85_._ l__ v_uozm_._._.moz §§ 32 _ma¥_mv=< ._wm___so
Br._._$~m .__ §<>§ Ewm__$>> m 53 __B ___ v=~____w "_ ._n__o_..=~_ d______.__m ___ m__o_w
325 _Sm ou mwz_m___m on<zo._oo w>_._n ¢_§B: __vm ES _=_m._psw .§_.E ._ S.S_.
Em._..$m____ .__ m._.__>zwn_<z 5 __H_Ev_ o-_ __ _E___._ __Eu_._ o 33_=_> E_o EB_._ w §E__
h:¢§~m co _._u<mm ,_E.uz:z_.__._ §_5 ___SESm N..S E_. _$_. E_._ 2._ E»_<
3553 5 co m§_ u nz¢m:o_.:. _o E_..._o 52 __va _§__<
533 __ z_m._mnz:_._ 5 3~_>__$ om~.___._ __3__~0 _. _Q__z
335an <u mm._mwz< wo._ § 34 ¢>< ~_E_____ 3 33 §me §§
BE\__$__¢ 00 w.z_._._oo EP_ ala E__§no 23 _a._, __, con_5 5 ¢E_._»> __B__._ m ,_§_3:_
M_.____.~..Bm <u mw._muzq mo._ 2 _mm_m ._w<m_m.~. 25 o__3._
~BB <u m._<>mmz§o _E.N _Sm om_ _<m_ __S$n z §§ B_._N_S 5 __. 535 o »___..__m.__.w4 535 m §§
~R~.§S <u v_¢<n_moo_.__ ._._ »_§_S_m 52 §>w 5205
~mm~.m~§ 40 mmo_. z<m 5 §§ mg .E_R_B 25 ___:u_w
¢_$S_S m_z nz<._.Eon_ 1505 25 £9_..____ wn_\ EEH=: ._ ___E._V_
_:B.B:N <> oz<o_. 5 535 neu 33 § 253 ._ EE~_.
m$m.~..__~___. >v_ m._.__>m__._o._ § __35 __5_$__ _.~m_
m~_:.~_.___x._ m_.__ zooz¢m §§ _am on aim ____ m c__< ..E,.._au _____m_____n_ a mm
m..§.$m: >z m._.___.&oz§. m __u »mw___> z 5 ¢_5=2_=_6 §§
o><____ mo >.E_._oo cumUz __2___£__. ._u.~ q §_.__£m __3:_2 _a___.v._m _vsu_____
_~£.BS_. .__ oo<u_:o 34 __$__._s ____ m~$ __u__:_ o _.__.S____
n___~.~£~m .__ n._m_“_mz_.n_n_w _______um 53 _$_._._ m 255
__~»I..____B .__ .Emmo.._ m§.._ 5 ==__E_s § __ me ___ 552 £¢E$_ sq__s> _!u %»a_._ _u.a__m o__.__n=_o
no$.~$__@ .__ zoomm:.Eoz o_a._ EH¢|._. §_._ $:_ a._§n_ __Sw

 

 

 

 

     

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NSEB~» <o _._u<wm zo_.mz:z:_._ __u BS__E §§ S.F ___ v mm w _u_______ o mm _ ._§__>__
__m_:._$__m .__ ow¢u_:o 550 £¢__B._m

_H~.;Sw .__ w_._.m__...._____._ _£_5»5 _§N __ §§ »___.§=_m m ._Bm E_u .»_u£~£ s_ R:
§~.Eb$ :z _._m_._cm 35 555 3 u_____.__au____ ____ B=E.

Em...nw»~_.. <u _._u¢mm _.mo%__mz __§__=Euo ___._ w: NNE £_.Ew F____._

o___n.¢_§ <o mw._wmz< mo._ _w 55 _____ _M=~ wx.¢_. fin

sum _.~h § ___s mm§<_s.__s_ _._Som u__< ___$B._._ 22 _2_=5_ n_ .=.=_m_.

3 :EQNS .E __,E_____ 353 _am on E_Na_a 55 E_ Ess__o 5=.: o.m.m mu_~_%.“_ m<
_§W_S__@ 40 moz<mmo.r 5 e__~n~ ____ 32 B§____ ._Z_.._ guam

:.H.~__%~ n____ wz_zn_m mm>.__m :.F »>< ~_ma»u 85 :.._.F __, =E,_B_. vE_. 522 F_E._“a_.._ =»%z
S__@.B__B .__ m>o~_o za_ as _m §_mm.in_s__s 55 ____“_»_.sm : EE=._

E_A...___@Nm 5 m_z_>m_ 5 E__o_._§_ v § 5 §§ s_E£ csm._v_ _26 Q_EE. Eu_m
5_.3$~__ <u mz_>z_ 5 E__¢_.an_ _ § 5 »E__._ s_~__~_. Rn_¢s_ _m_u 555 ___§E. _§_u
S__.__._n.._nm <u wmammuz_v_ 32 _a o"_ =£ __. 2.\._§5 m ____N visas m __S_.
NSN._.._S__ .__ n._m_"_mmmg 5 S_=B..__s 32 555 w E~__.._s

_.___:.E:__ <_.__ _____Ew »>_5 aluminum m E.F ___ ram . _.a__§ ram ____ __3=»
nono.wmuw@ .. w._.__>>mmmm_. on ~um ~u=oE__. :B_._w

nano.wmuwm l Wj_>>mmmm_. on _Gm cu_._._,_uo_m ._Emm

mnmw,£m$ z mz><_._.__ .Eon_ __=_§_u w___._=__..; ~Em §§ z I¢w

335an . m_.__>>mm~_mw _§ 15 ._&~5__5 55

_.5~§_.3 <____ z_so._.mm»<_<_ 53 e_< om____So md m_=.,_ ____an

_.NN~._.moom .__ w\£.w_z.__>> ><_mo_¢vo_w moon .tm=_=_..__._ m =£_ns_

S.$.=SS l__ >mzw_._o____ _w _H==> § 33 cf __. ER._m ____ m__....._ ___S_m < _._~sa._
__Rm‘_:r.__~ uz ._.__x ._w%._._u m..._.__H_ vmm__¢=.__w m_: §§ w E_a._

SNFS 50 l__ _,_>._._m zm_._u 5 _.S,.s_§~w gm visa »»_E,_.

_amw.n=n~_. .G_ o¢ommzw_so _n_ __~o ~___._ § 5_. __. iman .§____m ||§m
$m 358 .__ mouzm._u 352 §§ fn §§ _8_. am £. _B __=w __3_ E_§E §. __3_ %=Euu
hnm~\____o_: § a>>>z>u <._<m _==E EQEEQ v : ____._Euw~ ____ ___E_Em_

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ _._ 55 o____ noo>__n:___s 2,_5 55 _u___mm _.SE .€__~z_ s_ su._§m
SS. SR__ _._o mzw:.i __u §§mm.a §§ _o_§> z _:~__u_m
__S_ISD. z_ ozo_.__._u_z 3 ~=m 05 _____E.m z 85§5
__._~Iz § ___s mm _¢z<m<m.___ _m §§ 53 =~>_v=_.o z _§n__z
__~._..__.S_.E ms zo.§:o_._ 5 ___Bm _._ H_S=_£m m__m_
__N$._._EB .__ oo<o__._u 5 53 m Bw

_._S~ m>ou mz<._ _m z»_>.o>_z 3 555 _. .§___Bu _o m__.. z»__» 5 . . .
EB.__~N : >z z>._v_oomm _..:m § _E. __. zaz z _»mwl__=m\ _____~z _. BE~_,
~mmm§__~m <u <zomoo 5 _._B.__£_w §§ __€_~_i »_»___m
__~B.__~Bm <o moo____mmom § _§v_._ EN.,. __EE_£;> o §§
NDE.NSE_ .__ mouzm_._u u>_~. __3_2_~_. 31 __ ssa ___»_._V_ _§__m _¢___B E_u ii _. s¢z
S¢_.m._.o=» .__ m_v_ov_m 5 w____5 man __Ba_._ dam u_a_.
mvmw._wm_.._o .__ m_.~<n_mz_v_ _m :uwm=?.mm>>z mem .._uE:EvI 0 _o._mu
h.\wn.m._.onw .__ m_xov_m u><aE_ex E.Z. §
team 02 <nmm_._Em § B_»E__m _wa =E __. _____»_._ u_._a._ 225 z ¢2
o!._._ Ho.“i< h 95 B..._v_§_ w 2__._ HE§_. _._ !.__._ HE_._§ __ £._._ HE_._& n .____._ HEE..< ~ o___._ 332 _. 2__._ 32_5<

 

 

 

 

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22.§§ 2 m._<gz<zz< § dam § _z 252 =».o §§ .».5 l.|||..||l=eo __e=m _EE.
§ _.SS~ eo zE.uz_:m<z._ :z .m> 33 § =. §§ £E§m §§ 335
N§.:Sm ¢..,_ ww,_wwz¢ mo._ ~B. _ § on Es£_.u §§
2_5.§2 .__ zoozm:§oz 05 Es$>> ..; 5» s .§5$_ _. 224 §§ m E¢_.
:~F.m§ <w z<z`smz :~_ 3m cn S$EE._. § E~=.=s_
SG.GNE <u minsz |E|E§w.|@$ E.F “_. __§.. _, 543 =§._|_.=H=m,d
SB.S~S N<EWBE 5 .Ez w § »§_ < 350
m~n~.§g 5 ozom_._§m § .__E_EQ 3 §§ ._E.h §§
m_»~.m§w l__ ow<u_:u §§ §%___ m dE §§ m vi
2233 § among zmz 5 §§ : E.U_. __§ldlm.§ _.__€»_z __Jl|§ 26 2.._2: _.
§§32 go uzo:nm ¢~.& van ou ,___»%§m m iam
$,m.n§~.lum view n F. _: 32 E§sm o as._
§§ _Bn <u <_.z<.:< gm 5 s__.&m 82 EEE@ vega

 

 

 

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o,$~.n$$ 40 >mzm:m 25 § am =_SL=_£§

_ES.§=S co <E_> d 523 w § sam m 35

3$._$§ a__.._ zo_.m<m § § 325 _.3_ __o §§

NREEB >z zumzom<:<z m>< EE>> mr §§ o aam;s_

§mn.=mm.d <u wzos_mm>_._ >~__s ._,.ES: 53 nnix z §HE£.

9...~¢$~» <_z m._.__>zo_._smz §§ _QSE_S : § §§ _.3_ 8_5 md ix n_E_,__.

B§.E§ <u wm._muz< mo._ 5 mt§_> w 3 : EE. ¢.=__E. aim ~9.2§ 5 # ~E_._£ arm
...EWB§ .__ ooo>>:<mEm .u .B.< N E_.=. $uz_§. z ..E_.o B§E¢._ aasc<

NNE,MBB .__ r_m.=.z<m SEMB E: §E=E»E ,_£_£5_

§ E~S¢ .w_ zm_>zm._w »€E ze_=< § .a~_i: 8=< §§

§§ 22 w_m_§d zmnm § __»_Ez.m 35 35 z !E._H

32¢.~.§ <s_ on_z.mm um §EE§ .$ S__E __ 235

B:.,.mES 40 mmdoz¢ mo._ 6 nE§> 82 EE. ~§E. arm ~_=Eaa 5 :. E=..:. aim
$_I.HE. =._ w._.__x zo_.uz_:~_<h_ E_¢o “_S§B>> §§ E_ ng__,_ m sz ,»=u §_=Sum §§

EB.E§ 3 _.zozuzo._ 5 o__.__su § =ve_i m.u;a£

§~.._~8. __z §o> _z_m_z_ 6 55 was mt 232 ~_§.E

EB.$@Z ._“_ .“=u:. ._.z_<w .an_ 58 351 3m man 333 ._._ Bs_vn

Sp m <o mz_>m_ §. _§,Ez :§ .u__mu_.s w _§t§

§ _.SSN ns uz_mn_w mw>.__m .€_s _§F IE._§_ mmi

3»~.§5 40 ¢zwa¢._.._< E. zu..__»_o 20 _sw_%§_ egan 25

Smtmm§~ ¢> :u<mm sz_u¢$ 5 u_u=§ss mm.,.._ .E_.___»=oz m EB§

SN.~..E_H_ >z m:om §§ 2§_ __E_%u §§ :§E§x u_ovE

h§m .= ou¢u__._u E .m¢ .m ¢E._ ~E o_.a_u o §§

§..~.$Ro _.z o¢om.E§ 5 3§§3 § _._£. ._, ;=o w §§ $_§u

2~,.»2.$ zz zo»wz_zoo._m § §§ x 23 E.u=%_o ._._ §§

whom <o mmomw> mo._§ cruz$. 5 Enu>s,.§ adam came § §E.m

392 _2 a__._wz_so.r zo»z_._u 5 v _z :»Eu§ S~:. EE. _=E£=m_ _. §§ §¢=E _5 ¢. 555 q §_E<
n_ai.$ %,_m_sm

 

 

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§~S <> nzo=|_. §

 

 

._n_ ¢._.__mm m:m

 

 

 

 

 

 

 

 

 

 

 

 

 

3 :HBB .__ mE zo.Ez_._E_. ..=_mzm=._ m § E.F =. §§ q 955 233 m £2.
3~_..§2 ._L mz_zmmw 33 5 _,.._.=Eu_._ 23 %_§o<.§_.
2 R..,N§ .m aoo>>>._._or .m swaim 53 E=B w _»E§
md _.._R: >z mz_:m:._.,_ am §§ 82 § »E<
mm;.....ao$ =s <_zox_ 5 §§ _._2..._.6=< .~,§5_. inn base
~..§.w§~ ns <nmw_._.m_m § P._Es=~§ 33 mai m 55
NETE...B _: <m__< 5 E_=v_ s:.mm _: me _._ .H § <,_EE md n~mSn. o§_¢u fin
_BN».tnB l_h_ m._¢nmmo:<._ E __£=e=~_m 55 52 ;z n- B=a__~n EE. ci_.
3333 <u :o<mm wzo._ E< N&m_.,_ ;~n §.=. E=mm=m “_ _..%_. u. am £.,2=.
BB.$¢% l__ ou<..,_=._u u\_.§<>> 33 ,E.=. ,E¢z n.=~_=$£

 

 

n v mn,no_.._Qm l= N>OE.U ZO»m D_z

yu.__¢u¥>>m_.vm

 

 

._.v=ao l_.m IQ_mDN w¥d.._

ucm._._oo:§uh_ NE.

 

m >a:uw Z moEn_.

 

 

 

N¢No.aan_m 40 >._._u wl_n_s_mh

»mz€mc_m cohn

E._r _.. m=___£$m _az

=. m.=:_u¢m ., a__»r

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ma Fm. FNMQ¢ z_ zm._.mz_._.z ._Q xoo£_u§ vNN“ _._m,_§._n_cm >>.u=_w

m:.N.aw».No <_z w._.__>ZD._.>>wZ vme~“. nonime : m§ 553 ix mm__m E._u c:v_ m_ES

mn».n¢hh~om 40 IU<wm On_ZDn_wm u>< F~=.=m:_. w now 300 >»._om 255

§onng l_u_ OQZ<.EO _u>_m coccu:um _._.nNF m_oc.m .».E

gma.~$.nm <0 ><m Dsz_._ ~m S_._oc< now _w:c. _€._=BE sarah o.._<xum_. uE. mEmEn v ma :. 532 m§=mm gai v_um_.
N_&mm <0 ><m Dzmo§ am horuc< now =_uos_ nmut_mn_ ucc v_u£. o£. motan m3 h._. viqu §§ §
m¢mn.mmamm 02 anuzOu u=u._ xoo_m .F__m> Bn inexqu _.»mEcE.

n :N.§N <> z<m: us § xii a § ;,_ms_o _,_ §

_S.m F.Nwh: >z ga <Domo.<mmds_ w=_._o>< E\._ own uncor_ _., zm.$.u_.

3$.~$2 .__ ._.mm¢o~_ 56 24 sec §§ isp§

938 l__ ou¢o_:u ~ .D,< ¢>< =HEE“_ z 25 $_%_3_ AEBQ

mn+m.whovv 10 2_._.mmm0 11 _._B=EE._ >>.nh...h# u>m_z m m__m

#NoN.mn¢Nm 40 _z_mv?__z< am u£> 2 anb mmmN EnuU

w$m._.=~m~ uz wr_.o._z$._u 5 Em...._._&=o .BE _._»._. ._. §§ 251 §§ _. §§

vNNN.mN._Bw .__ ._.mmzu ._mN¢I n>< mEu=mcu _._mn BE._<._ ucr.< nn

momT_mmam l= Zm_¢<D o>cn_ ~uxu:.cmz much :u._. __. co»Eun_ _. econom :wa.&m< 1_m:n£

 

 

 

 

mvmn.nowm# 10 d.s:._

  

 

 

 

boom m cnm:m

 

 

 

 

 

380 .= ou<u=._u umw 5 »_E»ei._ z § ,E.._. EEB._. S.§_z 558 §§
§31~3% ‘_“ xoomm:Eoz 5 _..S..Eeu o : 5._.=. diaz > »_.:6 §sz < 52
EE. :EN oz >m<u 5 .E_»Em :... _.a._..» §_. _ao_. §§ m guam

§ §R: >z m._._Suz_:m<" ..;< H§§> B: dE__o> 523

H_~H.Bw~m 40 mz)>m _i%u _~ =B.E_E. m ».l=§_._.

 

 

 

 

thN.hNoom ¢U mm._mwz< wO.

N_.N ~NG hD acoqu _.nan

.§_uE draw 5_2.

 

 

mvnTmNonn ._L >.Cv mmuOOO

uum_n.. wu_mo._. dmi F_.

._QBENQ _Ez sic

 

 

own _..m FNnm 00 n_OO_.$mv_<._

5 v_m>> wn¢N

:u._. ~_.. U.N__:m S_Bm

Em__:m “_ o?cu

 

 

onwn. _wh wm l_H J<E¢OZ

xa_n_ ~E§em m

 

 

$=22 £unm~=m want

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

hnomdao__.m .mO ES._mwM...u n>< mmu_.cw>:_ um ._.N»n xu mE“D g_u v_ m u._mc_U amco uv_wuo¥ 0 mecF_.
NN_ Tm_. sm J.U Duw_uzd.w_m Zd.m u>¢. v:Nn m_.mw xo!x now
Nnhm..n_nmm <u wu<w_mm._. DZ<EU u_._¢.._ gm v:_m BhNN NHQ H__._uI
m...mN.Nov._.w wv_ <Z_.?_w mth ~Qm On_ 4_2:._. ha__§_ m tuaom m...B»_.E m3 ._._. ho==.¢ d 552 ._o__§_ m toner
m*wm. _omwm <U xdms?l¢ o_m_ -mt£mz> § :muocU w=o_m dmi
annw.._.o_om 00 I._.mm<N-._m unum § m._w=:m N..o» muv._$ __ :u_.to@
m v:m._ mml.iu¢. ».. o:: muv._vv¢. m mc_|_ mm!_:u< m mci mm£vv¢_ v o:_l_ umw.__uv< n 05._ umw~vv< w uEl_ mm!uu< v !._J mmv._ud<_

 

 

 

 

 

 

 

 

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K.JC DOC 1-1 Filed 11/01/10 Page 14 of 46

54010

Case 10-

 

 

   

     

 

 

 

 

 

 

HS.EEN oz >m<u 5 susan § wu 250 .B=: _5§=_0 EE_. §u .B=: i§.,om §§
SNEEB .__ ooo_s:u_m mw oz £_< _E.Eu s.az 5:. _._2_¢__,_ _. 555

mn...~.nSB .__ §Ezz_>> n£=m §Bu@_ Ew»s_ ..r §

~...S... few l__ mw.__z N§:. gm ou SC_. E=£ _. fsia 555 v_ .__§,

_S¢~.NE.B .= z.csmwm u_,< »_%_._ ~S~ E_>_ < 323

m$~.$x_u ..__ z>><._ van u>< §§ m §§ 55 o =u_u

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

"mhnrmvmnn .E N._._._|_ ocm._ ~mu~om ._uzmm mo.vw mur£um_z f __mu
mNmN.wohwo ._.U »mDm./..w._.<>> vt u¥m._ _._mon_ :N :u._. =. cmmm£z .H gmz ammmm_a m xcn._"_
gva emma 12 ZO._.UUZ_Em 5 union h_. utm=__moz 0 £=..m
mwhmzno:m <Q <Zmn_<m¢.m 5 o gm avc_¢_ mae §Ew n_ mm_gg
mob immuan .__ gm=.rzm.._w_ v>< E|vmum __th m:om U ._u:mm_l:._n_
2de _Oom .= n_._w_u_mmmn u>¢. uv.i_=r n¢o_ _._v._. ~_. _Enm w Em!_o_.. Eo~_ 2 u:=l_.._u
anm.ha._.ou l__ OD<O_IU oswqoinz Z m_.n_ _._u._. =. u.._.ov_m. gm mtqu §§u
m _.mN.NNnmv Z_ DZ.¢_._ID_I _u>_m M_omm:£v:_ cohn §mmEon uo:n.$ac_ o=._ o~£m ____..|=Emu
No”w~_.¢_.nu 05 ¢_._mOU m_>wzu m.EsnD >E<Eou ._.NM u_cEm.am §S_Q
_!n¢vomov >Z DZ<._U_ Zm._.<._.m u>.a_ __x_m..m o: mumI
_=mo.No.Yv-. >Z DZ<¢_m->O.mu vw _mI U:m_o>b._w moon

 

 

 

 

ms:.mnnmw <n_ Z>SPUZ_Z>>OD

 

hm._.mlmwoum 00 §OK:<

Hm>> E_o_._ wN_

__. u_uu>> t EE==S

 

_n_ :u$:.__=O m_ wum:

 

N___.hm\*.mm¢v 10 _DQ._

 

tx §§0 u._.vm amusch um.__.._uU

 

§§ <=£_._§
$_Sz 525

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§.1.=4§ .E <m<mwo:ox __.._:u 555 m EE §§
~33~§ .5 admme s_a_§. _§$w men . J;._ 355 532
UNN.S§ .__ z>.smmm 5 o_u_eu§ 55 255 cesx_¢
3 :.SS@ 5 mm._mwz< mo._ a 53 m ma _Sw_~=€ E_ ==E§ z =Eo 05."_ §u § BEE¢ ._o §§
2..§85 >z §o> zm_z 5 am w o$ 553 E.EE.._
RE.S§ .__ z¢om§<_s u>< 255 z § 33 m 55
52 >z m<ow> 55 3 _W.dm 55 5 ES.F §§ =_._e£. z §§
553th z_ z:o_. 525 2< _u==__mu 23 §nz_ew E¢_.
Nmm_.d.a$ 22 mm._<mmoo Nm& nom ca §§ sum E~ 2._ uE. :...Nex_ ma _._. L|||Eua§
nm~l$_s J_ zo.Emz_.s _:E.a: § S_. =. 355 < 2.==< seam m ._s._v_
Smn.»§@ l__ wz:<._,¢.n_ 5 ,_§: z § §
mS~.§ 5 <u mm<._.__>mx<.:wm§ 5 Eh_w 25 § §§ EE wm E§m 55 B§_B _5 __. |.§=1_.0 l x l
mn:.nn.§ mo m_._.&>mou 5 _i_<sm 32 §§ c .£_°E:
:ml=~§ 02 mmoz_._.._<m § s§.aeu 22 §§
...;I.E_.N 52 om:mm¢wo._m § mci _B._ 33 §§ _SS:... e_ s_§§ § =. 8 EE. EW_E$_ §>..
m§.§$ _z mzzmu >mo»u_: 5 = m ~$~ 3a _..S ~_._ §§ u_~.E.v_`az §§ __~Esz =. _2»,5 _§E._z
-$B_.sm 5 v_._ss¢oz ¥< vBE»Ew §§ ~3=§
S§.B _B au noo§m._uzm E.m §< _:§o _s § .£Evm aj 53
§§E~m 5 »w._._<> z_<hz:E ._u _=_=Emu § : §§ 5 ,.__Bv_=m
2:; <u 390qu z<m 5 E=__._ 2: E_ §_2=5 _2!£ ad id §
m»..n.mxam <u ru<mm os_w_n_ §§ &N._\w 5 $._.5 o>_.._ § §_.m§._ u.|: 52
$Nm.~omom ns_ Uz_mmm mm>.=m u>< nmm__ouu comm :u._. =. =_.._B_um_. uc£. ns_ cnu_uu_. 0 tunom
253 :$ :o m.=._o.m: nz<._m>md _& 553 :_ _n 550 2505 ,Bs§ _s 352
~n~m.§_; <o 55 ,_ z<> 25 .»__=_Bu §§ 33 _. 2~5
NN_.om 00 zo._.m._._l_._¢_ ._U 250 m nwmh ~»E._. mouuz _suu m cou__n>> 352 o=zu£nu _. 530 nn ._._. EE_EU uom__m?» ozu_m>
~$w §§ § zms _._m:w 3§§. S=. man §§ m 25
_:.:ESS l__ §§ nz¢ ._:u_r 5 § 225 § 538 _. __Em__<
E= =_=E ==_m ¢§E._ 4 Ee. E._. 33ch 5 z m==_m o Q%E.._

pwhm.o"mmm 40 >m._¢_<> mz>>Omm

..~>> m._.£,_ SP..

 

 

_B=m~;$_ a E._j

 

rmw.e¢.. _nmm <0 OZC~KWLDG

 

mwwN.NmmNn ._h_ nz<._m_ ._l_._zzms_

._n_ uoEEuE m m._.hw

=mcuv_mu_.._ s_ =___..__.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

nB¢.~..Eom .__ mmn_muoo>> 5 z_.,... 35 525 __5

R_B.a. l__ au<u=._u §§ 5~: 32 : ANEBB_G o_.% E_ mv_aem... §.5.~ .:~.._ §z.§E“_
m§..$~¢m <u >._._u xw>.=._u 323 835 233 EEBF

QE.SNB 5 mm_<.mn _n_ §§ _s mann =%Em _z£.

__NR.$ 55 <u oum_uz<E z<m B< 52 35 E_§_u z =._2

=EN.E~S ._.> zohwz_zzmm vi =n_==_az § 382 283 ~__E_<

m~=m.~$w~ uz zmmm §mz _§s § . mm E~ ann 22

§=~.»RB l__ _,._sz<>m "w~._z m£~ gases §§

unravan u.<<zonmm 5 _EE§B E mcgraw o §§

§=~.__.._~B l__ za$z<>w m|~.» ._z 33 m§eu$§> %=,u=._

mn:.m$o@ _ ow¢u=._u 353 _am §§ < §§

mE.m.E$' _.z u<._.=m<u 53 m :. m 23 E.. __. __§_u=.m o §_< __~S_§m =B=_§.§

E~N.R.Bw l_ nm<uu 5 diaz z 52 l |:|3_ ., ci_.

§_m.n~§ co wmo_. z<m 5 m§§_z 23 _._. _=ah § ¢,|.|§_|wm.m§
wm _n.mmun\n <D :._._j ._n_ ._u._Em _. E>no

 

  

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

.E.~.E=S .__ emmame E .SE_.SB 2: saw §§

m§.sw$ __,_ u<._.__o¢u 22 :. m ~B § z %§S_m __8£2. __§_S_w a .a_<

E~N.=m:m <u<z_>oo Em_s _$==w Eaz -N § 55 § o._: <._._ _ 255 § _Eo sea
§ E 58 .__ om<o_:u 25 § 5 225 §§ z § m=__§,_»§ w§"_. o\m¢ we memw€xs .?=»= 533 ..., .....EE_EB .EE.
§§ .__ mj_>tmmm: 5 235 § §§ ocme

SFESS .__ m._r zo_.oz_._m< m_,< ss“m__u m 32 .E. =. m__o>._ § § o Es,

5hng .= uz_mz<._ 95 §§ eat B.F ._. ~H>._am sam €§__3 1 view

.§I~§ .__ zwu._m 5 _.§_E, 32 ~_ aa___~,_u 33

EE..E§ .E _.._z¢._.=<z _.E. _.8;§8 3: res t=._ »¢2_

£~w-:@ l__ Eu 955 § __H__.._m N$,,$ a§§ m ¢§E

§§ N< bouwwmo. 22 sm on me~,n§n Yl»=sm

933th <_ oo._~_E.<.s §Ez._ § §§ z E___§

= :._.NS$ J_ wouzm._u 6 umw § ,_¢.E_.._|B:._=_§£ 25 s§=z§ §§

§§ >z mz_¢._n_ wz_q 5 § 535 § 535 m Qa_.

3%.~§~ n__,_ two tou_._._m 5 2§§§ ~B.. S=__m 4 E__m

SNZJB 5_ m._.__>zmn_<z 25 §~_~Ew § §§ _,_ x_&

m;~.:=.; 50 :<zz<>$ csa ES§E § §§ B___=_o 05 38 §~m§z 552

2¢~.¢~5¢ .__ ..wm::_>_._w §2_3 z § F__=_£ _. _Ez:

N§.E£w 5 wu_~a iam §§ E.m_ § __ §§ %_._H&< __2_53_ .Bu §H.um < u__»v_

~BIB; 5 mu_mm 525 §§ umw § =_ §§ %_.:l_.mm ix 255 .»8 §§uz q §§

 

wmmTonow l= mUZ<.w_O 5

._n_ muoo>_.. ___Evc_ hm_. :.

 

=u._. =. 526 ocean ¢o:_mi|<._

 

..==u 2.._§...>

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mm_.n.nnhmm =\_ EOI<Z¢_ me nom 01 v._..z¢_ Swa HQE _cm“mc£:o: ~._. _twg nmu-z Es_m:omaor
h;_..nv._..: >Z N_sz(f D>D._.._ _._.._ =Emmm N cu._. =. ~ov:_._u_.:< gut-ho ridgch othowo¢_
o.~.mw.hwvcw l__ v_w_d.n_ OZ<._xO cl_ >mm_oz moot :o._. ._.. ozuunf l_ _EmO vacuum wronoz
guam ._H wmz_¢\_m WUD u>< ~::_m:> m mae comc:o~. w P_vcam
w e=.._ um!.i¢. h !._D 3231 w !._5 mmm._uu< m mE._ mmEoo< v u=.._ uno::_< n uE._ um.:_i< N o=m._ mm£uuc. __ oe_l_ mmu.__u_u<

 

 

 

 

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N=Nn.moNN_. >Z >Z<m._d.

5 £_.¢Em 3

=u.» =. ,_mo,_=mm_m .9_5

 

mFuTvm_ow l__ wm_._m§j<:n_m

5 ina anw

 

wm _.n.onmom l__ OU¢U=._D

v>< §me 2 _.wm¢

 

 

om._.v._owom l__ ZO._.mZd.>w

u>< cumo=_. I.n_.

__B =. _§_S m~_=. ms

 

 

FNnv.mw._.Fm <0 m._.: d.azm_u§._

_uz H>:.Lou u:&__.§._. comm

=v.:_. .5¢> uE_uF

 

 

_.N._. _..ewmmm <0 zoc.wm On?.u

canalme nEEmU oN._.!

 

 

nn S..mo._.: >Z WN_OIW ><m j ou_._o£mom nn
hN_.N.anwo <E DOOZEDZ _w viii m ~
_.omma 12 N¢_<CZ(_ZZ< vmu.m 52¢ NnN

 

 

 

 

nu$in~mom ._H m._.<n_wz=.~

 

ormw.mv§ l__ OU<U_IG

o>d. u:£a¥ Z ovnm

 

o~_ »=.=w E_m sz_. 35
_E.:. usf o_u_._ ux

 

 

mmow.mm,..Nn ._m v_~_?_n_ Ew._.Z§

um ~.\,utcm FNnN

 

n _mNn ._m nEZ<J~wO

 

 

 

 

 

 

 

 

 

 

.5: >z n._o:Eom 5 m_o.=o o:._
~BI$N@ <o o_.w_> zo_mw_s_ waan ;......~_ §§ :»%z
_E.,..mmh= rz mw>oz<_._ 5 §BBBG 2 ._n§_u ._ _.EB
:nEmuI 0 :n_¢.

 

 

avon.wuonm <U §D._.Zm>

 

    

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

N...Nn\wnnm__. 2_ mNzOIm >._mm>mm ._o=on_ o¢oEmmom

.SN:EH ._h_ zo;E.z§m .€>> 52 zz n- manion §§ io_.

QEIBE _.z §<mzwv_u<r adm a Er_u 2 555 __ §§

c...mm». _E ._.IGAIPEOZ mnm won Ol ~m sam m w_._. .Qv:m=.zmmo>:u> mail

mud _..th:. >Z m._l=>>d.m ._n_ Eu>.o~_ mh_. :u.r =. cozoO ou_._u>om ___u:aO v§._._mm

m_.n _.v_wrm dd <._.zmuwwmu <._ o>< _._mEvE..._ m gm hoc_.m_._m mom

emwm.ommww Z_ m_._Dn_<Z<_DZ_ ucw._ Eut£m N._.nm “m_.:._. >om =_.Bm < nn:osz ,..m_m _.`m ...D C. _._mm_m < _om:u§_
mnom.+$. ___ >Z mu<._n_ w\Ed.u u>< §§ wm oc.uEmw.¢_ om!u._.

Nw_m_:_ _.?. zD._.Uz Im<>> n>< _Sma=mm umEsm m :mE.Ez

nvmm_. 4a Z_.SO._-.Swz ocm._ wutm___O § m BE£_m=m m _Emu

mmmv.mommm 55 <E_>_»JO oz u>< =Bw._:E. m:.m_. 25 mE.D EEm =.a_._=_.~ ._ avu> _w:C _._QH:EHI 0 rEom
h;N.Nm_hmo .rD I._.DOE>|E unum .¥_.._=or utah MNN tvn:I o.._;_._m =otm£

n_. FN.»QN_.m <U ml?.n_zm._@ u>¢ maEu=.m mo.d on_. __v>§oo.n_ <E§u.m

hw~m.ovnwo ._.u §Q ._,>mz oz umm~m §Em eo__. .__. uimu_mw D Em__£m

moom._. m_m<n_ ozEnE> un_ osm QN& § m_:nl

Noom.nmamm 40 >m._._<> _E_w t:cn_ emEo_oD dean ___Eoz m qumn_

conn .,_m ._.mm>.._ <DZO.FOE _uz §§an m: mo 553 320 _. :o_mU E._u HEG §§ _Emu
h _nN.mmwNm 40 O_.m_.> Ow_¢_< >mO mm@=._. u_ =_ec?__mw omo._v£._.

gng _Nm <0 Oum_n_ Z<m v>tn_ _oc:mo ccoccm unma_. .co£m_._¢ >om

nucp.@_nom DE <n_ww:._.mm :¢_ o_£EO hamm ==w._m w :o:mm_w

N§No_vno ._.> Zz:m._m=._~.m muum.:o._. S__._. munn cub z. .n:u¢_ u_uE.__ zru._ w oc_d.

ova.mFonw l__ mmz_dl_n_ wmc oz ._uson_ maNm cnm__._$ =.Etmvus_ :m=<

won _..mmm~n ._m DDZ<.EO ron pmm v3m On_ EmE m mo¢o:m

h=vn.m..m_o 42 n<mrw._mm<_z 525 _.m=.. : 53 ___BE_z 552

ommm.wmmmm €.U wOZ_zn_m ml_wz=.~w 5 coman :om §§ :m_d. uEs_

mno_.._m l__ v_m.<n_ DZ<._IU_I vw_ mm .__ou=.r.v mom uo_oEm :m£mcc_.

._.$m.$mm.. =z mn_m<z n_z<mw m m =i$n m nNoF n 3m __wvvm>> humana EEU nwmi ~n..._._. wcui=,_uv=m._w __u_unm>> =mo_. Bn_z _m__m _._mu 5 ._._. =uunm>> ua=_n_. En=§>
mh:.mmwom <mv >._.O mmm.:._u<mn_ EI :mhu_z hmw :u._. __. €_E:ow 0 n~Ed. §Ecuw 0 n_._u_.

mgv.vvn wm 10 w._.=I <G(Zd¢m~ uz_m co~mw=¢ ov:mEum cum moow_. _._v._. :. Nu:m.:vo”_ < u_EmO No:m=vo~_ < mu_U
mmwm.vmohh XH ZO._.m_-_BI 5 .~S_ roman thmv :m._.:.:m_ow_ v_ mmv._o._. r_o_om l_ :m_d

u__.ew.»_.¢ow l__ wwIU_mI OQ¢U_IO o:___u>< cargo o~n_. __mm l_ coutov_

wan.nonou >Z DZ<._m_ ZmP<Pm ua:o>< H:Mhos_ umw Iu:m._m :..._E_z

 

 

wnNN.n mem <__S >mu(._

3 =._ _aw==an ~B¢

nuO I rl_bd._mu\

 

 

om,..m¢mwwou l__ OG<Q_IU

u>< ._o___as_ 2 om,_.*

E_ 932cm §§

O\m.»_ no.mo.a_. 20

am_JU mv.d.m§$m § u:mm

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

moom.movmm ¢U <mOm <._.Z<w 5 v_u_.Eo.,._ »N.E u__$w :m__._u_m

mnmw.mmumm Nc. Wo_<Dw._l_.UUw =u o:u:¢_m w mmmo» >$»Eo>> Hmum

m _.wN.mecm .= OD<O=._U =_.EE:~._. m mN...n_ =E$Bm _. :o>d~m

v+Nncmv._. _.m <O m._.IO_mI QZ<._>>O¢ ._n_ guam ammm_ annum dow

han.NNnnv _s_ n_._m_.\=>_OO'_m ._.Dm>> ._n_ ___ov EE:I »mon :o._. =. co:m>>n_ of :u»._m:> <E_Eomv

._.vmnn .E ._.mm>> <OZO»OE wm :methm 93 mo 253 mmEU :o._._o&n_ 02 .:ou F._._U mmEO M$v\i:d. ~EnU

muhm. _ommv _E 0<._._:“_<0 vmom ve m nNcm :uh =. __ozc_u£m cm_< __uz&uo~m _. gov

womm.momwm <0 >m\_._<> m:n_n_< ~m m§.qN:m$. comm =.__S 00 E :BM_¥

noeWmNEw l__ hwm::s_._m “uoam mEu_u< imm m#_. oiuu:._ :o_D Eo_>_

ounhn Z._. 2_._.<4_.<0 E=n_ mcmnnon_ nom hmn__..l.. U_.< E_ :o_._a~O n_ yiequ uaw H:U x:om :uc._D
omoma 12 ZE>><I(ZS>_ of _mI _s_uom =_ :v._. __. hoccunw _S_»u>o.w .u__=._u.=m m sugar

m:=.o_.wo.m 40 m._l__: >._Em_>wm o_Nom mo w==._ a>um »n_ :u em_ NNmN $_.:._. Hm_mom m~u.Emn_ d mu|_wom E_..C. mn_n§ m= ._._. .avv,bm owing wu_mnm Eo._.
._.mmm\mnh= _._0 20._.240 hmomn nom Qn_ =¥_Em d.>o_._fm

FNNN.Nmnnn ._m mm._.<__$m<ml_o Z m._ _._o._uI pawn _m mE 3 ._u==._ _ntnmu ~w:u _u_m,z mm!._m

nunn\n_.wom .= QU<O_IQ oN_n §.5 ha m~ocm B_n._ anna cu._. =. mason w Em:cm_ ._ummo>mu_o n_ wP`.-._oa

m _._._meonm l__ >>m._>Zm._U monto._. U_m___ob ha “u_cm §_E_ §

wmmm.omo_.m .n_§ w_Zm:m Zm.~w. ._\.Eu unum P§.m$l~_ _.NN¢ :E_um>> w mv___§

mmmm.Nn_nm _>> 2_._¥2<¢“_ 5 >._:A,ouo___$ mag S> m_.E_-_ =_E_...vdi “_ ¢_:u._ 550 =_E=w£s_ < u:tu£uv_
von T__. room ..__ wv?_l_ ._<._.m>mu mm>> EUE>_.._D =E. _!_WE¥¢._ .__ >o£un

waN._oomo ._.O ZD>< vm_ mauqu mvv 5 mE _J E=n._“_ donor x_m_.__ B=U E_Em IWER :¢o_»

waN._como ._.U ZD>< um ==u__uvn_ nv_. H.U mEmD ELE..._ _.Ea_. £oE_._. 520 E:m._»_ m=¥_m =mu_.

eonN.nn*nN <> n_._m_mI._._$_m >_zc_n_ 2can m:.EmU no._. _uoum:oz.._ I muEm_.

:.mo»mmovN ¢.> Z<Z<IODD _.”n ann Qn_ w.§m!w<mo§u_.

mohn.n _.:.m <U OGQ_OZ<NE Z¢w h!:mo ne w.“_§cn. m o_._=o:mum_.

m._.nNn .._“_ wmm<><._. _vm £.:mI vn»wn .B.c. ..m=m m n mEn :.._.o m_._ _._. ._o=w z 1

mm _N._Sowv z_ mz><>> ._.N_On_ unum ___E 20 mNmn u__.:N Mu.__m._m

noo_....nvwow l__ OUd.n_=._u noohnw nom On_ occu:m cean

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

Sn¢mm§ .__ m>omu o._<&:m 5 E&.=.m P_.n 5.¢ =. 23 m _emu 200 < 52

mw$.n§m~ as uz_._mm:_s E:_m ___~s_ 32 3_ B&EB E_e=z oE,

331§ 5 ¢.u m.:_r oz_:u 5 3§£. __¢_._au .._:.~ .»_u_=s&|.|_._ §§B

ox§-: >z §§ mmwo 5 § § § .E.=. ._qu 2 355 5._»5.¢ _. _E==s

ES.-N: >z z>._v_oozm 982 x_m o m mem m 235

BN@..N=E >z §0> >>mz 5 § m 34 e__~z EE_.

m:~.@~.e¢ .= .Emmo ._m~¢: 5 3.§»§¢ mNE_ §§>s§§

m 58 .G nmob<E.m 5 m§_§~u 2 Em ..=_._ 525 £§_§m_

EWN.~_N§ § woman >m._._<> 2555 am m@m_..;.§ E_ .,»_m__§.==so n __S.=zm =. .2_5_!0 u§
mSw.mQ.E § z_E:< 35 _vEEom 33 §§ so ._£!m.

wmo~.¢.~=§ >z zmo> §mz §§ §< ._§~.=as_ =w~. saw >> E..HEW

mo.._.§nn ._h_ m._<nzmn_._<._ E u>< E uz .,.N __. _._an : §EE.

w m_.._._ Ho__.i< `. 25 Hoiu< w 2_.._ $!_i< .~. 25 $E_U_s__ _. ¢=_._ wsz n o=_._ “$.__5< w o__m._ SBEE F 83 $£_5<

 

 

 

 

 

 

 

 

 

 

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mown.onmnm (0 mwmmn_>O

 

hm.__$ EK _oD comm

 

 

 

 

 

 

 

 

 

 

mwmn.wuwom d.u Mmr_l_._r>>

wm S.mo...:. >Z WEOIm ><m ucm._ m§£mnm umw

mmmm._.ommm v_< Zd!_IU._.wv. wm >:uncm._O mud x< 552 :..=Em m hoamu>> 150
mmnm.:umm.m v_< Z<v=:u._.wv_ um .Eun_._m._O mNN v?. 252 §Em _.»m_hw~u:u
N__.._.w.o Fo__.m 40 ws_¢UZ_._E:m hm___$ uoo¥E~m>> nw

nNNThmoow J_ wwmzmm.>Z_ um E:aom_m m §

N__.mm <u mmO_.Z< gm £N_. m ;N

:- o>.¢_ ._mu_cuu.U _.Nnm W_.:._. Z_Ewm commEo_._._. > h.u..E_._m on #m._m r~m m3 ,F

 

m_.mn._.=wom <U EN_._L._I>>

_n u>< _muEuEO FNwm

 

 

E=c. Emmc$ E§._

 

>.av§£w _vo__.n:wo m3 ._h

 

moquan § ._._J._.O.v

§ van om_

 

 

N_._.N.omu :. >2 hmmm<.v_z.<§

v¢ _'.LE:._._. mn_.

on._h _.._o. m.__ ou._mE£m§_< _v!m F

 

m von+noha _.2 <IP<:><_I w§

5 §§ 9_5 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mmnh.m.wo_m l__ OU<U_IO oEmF:m mm_.m

:'Ymnnmv _E W_.._.m_._U¢<s_ ¢m cow_$>wcm

hmvmé"hnw n__ wm__um m>> ..o_m:m Z vnon_.

FoaN.Nnown ._.0 ZD._.UZ_EE¢E um EI mm?_»u Nv :v._.=. :otmm u_._:u.m EE..__,.

vaw\vmoo» >Z v_mO> ..sz mma ._m ¢Em>>a_“
w_.Nn,noovm ._._._ v.m&~_ Z¢O_zm<._< Wom_._ Zn¢n

nn_.w.mhh_._. >2 §Q¥ZO!ZOE v>¢.:om:&o_» _..__.u

 

 

 

 

 

own r.o~uho _._Z Em._.<z>umvn_m

§ v§_m 2

iam q_i»=._ E.<

 

 

won TmN an <0 mmO_. Z¢.m

5 $E:um :..

 

 

m=_m_€._. z éu==ov_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

hvmm.e»uom 40 IU<mm GZO.._ ~w Eo_Eu> w name §Z :=mu_.

nm_.on 00 z.O.rml_._h_._ 5 co>o§uo.m mm song 02 snow n_

mo$.wmh 5 <o<zo§ 5 255 §u£s_ 3 ~EJE§ ._EE< z=u Nu.._Enm soria

umw Tnmovn ms_ m :: , .. . 5 5 u_._¢_u£n_ or >uEEEQ wr_Emm

u_.ow.nmnnn D_ >m._._<> 230 crow me nE mEmI m _o._nu

NvN_.~._.mh :. >z ._.wz:IZngH._ gm =n:om now iam on_ udc-0

dwhu\mocaw QD ZD._.UZEW<>> m._ nw ~m 5a nn_... ._uE_mn_ __=_E.
nmmn.. §on <U 2020 ._m ._n_ rdzou m mvnm §Ew seem

woNN.oN;m ._,_z m_._CmmDO__._m.?_ .._. 32 maj uEmm o_mm :o._. .=. owed m ouc_.EI anna s_ 2.
:.....m._oa 5 40 <Zmn¢_._..?. u>< o_._=o_z _m m _nn _2:._. m___E¢_ :oEuG bator <mm_m:.nb ._._. =uv_ou Hu>_n_.»<
._.o. F.H+NN__. >v_ wl_.=>mz_v_m$: 35 nom 0“_ z ._vc$v_m m _._um

 

_NNNJ.N_NQ 40 DUN_D Zd.w

mmu.Enm m_> nhn# EW.AE £.EtU l_ .=o._. O.G

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n_.on.mmomm <u <.Fw_> m _on xoml.um_ _wa._._. H~.Em“_ v_¥por woum..m€o» m_._ ._._. d_“_Eu_._ ._. u_c=:mm quuI :.oaom
v_.~nv >Z ._l_.S>wn_ 5 oumu=uw m unum _._ucou m _=wn_
§§ .__ m._.__>>.Emm_., ._._ 13;=..5 B.~_ §§
m§".wo _om l= w._.:>zwmzmm :m=im_z >>!o_. =u._. =. $o~v_ u::< Em_u mmo._v. m zonnm
EH.S_B .= m._.=>zmmzmm %=$us_ 332 B»cu_. v;._< _Equ ==< mass o==< _Emu
vaw.mmm¢m .E zEmZ:n_ vann uon_n_ mu~tu“_ m cup _._. whom n meehan amax m E.::mo
n=o.“.$tm <u w.:._w_mx <nzm,u$. »>< E_~m mSmF 255 2 35§1_
nnr._..o$u_. >z ,_“_ w¢muz_mm<>.. 915 §v_»us_ mm 1=¢=»52 cm> _.MEE“_
BNTH.¢.S 55 xu___$mzzm usuEm_Es 335 13 ima§o: < _o_~u
NS~.B _om .= m._.:u_w: w.Eoszo 5 §§ 32 ._§.uc=u: =Bn
om...~.rooo~ on zo._.oz_:m$s zz .m Em _.=m Bw» Hu_=h_ mvn_._ E< §§ union =5 saw h m z
nmmm.vnwnm .E mm._m<w .EEDO a._u=rm. :< inn ma §
_.n_m.monmn N< m._<nzm._m_ _F>> _u§._z ._5 .wmh ear u_u:o=,_
EHF.ESB l__ w>omw o._¢“_"_:m 35 oms.,&msz own __ §§ ~=_m 4 _§2. E_o u._m _um_~o=_,_
SI.P_._NR ._“_ wz_mmmm 5 vcmzdf B: E£>=mdmo»|_:.
m$lm :H =S z_.Emm >>mz 5 §§sz m nunn =u._.=. amax z =8_£8. ,_Bm_z _. =__2.
Nwm_¢..mm row l__ ww._.<._.ww Z¢E"EOI c¢_ c;Sum__nuG mmmv >EU 2 w»»m_,
nnn 333 <c ww._muz< mo._ ¢>¢ :E=m =m> m nm~: _v_.u__o: z go E_< vein s_ E»o
Sm@+~wnh K._. wm:mmv_o_mmnmm“_ $»Em co§m m_:. dam n %_u_.>
me:¢nomum .= zO._.mz<>m_ o>¢. u¢_ED ...mnm 3m _uvcu_n_ ._. qum_.
mut.._.:_._m 40 ._.zo:m<m._u »>< assn _5 ann cowan 523
505 <U n_z<¢_m_ ¢mm ...Nmon xom Om FE=E _z m=£n_
mmwn.wmv=_ >Z KZOmm 24 E_._I onn_. coian m m=n=u
BE..».E$ _>> onnS,_ u>¢. _~n_am m wm _._2223. o =Eom
mmq_.._w§m <u m._.=: oz§noo>> »>< s_,a=~._. w § _Sn_ z 555
12._".~53 >z m<um> m<._ !.< mum»mm _m ~ mv BE.._. ~.:~:
_.___NN.¢S wm <O <zmn_<m¢n_ m o>< £_.vo_uz z B_ £ccon_ m _En._.
momm..__§_.w n_s_ Sms_al_ou vmum mIE_.__aU whom mnE.~____._. ¢Euv_ Qu ¢wEEF c.=R._w
333th <o nz<._g: .£.3 »=E~o E~_ §
._E_.N as_ Sm_z:._oo um QEE=_.G 23 me_..__._._. _._53_ 90 3§=_._. §§
mtw\$mmw um xmow um _»z.m go E.m~ 533 §§ mu_._Eo
N$T§.; <u w>:z zs.. u>< 2=§.£. 82 saved < 55
N~N_a~h : § Ev_:&.mw E._._om 5 §§BE: + §
»Nmm.m__.onm do mm.,_uwz€. mO. o>< .=n$_u_.> mmm u_zu.u|.€|€._.
3 _.3 <u <zma¢m<n >Es =B=m own ums..uu _UH._
§B.RB@ .__ zoomm>>o._.=>> S~ .3__ v_._~=c d¢m=.i 3 .mm_§v. §§ 2a ._E»£m §_Eo
mm¢n.~h~om <u wanda o_m_o<n_ z.: =._5 o>_m ~$_=_m >>SS_. _oEon § _. jim
mmh...: § <u ._.zo_zmm<._u xi §=Qm >> ama S_Eow ._H_?.
unexme 40 mm._.mz_§.pwm§ um xS.=am 53 __. u m =E»s_
v_mm.nnawn ._.U >m"._mzo.rw<._w _._¢_ ucv>£m n ~ o_,.§m _.U=a_z
mm _N.w:=m co <Somzo: u.,< m=e=m£ z 3 n .._...==z o .§_EF
mmmn.=mc=m 40 mm._muz< mo._ _En E_m>i: m 3m 2253 _._ E§>
:nn._.mmom <u <mm<r 5 am uu.=._oo=uu _.mm ._vw_.._s_ < o.uvou£.
won :. >z z>._zon mm .Snw audio mm EBE£m HM._E_.~
month v § n__z md_z mwz_ so n>,r_n vs==~“_ 3 § 5£»=§5 w 2251
mENén _.nm 02 m_:O._ ._.z?.w ._n_ a.mmm=n_._ 55 =uP =. E=an=a::n._. m ..Eu_.=. E:wn=o:=m._. x 1
mEm._EnFm <u xz<n_ <OOZ¢G o>< noosz om._~._. mont cm=_.
woman .E nz<.mx<._ ._n_ 320 md._.m .vm§|§nm...`m
mNn >N._ zu n._OmOr._. 33 gang vx m._:n=n=< E.E.. U moEn_. _£< cozmv==ah_ §§

 

 

Numn.m_oom l__ mmz_d.._m mmn_

 

  

voc&w _.2 m__..,_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a _o»¢oanmn l_"_ m.__<nzmn_:(d ._.ED"_ =mI v_ u_ccom
m~.. m~zm zooz__sw §§ § .§.i 25a
_.mmn¢mm_.om .= GKDDED<IOM ._Q 950 m:t..._w nuu_. =uP =. m&:wmw¥ 5 o=_m_m ma:nmmv_ _. Ecm~m
us _.qunn '_L ZO._.<E <uOm gm Em _ _<.Z mm.` song ~v£nm
bpa _..mwném .= >>w_>ZN._O t:oO omni ho=:._._< Fhm_. gm n :u~:mu: n_ ou=.m En_a
h»mn.WoN _N n=z mmOE_._.l_<m u>< _____._aE:uEU hnN_. x. E:u_m room£.
mmvh.nmwnn .r.~ I._.EO>> m¥<._ _=E__m . ¢: a Sm
w maj mmEE.E. h oE._ muv._vuc. m maj »mm._u_§. n o_._.._ mmu..uu¢ __ 25 mma_vu< n 25 mu!uu<_ cM 05._ H_WQHLH _. o=m.m__mwhrvw

 

 

 

 

 

 

 

 

 

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Nnmn\wv._.m_h X._. Z_._.w_._<

mo¢o_vms~ o¢_._. __0 __E._. __u_n

 

 

 

 

 

B_J.:un _._ l_ unno..:v£

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. . SNI_:,.E <o <._.z§_,< 5 w-J.n..=mu po §§ 5._. ._. 835 ._._ E.._u __§_u___ : ____2.
§ 351 :o H._V_<._ zo>¢. 5 E_.E_w :N =E __. =_E__:v_ o sued ._._.___=5_ _s §§

BE.¢-E <_s :<_._wz_._._mm _._._ w=u£§u 3m 523 _._ E__e.._

m _H$§ § mj_>zo§mz § _§S_no : ~: E_: §_ ~_u.=< 55 ._._v_ §§

_.._. 54 :R <> sto._n_: § EE< 22 .E. _1 .=_E_E< _. 353 555 s§,

35 §§ co zo>< § §§ §§ E_.=. Es==§ =_N___§ __ _.§==3_ __ §§

BB._S$ __s mmmnmo 5 E~ m § B_. ___ 35 3_ >av.=.m H_»W_s_ _. BEE_.

:~E§» N<¢Eozow re _am on_ v_.=.s: m 558

= §..G§ 5_ oo<o__._o :. vi _El»m ..s 52 E_ §=_5 A_ ~H_._»s_ 2a 56 en
333th <o ¢z< <._.z¢m § __E_§_ wm _ : .___Em m §§

_:.\I_.§ .__ ow<u_:u §E< seas 552 §: ._eam ._ §

333 § >z m<mm> w<._ 303 gm o.“_ S.__,_ 22 am

§.m.x § >z m<mm> m¢._ 303 § o,_ E.._>_ 32 §§

E.IBB .__ zm__m.,a_ § 55 ___§va_o -$ __E __. EE._ 53 535 n §§

§;.~..SS _z wuzwmsom»_ 5 §§ 3 a..»a_s §< _=__=.ES“_ on _2_§5

 

 

of _.Nm._.ow n__z w._\__.>w._l_.<>:

Uw_ domw_U _.an¢

__£_G m __u_;:.

 

 

nv_._.mn._.ow 02 W._.__>Q_L.JFI

Uz to m_U gov

cv__mo ~E_s 250

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m._.m.m.#mh~n ._m me_.mo c._ £uamn__m m._.N uEE _z ::<
mwomh X._. <_._<._.<Z row ._0 :N ~u~.Ed~_ uvm._a._._
hwmn¢mnmmn am ODZ¢J¢D hmwl_lmc. __m»._. §Em_<Z mmmm E_ Nu_m~com_ E.._._n_._w _u.._n' F_Bmu:tw mu_._o_u_ _macou
_.NnN.mNmma ._.0 mwn_mmn_DO>> o__mr__._,_. v_u_Eu_,_._ nh._._. cong l_ cco_.
m_. FYOmuam .__ U>ON_O O.H<mm:m wuu_w_ =vo_O mmow __ 559 _o u_w __umm_._~_ :omm_. EU _um£m mvc_._
mg TNmon <0 mm._.ZmO>w._.-¢> mar v nom Om ._u___m_.<.m 0 Em_____S
5a F.m._..m,.._. <n_ O.m:mm<m._. _._._ §Em:_a_. eow
mmnn.mm_.um l__ Um_._ms__._.$._u view _moz mnv
__mmm.mm¢mm <U NWO_. Z<. _n_ ow=u>> amc
woeNN <> Ummmv_u_zmnmmm vann univ _u&_muuw no
wmvn.onh~m ._m DOO>>QZO._ _n co__m _u>__w mm
._.m__m\*monh v_O EWT.._.D._ ~w £omw oz comm_. N__ m__ cm___u!m_. geoum wm_m Swo nn _._
mwmn._..__unm 40 mimzw_.=._ ._.EO" _D uv_wv_:w m N_N
nmun.omocm l__ mwn__~_ v_m<n =m_z ._owoc_>___ comm _mvoo=dm 0 !uvuu&._.
_v_Z_m\_mI canon Z_h m <Nn v=cmc_om co___m____.__._._. o__.n._.

 

 

_.mao. _monm l__ m._.._.w:..__>>

 

n¢Nm.Nmomm zE mm._.<>>._.=.»m

 

 

    

0>¢. u:m_._tnz now

§_.._2 ._uxmncv__:m_m cowan
sg,wa_._ B.F__s E%z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

o§.n'.mou l__ OU<U=._D

thN.hmmam l__ OU<U=._U Hm=_quw 2 _.mnn __ mE_D v_n.__m~ m u.__._cum »w:.._ xu__U __._mn_
+Nnm.anomo 52 .EM>OD vmn¢ 0»:3._ _ov_____bm o __._mvco_£_._ E:m._

we»n¢m _wmm <U ZO._.v_OO¢~.w m u_u__U 5_._=En_._nn_ Nv... m_oocvu___.§ ESNO

ommN.wwao <E mm._.<>>m¢n__mm ..n_ _uE._._. m § >o_._:om w o._=__<

5me l__ ¢Z<mm: mn§_>m:_._on_ mow v_ao"u.to ccc 05 m___m~h_ um=_ow_ _osEmw
anm.mownv 10 On_ml_O._. 5 _€_._a_u_:mo nw :v._. F_. mcoEE_m _.._ m.____un w_._oEE_m _.S___¢s_
N¢NTm@onw l__ NUQ_.E v_m_d.m .csn_ .E_om nNN :_EsBm__.__ o_. >._ms_

mm_.h~_oenm D_>_ ._d.m_sz._._ _n_ woouzcoz mnmmm _u_mEm:n_.._ dos_

n._.m_m.~onov __._ n_.._m_h__zOO._m Z ._n_ mu_m_mm m_ucn_uou>> Nmnm _S_. nE _._ ,__>$._m omn_° N___w 520 :Zc._m m»_._os_
u>< uoo>__u__m._ z mwmm __ mE._D _._n>___=m En=_$> Muw__u_s_ ~m.:u :m..=.__:m d Ew=__>>

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NSEN,B .__ Em_._::._m _____ o §§ 3 __ ¢~__.___._ §§ _. =m_m|_§. o H_m___: =.85=£
§§ 5_ <z,<m¢: § § 2 __Su ._o 3a o..o u___§ »mmulm .s.§»

32.33¢ .__ § zmmmo,¢w>m a 32 3 ~ _ 5... s §§ E< swain =___»_. t._,_§_.
m :......SS .__ m>o~_w o._Eh_:m §§ u_i___§m _ E_. ._. =sa: q v_.i§ §§ ____ §§
m~_=..m_:§ >z _.m_._>~m=§ 5 § n § gaf z _=a. _.

m EA§ 5 <o m._.__r :Eoz 2< 555 §_. _._._ §§ 05 3 322
Bm».__~$m 5 m>omo v_._w 6 §§ sum §§ 3._ m _§_u_z

n$m.§~m <o ma_m¢~,_>_m 223 § m § 5 _=s_._ B_B 555 55 §§ m E§s_,_
252 § zo._,._._omm<u :td¢ § ¢m=.=.._m s__$_ Rm~ _§E~m m E=<

.:H. _2_ 5 5 m>_._z z<> 2< 32“3 m~B ____ ab m 223

BNKN_§. _: nz<._._o.._ 53 =%_< mar §§ §§Em m §§ __BE§_ < £_3_
BNS§ .__ m._.__>zmwzmm 5 seam mr i._m _. §§

.UE.B§ .__ goo~_m__._.moz .».:» 5 su._»_~> 33 §§ f ~_._
=SEB_=. Z zo_.sz. 35 § on 255 z §§

kohn z_. m._d..zommmezm: § § o ._ .E.__. 55 z 565 38 _,_ §§

 

 

hmnm.wnmmm 40 O_.Zm_,_d.¢v<m

25 u_:vE&U _._mw mmnw s._=cuw z ammu. _5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

B;.E_.S .:.._ zo>< mix v_§zemo 2 ._. _._§_a_w ,_..__~z

__N_.m.¢§m .__ zo._.oz_mm<m 5 35 }Em_._ ...:~ ~m._w=: ma _»_E. u§m§.~ < m»___.____..._ __. §

335 5 <u <z¢u"<_. ¢><§ sam ul._____=$_ _35,._2 _.an_

3 _33_; <u noo>__>..._o . _s in _2_ 5 EEB z § mmm_=_m E<_ax_s.i

23sz .__ E_, on § §_2_0 § v£z.__$: s_s_.

EE.$QS § v_._o»moz 5 §§ wm ~s_ 252 __8_=5 n __EE_._ §u m_ EEE_E: > Eo_,

arm F._.mm_; >z ru<mm O_Pm¢s_ ._n_ vi_mum_m mv .n=!_um ._. dow

Elm§ <u Ez__._o<._ sss ~mo_ __u _~Bm 53 EE_B 5 t im __E__i “Ea_.# ~E=:H§: ~_25
31383 .__ z_m._wnz:_z 5 §_:_£ $.~2_ E.F __. _.§.G _, az ._S_.au __s_u_§.

§ 55 § .__ aoo§<mmkw 5 ,5__2._ .e_m=o :.: ._.._.~_. _E.=._ $».B._. E=._ ._ _._B§

 

Fch.m_..~. a m <U wh: O_m_._ <n_Zm _O<I

 

m::u> idenme

 

 

 

 

 

 

 

 

 

 

 

 

§§ <._ wz<m,__.._o zmz _m a.E§ 35 528 955

§I_@§ z_ quman_ 5 § §§ E.F ._. §§m ._ §§ E§m §qu

ms..m¢§_ >z §o> _swz a mm § § n.~ am 352 5a 25 §E~:
RE._BR d maz_mn_m ,_<¢ou 5 h .sz :. . §§

_m:.E :. 7 um:mmmm,:ww 5 isn _ h mmi §§

:..:.E :. 7 um:m_m~_w.:wm 5§»5 _ h usi 555

ES._BB zomz_._._o_.:_._ § S_P___z_ __s EB 395 1 .§_.z

$mwm~m .r ._m oaz<._mo § §§ 55 § ago __._E

 

 

 

 

_.n FM.NEom <0 mm._ww_./E mO._

m¢ ._Q._. hm._.

  

 

nm:.mm~_.~ DE ZOm>.__O._.

 

   

_v_smuu._ meo,_._.
_v__o_m SmoO =_~o_»

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

nw_n._~m$ .__ ow<u__._o §< oscar m mme s._u_§_m HE~

nn~n.~$: >z § cscm_n_<mm$,_ § E_m : nasd §§ m

mathva _____ _._cEmn 3 E=az_ n §§ 833_. o n

9 _¢~$~m <u§m_mm:___ 5 B£..Em $2~ ~u_. w __QB_,

mg _.B_...m <o >m._mzzmm 2dsz u_c. § had sic

know oz wbo._z$_o 5 ~§_mn 252 §§ §§

§§ l__ m:._m_m_._ humn_momn _2£ xi mm z §§ ._. v_us¢wM"_ z_ 353 QE.<: 5 __. __“_E~m.._ m §§ §§ .._ ..s 3qu

_ m~n..u.=i_ m__._ mowz¢m mNE uaw on aimequ E_..H_._=n_ §_am

o !__._ 5sz h 25 $2_§<_ m 2_._ 32_§<_ m 25 “»E_g_§ .. u___._ “$.EE n 25 H.LR.< N os._ m§%< »2__._ 32_.__<

 

 

 

 

 

 

 

 

 

 

 

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vwmw.mwmmh XF _.Z<>w

nNm ._0 mv._,¢.

:£.___mn_ ca2-

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

o vm:.oNNNm .E wj_>ZDmv_U¢._. 5 f £mu:mz §n_. Em=_:n_ m cmo_.
~om_$ mg zomz_:o._._._r u__O __n_ assoc hahn _._o._..__. u_u£m _E=».._ u_u£w< n____aom

. NNn _.. _N_.¢m ¢.U OOw_uZ_q..,.._m z<m wm 9_5 oFmN __wc€m_._ :o..
mem\vn Fn» fm Z>>O.Em._._< unum o_.om=._. :U.m __. mau=._`. wo=_m_.

thN.omo_N n_s_ ._1__: Pmmmou_ .0 u_u=:m=.~ woaN Ew cu¢_. xom 2 “u:m_. xon_ 1 iam

mm :.nm:_. >Z IU<._.zd.>> .6 m_._¢.am mom o..ooE l uo_.=u_.,

m _Ne.aw_.+v :0 n_ ,_<._w>mJU vt _mm¢£mv>> ._.N.I" cov._nr Bmsm:<

won _.¢.e¢am l__ ._.mm mom mv_¢l_ 5 n=oEEm mr _.» E£m _2 _Eur

E_.m.Nann ._m <._.Dw<md_m 5 u__mO can w owen cu._. =. nom s_ m::oO nom 0 _.__>_u_z

nw 313on <u Nw._.wz__z_.mm>> 5 u_oe:w _.uN: _o=_._m l_ o=um

330 § jm.__>D._ xm :oHH.img mr :om___< Evuon_

wmn*.m_wem 5 hm¥m_<§ >>NZ u>< ___§:¢.E mann amax 0 E>mn_

 

nmmn.ommww DE mEDE_._..?.m

 

 

:¥anmmnw <> £_.SO._.EEO>

_w “u__m=_._ _<_ mi __w_.._~.m _ §§
§§ 55 .i._ 25

 

 

,_un_._mm .. :mwsw

 

gm _..nanm <n m._.cdzm._w

Ho>> ouguunO .¢o_.

 

2_3=$ > 336
E_~._.a~_»<< 2_¢_.

 

 

ummv.mmmwo _m 2._002_._

__Es _E~u_m .<az nw 58 E_B_S: v__$=_“_=s>

mo=o¢ .__ I._ mD>>mn_d_>>

 

:._

EoEo_._w >> hung

l | l»|u=uum z. 353 §<

 

__B%_o_m ages

 

ewmm\hn_cm l__ Z>._._m Zm.=.u

 

__ E___._ ewm: ¢__._§sm §u §§ v_E~_.

 

 

 

 

 

o£m:o.“ mnw w w

 

coram u_uo._.

 

 

§§ v_o <m.__.__. uqu _=_~¢ .Bm 82
ER.¢ENM d 5005wzo._ __u oo§§»o 02 5_. __. usi _an 5 =S_.l|||¢w§§
QSENB@ __ “E~ __.Iwm=.=w ». 5 585va m N:w __ E___._ E__E»Bm 3qu id §
§ _._.B¢_..._ .__ mzo>. §< E_m mm :. __ 2=5.__. _a__sasm .EP__E _Bu _._B_~=B_m _s._ .E_.__
_EE.E.S@ ._ ow<o__._n 323 5 325 m §§ E__§ ce.___m,.

 

 

 

vh`.m.nmmm_v _s_ D<zdl_mm.» wv_¢_\

¢_n_ u_u__m wxm._ m FmeN

co._. =. v_m.£v» I m__.~.m._$ x§ :WUE

 

m_.¢w.uv©_.._m l__ OO<U_IU

>< =B__E£ z 23

_o___E.sn._ _. c_.$v_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m¢h_..¢.~c=@ .__ _sm_Szm._o 5 ZQ_S“_ mem iv E~_=s
325 l__ mj_>~_mn_¢z §§ w__~.&mu B__ __ 253 __E__v__s .S_ E_o 2255 55
3 5.33@ .__ ou<u=._u ~J§d:< _3_9> 2._ z ~__B .E=n _,¢_>3_
w$md~$m ___s zm_._z§h_ __smz >~>>_B_§am 53 »S_wmx z §§ 0_6 Su>._ z maa§
E_B.:_§ § z_____o.E_§oz 2_5 ____3_ §§ __...§§m 2==_£ _._m»m
§I_~Bm <u ,.._x§ >m_._m>__m_z 2< H|§B_w m: 555 2:»5
:.2.¢.~=3 .__ >__m_$zm.& SN 3 _.._.au §§ §=E< 23 dm m 52
§~m s<_s__..__.E.o 5 ~___ __§ ga § EC_. ¢a_o o EB_§ 55 z E~____>__
_=.€.~;B l_h_ c~_§§mm_,.._ .E <m w ss ~v_§az __._:., 535 HEB_._.
BB.+_.Bw .__ ou<o__._u vi _EEB z § §_§_. E_E§
253 2 m>§o 553 a_. §.é_.s mm 5 E_.__ _so_u §§ HE.E
RS¢S$ __s nm<nnn _.m 5 _vm__=__w 525 =Sax_ < sam
§§ ____z m“_ <§<m usa 55 N:., 5 ¢_>_5 §§
_Sn.~__n- <> sgsz ._< § 25 =¢a=io §§
__~2.-§_ l__ moo:wmc._u_ § §§ wm.,.~ 5¥¢§: 5 v_.m_.__
23 _B~@ <u ma_§w>_m .m 25 ann §§ <u_as_
SWSSE >z §o> _smz §§ 53 m N. §§ 3_._
mng.-:_._ ro m.Em_m_._ ¢mv_$_m § u_.~_vS_s m 825 53 < §§
MS».§B .__ m>o~_u o.§h__._m § __B__Em m_§ __ §§ !_$§ §§ _»=u 2_3§ m 22
§ § .__ w._<owz_zoo._m 5 m__=E< B... 533 H¢_.
E$.~S~m <u zEzmu >m._._<> § ul__._ mean §§ v__==»_.
mwmm...t=m .__ mm§$_u _.z_<m 8 »__»>Es rt __ _»E__._ _»_E_m ____ ma\__.s_ id m .u_u_a._m < mean
BN~._._;B __s 2<5 ~_m_><mm §< v__§ § ms._m_____§ 255
BF..:NE ..,z z>._V_oozm §E>< §§ SN § _ z u
m~?.r:_w~n s <>____._:Eo 5 §§ w 25 ES_ _m~.m
303 52 ._"_ §m>: Eo"_ 5 E_> §§ _E.._: 526 §§
S_..._.S; <u ¢z<§_._m =¢mmz ms -._.... E___Bw §§
§S\:_...nn ._"_ m._<§wn:<._ r._ 5 _5£33=_ ~ § m 253 eau 53 E_o n_=_..u ¢__»_.a§
E_H¢~S_. z_ m_._ca¢z¢._nz_ _w §§ mrs 53 E~__§ 1 E__z

 

a _nm.ovmmw _E mz<l_ mw<dw

o>< guam m nmu

E_om__m..N

  

 

nno_.omw¢m <>> >w._OZ<.._

  

 

 

 

 

  

 

  

 

  

 

 

 

 

ommThwo=m 10 mmamwzd. mO.,_ o>< _.-._x_._m_“_ noon E F. m _D

nmoom l__ <.x._.mzz_>> am u_ ms_ m._.+ cuban E_=_U _l Em:_=$ :E.tw.tuv.__m o_u_._o_§
mmch F_.m <U ¢.Zm.n_<m_<n_ w ~mm 5 _.Ew:w_U m n._.w Nu>m:u neb

hmnN.mwomm <U mwzd.mO .ESUMO con

mNNN..novom <U <O_Zn_s_ <._.Z<m ..u=m mv=m_u

mmcw.o:.wm =.~ <ZOv_ (Dl__d! _m mnx:_mz o_.mm$h :0.».:£. £.m D ¥5__

mwn TnNh _m <O <2_.>00 gm mmo:¢..mm mbm cc=u:n_U uE mmEoc._,

 

 

nnNTb_.._ _om .= BOO>_>E<NE._.M

ann xom

of m=._nE.Jm-_om mNm_. £E._m l_ Nm_.

 

 

mmFm.nnNmm <__S mom.m<: >d._u_mm

um mem =oz hmw

v._§_n_m ut$_._ :mo_£ux

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_.Hw¢:$ N< _.._omu_:t sea E_Emm §§ __B m§§. »._.__»Eu

§ : >z §§ rmm§ B§__B§u _w§ 02 E_ §5.£.. ____ §z 55 n$m< >_._n_ e._ E.E.Eu §§
§ §~.Sm 5 <:._§ 5 295 in gm E_. __, ._25 _:§w _Ed §§ ._.
SS.§S <o<z_._<m § §§ h ___ 355 : §§

3__.38$ .__ z_.u_._mnz:_.__ _Bz.._ _u§__z E_< § §.a_¢ EN. $.__ vi go EE q E_n_ S_B§ sonam __¢Sz _.c_ B___Q_Q§
32._§2 § §_._mm_>>w._ s 25 § £_.__. m.____on _.__Mmo § m __»H§
N.§.Rgm l__ .E_._o_. 5 S_§=B _.z __u__r£ J_B§

§I._.§.... .__ m._.__= zonz§<._o 5 __2§_ S~ J&.___.E_. o §§

§§ l__ H__._._m mv_<._ v>< seamen m § 325 2_§. .u=.£_.

orgava <_ mn_§ m<nmu ~z .E EES._ m § §§ _<. $._;_.

Nva,_.~ X.F zO._.m_._OI hon mcw._ =u_m!onmu£ ammar m_o=m._h_ f 305
_9.35$ _.,_ m_zmz__.__u_. zow_§<_._ m,_§_$ 525 §§ ___E_._§ m 323

~¥2 ._“_ row Q.E_u_zmma _§s §B__~._ on m :,. §§ ,_E.az 55

t.;¢_.§ N< x_zmo:..._ _u ,EN m §§ Ba=v_ o 255

SR.NE~» .E §§ mEz___s § § 5 ;,_s_v€____ ¢~2 E..,_s: h_ »_=._.~._o

EW-_"B z_ az¢.__._o___ 35 §o §§ 3 _N _v_§o_&._ ._ §§

§ vwa uz zow.___s zz 5 2253 35 oz §§ “~EoE a 80 ._32.§0 z 2.._9: m E._a

 

 

S._.m.om_vnm 49 Nmz> <._.Z<m

um an u>: ommn

 

mmu_=__: vs_ w _._uu_£mv.

 

 

 

   

 

 

 

 

 

 

w E_._ HE“.§

 

h ¢e_._ omm:v_o_<

 

 

w u:_l_ mmm._v_u<

m 0=_._ mmu_vu<

 

$:i§ .__ m_<zzo§_._om §u n_ §§

_:_1.3§ <u <u_zo: <E<w 5 _E nn _Eu en_ £_E__z _ §
§§ES .5 5.5_“__5.5 ____r iam $, _G 55 § E,.___§ a »Ea£

3 :.mE 5 <u <zma<m§ §< s.._> m§_._ 25 =B_uz §§

_._2~.~23 __ m._m_._ §§ »m._e_ § §§ E<

.H_N.~ 5:. :o §§ zo>< § ¢__B _.E~_.. § __. __. Ee_ss__ E.____._s _. 55_53_ ____ E~____.s
.`2._._ HEEE n o___._ :E_u§ ~ 2._._ $E_§ I.__.._ 352

 

 

 

 

 

 

 

 

 

 

 

 

 

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13 _\nhomv <n_ mm<_~_Om ZgD§Z u:n._ ::E u.om w :mu.am n o._. mezw._ D_u curiam otu_m>
mN._._..._ __.Nm <u OUm_n_ Z<w um m.__:mw~w _mw_ Eo._. _._m__.J

mmo_..mvmmm 440 IU<wm ZO._.UZ_._.ZDI m_ _0 voo!u_mm< Fn»_.m_ ..€w¢. _._§.._.
ma FTN_onm <0 mw\_wwz< mO._ r_d._mt£=vm §_mE ._m “E_E gunn o._u._. < uvcuwoz
munm.m_.o _m 40 ._.._m <D(Z<G <¢_ mmm_. vSm Oa S_m::,_:m >EoI

nreN,no:m <0 d.zmn_<m<m _w EoEEm_U >> Nmm §._G_c>> m _Enn_

gmm.nwh=m ¢D ._.2_1_0.~. ._._:m.¢.r»_ o>< Ev_k.w wime amici E>mn_

onmn.!u_. _m <U<Zmn_<m<n_ u>< __onmU 2 _nm E.M 320

Nm__,..»mhowm ¢_>> I.w_El<_,_s_{m gm gm am n_mmp vu._ m¢mom

n wnn.Nnmaw l__ muw_._ 1330qu nm¢w :uP =.. o_._o§om ._mumu_. u:m=_om :u._mx

wme _.N¢Nom OU zm>.Zmn_ _.* ~m mm mmmN B.moumz mm_o:RZ

FNw_..wthn l_n_ w._.=>wo_Z o>m..D _uv_o$h_ _.v: EQW uoE gm >__..

mu*m~_.wmvm <u .Pm._)_<> l_l__z_ u>< oEu>w._ mm orz>> _._nu

wannvn¢m 40 m._.=rw I._.mDZ “w Em=¢u._w wmmm_. cawcz.o_. l_ E>mn_

N_vnn.memom do <ZWQM_<U u>< nr_._Snu m mom._.w So_.£._._u_ vu.r

won _..n!uNN d.> IvaIU m._l_<m :._ Euvou._m wNuN wagon w uSmD

m_.Nv.vmn wm 40 ml_.__I n_zd.._n_DO>> m_u:._ gram hm._.w Um>ce_< rmi

nnth unum 40 mm._sz< mO._ >< gsa gov m§odauz w .u:mm§u

 

 

 

:w.vvomv _E GEGU¢E

 

_n_ >o_u> _:nwoo_m nmh.~.r

_2~3_ m u==o___i._

 

momN.mm..No <s_ mu_¢n_Zm_-_m:¢

_m mo m §Em m muER.

 

 

mmoom <u wawOZ¢ mO._

§§ N.EB_S 52

__%=B §§

 

m :.ofomoom (G wm._mwz< mO._

>N>> OSEQ_U mm_

88 _:m_u&

 

m FNN¢Q :.cm 00 MDmmv_¢<._

room x_¢cu=:n our

 

 

mmhm.mmhun .E v_zd.n_ ¢m._.Z_>>

 

momn.munon <U <._.Z¢l_._.<

.»E$__m .__.2. gauge

    

.__. :nu_un_w 0 xqu

 

 

 

 

 

 

 

.~N¢F.mo~hm mo n_z¢.:.¢Om S_£=.D _, EmEE

av:.m mo DOO__SEMIW ouu_m butcng Ev!_b_._om m...n_.._w E_ut:n_ _. :v:mn_

namm.mm...wm 40 az<.__...$ .w 5a m ama ._£=m>> ___,_ mB_uF_.

nNoN.mInn ._m _Ed.=z Uw_ noo>:.cum arm =EUD > unum

m_m»¢nnvm¢ <n_ szDn=._d. =._ via :Iu_.._§ _.._Nm ,_uEm!ZDJ¥ 3m

SmN.NNoE \.z v_¢o> >>mz 5 55 m hon § F 54 ..am sims
ton\vn¢: >Z <D_<E<_. cw% unco>< 02 m _.¢nmw >kc..>> 10

 

 

von_\wNmNm l__ d_._._.<um_n_

._n_ soo __on_ nunn

:u._. =. mason Od_uv_ Nu|cm"on_ 4 q:u_w

 

 

 

 

 

 

 

 

 

 

 

NvN_Tm»non 40 (_._.Z.d.._._.< u>> und> amc Z mnn_. Nu:uz§mv w.§._ bmo».
_.v._._..N_oTv IO Wv_d_._ ZD>¢. w>d. baum dow :v._. __. .__» ___nE_.=._m! EE_ES 1 :mEta$__ d_ uu=._m
a ¢=_._ m»m._u_$._, h usi quEE. w 0=.._ unu_uv¢ m mc_._ mmu._uu< e u£._ um€uu< n maj mmw__uv< N nc_._ »uu._vo< puc_.. »»2_:»<

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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mmoh.nmmmn ._< ._.ZOS_v:m_

 

mom.v.evmnm <U >mmm._.ZO_z

§ ¢R=o .cn 3...

 

umnz cu F_mI _._ou_ wm_.m_`
N< wEo: hcxmcox o_. E< E=u

 

_~oox con._oZ
viacom n_.__xms_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Smo.§nm =s nmo“_m=w:_._ Sm usm ca hum_mmm n §_<

3m § § .__ oo<ouro 5 §§ z § ludwch §§ _§_=_2.

3:."33 >z d, o vEQ> §mz 5 5 o~ m h =mEm: x =E=w

324 93 z_ zm>n §§ u_§$.&£ c 2 §§ m _Emo

mm 638 .= mion um.§§u “2_7 23 coram n §_..am

m§..“..ao .h_ »wmmo“_ wsi §§ Q._E>< 533>> 557 35 232 m _ m

guam l__ mun_mmoz _.z 34 §__=u § §§ _.E =. __§=EME m E_x S§EQ~_ m vi

mun_...o.~mov z_ n_z<._:w_: w>< ,=,_.___._n_ n _Nn co._. an wm==m§ __ baan mm_§ms_ fosch

...=»».3$¢ <o o._.mmno: § E§=u_ o E_. _.B =. n§_.sm ._ = _EE ns Ew§_m m mutan

m:_m.ma.§ .__ m_w._< _E m_m=m ...S.. Es_ m wage

3a 333 .__ om<o_:o .w._o..~,< z ...~E §E_. neb __o S_.E»_Bo .%=_._ ._.F ?_.¢.§._ §§ E_=E_.
m...$.m§m .__ mn_wmm>_m _._.Eoz §§ §§ E_ mEo_._ _m==%_$~ §§ _En_Emu E=m_u§< 2=2_&

N§.§S >z zmo> amz .»E.m £E m 23 ma § =E =. §.=S ,_ sum _=E~m _. .E=nuo
DNR.RS~ ns mz_._mwmmr_._<u n_.§>< dugan w :=. u_._ __Emh_ __Sm_£w m o

Sm_n_ §th "._ 35 too »_»>mmoom

 

 

 

ncnn\n...vcm nn DZ¢¢_|_DI I._.DOW

 

F_.mm\nhocw .._" m_¥<._ DZ_.._Om

U hwm_cuu._mv >> mwm_~

co._. § NQEE>._. n_ duEumom HQEE>._. >> ou_.=_m_z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mNE.NSE l__ zoomm:._.moz §§ Eo_xo mann eEw_mm mmn=w_u __._mm

mmm~.§_= >z m.:m__._ooz >>wz §§ ss=~._u 5 §_a§£o

B~m.v$$ l__ nmo§uom 5 §§ usc §§ :§_S~m 323 ... § E_ l_ o u B._. =. _EE @E_._mn §§
am 538 l__ om<u_:u § §§ §5>< §§ z mg Emu Q_E,_.§m
E.B.§B .__ zm_m<u 5 ES< ...~E, §§ §§ §§

mm_.m.a_.mmm .,_< ES.QZ_ECE mm_.m_. van Oa Exnmm ___me

Smn.mmmE. >z ez_z_mwo __,._ zoning 3 R_on_ §

§§ nz<._v_u:< _.§§5 E..~w gm E._ mat§

52~$§ l__ .Eo:E § §E=_w 35 =£ =. _.B_o m §§ __B_o .EE
ammw.omo_._` >Z Z._.OZ_Im<>> P~.E m>> rca 5 m==._ ..oEmI mm m_smmr § E._<
SE.»BS § w_zzm_n E~ §m on E... q ,_=Em m 22 §§ k _3§§
mmE\_§E .__ >o><w 5 §§ iam 25 §. §§z §§ m 352

rmm.R»B .B n._m_“_mon_m 5 §§ _E 5 ES _E. EEE m e_,‘=§ E_H_m _._ §§
,_.on.N.vo_.N 02 >._._U ¢H.Du_._._w ..D _._o_=._mu nmno m==EwI >> _.EE.

E...~.‘. >v_ m mzmsow 5 e,__Se_S mm §§ H_o_m

ES¢RR oz m o._~_<zo 5 §ch 2 _.§u §§ sam

SB.SS~ as ozme mm>.__w §§ _B._ §o §§ ca_s._ 1 E §

N:v»,_.mmmu 12 ZO._.LE<I ._n_ mv_o< P=c:nu mv cnm¢umw nw m

oumN.omNmm N< ._.mmmJ_O amax mmo£m c. ~mnm ann §§ _l =Em

 

 

 

 

vNN_..momnm <O w<Z_J<w

225 o£u_._. mm~ww

 

EF_._.

=_..am=._ aim mma:§ 5 t _Elmg: aim

 

mvnN.annm <U <._.Z<lC.<

§ __.__REE_._ 3 E

§Es m.Eoz »Eou

 

mgm-_.N_.vm ___S muzmw_O._u,

 

::.mnmnm l= ._.m.n._mOu mm>_w_

_._umxum_: _.mv_.

um mm_.:m :m._. mmav
_B._. =, _.E_cmn. dms_

.Eum._w u§ 0 su:wm
c£=mu t _=_2.

 

 

Nammv IO D._Omfum<

wm Nam On_

ngme ._`5

 

m._.mm.._.mvum ¢__ v&<n_ n_Z¢.._MD

c._ ._u=o~mtx m ;_._.

:m._. “_. En.:w__f _._§mn_

EP;m=_I oo_._m._

 

 

noon-un row .__ .n_m._.mm:u._.mm>>

._U mmmu£._n_ am

_w_._._._. m_xncmm

¢_ mEuum na_.._.w.__.r m3 ._._.

 

vNNN.m vaca ..__ D._m_wmmmn_

._n_ muuo._s:cnz cwa

:»._. =. hmu=vnnm nunc

 

=mz

“_v=:=~m < ~:_§m
b==_§m m_. _._m_._m

 

 

 

Nm._. _..mménw l__ >>m_>m@n=mm

mmr=o_._._. m dNnn

:u._. =. hv_“..u____"__w w c:=w.m.=_O

._uvu_=um 2 xu_.:mn_

 

 

 

 

 

 

 

 

 

 

ounce Ou DZ<._W>D._ m>.:n_ E: § E:_.n cn._. =. 520 cd£mz 530 > mmEm_,

panhath <D <Z< <.._.Z<w nmom mmP_Q z:m=tm _.._.N_. mo mE5 c=EU n _._=£._v_ _m:O c_._EO _. Emn._mm

nnnm.munom .= v_OOMmI._.zOZ u>_m w_V_B_w ._.P.. own m_w EES_ z _.=,‘_...._.=. nm: fha m_._ ._._. 555 Emz,_uw
#Nvm.vmvmv __2 DZ<._._OI _U ._c_._uc< th¢_. _m:._._. gu_.__._ 2 EE=_. nm_NN._N_. m3 ._._. &_._I $_ E=u:_.

mvn;¢vmvom .= v_w_<n mGl_<a u>< moE_oI w nnmw_. EoO :m._. 532 ._mvcm> 1 _._u__w 532 ._m.ucm> 2 _Q:Bumm

P...n_._ :.vu 05_ >._._u ¢wZ<x §§ owmv _oqu_z d §E_._< maD cn< _unEuE m 5_2.

 

N_:_.n.__.om_.m <U mw<._.=> >ml_l_<>

»>< .E_.aw w.§.

 

mE o.._._. ma

._mE._. _.__m_mum _2 <h._.

§§ ..._._§ E._~<

_.__u_mnw u_m¥cvwom m==<

 

 

¢mnon <U m._.=>mm<I

 

§._.Nn_ _NED=NEU=.__ m._~Nv

=ozuuw .ES_EL um€_m_u=:

=o_m_>_n_ uaw >:R_E...._

macm>vm 5 “_._nE_Lnnun mmm.\amw

 

BE.“§..~ oz §de

conf _._m~Enm non_.

 

Nmm Twmoow l= m._L.mEl__>>

wm omxo._m_._o _.no_.

E:..._. GEN:.>»¢

.__eE 0 HEQE. §:S § §

_QEE.< §_2.
=s=n w HEQF

 

ormr.mvmon l__ DU<D_IG

a>< E_u:m m comm

H.:oE >> :m>m~m

 

anm.-.n§m .."_ v_z<o. Z_J¥Z<¢R.M

 

vaN.mono_. >2 n_Z<-_m_ zm._.<._.m

m>< w=ur mr

 

_w on__=;mI n_.uN
5._. =. ._o_ mh o_._m_z amax

~u_%u_to_i o §_..__an
§wa mcm§m

 

men _.¢vm_vou .= v_m<m le<n_

e>< me_oI omm:.

 

522 hm=§m> § Emzumm

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

no_.om .= m._<n_UZ_EOO._m du zm=EoEwum nn Nm_vN._-.n _m_._._._. B_n> :m_.EvI .: m”o> _._mF:uI
o_.uom l__ Ow<u 10 man m>< 532 >> n sum_m m _Ea_.

NmmTN_.nnn l_..._ m_l_<n_fmn_:<._ ._.mOu_ 0>< _.=mN 3m mm , E:onEu_¢_ Gc:e> < Eww

nw_.m.m__.=wh x._. OZ<._L m>_._n xmu._u ._E__¢> n §

mN_.m.FowNm <U OUw.n_ Z<m umwa _ov.:w m¢m_w omw uc:e> <»m_wn_

~"Nr.m~Em <u mmO. z<m =._ Em€mem :NN mu_m _. cm.=§>

Nmm»~_`mmg <> z_._zz<%n_ o>un .coE_< co _€w_»m mm_._mr n_

woman ._n_ w._<Dzmn_D<._ ._h_ u>< u_._N wz h ~ cu>_._mv_ < ._o_._mm_m

woman 00 mle_DOm FoN< _u< __::vv¢d( v_._._. m>< EE:< _uhm H:R. >m_.__umm 5 _u__m>>uw w§._.n md __ . bacEm _l _E¢Bum
No...m.wmnmv Z_ m_UdFEOL wm m:c_n_ o Emc c_::_._n_ g :mm:m

Nm.m.v.hmoom l__ Dw<u=._u mum_m E_._m mom sam Em:n&

huma.momw~ <> zm._.m<oz<¢_ 50 xnm On_ =o.__. ry v h z cm£. _.Eimi._o _muz
mwho.oNEm <U m._.=>mmm._.z<u man xom ._ucumO cu_.

 

m wm _.\q_wm _.o <E zm._.wmfoz<_z

um E==: guam nw

Eu~m_uEU xut.uuu»n_

 

 

moN_.. woman .__ DU<U_IU

dm m__mm m._ 2 _.NN

ann._. m§m._

 

 

 

h »5._ Be§<

 

m u=_._ umu._uu<

 

m mci mmu:vud.

 

1 uE._ umw~uu<

 

 

n u:_l_ mmw.:u__.»<

N 25 wm£uv¢.

 

_. u=_._ mmu_uw<

 

 

 

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___mo_.qv~_vmc ._.u ZO._._“_E<I ._.wc.m

m>oO v_m__m___‘ Nm

=wmv_.__.__"_ l_ __me

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mom _..Nmooo l__ mOUz.m_.._m» _w _oEmI mm __oo_mw EE_SI

Fmao._.monm .__ W_;_.ms_.____> _.m xo munoz ._m__m___=u___._m_m cmm=w

nn_..m.m~_mm <u mmo_. z<m _m ¢=Em=s_ 53 ~._r __EE =. §_w_"_ m €>E_._ BBD_.S E._ ... §§

E._.n.vmmo~ n_s_ Q§O.Em 5 v=o_=o._. ~_.m_._ __w=._._. 32 m_nSo>o_.__ nw __S<._ _._=< dms_ ._.m._NN.._E pa ._.F mu_._a_. 5£=3§ 3__¢.
m_..NN.nm._._.m <0 <Z_>Ou ._¢mm>> _um_._=m 552 NNN _.a_. m____w eo._.o.o» <.U ._._l _._m_n_ Em=m ov=cm.u ...E_ _mEO ._mnv_<
o_.v_.'wmoom ¢__ mOUzm._O 5 ._uu_m nmb cn._. ___ =_oE_._m_mE ___.__o._oc . ._m_on_

nmm_m.m_wmmm _._<.. O._._m_.ZQE . _u ____v_. o~oNz _._m,_. =. __9__£0 __ Emn._mm F__________0 m mo_._m__u

+me.omwo_. >Z v_.n_O> >>mz o$.~ < _om.=m __$m iam uaw .__. w__>wos_ n_ mmEoF_._.

mm :..+o_. wm 3 >._._0 x_»_O_w ::uU mcwm:O nov _._u.._. =.. Qv_m_m _2 wm_mm vv_w_m < szo_m

_.nwn.wmmmm N< >._._o z_._w Nww% um me ion m_.oE _m=_._. ._B_umm _._ mE___mu d_§_ouw w E._o_. mo__mw_.wo w: _._. ._B_uuw I m_m___mu _uxuom w ccc_.
morm.~o_.uv 10 n_z<._m>m_._O m>d. mv_~_.._ owm_._. __m_d._. u_n_muo>wm __E_m_m_z 4 m__E. nu__mo__~o m3 _._. __m_._w_m_..¢ l_ co_:w_>_ __mzw_m§ < n=_.__.
§§ §§ <> <Enzsm_._< 5 § 22 _§ 2 §§

SG.~__ § :o oz§m>m._u m>< §§ §§ EE. u_n§>um __m._§_z l_ EE.: me..a.§ 255 ._. __q,_m_§ < 2__._. __EE___ ._ 5.=§_
mcmv.m_.oum .__ wmz_<._n_ wmn_ a>¢. §§va »N¢N mEoN.mo m_._ _»E._. moon §um_=§> ._._. o_.._»_==_> ____ EmEmm _xnu_cs> w mmEuE.
movu\nooah <1_ m_w__<._.m_$_ _m _wm&._m moon m_ccem < Em S>

_.nmnm l__ DU<n___._u mEoEZ mgm _m:._._. =_>_._ ___umnm._o_Z m mc__u_m._mU ooam..mw`mu m3 ._._. comnm_u_z n_ En:. u

NE._..ESQ .__ Ow<o__._o nou§_mws_ z B__N v__o=v_ 2 =_>3_

M§w.§__@ l__ mfms:__s _e:m._ Fm_ §_. =. Em_mz _Gm=w =B_mz Em___§

.v~n.._.--m ¢_ .._mon_zm._l_.mm m>__n oaa,_§z §§ =u._. =. _u_a__a w E___m.=__u _¢_E: _. __n»»o_.

E&T.BEN oz _._m_m._¢.m 5 m__B.._ QNE__. =».F ___ Em._. > §_v_._ Em._. z ¢__B._

ovoN.moEm c.___> m._._¢_.<m_w mz m>< 93 ww._.m v_M_~_u_n_ < E>mn

§va ._n_ ZD._.$\._ <uOm 0 >__mcmcmm E.m =v._. =. r,o_=on_ m ____._.m cu_=oD ncumn

3 § .__ om<u__._u Pwm>> §§ §§va ann § e__w>&_w meter

33.3~: >z z>._v_oomm n_ »=5>< 3 m.¢ _m< _l»_.%_|_=z_. tow

mv:.wvn_.u .__ <._.On_zms_ m.._.¢_ mcm_n:_ hcmw __.. .B__._mu_ m mm__:=_u

hung .__ woman zmm._.wm_<_ u>< E_.S 35 _._P_. =. __m___u_._m uu._ m_:ao a_m=m_an_ < §§

mmvm.¥ma@ l__ o.m__mz_<._n_ _u »BE_B._w __> 3!~ _¢=_._. m=_>_._ =v_oE._wu=m> m _.E»O B_.SN_ ma ._._. 56=:»_§> m _Euw

595 _.=w_w gm 5._. __. E__mn =S§mo E=_E §§

rmnm.ommor >Z Om.n_DI 20 ZO._.OmO

 

n._.mm_.wmvcm .__ v_z<m nZ<l_mO

_._._ >B_$_ §§

=N._. =, m$qum 4 _ENU

2_8§ _. §§

 

_.mnn.momun a_n_ m_UDl_ ._.Z_(m ._.mOn_

E._nU wm:_n_ umw mwnh

BQ_u\m § mm_a_ua

 

mmwr.o$_mm l_“_ wz_mmmm

m _c._ ._D _m__o_.:ms_ 0_.._.n

335 < _v§_.

 

mvmn.mommv _._O <_2_._

5 .€E_.I §§

umwa m cmmgm

 

¢mmom .__ m>OmO E<ODW

 

_=Eu ___ 322 3

 

E_u_.___._mn_ mml_ P__E

 

 

mmmv\mmmao l__ mUZ<mO <._ ._0 mu__u_____, cm_u:_ ...m F _.v _._u._. ___I __._m._G mc=m_n_ _EmEm_z _:W_O __ Emo_.__>
monn.mvohm w_O ~C._U ZOUmm_O _m ___chch m_.v :o:oz m _r_mm_

 

 

 

 

 

 

 

 

 

 

 

o:. 353 l__ Ow¢.o__._o v>< E£mm__> z -v §._. __. .___»v_ ¢. n_oEm..._ __. >__3_ s_ ._m__m_$

hm:.mammm >Z Ozm_m_ ucm._ u_._om n_m n van _m:_._. _u_umm:€_w Enun_ m _2 u_._w Nc`nw.:..o m3 \.._. ._E_umm£._.__m >_._ E~_un_ ._ov_umm:=__m _.z u_._w
waco .__ wmz_<._m mmn_ :._ hu___mm_\_ omv_. _N:o_¢. _2 mmow_

o::.-w$ l__ ow<u__._u 2251 z 33 mqu>m._ §§ §§

wmwm.m_.mmw 02 w._.._.Dl_m<Iu _._._ _._mmm_._:wn_oo ho._.m _,_v._. _._. ._v__um occur ._n=mm _, nunez

m_._......ow_.om l__ ._.mm:_._§._m m¢m¢m_._ man =H=m_._ =un_au ,___m

man.nn.vvw _>> J<mj<>> ._n_ mme __m._. mnm_. __ mc.__: ._w>m§ m__m_mz _m:U ._m>m_>_ _._u_U

mr_.m.oNEm l__ \_.mm_DI§._m mammal man gmch m_._:u£.___v_ u_._m§

 

 

 

Nmmw.m <U m._<>mOZ<.mO

u._.vN xom On_

 

 

coumun_ m _ 5._< m hm`nm__mo m3 »_.F

_._Sm»n_ 0 o_:mm=m_

ccumvn m _3_.__._<

 

 

FuFN.mo gm 40 <.w_<mm<m <._-Z<w

uwom c_€._an_ mmNF

_m_._._._. m_"_mua>m§

muc__._u__.f m_ n_o__m_._ _.m_.o ____No m3 _._.

H._=_E_=: m >u§m

§=_E=_z q E_¢_.

 

mmmm.....m...¢_ _ >Z ._.meIZm_n_Z_._

oom_n_ =m._. N_.

__m__m_ns_ h_ mnEm_._u_un_

 

mommm l__ m._._._ >>m=>m_<n_

m..__._n_ mv_m£__. _.mn

=o._. __. com=mm 0 m_.__._m__=mo

__H_._mm l_ =m_.

 

 

 

 

 

.¢,§_.§B l__ mt.w:.__>> »>< _mu=_"_ Bw =E __. ._»§_§_ _.E_£S_ _»=...._§ l ___>S_
SSAE_: >z §o> _sm_z B_. sw __m;_aam 2.. 3 - Hmn_ § mm

§~.EB@ .__ om<u__._u _w E_m E m mm §_. ___ =B§Bow __,S |||»§m|mn=a§.
m;~.a§¢ .__ ow$__._u __¢_m_>_n m mm _._E. __, SSESU __3 E.m§¢o §§
._u»n____ > o_._cm__m<_.

nnNN.nov#m _>> 3<w2<___5

m>tn_ B_mO __m._. mo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

v
m_._..TN__.m:. \_,Z m.>Oo zm._.w _n_ _._mEmO w_~ >EE_> m___.:_u
vomn.hno~m <O <l_._O_. <l_ n>¢_ _umuu_nm wmu ~ _u_E_._uw n_ _._numo_.
¢Num..¢.§am l__ ow<o_:u m>< §_.€_._ ___:Qm »N:: =P_. =. c_.__»_ o ._E ==_h_ _. w£_.a_.
mrmn.eoonm <U wm.~mwz< mO._ __...>_m ._omo:=_> m _.». ~ __. _._.0 205 Nuc>
mNmN.E..aE _.z m._.__r ._.momm um omni gmc £_._>> 3 =__n_mm __ __:§_
nmnh.nm row `rz me> >>mz _____ < m>< vcm _umm com _:~>nw _nEF_. ou.._ ._m.__c_._u_.
EWNBS .__ zoozm_.c.¢oz ~__o> on~_ ._mw§_w_u=< ._ romeo
._.e_..N.m¢mom .__ OU<U=._U m_o_o._ Z nnmw __u__n_ m c__n_..
m_.$.mnmcm .H_ 00<0__._0 _w 53 __s m_l Eou 5._. H_=Emu u _____==. u.._u__$_ l_ 3qu
283an .__ v_m<n_ n_z<._x.»u__._ u_w_l._mu m3 __ _w&__.,_ _»sB¥ ___qu _m:o _»__Ev_ __E_u=s_

 

 

FNNN._.mnow .__ m._lrm§.____$

 

Ec_cww._@ mem v

__ nE=._ m_._nEE_m m =mum _m:o

._o_u£mm"_ z mw_._

 

 

 

 

 

 

 

 

 

 

 

 

 

533th _.z .EEE<e _§2$ me E__QE.§

mBn....SB l__ z<wmz_._§_._ E.< S_._=m _EN §

mNoN\n.mm § >Z >sz._.wm>> u>< _E_.Ew< mvN ____Ew w mu_._mcu

m§§mow .__ ou<uiu §§ m ma ,_E. q 525 m __.E..m §§ ___ §§
§§ _.z xo_mm §§>< E_E=.=n_ 5 §. __, ._»_Eau < §E< §

m§.__.~§ ._L §§ zomm_<m § Q_.=__E~m 34 ,E. __, §§ ;__§> §§ 233
:~§EB __s mm Z<w<m:n_ .w §§ §§ §>_EB m _§5§

2§_~§. .__ k ~_:_.__z._m_ m_=§: § =$Ex m ¢_=E_§w

__.S........~Bm __s ._om_n<: v>< =§_R_E~_G ma- q_e__u_z 250

 

 

nnm~.¢mmow 05 m. .__>v_UOm

wm _._n._w._u=u_l m com

 

 

Nm¢ _..ovmwm ._m m_ZmDOm,_m_>_

a_u.__u E=_n_ §~&E 33

WE._.

B_.._m..._o>om ___I u:._. ou._m _.mo m3 .__.

 

___I mo E.

   

_.E:_m l_ xum
___I >> c_z__m_

 

 

 

 

 

 

vvma.mvmmm 5> 0 ~._NZZOS

_.vn`§m 0.“__

oxEm>__ ___ch

 

 

 

 

 

menr.wn@nw .= CU(QIO

u>d. :wm=__._E w oo_.m

_u._mn£om m _._an

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EB..E@B _.z xo<mzmv_o<r 5 _§. _n_ EE_E §
33.€ §. § ¢_rn_.m_o§_:m 5 ._2_.§_5 own =E, =. mass _z =o__m_
._._§538 l__ >zzmru£ §§ § m 5<5 S§_mo >> 33
BB.B=$ >z szonm_E 5 EnEq._ 53

S§ <o 955 z<w 3 5 mB__E_< 33 _¢__E 5 225

§§ =s z>>oEm:.<z._ §§ mm 20 $Ez SBQm ._ 395

h ;.~..m~mam .__ mwz§o<._ ?< §§€m z t 855 352qu

§_l§h x._. zo»uz:m< 5 255 5 .._mo 33 E._. =, 355 2 EE._£ §§ m 535

D. :.§2. __z uz_wz<._ u=m._ §._. 35 89 =.=_?_m >> _._Em

ER¢BS J_ w._.:w_m: ...ommwomn_ n>< __mEoo 3 : E._. =. wm_§_m z 223 585 1 ¢B¢M

mom~\mm§ l__ ow<u_ru 5 Q_E< § §§ §. ._. mg »5._2=5 Ev=.s_ _==§.

»~2.;§ <m m@n_mmv_uo._m 225 255 EB=P_ ,_E§M

H_E.¢SE .__ oo<o_:u @>i§=§ >> 22 »_§__m w H_EE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

hvom\va...m¢ IO wzmr.r< wm B_m>m.” nmmo cv._. =.. m _v£._m£ < _._om==m.v_ :. =_v_.__._m_z __.._n_._c<
._.wNN.Nm_vnm l= ._.mmmom v_d.O o_EE_J m gwa cm . z.. ._un_:w < E=.=__¢ ._mn=.m. m Ew____>>
mnmo.mamrm ¢._ mmu_:._m .__ozDDu 5 =o~cu: m am . =. _E_Eun=m.._ < n_ _w£_._on_._w._ m
_.m._.n.omoom l__ OU<u_IO 5 m <homuc_.>> >> mann cm:_.__._ E_=`.

X..w~.wm E.,.. <u >><mwzzmz 353 H.m_n»m lawn =P_. =, _.E.o m 22 =..E_o _E=m n
EH.B¢E _._s :<m:<>> 5 530 _a._. nom §§ E._w

vumm._.woo_. >z !ID> >>mz m>< cBmExo._ _.n. ._owm=_w wmata o_._=m£.

.`. _$.Bmm~ um zoE"__._._m § ENH€: HE=E, § m gao £__m

whvml_.wvom l= w._.IO_mI OO<u_IU o=_._m>< Em_._u._O E.n nom l_ cnm.:ov_

 

 

 

 

 

 

 

 

 

 

E_IEE <o mz_>m_ ld.€|: § _.£ =. _W.§o§a 255 5 m E_u§,
._.w_.m.»_.haam l__ m_¥Dv_w vm._=ou evan _._r_c=n m WE_».‘.

§N.m§ 2 EQIHE §§ m _E, =. §§em § 552 555
>:w=m $_ :Em¥ §§

vme\nNmom l__ v_OOmm ¥<O

.__u £mn_ minn mNN

 

m._.»_...~owmv Z_ Dzmm TEJOW

ago m,w _n_ utm>mz oo_.

._._Emcm_ < _umnu§

 

...m._._m.hmaam .: mz_._.<._<a

§§ m_B._ 9..._.

..o< §§ E. »§m=_v:

__ dunn ___ ocmw_m_z _. mm:o._ _m=n_

 

eum€m§, __ mm:o._

 

 

324qu _s_ v_mm."_u m._F<m 3 uSH_EEm ~: nev E_E._ _»E»_.& w mE< umwme 5 _._. _@E@§_ m usi
mom§£: >z oxu_mm_. w 35 E»“_ 2 l Emm=m m §§

n: _.§_~m <o ><_.son_ 5 535 252 _.£ =. a§ EE§E: < gear

_u_._n_w occmc__l

 

omm _.l_.mmm____ Z_ mm._.mZD_z

u>tn ho£u.__.~om umwa

 

 

avvm. wammv § >»<Z_O<m

va hmwmm 2 _.un

_._E. =. EEE»._ _._va_

E_.Eumw._ a Emm___,>>

 

_._._.m.cmomm <U <E<._O <._.Z<m

o>< csach m.__. _.N

_._mE=m_w w m==m=uum_..

 

mem F.mm..._._. ».Z <dem<mm§

um m_ mxc=._ uwo_.

 

Em.:ul mOucN._L

 

own anmbm .= OU.¢_D_IU

m>< Eo=:U >> ama

,_B_Spo “. .z_oEF

 

m.u__..N.nnn 5 52 ZO\_.UZ_.EJm

§ §§ 2

hu_¥u,m U :um=m_

 

 

 

 

 

N:E$$ 22 <z_nm_ 5 255 §§ ...:E. §§ E§_z §§§ _5 :. §=$_ §§
§§EB >z ._.m_§nzw E_m E=.S> tm §__m>> =mm <
23.§§~ on zoEzEmss § a< § c>< §§ch <.Ex. §._ h gin
BH.EFS .__ noo§:<wm._.m 5 §§ ~ 551 BELE< s 225 SSE_< ._ _EE=._<
.‘E~. §§ J_ zo»mz<>w 352 §..~
rEN. 33 .= zohmz<>m $.€z mm.~

 

 

 

 

 

_.QNN. _.Dnm l__ .n_|_w_m.mmmn_

5 _BEEEm 22

Em_m m _<

 

 

ama _..emmom <U ZOWEOI._.

5 265 Gw>> w_.m

cu._. =. Emcvn_.:n:u _>u._u:<

=_E._BEEE : u§E>mm

 

 

m voN.nN _. m w 2 5_ Z<U<m_

._n_ m_=I o___._m:< NB

m:m_t£m.O cm=:mEEmN =,

 

ow_.m.mhc,_.a M.Z m¢_¢:I ._.mOIw

§§ mB.aw 525 mm

._u=:um 331

 

on~..N.mNmnm .__ m_OZ<N_O<._

o>< m_o_m___$ w _.F~.

cv._. =. m_>Ev_ =mo_.

m_..§z m §§

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

N:m.r_.mvm _>> zO._..m._n_n_< u>< Emn_ ucm_:m.f qu>> cum mwm_. E_._mo< ._m=mo¢_u£w ._ ._Emm_§z
_.aow.vm§m .__ xm<m m_u._<m >< £.on mNmNF cm,_. ._1 wit =m> 255, m_:_._ _._m> xw_<
,_.mw _.\m__..aNN d.> ZO._.N_O._ m_.m* N_n_ cn_mc_._U Nv___.h :m_n_ mctm:w ._._EL ice mw 2 Ew n=_ _._o__U E_<
mmnw.ngnm .= >m<u F._ .a_._ncnn_ m mé: =w._. =. o:.:m_z E_o_.. a o=m._m_z NEEm _Ewu:_m §§ 22.
_.an.anom .__ Umnms_:<mom 5 o>on. m_._=mw moor cw._. =. maaumov_ w o_._§w mn=~mmv. _. HB=EW
monm.mamwn ._n_ ml_.__>m,mz_<w _uN _m< o>< EnN 32 m _.._. zomN cwm=w EmEs__
nnmn.nuaom .__ m.n.vn__m v_m<n_ mEn_on 2 mw ~m_:._. H_>m._ _._P_._m>> < zung ma:_a.._& ca _._. _._E._m>> < _u._mEms_
m_.o§:__. >2 >._._0 nz<._w_ OZO._ mm .m< _w £§. _.m.h ~ oomos_ l_ o_.__._u£mn_
czma ho >mamm.._fw um m_.=._ :Eum:cm v won .sm==ms_
SZ.S~B .__ zo._.mz¢>m m>< QE__.._ 33 §a§=&n_ ._. BE£.
Namm._.maom ..__ m._l_.m_§.__>> ach>j NNv nR_m`. > Em=En<
hnmow l__ OU<Q=._U m:_._m><» mr _.=:Ew gum gmqu x m=o_=nn_
guam .__ OU<U_IO gm E._D 5 _._o=:h_ ._S com _._u._. ._. m__mm z §Ec_cccmm d n=um zu:=m_z m=mm 5_ mc.cm_U
mwNN-mnoou l__ OU<U_IO ~w_._£mz Z vwnm >__uz ._. ccc_.
... §~..E§ l__ oo<u_:u 5 u=m_m>»_u z F§ §. s 525 o 55 525 _s 053|0

 

 

n EN.n.v _.om ..__ n_I<mEO._

`o>< m.ummn__.__Ens_ m nw

 

 

E_;on_ .=_~m_z .._ q_._=cn_

 

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2~3.33 .__ Bmmom mv_<._ 3d 550 »NEBEB B:. ...§.~._E ma _m:_._. n_m§pa_m ms_ 55 ar ,._BEE~_Q §§ man
¢2~.¢3 2 >z t._o zwnm<w _mm_.__w =3,_02. 93 ._w_m_s EE_.

§N....E$~ <> rom <_z_om_> 5 §_>,_H.wm m 2 5.» =. mo_m§m s_ _=E_m ¢E§“m_ a 555

§§.Bmmv § a<z<.m_m_._ mz<._ 5 223 9_5 m _ sw ¢E. 5 532 _._ m§?_> §§ 553

Em~.mo.£u 5_ oc<o_zu >..z_n_ §u_.__ m 59 555 m __._E

NR_..¢.EB .__ n._m_“_mmmm 35 wum§°am § m_.=n.z us m ..,_Ean

§§ .h_ mwn_mnoo>> Ba._ 555 33 agrQO _mE.Co E=Em_$n 525 t §§ > Ewemm
33.3§ § z§o§mj< 5 gai z m§ otS=~_w n n_»m=<

w$~.$m § >z mauo:u._bo m>< ¢@Eo was 3m >E_Qn_ 335

_$n.§n~m 5 <mmm _n_ §§ ~3 §§ ,_E m__m_HEmm

mg_l=:ow l__ nm<m__,_o.__ »==»>< m_§._ £_Ew SE E_m 5 aw__§_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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mmwo.mmnnm .__ v_uG._.wDOO>>

._n_ vo_.._!n._n___‘ cch

 

§§ n_ ._an

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

omnn\v_.mmw N¢_ >M._l_<> Zwmmw row wn_ ommmn_ m mo_~ hm_._w§_____ m um_cun_

m_v.nw»_.wm._um .= m._<n_wZ_I 5 _._Bm_.___._mm>> Z m¢m cmE_._EuI 0 _.Emu

NomTvE..nm ___S ZOw_n_€E gm £v 2 vN_. Eee_z n_ =om__ov

man F.mcmow l__ .rwm_dom mm.>_m_ o>¢. wmo__nn_ nnv_. _unm.“. n_ ._mmomD

m_bn..N_.vu_. <m $w_Omz_n_w mm _~.._ m_.Fc_._ cch ss ox_o>mn_ antonio Q__Q>mn_ D _.__._e_.
am _.a. rammm B> m_U<._.KO|n_._ om_. xom Om s»=_._wm I u_>mn_

mmmw._.onmm 25_ O._.<¥Z<_z ._D v_mO cum m_.r =u._. __.. _mu..m 1 255 _mo._u_ n_ miksz
mnoom <U wm._m.wz< mOl_ _w m_ms E._oZ hon _._o<st l_ _._u_Emm

hooh.ommmm A<._.ZOE¥._N um _._cEEE._ com vamF guam m:_m_m

wmoh.nmumn .F<._.ZOS_v_._m wood _._o_ Em: ._._cm gan _._uom_ uEE._o-_

omf_.n_.oaow l__ w._._._ ZOPOZ_._E< ._n_ u_w_EmmI a~._v cS.E_c`.._ 350

 

 

   

omn:..nmwm.u 52 ZOthm_.

 

¢__.m _..mvoow .__ .._.mmmom mv_<\_

D>.:n_ :n._ _.__xo._ 2 nom

 

comm xom On

cc_>ul_ 5_ u_>mn_

 

=m._. __. oE_m_<v_ c _um<_

DE»E_< pauch

 

mm Fv.mvnom <U <._.2(._._.(

mz ..n_ _mu._ch_ c_.__m _.w_.

mc_x_mu _. .£_QE_._.

 

 

._.w_.m.¢ gov >Z ¥mD> >>mz not _m ___.mn .__5 nn E_n_w_._m E_._B
n.~.mw.§$n ._.._ <._<00 c._ ___mm 3m m~_.om m>m_ms_ l_ E_o_.
_.~mw.wwv: )z m._<nmmow _uz mo>m__z m.“.$. _..u__=_. _m=m

 

 

 

 

._o_m_uah_ n_ _E_Eom

 

 

 

 

 

 

383an .__ oo<u_:u M.>< §§E=m § mem EE ;ES" “_ 523 vi award .5 .
BS,E§ § wd>zm:o_§m_n § §§ ____ =E:_._ ._ _B§s_
_I.vv.mmwm.v __>_ m._l_.w_.__uz<§ _W com__.>> bow _:mr>> m_._Uo_._N<
£E.-E 12 v_umz E._ou §§ EBEE__§ : map mc .._ ___ESS .._ EEQE m _=2_&5 < §§ mma:.& 5 m. _=m,_§u "_ u_§& ___ESS ___ §§
~§.m§@ l__ ma_wmm>_z § EEB mt _.E __.._2_»_3_ __ 323 __f < §§
E_c. m,__>_._ o_§§§ ,§o E< B._ ;:~§_ § ._. z 5 E< $._

 

eeo _..m _.wmm 0_2 m<>_l_Om

_uw.__w __.EE:w >> Nam

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ S.S§ l__ humaon § §§ §§ m § 551 m__u=o.,§l m m=_§ >En_ u =_£_<
m§.~m§ >z xzo~_m »>< .§: 32 55me w §§

m.:.m.mmhmo 12 um<Z ._.mmn_._m_v_<._ _._l_ cn=_a_m.._ mm cu._. ._. m_mw.u_ _2 wc.=QN m_nwu_ ._ ._w_ma
gaith uz §§ 5;§§ :: § =. §§ _. §2. §§ m §=_§

353qu .__ om<o _G §< §§ z § 552 < ._§Ev_

mmwm.mv_.mm >2 m<Ow> <._ nm m__e_$._w>=m mm_.. cusco _l :m_,

n~_.¢§§ <z m_._on_._§> 5 §§ §§ " 2 de __. §§ q ;§m
»~mm.§.£ § v_m<m zo ._< E,< §§ § Sw&s_ < 2 _>

§E~§ 5 emma ém 35 _WE_B 05_§ o me E___Ew §

m§.§$ § ._._m_>>o._ 3 §m »_En § m <.= E=N__: map ~_._S"_ F o_.€n §§ "_
B£.QSB __ zopwz_§<m v_._ ._u §§ § __ 955 »_3_ v ==8 §§ :_3_ m mqu

 

 

hmmm.whwom <U IO<mm On_ZOn_mm

 

_m, _.__.cmv_ mawr

_m__a_v_ _>_ roger

 

N_.Nw.mv._.m_.. X._. Z_._.mD¢

uwom n:mm_mm nm _.m

SEEB _._u._mv_

 

 

wm.m_`.m_`_.mw >Z m<mum> mdl_

_u wa=_.am 2a §§

¢EEQ=E&

_.H:_E_._ Em;m_un_ mn¢_ mca_.

 

va_..vnenm .__ xm<m mOl__o.n_

umnz __o>> w 3me

_v_&n=nw >.EEvmcm

 

ammh.NNnmN <.> mv_<wm<mmro

hn_ xu:__.c:n_ mom

ncm_m m mm__m_._u

 

 

womv.:.mnm l__ OU<U_IU

m>< =mm__._u__z z nom

SS_.E._ .€=_m »m_,_._o._

 

mmmm.o_.cnw l___ ZO._.UZ_EN_<Q

u:m._ xam._uEE. m.?_.

_xm;nmov_ _.. sonam

 

h_.nn\._.m _.nm .__ ZOP<mI__S

ocml_ m_n_n$_ Nm._.

__§5 355

 

mvonm .__ m_j_>>._.w_wm_._

c._ _uoazcm.cm mmw

 

._w>uE_mm_. w E__u:_.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m_m?mn_.nm l__ m._.__>meZwm _._m=_nmE>>vE_. =m._. =, mmm_v_ mcc< u._m_b mmw_x m cnnoz

w_.m Tmu§m l__ mismeme cusqu >> ¢Fa_. cum_._m_. m::< _a.EU :=< mmm_v_ oc_._< _EmU

wam_..m~oom <u mw._m_.bz< wD._ 5 mchoEv.._ h_.ow m_ __._mn_ l_ u:uE.__mz

3-.32_@ .__ m>>on<m__z uz:._om =._ §E> 9mm =»» ___ n=m < gems §§ _._ EE_»E

vvm....vohmn ¢_L wUZ_Cn_U m._.ZOE<._h< m...< E_.__u.__> mem o_umm>_mw < mm_:mn_

:mh.mmmdm l__ mn_m>z._.z:OQ u>{_ =§mn_ mv@m __ 953 v_....._os_ m _n_._oo_m_.:_n_ _m_._U o.Eo_z 0 v_>mO

mmmm._..m§m l__ zO._.<mI>> _.=En_ co._hm|_._._~ _m_._._._. nn _._ EnEm__._uw mccn_ =>_Smo vo__mr.wo m3 _._. Eo_tm__._um m_._oD c _Eou

mmm_..m._.hmm l_u_ m_._OZ__zmw» am Emv_. omwm cc._. ___l _._umm¥mEu_v_ ._. ___Eooon_ cuuu§mEo_v_ 1 cu___am~m

gnma m< on_“_ Ev..._mn_ m;w.=m< umw xom On__ _25. >_._ >u."_ ¢. =.=m_=> m_._n_>_.> a ._ n_.EE__> o_v_N.E m_._._. nm.~_..m_. En_ <._._ m=.=m=_>m_._m_>_._., __. m=§___> oEB_m
E._.m.oe_.mv _._0 n_z<._m>O._ EEu u>ou H.=m m_.m nu m_.§: ._ocam>> 333 H=BEE _m=u ._u_._mm>> >=O _._=E_z

 

o_._.m.o:mu IO DZ.¢Jw>D-__

e:cO 950 ,_m.:m 3m

mo nE=._ ._o_._mm>> quO = .=mx E=u

_o_._mn>> w_._O =_=ms_

 

 

 

Em»,m§m 02 muz_zn_m m:._m an _m_..“__._u _. 2 §._. =.§?m m B_§. .Q_Sz l_ 532
um£.h§w .__ mz_._§§ 5 iam z 3m §va §§ 92

 

 

mem¢~_.n_.mm <u me_. Z<w

_§s 3=»§~_ 32

._mE._.mEu ina __.m.w_.

._.o.m:f..N_u m_._ ¢_._.

mEu__=_wox w S__¢m._.

 

mavv.m_.wn¢ >v_m_._.__> _DO._

.n _E_x.n_ Emm

._»!_E_um_m o_._wm_.

 

vwae\m._vanw l= ._.Qm_mou_ mv_<l_

ucm»_ u_c_._ a...:

§, __. esso < §§

 

 

mio\vmmmm <U O.men_OS,

o>< m__o:mm_z cum

 

§ 13_

 

 

=C:EEDU =um_.~uh. 2 _.:._.W m_Z

o_m:oD s_ o__:_¢
cvmc£. m fn_z

 

 

 

:H_ __.mmo~m .._h_ On_Z<._w_n _.3 _.mw xnm Oa ~cm<._ m mu:o__w_
hovn\mvm_.o <5_. n_<w_._m._mm<$ 525 :m_.I :. guam __mac.__x 532

 

 

mac _..o vaca <0 Ol_.__w_<s_<n_

_w nnm__mU eha

HE._. m_~_»§>ox

_v_n>__b_.sm..._ n_ m=__umc<

.~ _,_§_§n_ o 352 S__»:E 5 :,

__m;n§mn_ m 335

I§_gml U mu_._._m_.

 

mowm.mm_.mo <E Z.U_. E

§§ ;£B_._ w

_o__sn£>> § =c__.£m

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_._.m._..nmmow l__ mn__w>m._.Z_._OU m>< _._>_En_ arco __ mE5 Euo_z n_ mdw__"=._u_Z _m:O P_oo_z a 2me
m_.onm l__ DU¢_U_IO u><. cwEmQ z _.mw¢ ~m=._._. ._.un_._oo_O __. __uEmn_ wQaN.RN._N_. sD _._. ._oc_._ou_O _. ¢_u_\_._mn_
mr.vw\nv¥..n _._Z ZSOPWJDDI_ ____.:aw mum._._w._. :&_>_.=:om mm _._u._. =. ov_u._m:m ._. m_z u__u._c:m 2 guach
_.Nn_..v_.mnm <0 Iv<mm OZO._ m>< ae._u._cn_ gm maj ._ =u:mu_m

mindng <> Um_._mwv_n_<._m _uw.:m oo_._n_ man __uEmI < mcEE..

n NN\no$~m _____> bdm_._<>> ._n m__mO __m__. momr __ mE“D hu._m_z :mmm icc _m>m§ _._u_U

n dw¢movvm _>> D<wD<._S ~n ...JEO __m _. mam_. __ mc._§ _o>n$_ V_um_. _m:U ._m>ms_ :m_w

m NN.moX.m _..5 b<w:<..§ wn B_mO __w _. comp __ mE.§ ._mmm_z quO _m:U __w>m§ :w_O

! msvaon l__ O.w Jm_zz<_._.,uw »n_ Emn_ Nn®_. mm_.___mm Em§um

neom\vunnm <u n_._m_mmw_mv?_m u:< ..::1.. C com _.E._. =. __:_2 m wm_._mz __:__z m xmm_
gvn.u_.onm ..__ DU<O_IO pm mm >> cnw mx.__._m l moEm_.

 

 

 

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mhmw.wommv _5_ n_\_m_u=zOO._m

Z ._D wmame mucu_uoe>> Nmnm

_S mE 3 _.§Em E_m_o norm s=o_

  

§§m mEo_z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mSo.»S 5 J_ zoof<s mm xum om_ §§ n _EEE:.

noao.omm 5 .= zDO._L.<E nw xum On_ ._u>o.u s_ c.,__._ms_.

oim.¢omo_. >Z nzc.._m_ zm.»<kw m>< _Em>> w.nN mnEU >> n_mcnm

havwlrnmom .= UO(O_IO n>< mEE_O z Nwmo Iwio:u_»N _.. _._tswm.

,_.No®lnmumm n_w n_Z<._w_ ¥OOm_m<mw du macon m_..m.n lacsz _. uses

mmnm.hwmhm MO wm<m m._.Z<MO ~mm._uwxw how mud n_ cu=nu_m

_..._v_.v.n :.nN <> Zd._I._.O._n=E um :oE_< owe _._m.F =. axm._v:< _. mucm._$ oxEu_._< _.EE.

homv.mrm_.m G_z OUZ_>>OZDD nm oc=§_._ou uvw cab =. =mn._...u m_>_hm _._ow._w wm=mn_

th._.._. F..Nm l__ n_._mmn_.n.vz_mn_m um =o>_§um_m m_.m# =u._. =. ._J_.=._< m __=wpm~__m ._=5._< w =;£.

mm_..olvmovm 40 >._._O DOO>>n_wm om__. xom On_ ¢B__U m .__m_m

»£~.EBQ .__ ww.__z =_B=_._ z v 3 .._£. ._.__=m_.._m ==¢ _€_z __§___u 228

._.Em.n§om 40 mozqo _m 350 gm gov _._aw_£vn_ E>nn_ >om

mm¥.amoao l__ z_m._m.n_z ._s_ wm E=n=mm En_. SE may

~E.N.NES l__ m._._mmoz u>_._a a¢u§_ 3 =B =. __w=.§ o Em___s> ,EE“_ o ~E.Sm

cum _.\vv_,nu 0_2 BOO>>._.ZMKD o>< NEoS_ or wm umw _._.m_.B m_._ B=._._. minn _._mm_u§ _u_._M, L._. minn =mmBE_n:1
oow_.»m :nm _>> z<><._m_n am Emccum=$g man co._. =, u_._m_om § coc_§.mv_ ucm_om m =__2.

mmwm.uan+m _>> ><mzwmmw 225 _.__._z xo... w emmw >H_=E_z =mEE._. cmcm

n._.oom .= m._.IO_mI ._.ummmomn. m._ _=Emc_z < umw HE._¢ anWN=“_ z w__;=m d gutide >> mo_.cm_. mm`wa___._. m3 h._. xut.un_~=h_ m m=_ ga xu.Ema£_L >> 352
§§.anm_. <m wl_l=£ Zm._U _._._ §>ou ma _.N EEO < wtmn_.c_x

E...m.mmo=m l__ goomm_._._.zoz um __ES»._. mm,_.n mc:f =En<

wmon .__ v_oomm:._.moz 5 EmEEa_.S ...~mm m.=.a: =E._m

FNau._.owmn ._< <¥_._Mn=u m=cm>c. 5a m _n ._m,_o:om _. w=mm

` ma.vm.monow l__ mUD_.m v_m<n_ 55ch m o§; mim_¥ m “u=c

§T..BB .__ §§ zmmmmmm>m _F< a< u>< munoz w 33 =E. F_. _€w=ao 550 >§=S o 5_2,
mwm_..mmvnm l__ zmmom_ am _..o_._m wmva Eo~=x mmEn=._.

§ u§_§_$ uaw =B =. §§ m .€2 §._S_ ._ _,_Bom

 

._1Nn_.._o#omv 10 ZOW<E

 

m_.nm.vno__.o _.Z <IP<`S¢_I wz<\_

5 Eo=m oxm._ 5

zomB=vBm 3._

 

 

NNQ_.\oNnnu .__ wis On_

.__U En=m:m mnN._.

_._m._an 22 _ E=...,_.=.

 

wvnm.ommo_. _rz s_mj..m. IBOW

um HE:m. m_.

cm._. § =:::m mn£._

 

 

wmam.._.m§v __2 m._l=>I._.mOZ

t:ou c _m._sm_l_ th§.

 

=£. =. _v_§s_=m l_ esso

_uc._=m_ v Emzu_~\u..
_v_m>>£_._w m u_m=om

 

 

 

 

B:.EEE 1__ zopoz_mm<m _._. 555 mm$.~ _,a,~:§ q >Q=_~m
Nmm~.migm .__ E.:u_mr m._<ozm._w 5 >_._Bn 32 E.u_u_._S: §§
m=m._ EEE=w a¢m~ § n_mn _. Em_.€m

mmmv.mom..;# Z_ m._l_.m_><n_d\_ \_.mm>>

 

memm.vm row l= Um_._mEJ<Ium

_n_ E__c§_.cm._. wr_.

§§ §§

manion x _mmnu_<< aa_mu_.o_. m3 h._.

m=q_=mm § m_zmn_

ucu_cmn_ f _mm:om§

 

 

mom.v.m.vuum .= OO<U_IQ

EoEw.._ Z mvmm

=3. =. m_nmnEmv_ Hm_z

m_cnnEmv_ m E_E.

 

_._vvv.vm _.nm l__ zmhm,mlu._.mw>>

m...< x_e_==w md _.N mmm _..~N_.h

 

m3 _xm=mEmm _. c_>_m§ h._.

_xm_._Emm _. _._m>_m$

 

 

 

Nm~m.n~§ __z nz<.:o: Esu SE< S:. =£ =, _._Ru=&m w gmc cmmv_._em < £_m
wovv.mmmam .: OU<u_Iu mm=a.~ dm 2 nvnm cu._. “_. Em__m_£ m=.=o>> EE_E£ m:_
5 __=._ ._mm=m §§ 553 o §§

vnom.._.mohh X._. ZOPm_._OI

 

FxN va 00 J<my_._.zo_a

u..._m nith moon

 

nth.oFm¢_u l__ OU<Q=._U

umw HED

25 5 P=Em o¥m._ £._oz NFN¢

=3. ._, =Emsw _25 ns

koém__z cmaum
EBE_._U cqu_ow

 

_Lv#m .E <._<DD

c:oO _Emm wm ow_.

.__. _c:m_z I quE,

 

 

 

 

 

 

wouh.Nnm _.m <O <PWODA<>

NHIEB ,__ mwn__m §§ § .Emm § =_m,§m_z 3 §

m _;N\m_m~mm 22 ._._¢rmm<_z Hn__ none cmam_._ _. xu_=nn_

,_.vnn.m@mmm <u ZO.§OOPM w n_...EU _.=.:uEmcnn_ E..m Eun_._ou_.__._ u_>mn_

§n~.m~n$ 5 mon_mmnoo>> 395 _u_»=§: 5 E_%<._ §2,
.__O P_._wo._m_m>> S._.v _._m._. =. tmmum ucm§ :munm Em

 

 

 

 

 

E@~.§B .__ <>mzmm u>_m §§ mm~_ ¢E. ._. __=_em__._ §EW 5=2§ §
n§n.%$m ._“_ m__u:._ »G Eon_ 35 msme mn:: =B. =. §E_Em_oz 955 mm 2=2£:.202 >EEH§
NH$E$ os. w_:o._ ._¢zEm 2 E< Q..E>< uz§_=:om @NNQ u=_:mx _§_£§

 

nmmn.nwoom l__ wUD_m v_.u_<m

__.mE h_".mu==_,= comm

BBE__“_Q 0 Enuov£.

 

vw_.N....m_vma ._.u DmOn_.,=DO

m_.__mmEu >u__.co h
||_

Eo_=mm nunez

 

_._bm»m_.nmo mv_ mDm>u_._m

_cc.__w v_:m__o§ N FNnN

 

E._.D._.:Nm .Mu_ .mm._.¢.>>m$n_m

o>cn_ nv_._. m_.=n_ corn

§_mEs w 223
=um m BE£.

 

mc...m.o§ow 00 Im>zmo

_.w EEU m vnmN

 

< .»u_._Em

 

 

 

 

 

Nmnn.mmoow l__ <v_Ezz=S nm E“==w mg _.3.. =. _._..Em_z l_ =E=m _._v§s_ w :Bnm
§§an l__ zo»wz_mm<m § 5 .E§._£ § __ mean _._3_ _. §§ 55 _ 52 m mu_._a_.
§YB§ .E xo<mw ><~_._mn § aim .s§s> §§ .ia EE.,.:

3@_.¢83 .= waoo§mw>_z .u E¢.£=§ 22 =E. H_. >V_m_§m ._ §§ >,_%em ,_ 261

 

 

n pmm-pnmmv _S_ J._N>>O._

nw ._n_ voo.zo_._o.m mwm_.

=E==._§> < =Bnm

 

wman\ow_.om l= ._.mmDIs_l_m

 

mmm.=ou_ ron

__ oEJ w:m.__._s_ w cm>m 530

>=nm=sm 5 mu_._u._._u\_.

 

hoped rome Z_ .~.._._.En=~_@

hon xom 0

u_.__ ccmc£w_.._;o _....=< >_._mn_z

 

m_.Nh.n_.mnw ._._ Bm_“_ZOm

um __S noon Z h_.N

“_
Gu._. ._._ unwuo<._ I mu_._Q._ w
,.

unmoo§ >> n_m_._nD

 

onan.n__..._.mv _S_ I._._._Oz>l_a

5 B=_z=_m_._ §§

¢m=._._. mu_._m_.. I n_>mn vm`wm_.eo 2d

§§ _._ §§

 

 

 

 

 

 

 

 

 

 

 

 

 

ohogw .= w`_.: ._.ummmomn_ _mw=m Em_ of m_._wm¥ m muEm_.

omom.nmmom <_ .n_l_m_mcmm __E._. :E_..m ¢cm_. 3th w _._momo_.

mvnm.vmoa_. >Z v_zO> >>m_z ~m. mm >> hon nw cum mo>£z ==¢. _onmm u_._cm_._m_z.

m:.N.w.~.mu_. >Z m_UQ_m n_ZDOn_ _um u:m_uou._$ v h»xr.n_w wong mcms_

mmnvl._.wooo .= mmmzmw>Z_ um c._:&m§m mw... comm_._=mm_z _om___u__z

uvmn.hoomo _.Z mm._.<_$m@a_mm ~.500 >B>m_m hour um>a=m_n_ s:mo>

m:a.~. <._ wZ<m-._EO __sz ._w ._o_._._un~ mmhv _v_._=oo 255

umw _.~ammoo ._.0 .__.N_On_._.mm>> n_._un_ mmEn_>U N_. H_.:._. m_nmun>om ____m._uu§ n_ £uam~=m 53wa ab ._._. Em._uus_ _u __=wam~_@ £EME M nunez

 

 

 

 

...$ E. 53 :0 dosz =.EE mmu_hu£s mr EE. me__.: _. §az 335 5 :. m.=_=._ ., 3§2
m~mn.z.#§ <u §§ >uzm§o§ u>< 355 § ......H 5._. =. _.s~=mz cum E_x =.,s_._mz 53._ ...anz

 

 

 

 

 

 

mwv_..mmowo 52 z_._v_z<mn_

 

_w mm.sw._ wm

§§ o 555

 

 

 

 

 

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§§ m¢ on_< m3 § 3 ...& §§

vmom._...v_.vv IO m._..._w_mr >>m_>n_<O.n_m 5 ucEmEmE mom_. m_ocmeI < _.____o_.

§~.3§ ._L mmoz<_z zob_>> $~._ E& EN mz 32 sasz n_ “_H_.

naam.~$~m <_ z:..._omz 2_%>< EEm Em §

m$~.§§ 5 <z_>oo SE>¢ §§ w § §§_=_S> §§

ns.~.o§.u 2 zoEo_,._En_ ea. »__§.m§ 3 _.B =. §§E> _. E § E|.|!: < m a o
wnmm.mmov l__ <zm.~<@ munoz mwo._O _.S omo»_. m=E> __5 u=mn._

_.wa.$§ l__ ,_>.:m zm_._o EE._._ m~w w v §§ 33

_:m~.n:§ l__ ou<u_=u n a< m__%>< §§on ,_Ez ~_§. _.av._€,_< z §§
3:.¢~3~ <> w._.__>zm_.zmo _n_ §§ __w §§ st F_.§_ ss z m_u_=£ .EE>> o §§
mmmm.ho»om l__ ZD._.<mI>> ~w mmuc== m_ nom _Ev :mo mb .sm_.n> .._ c___c_. ._._. .<E_c> n_ E_Q`.
»~B.NE$ _._o §om:¢ §§ @_E..m $~ uaw m_n__¢m o P§E mE. 533 _uE 5 F §§
n._.wn.monnm <U <._.Z<._._.d. 22 um ug=umum comm =oEwmz 2 _umn_

NS.~H§ ._"_ <Pom<¢<w _E.F 32_.,.§5 23 ,_Qm..§_o._ m __2_2§

mohn.n¢mom l= OG<O“IG :mmw_._u_. Z mmmm ou~u_n_ .€_._mz

25 >z w._.__>>¢z<m_ § § .,__=au § B_a> §§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§.3§3 .E umnmw¢mm_a 5 §" a< 533 5 §§th 33 §§ n_»Bo>§ =..2£._ Em___=s m E§._S 5 a. =§._ § >_, m
N._.am.mvmam l__ 02<3 5 B_m_m ibm =m._. =.. EumE_< m m:=_m_._ns_ Eu»:=< l_ _B_..Ez
m.=:._Gm: >z ._._.m.=sm__._ 5 u§uz 3 a_“=_ E ____$_
g$.§§ 5 mmo_. z<m §§ 2255 93 _§EES c §§
_QE.¢$S <: zo_.wz_._¢¢ 5 ¢Sz»z E_. =E __. S_»_B_z m EEB =2¢=.§ foam
...E_..ES... l__ om¢u_zu .m gsw z 2 . §§ E_.._am
3$.§$ __s><m ws_<_._.__>> 5 _§Ew >> B ~ 535 < £==_~.
Bmm.¢§m .__ om<u_:u § a< 5 223 e_$ __Ez 9:._. EE. z .$_=%: u_B=_e< mm§§ m_._ : m_§_..,z u_H=_E<
2§.§3@ .__ m._<amz_r 585 §oz m3 §5_;._ 52an
mv-.£§w .H_ m_v_oxm ¢>< E_u=i §§ E:. =. =mEB.E 555 §
RE.§Q.M __S <_>ozm~<o 5 355 ¢3_=5 952 _.Er _q E=_E m =B_£§
mm£.$€m l__ .Ewmo“_ mz<._ 5 E§Em 22
tmmé§m 55 mj_>m%oo _w 253 mz 22
29._§$ >z zom_.mmm._< §saEgm __»_.._ E.F 3 _..“_E. §§ §§ §§ ~E§NF 5 c vu=§,_£n NEm=w=m
§§an ~.< zomuE. 5 §_u=m m §§ EE ~=EE =_S_SES_ `..m§§ § t
§_..£Sw .__ mion °_N>Bv_ ~§ =»._. __, §Ems|,_sm 552 amc
SF...“.S: >z w.:=._ .Em_aoh _m E< 5 .=€m 25a __m_n§ §§

 

 

 

now 633 l__ <v;mzz_>> § _uc§vn § 35 ._ _._zm_._x
¢omm.+._.m m_. <n_ mwhwz=zm<>> m._ >v__um._m mmi m§_m E._< Em§
._E =._Eu=um m _.._.aF 2255 §§

 

 

czma-mgm l__ ._.NOmv_Z<mu_

 

 

mmnw¢mvow l__ Zml_mu ENEOI

»O ou=>> vvme_.

_._uuum.z h u=oE>.mm

 

mmov.m.vu wm <_ ._.mv_m<§ >>mz

w>< _._ cm._n_ mNmN

 

umnv.mm§w l__ wm._.<\_.mm Z<En_mOI

23 >=o_eo m3

5._. H_. muuus_.w==m.=;)

 

 

mgm.¢ _.mmv Z_ mz>¢.>> ._.mOu_

_u>_m >cu£c< m mN.~.m

cvn.:

 

Nwm_..m~mum .= mUZ§O <l_

m>¢. orkch az mo

 

 

unmm.v F raw ¢> Z<_IPD._D_E

5 _=I >m;mm 2wa

 

=c._. :.B;@:mo:_.nmm.._

 

 

 

 

§E.ivmm z_z m_._o%m_zz_z mm E.< § ~m@ _E._. :.§um 4 =2_,=$_ »\Uz m _E=.am
w...§.$$q z_ mgan § 255 mar Em__§=§u 1 Em §
E_N.Smm~ <> z>>o§zo> §§ S__¢.@=m._ 3m §§ ._ E§m

 

mNmn.anom l__ OU<U=._U

gun E< quU >> gm

_B._. =. =umnm ;mu_.. m._m£mdn{

§§ x..__=£ _um§s_

 

mmmn)v 300 .= wv_<._ l_<._.m>mu

mv..;._n_ umz o_.n.v

:m._¢ =. _.xEonEmw >> 5~::_3__

§EnnEmw < cam_£m¥

 

nvmn.mmmnm J_ WOZ¢.M_U <l_

u>< _mxm.n_ ...m

v_n_~uunm. ormE==¢

 

mm_.m. Fmoam .__ w._._:._ ZDZN_N>

3m $o:mn_ §on w NNn

= mE§ =m___u=§_ m mmi;umz _m_._D

 

mm_w.,_.n_.nm l__ ZOP<m_.§

o..En_ m=n_muSO hamm

__ mE_D mc>ou ._uunmxw_< ~w=u

__§_i ._ 353
n_cmE._o“_ m_o_mu

 

 

 

 

 

 

 

 

 

vvmw.mmavm <H. v_m<o, Ol__ZmE ._n_ mich mmor xonu =u=:wm wumcm_.

mo§‘.@u._.nm l= WUD_EEOZ _anO mvhv cm._. .__.. Em._m£u_._v~ m__._w.__~_ gunmmf m mcmu:m
vwg.mmmo~ <._ m.r_.m><u_<._ vmnom xom Oa ouumn< com._nn_

hnmw.wmo _..u <E gn§n:._ w E._D _m o.._.._oE _.m uc§ ._Lm_mn_

wanm.mmam¢ __.z ramwo_. \__.z_<m 285 ,_...55_._»»5 2 nom ce._. __J.&E .u EE.__._ ._EE w v_o.:m
E¢N.QEB .__ mmzh<._n_ mma _._Su S=§__w umw imm 29.5§ 6 on mm ._ ENEE

 

 

h_.av.ha.vcm l__ ZD._.<NI>>

cgqu z w_.m

 

mmmom l__ w¢_l__>¢mu<Z

§§ §§Eu one

 

v_.a¢.monmm 0_2 n_._m_mzm._.wmID

 

= mE=._ ucm__m_$ : _=w¥ 530
5 >B_m> ohoE_Lm._ Fm.N

 

wmv _.\¢mmou .= mZO>-_

 

§ >< Ekm mw_._v

 

= mE5 :. _._m=m=wEm cn£_._< inc

 

=m_Ew ._. ww_§_u
u=m_,.u_s §§
Q§_=¢s_ l_ _E_.m
.._E_E_m£m _._3 ns

 

 

 

 
 

___Eo _. §____>>
26

 

 

 

 

EB.ESW .= oo<u_:u 5 EoEPE z 93 GE._. @=_.>: 55 mm__N:E. ._._, 525 z §2,
mnvw\mv_.om l= n_m<m__zO._ mu=m> m mvN =nw_._wsw m_._tuv_ w
Emn.$~mv rO _._.<zz_uz_o 5 vuutmm_._. nn_.h =m.v =. cuEmm 250 < ..QSw _._uEum m_>mn _l _mmzo=z
vmom <__5 Z<mnzmwm<m mvm._mn_ ._uu_m nn gmch 22 o>n_w

 

hnnm.amc__.m mo E<Immzw

 

 

 

Nmmv»._.onmm <U >W._¢_<> m.."n_n_¢.

um 295 mm¢m_.

_mE.r m_nmun>nz ~u= mm> l_

u>< mnuEu>=_ mm ._.._..._.n

 

 

B_S@S_ n mmEo=._.

 

 

uu._n_;.._ d w o~um_._ _NENN_.mo E._ ._._.

  

 

 

_.NnQ.¢mNom <0 Iu<mm <m.DsEmI

ngme nnN_.

__w_._._._.§a_.c wm s_ Ewp_mm

m .=._nExom I _.:._n___l nm~»mE.NN m_._ »._.

 

lemvnm> m cam==_
.=EE mm I E_o_.

 

 

mw_.n.moaom .= w._.I ZO._¢UZ_._N_<

u_._w_;c_l m __.nw_.

 

Eu¥_cm m _.:_o_»

 

 

a¥_.v._.Nmam l__ N._<n_mZ._I

 

n“Ew_.“_ _._Bnm

 

 

_._.nv\a:m_ <._..._ <_Im._mn_§_lm

  

 

gouldon mo m_zG._.mm<._O

“O m_umn_ a._.mm

=E. =. 235 __ 52

=uccau.O § _£_._ma
232 < mocmzu

 

 

 

 

 

_._`om.m_.mow l__ OU<O_IU u>< .u_m._uEm w moon o_=.:mm w m_._:m.cm_z

nv_vn.mhvam l__ DZ§,_OI I._.DOM 5 mcm>m mart ._m_._._\_. Em.::o _2 mc_._no_. _.m_mw.~mo m3 ._._. m._m.__:U § canon

mwmmm S> 20._..__2 gm mmu=oO Nom HE._. u_.=>M._ x>NuU=w_ _. n:E_ _w ._. E_._oI raou._mo_.wa ab .F xwmwm_._z 1 mcu.=
mmomh X._. c._._<.._.<Z v_.nm ._U v § NEE.EC au»_£._

 

 

 

 

 

 

 

n_._.v»_.owom l= ZO._.mZ<>w

 

 

1 (_m_.n_.

 

cch =.. m_._aoz _._uu_£mx

 

o_._ooz _. munoz

 

 

 

 

 

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gmw.amoha 12 n_._w_u§.wm>>

»_E»>< § ___._ §

_uHm_. m _._u__mm

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

55th l__ om<u__._o __..5: w mgm _._S§EE w=§_m o_.o a=_.ao_._._§ ¢ 3§§»<§_2.
mSm.$EM z_. omo%_uom 5 m=m_z E=. 5£.,_5 < m_u_=§
QN@~.§B l__ §§ z_._xz§“_ 5 §§ §§ __ ~E=._ _§_Ew § §§ 56 =o__§_w z .:_=B_§_
nms...w§~¢ <o mou¢<: z<w B__Ewu m_> §§
SNB mr E._xo_>_, 5 ,_._§ ;>E §§ §§
m:m$§. _: rm_oz<.$ § 526 255 23 =E ._. __B_ x B=mE_u 55 ._ »n=m_u
02 ESB .__ >>m_>zm_._u BN E< §§ .mEE< tow _§_=2._ “. §§
mom§$$ .__ ou<o=._o guise m ¥$ ,E. ._. s=_§ x §2__§ m_a§ o 50
SS.N§_. >z §o> >>mz §§m § §§ 3m §m on_ 35 a >_._Q_um
:$.m_§_. mn m._.__>>m._mw »>< Em_¥m_o §§ maria _. E§_s>
$SN un zo._.wz=._m<>> m.a _ ¢. az Sm_,... 333 33 same __ §§
§§ § zonzo.~ 35 552 mu_. _E =. §§ sam _2§ .EE<
nnm_..m$=~ az m._.=>mvoo~_m m_>.=n_ 56 §§ 32 5\_. _1 593 s_ »=»m ._m?»m o §__<
_EN».§§. z_ zo.Ez:.z:x _w mmm._»m 2a _E. =. =__._...: ._ S=_._ =__.....: 4 assn
om$.t~: >z z>..v comm 5 m~¢_n mw § 54 ~EE_§ ==_=<
m$lgo@ l__ §§ nz<.__._ u=._ E.< .§§_n. m §QO m 52
team .= oc<o _._u .m, a_&_=._s z §. . §EE“§ §__m §§
§§ <u oum_n 75 525 __§2. § i>=z m sams
mmmm.~$n~ n_z <owm_rm_m 5 @a§%_._>_. o sum _._§

 

 

 

 

 

 

 

 

 

Q~S.m~ _B l__ Ez_._zz._m .a_.§m m gm §§ E%BE.

§E.:M$ N< gmmmo m><o ..n_ guards 525 m 39 =E. =. Em_m§ 2 ..2==5 Em_m§ m 52
n~$.BSv 2_ .Fz_on_ ,__Somo .m w__»_s § _._BE_E. §§ §§

§.F.B§ § >w._nz<> »>< QBBE._ 5 33 ,=BS_E

mm_n~=cw m m§mo_u._.

 

 

C.on_v =2 w._.I Zum_n_<§_

am :mu_< mm_.mw

 

 

 

nmvm.vmmmm N< w\?_ow._:_.OOm um u_mcvm¢ m ._.Na... E:._._. mB!>j m_nmuu>mm Euanm Nm`mo_._.o mD ~._. m_mm.om :m_.__mn_ ._mcc=._v_ :»P_:n_.z Emmom muEE. £m:cmz
h_.nN.uwmhn _.Z v_OmZ<m:. .umnm cnm_uxu_n_ »..mnw cumu> muEm_.
:u_¢m < _._:mv_

mmoN.Nanm ¢= mOOEmmO._w

Emumu._u um._m mm=_:.m mqmw

= mE§ :u_mm l_ E.u_._mxw_< 539

 

om._.m.ommmv z_ Ow_<w_<a._<>

25 >_._v£mm §

B_$_z z annum

 

 

mwmm.nmnmw N< >m_._.._<> DZMIO

.__5 _ odom 2 nuva

=u._. =, =om:mo 0 =m_._u_£w

_._n..Emu m _u_=mn_

 

mvmw.ram§ ._.: mv_zl

__=:cm oum_N wmmm mma

: NEFD mu_o_._.mum d- cuG-§.m¥ 550

wu_g._>§ < §§

 

 

mo~m.wowmv _E U<._l _D(O

unum ”.v w Nnow

_._m._. =. __u...s_uopm n_ _._m_<

__P§_u£w =omER. crow

 

 

mohm.wommv __2 v<._. _a¢.U

unum _.v m moon

=m._. =. __u§..._:m =EEE. §_2.

 

 

 

=m>_=_u£m D _._m_<

 

 

 

Nnm _`._` _L_.m <0 FZO.EWE<._U m>.:n_ hn>ouc< com cQP ss :n;m _mn_< poch H_mmm_z
vnm_.m._.m_._. >Z Z_SMOE msuo_EmI uz\_. mm co_om n_ bn:mxm_< _._=¢. =o_ow m_._._.m: =omm:m
mmno._.m_vom .= xOZm._ >>m_Z man xnm On_ Nm__h §§ ._m_._._._. mc._mmI m mcEmh, ._._ mEmmI w murcm_.
awm..v.nn.vvn .E ZO._._wZZ_Jn_ n._. U:_>Eno___‘ 2 mac EB“_ w m_tm_._EmE

...Nem.ummww 02 Zmn__<S_ ._Q . vmm cwuzo_m Emz£m

 

 

 

 

mnu_..“com_v _s_ U<._.=D<O

mcml_ _umc_._w _.oc_.

 

co.r :.. wxcEm 1_ ucc

m¥oo._m w _uEmD

 

m_.v_..mm_.mm <U mwn=. Z<w

5 _u._EO memo

mmm:_.._m

m3 _m:._._. mmmF cc_w_mm m _. h._.

_._oGEz m _.=_c`.

 

 

 

mmcm. 300§§_ mh mmm_>.ax =Em_> m_=n._.

ZE.NS§ <u mo._.._< mo._ 5 3_2=3 §§ §ou €B§v_ §§

cm._.v.vmo_um <U mm:mwz< wOl_ 0 m_w m><hn_o_z E§.n N:>Ev_ Eo._.

vm_~.v.mammc ._.u DMOLE<._.w mw _nc_ ~m En h._. _._n.macn.m_l guam E_=mc

 

 

mm_._.¢__.mvom l= x.n_<n_ DZ<._KO

._n_ xmu.~um£n_ w ...mm_..v

=E =. a§£§ z mE_._.

 

hw=mnum._ 4 Ew=ES

 

hamm.wm.v_`_. >z mmOy_m._l_mm

gm _w _,mm hamm

._mm:u~EU c=.a_z

 

 

 

onnn.§mnm .__ md..__>mmn_¢.Z ¢:oU >>n_u_mu nNnm mama f annum
moma.v¢$v IO QZ<l_m>m._U wang kem mm_oo._. 0 ou:Eu.$U._
no_. _.. _b _mw <n_ ml_._.w<U >>mZ m>d. ho¥_mm hom Em:mmw ~m;nn_mtzu
N__.m_.._.mmnm .E ._<mOO Wn_¢_o _n_ £h 3m _._.m ucmtm@ s_ msm._m.._

 

 

 

nmvwv,_.mmno ~.2 mm:u_mm n_._O

emma _=I guam mh

ama =:»._

 

vam.man_. >Z >O<._.UZMIDW

»D m_aamn van

_._u._. =.. :mE:mI EQEEU

_.EE_..E._ c=m_w

 

 

 

mavmm <U mOwO wOJ

u>_._D __u£u_=z mnv

.m=_._. §_mEmn_ B_Enn_ m u_>mn

amato C: nn

 

a._.cm.._.ammm .I mmm>_z .EOh_

m_.~z

..n_ >u=m> m_.=n_ ¢NmF

:m._. ~W E_O 5_ mccownqu

~._. S_Ecn_ m_ E>mn_
_._=0 _u_m._uu

 

m _. _`m\omomm <O wD_wZ<wUO

uJ_._u>< U_.:>U._._r NWON

_sz _z »m§o¢

 

 

mmmc»_.mvom l= XOZM._ _SMZ mma xum __ 553 annum ___ng E:U mEmoI m mvEm_.
m an.mm_.mm €.__S m_Edm _.S _n_ ._=o_,:mmum vaF _._u\_. =. cm>=_:m < =mm.~ _._m>==._m m zwumo_.
._.Nmm.N¢_.om ¢= >m._._.ZDI wm>> ._mm:_@ mm_._v_` _._mh =. __=ommcm._ _2 HEND £»wc_._m._ _. P>mn

 

 

cNmm.m,_.com <O .F._m>>wom

5 mmv_wl_ 0 ucm‘._ oh_~_.

oE=ou § w_hmo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

wwtv._._. won 00 QOC>>._mOZm_ 5 m_._ma m vmnm. _._cmc.EoI ._. v=wm>>

.~.NNm.._.mmma ._.0 Z.O._..=>> =m._._. mn._. ._onE. NN mox_._om.=._ov_ a wnEm_.

Fo~n.momom OU wwz_mmm On_d¢_mOlhDU n>> ___I :Smom owNv cm._. ._. ccoc._..umvvar curvan o_._n_._._. E=l
womm_v __2 U§_O<c o_._ml_ _um_._:m w a_. mxo?_m _. _.Cm_._O

ongerch Z_ ZOZ<mw¢_ `_n_ P_o_._moxm._ 03 __.EoN..vo ab __m:._._. md|_._ u_nmuu>um m._uzz cmo_. Nm.mm h._. mgqu :mo_. w=_mm
nomw¢omm_._. >Z mEmEDOO>> nw wn< _n_ cn>opm nom >ax_..> m=c§z

nan._.awmn >Z w<wm> w<l_ _.ch 3m 5 _=¢ _.=_._nm ann =m._¢ =. EUES z m_u_.=mn_ ~:mt>> < Em£u_m_
mo,_.w.mo_.wm n_Z me<m :._ un=._ nunn cum._m._ _2 u_m:cn_

mNNN.moonn A_ m>>OQ<mS_ UZ_._l_ON_ _‘_=oo E_ouoo>> none cu._. s. ___:Ew >__oI £_Ew E_._.
homm.voonm 00 <D<>m¢. con u~9»_.“_ nunn wmo>> __B._.a_. hozm_mv < _m_cmn_

mmvv.mm_.cm .= ml_.=I mI._. z_ mv_<._ c_._nu wu:_n_ u=mmu ¢ Evo_._oo: U =ouw

N.v._.w.ammm_v Z_ m¥<._ <ZOZ_>> _._._ voe>>E§ moon m.:mUw umEU

ommv.amuom l__ .rmzmr 02 __mE ._Bmmzu:m§ FN: hm`mo__mo m3 §§ _. _=m_._:vx ._._. §§ _¢ _.=uc_._uv_

Nwhm\,vmnmm ._n_ wMOZc.E ZO._..__>> ._n_ mm m»z moor z=c._w>> _Bmu

Nm_.w.wavmm 25 ommz_cdm __E.r _._R.=_D m.u_.ov _._E m_.cu._._ N_,_m._szow v_ 200 659 Ntszuw <. Euc_._m!

 

owv TFNoow .__ m_>_DMU Em>_m KO"_

E m_s§mwm mop

_._o._. ”_. _.F_Em 4 _Emu

 

_._z_.cm ._ Emc_._wv_

 

 

 

 

 

 

 

mmhm.momnv >v_ ZDFUZ_XM._

c._ m>E...u F_.:___m>> _FPHN

 

_Ouml .NGDU§_

 

 

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ovN_T_.NNmQ IO w_)_m__¢D._DU

umuz _c¢EP_._. man

m_._aw._mn_ w n_m_._an_

 

:._vm.nun_.m .__ >mJ._<> ._<OO

h..¢._ 285 ~mm._on_ w

 

.PE=€._ _. _Eo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mwmnN <> ZO.EE<I u..._m u_u_\tmwn_ _._. u_Ems_ m _u§w

._.ovN.N _..~.ow ._M DOO>>Z\_GUZ_l_ o>< mc=mux 2 mmmm ~m:..k m_.__>M._ _E_.Eum _..§u.__u_._< QEN.€. m3 h._. _E:suw _._H_.:m§ _E:cow _.SE_..E<
mnow.vm.voo .FD ZO._.UZ_._.ZDI 5 voEsuon_ an 5 mE=.._ Em.uEuZ c_._mc._m >m_._wo ~m_._D .__J_._m._uEQZ x:m_h_
_ nwnp\nwmou ._H m_j_>xm_n_<?. _._._ oo:._m mmm_$nm `_H m_m_.__w vEn_

l_ mamm\m:.cn fm ZD.FZ<U oz _=I co_=D vevm _._mo~o§ < mma.Ewn_

+_`un»mv__.ma PQ ZOW_D<S_ _u¢ xuax _M:G mm w__._£mctmn_ < n=_o :._oE~mu>=_ w m=_."_ N

:,.mw.wommv 2_ st_m_mm um PEES_ mmmvm ~mE._. m_nmdu>u¢ naow_ av_n=: nn_._vN_mo m3 ._._. anna mofm:D
ammh.m~ me >.Z m<Um> m<._ m_._ml_ uoo>> =E. m_.mm moom>._vm m_._=+_>> xc_ m=._§mou

m:. _`.¢mvoc l= ._.wmmow v_m<m ._E FmN m=_m 23

eoow.¢nmoom .__ v_OOw_mI._.mO_/_ omni H_._n§.. vmnw _._m._. =, mucmm 1 _._m7 mu_._nw ._5 mmEm_.

amvmm >Z O._> wz_._uz_ m_v_`m xum On 5me 0 nouw_.

__..noow 00 <n_¢.>m< wm ucNh>> mmwm_. co 953 concur m cum._mEm E_._n :o=:mr l_ n=u:w_o

NNFN\nmmcw ..__ m\_l__>y_mn_<z 5 ._Bm.c___uc_>> mom_. ._mcu=cum m._am._

 

 

 

 

nnm._..mmon~ <> zm_._l_¢_ ZM._U

 

m>> cu_._Em EE_.G. _.#Nm

 

mww_......uoow 00 <n_<>m<

 

_n_ chh >> mmump

ou mE§ agch 0 >o:mm m_.o

 

._w__u=xum mtmnom

 

co_._cm: l_ m__u:m_u

 

 

 

 

 

 

 

ommv.wwvwm <>> ¢.EOO<._. oz 295 mmE:B aug mmF. Evo m_._ ._._. a_~=mv_u_z _¢ >=mm

4 va.mmom l__ OU<Q_IU dm cu=m>> >> vm_vm __n_u~d _um:u=z

E§.mmnmm 22 mv_<._ Ozo._ u_._w._ E==cm omm_. .m=._._. u_.__>~._ :mmm m £=m B__wfow us ._._r guam n _mm:u=z iam m ._=._m
mN_._T_.um_.._h >Z Zm_m_“_m_)_m 5 m_u:do._“ Fmv m:_m Em_._cmv_

mmmn.~n 3a .__ szmm<E =._ zunmns_ umw ._S=E w =w:o__m....u

mvm_v._.mmmu N<>._._O ZDQ u>< uan_. Z _.m~a_. monmm<m._mn._mm

_.$.o.nnm._.o oz >._._o >mmmm_> _.._.v xnm mm om:u_._m<._ m =a_mm

.._E. =. .,Su: m s___m h§s_ < m..=_mm_.

 

._.wwm.mmm _.m .= mjn:>moz_w_a

wm om=n_.:. o_=>muctm Z _.am__._.

 

mamv.@omam .= <mOmD<

hn_ Eo_=.Em_ m.N.vN

_um> U uc_._m£mU

 

.~.m__.w\mo~mv Z_ m_._On_<Z<_DZ_

cl_ .su_>.mwm mu__..G_.

Fm._vn`no m3 u_noU m con nm ._._.

 

,_Bu m _._Bom

 

n~mm¢uvoow l= CU(U_IU

comm_k 2 wovm

=@._. =. Sagem ¢Bnm

curiam wm._o_un_

 

 

 

 

 

 

 

 

 

__._.:.mono# =2 E<IOZ_S_EE

vaca EEmEn> moor

amusme _.z z<m_oo 5 =_S=_._ § =E =. a§z §§ _»_§_v_ 2 F__a_.
mFmN.nv.rom .__ DI<mEO._ m><. w_!‘mmnm_._._o___,_ M nw :m._r __.. ._mqscu_ ._:Nm_Z ._ N::oD ._m_>»un_ < mvc._m_..
hmwm.mvowh XL. mwom Zm_._....v muN _.Cn_ NNM_. QEF_NG K mmEBt.
momo._.mmch <._ ED ZG.UEO_Z man Xnm 01 cG._. =.. >._£.=_D U zva >FmtzU _. uu_.E_U
mm _m:_._. _m=u=uugum mci __u>_&.“ ._._. uc_z x carms_ nix l_ .Emm

Nmm r___.N~_o_.

 

nnmn.momow l__ vi memwmm>m_

mum_L 552 >> Nm_.m

=

 

nn._. mu_.co,:. z ww£. _m_._o

 

onmm.¢mwcm l__ Um_Jm__zD<IOm

_n_ nm_:aD m_.N

NE__.._ §E_mz _, EHE. E_u

§§ E< §§
§E.ai »=. _m

 

 

mmmmw <> DZOE_._o_m

hn_ m:_mw m_.vw

muEhm_. l_ mcnch

 

 

 

 

 

mwmm.mm...wm n___z Om.Ommn_GO>> how* 5 uno>_._omum o_. EP_.". w=F_mn_ mon_U ...m_.hEmo m3 h._. nnan venue wo>._m_U mn£U _l :gc_.
mmao.mmmwm <>> mw>:OUZ<> tme xom On_ :m;nocw u_ >H._o>um
nmmm.¢nvnn .E ZO._.<V.. <QOm _n_ :o_nEmI owen _._u.r =. E:mm l_ >Env_ £hmm u_.;>.___

5 xco_m Hu=m> who oz mE_D :_._< > u~m._u E_._U cc<> m:._m._

Nn__..N.vn_.hm 02 Em¢_<m ZOPmZ=S

 

_.Fvn.amm._.h X._. wn_Z<l_DOD§ m:.E.

_n_ eava n=£umm am

EWF ij wm_.:.: m._£un_

muc_.__ < Emzn_s_

 

 

mwmn.m_. Fm_ ¢.n_ <_Im._mn<d_:m

._W m:m__m _En_ m mom

_E>m > ._ >ucmw

 

Fuhnn ._u_ Mm._.<~$w_<m._n_

bn noth nva

_m_dh o_nmuc>um Emc_.O m _B=mn_

hoow__om__ma m3

c. __._$_.0 zm_._..=_z o

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

vmmn.o$om l= DOO__SNEGI dm F=._.mv No :m.h. .=. _._o_.mU _. >__m_z cu_.mU m chm_.
aNmF.N_..m_.F >Z mm_wz<muo c>d. E:cE vm =u._. =. cmLcuEu_n_ E EEn_ =m_._:mEnE cmE_Ev_
._.Nvm.o¢nnm l_m .rmm>> >m$_ _w _m>_._n_ __..o cm._. r» __wc:uuu§ m_ _o_nmn_ __uccoous_ n_ h_n:.:“o_m
wrmm\mmvn.m l__ xn_ ..r_._ mm>_7 o_._ml_ agume men _._nEn__._ 1 tm>>u_w

Nvma.mh._._.m <0 w<_z_n_ Z<m me xam Gn_ :m._. =. hn_.~m_~_ >> =m_z ._u:m_m S_ ¢m€ur._.
..L..m _..._.o».ow .__ QOO>>£<N¢._.U :._ _SQ=oI hmvE=n_ th". hmmg._oEr_....w owtm=n__m_z

n_.mN.._.vhn_N DS_ w._.I ._.Q_w_._.w_n ._w _P_o¥m_._wI memo x=mn_ § cm_=an_

>> ao:. m mann =u._. =. uxc_c_w cc=mm_=< ux£u~w m mo

_.._.mw.m...mhv Z_ Ew<._wwmzmm

 

 

Nmmn\m_..NNm <0 ws:<m n_Z.n.w_J.U_.._._r

m>< w__:... Em£._._ow shown

_m_..._._. _._wmm_ u___._.

Nm_N r:._. m3 ._._.

guam § =u._

 

mNa _..nm...: _rz n_.n_Om<m-w

unum iam o_.mF

=0¢_. .=.. LOUCmW CWE~_GE

Lnu_._nm < cannon

 

 

o_.m».nwmnm .__ OD<U_:U

Eu=_._U ~mu._$ am_v_.

__ 35 _A»=§_.o EN_._ §§ §§

=m_.=._uv.O _l >_.=c_.=_._.

 

§on l__ Z_O.G

gm _._E_.__.E._. __l. _.m

garman Ee=.__w

 

 

emu_.'m`.+am .__ zmwmhm

._D tho._ uI mvm

§. =, 253 wagon

 

 

nonv.v__:.mn l_m IU<mm DZD__sz

_.P mmo_._vo__ h

 

¥u=nmw h m_z d < _u_m:om _._=<

__.__._m=mu __ um::

 

Eoo EEE._QE mu=n_ __Ev=__

 

 

mmaN~_.NN__..m MO DZ<J._.MOA

_u mu__._o_z m_cmw 26 53

_0 uE.D cEc._< ._. £>mG 550

o~mE< vu._. =m_mm

 

wohm.vmvnm l__ Zm¢_U zm_S_O_.

_n_ ;Pcmmm mn_.nw

.=£cuc_,._ _. Q=o._

 

 

¢mm _.~N._.o_mv _$_ >m._zmmm

 

nom a >>_f mcEEoU oman

250 __ E...mn

 

 

gm Tob..oN n=z .~.. mmzwmm.w

50 e_u_v.cx.m._ mm

 

§mm.mwoow `.rz EO>>>NZ

 

=nmEE"=>> s_ mem_.

mv _m< wm 53 >> nom ._umm:.i Eus_

 

 

 

 

 

wvnm.mmnmm du Ohwm_DO_z 550 ._v! c_.__._w NFm_. >_._ En_ gc:EEoU :m§m w u_nomn :m z E>mn_
mr:.momnm ¢> ZO._.aE<: u_E_U mE=mE _. _._w._. q ._o__\:m m miwa h ==m ._. _<
amvv.wn_umm N< X_ZWOI_L _m n § 2 mmmm_. huxu_n_ >> §uaom

 

 

nonN.nEam .__ w\_<n_OZ_EDOJ.m

v _E_._ _E.s 325 32 _._s 2

§§ marsh

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mann-owen l_n_ m=u_.j hz_<m ._.mOn_ =u ._Q.._a=mm@ Now._. =o._. =.. cu_u>> I umcEw _._u_u>_._ n_ >_._u£_._<

summava .__ m._.__>zmn_<z 5 swan m3 EE. §qu < §§ 3323 § t _.aw_%=< ¢. BS<
33ng >z >m._.k<> oz_mn_m 3 §§ H_.. ¢_. E._. =.l»'|m_$an_ § annum ._. geo

$E.E§ ._.u >mmm_n E< SE_. f §

E..N.m§m .__ mmz_<._.n_ mma gao __S§=m 2a = §§ § mm EE_QE =Bm m=u E_€m E_..E_m

BE.ESQ .= ow<u=._u gm a< m...<EaE_§ __s o.a~ §§ o ,_a__z

m$m.m§a _m >E.zm>oo has H_E< __. §§ am "_ §w=m

t&~.-_§ >z rmo> >>mz ah E< 525 ,=_B _.Hm gm _E. F_. §===s s_ u_Em_._ ..§__s> §§

_.m§.m§m >z w<um> m§ 6 mu=_._nm u_m 32 3 B.§.

 

 

 

 

 

...Fmr.mwmom 09 mz_._.~OQ hzow

 

 

wm doumo._n_ >> row

 

=u._. =, ._u_.__._uum z usme

 

 

hu:___uuw I toa=m_

 

 

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wm:.m_.ou_. >Z ¥mO>>>m_Z

E:am Emn_ _m.__cmO nom

_m_. _:oc.imm<

__ c_S_ c_U___._D u:__cm__mm

 

35 Eunm~__m m§ 530 E.___cm__mm >> n now

 

 

 

 

 

vnmm:m _.mom l__ m>OmU mamz>>On_ nasd .._.___mom vav __ m_.cm: §N__N maEn_.. 5_.__._< _h:O E_N=N 1 cmm:m

m¢hn.mnoam ~__ v_w_<n_ DZ<._IU__._ um n,P__.=_.__._S _.om_. =m._. =. =m_.EuEu_n_ ._. __mO _._mc.:m___u_._ w _..,___w_._ow_

...m_. _`.mnw___v _2 m._.z_On_ mmm$w_@ ocm._ unae>__ Nvo_. ._.Em~__.mo m3 ~mD ._. o_nmcn>uz vc__=mm_ w u:m:u__.__z h._. vo£mm m u_._m_._u__._$_
uao....+moow .__ <n_zOoD<>> __E._. omni =m__v_.__ _._.m. EE_._UE a__=_»

 

 

 

 

 

 

 

 

 

S.B.EE._. >z z=s,..:<m oven §E=€w 2¢ ;53_ m __.E

mma.,...w§@ l__ oo<u_:u m>< =_B=_._ z 33 iam h_ _um__u_z

....$I.EE >z xmo> >>mz m>< Em §§ 9..¢ um_. q =Q__m_ _. §._.m

m&m§ m< zuuz m._._._._._ 35 Em__EE 2 u_E._< m amc

§E.mm£m z_. zowv_u_n 5 m__=._ _£E£ _EN §§ x=o>

IE.:..E¢ .__ m>ozw zm>_m 525 ones z nva se._. ._=EE ,E=_s < =_EE._ ~EE_.S 5 § E=s> §§
.Sn.;$n <u <._.z<.=.< _.s w E._m __»Eoo 32 »_m___:‘ w 230

_w _BE: w 55 __P_. =;» _E§,m 2 E=as_ ._ouEEm;m w 555

ms..n{vwwmo N< wi_<n_w._l_.OOw

  

 

 

 

 

 

 

3 E.$§ ____ >mzzuza §§ sum BH §§ ¢B.E

unanion l__ <>mzwu msa.~»s_ 3m EE.F ¢_._BBE_ =mE=o_s w E_=H__m a §§_es w §~..3 5 :. mm=.=. 35 _s
SB,MSS l__ §zz_>> E =E_En § umw ._ §§

. E¢T§B .__ mzz< ._.z_<m v_=_< _m 5 mm_.._.=,_:oz 23 __§_Em macon

 

mvmn.mmonm .__ wm=._mzl_OuZ_._

umo~_ mucc..?_w>_w_ wm

 

mE=._ o>._=O cm£m_.§.. ?w_n:< _m_._u

 

Ho>=@ E_._ms_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ES.~S¢ mo n._om:um< =E__§o 2 ._o 953 E_.s_z 2 =_>mw §§ _E_.a: E_m_u
_EB.~B$ re n_omrom¢ ,_E__§o 2 =o §§ =..Es_ ._s __w§o m_.u §E_z ...._m_u
§S¢~E~ oz zmzz<m own uaw oo_ »_n_Emm ._. §

wog_..€:.w _zz m_._uzm:u_._m._< oz 35 nw__< gm §§ §5._

3§.:..¢- ,_“_ ooz<._~_o ._e 25 ,_§_._ m§_ __B_m “_ E§E

.=.5.$3¢ .__ m._.__>mmn_<z 5 230 33 §§ s_ 53

SB.%NB <u muz_mn_w s_._§ umw =._m .Es H.E=_m ___§w 2: §§ _. E.
mm;.~§$ mo oz<.__.mon_ 2_§.< § m.z NEN =B =. _ .. .. 2 3§~>5 =_EE_B x B=E;E
_EQ@.:.§ _s_ _._o<mm nz§_u E_m mikva B§ _LE. __. =§n z =$=uu §§ _. §§
E§ <s_ zo._.wom _.._ 52 .m E§=w_“_ 3m us mm=§a=_;!o §§ §§ 95 B< 90 no ._. =Q_=_Eon 20
nam._ mu._. f N cn._. __.. unum :m_.=m mnnm mm_cmn_

mvm_..wo _.om l__ ml_<n_mz__._._OO-_m

 

ogv.mrmuw ns_ mm<_._n_ >>mTO

_.§an_ u§.__un_ novo

 

=nau_._@au@ g mm:§_._¢

 

mem _.._.cva Um ZO.mel_m<TU

Eu.=m __m>> w

EP_U _._Nu£_mcuw E_m=m

 

 

 

 

 

 

 

cmom.mwnn_m l__ NUD_N_ v_m(.a _W .~,._._QF_O QN F _._u._. =. __E._mn_ mEn> __utmn_ wm:_m_,
wmm.v._.oowm >>> w_ZZm.erU __. § _w =_m_. m man u_s_._ < mu_uE_

mmar.hm¢nm l__ v_m<n_ QZ<._N_O _U I >_uu>> wocm_. m._m:m_z. m camma_»

¢wa.®vmom l__ OU<QIU D>¢ wm_mom m nmmo_. ___m>>o.__mD l_ cn._m:w

mmnmlmwmmm UZ _Z¢mm __SWZ _.U _u._m>>mhmm haw ._owm_ 0 :mun

mcww.mw_o_. >Z v_mO> >>wZ Em _w _.=mm m mh_. _mEm_._ > _.__mnm~__m

_wom§m § snow

 

mvmm.maoam l__ w._._._ ZO_.DZ_N_¢

u>d. ce__._:n_ w mem

=B q _Sm..em _. mm_._

 

vwv_..v_.hom l__ m.m_.__Z

og_._u>< muEO z mmum

=m\r __. cmwn_>_ < m_u_.__m..._

_._muns_ _. mmEnl__J._H

 

 

me_..NO_.wm l_u_ me<l_.__> m__._._.

5 §en_€==w §§ mm 3an

v¢mm.mwaqm <U v_w_<n_ O._Zm$_

5 .£=E. 32

125 ._._O >m_mo

 

 

._m_._._¢_. D_DNUD>NE vxm_.__uuz

m=m§._nm_. _.m_.m En_. m3 _._.

>B_¢.=_BE u=mccmm_.

 

ommw.mnqmm <>> §Ouc.._.

§ Emm mm

cm._. _._. ncm__u_._ 5_. __mv:mw_

S_cum _ EEE_§

 

anow >Z v_mO> __SWZ

gm d._D mu_w_u>_,n_ ov_.

~...__sn_mo._m_, u_>mn_

 

 

 

 

 

 

mwumv Z_ zOm,mmn_Z< amax u_._w:w_ n_:_. mch._m_._ EQE_W

mmo#.vn_.nm l__ DOO>>l__mm m>< _.__mv _.nm me >>._n_u__> cm>_

m_. vm.a_.mam .__ OO<Q__._u _n_ u:§m_cn_ >> mm xm% Euv_ F__.un_u~__m_ .cm§,

F_.;.m.maom 40 DOO>>>._.#OI _.Ww>> ._n __._:nEF.o>> hmm ou mEuJ _c§mc___om emma mo_mmm_. _m:u .__I _m§m=:uw _ mm_._m_._O
. mw._.N.nw_.nm .__ fm<.n_ mmOM._ms_ u>< F_Em 2 __._._I. mmv_:EuEmn_ n_ mEnmU

mmN_.\mhn: >Z wz_l__I ._.wszn_ _.owr m _n< my_n_ E.__cmn_ u:EJ om.rm _E_._um_._. >:mn"

hamm U twn_uw_

 

 

mmv_..howm_. <n_ OZ_n_<mE

~mw.__w tamm mrv_.

=»._. ___ _Bmm __u>om m §§

 

 

meN._.n_.am l__ v_w_<n_ Z§v_Z<mn_

_w 33 ...N;

__ mE=._ cu.__u_._w 4. ¢__wn_mu:m _m_._D

 

=E_E_w s_ __EBE_¥_

 

vmn_..mmmno l___ wUZ_mn_w Z.mm._.mm>>

_w _:c_m 5 vNN_~

_m=_.._m ._. >>E_u:<

 

 

vmmv.mmmmw l__ mUZ_mn_w mm._.mm>>

_w _:c_m___$ QNN_.

_m___._m v >>mr=_m§

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

unvN.NN_.on Ou 2 u._.md\_._._ E._nu Eou_._m m =m_. m_mnm m conn

$hm.nhv»m .__ m._.__>mwom on nom :m =u._. =. REE. < _..mm=m 3ng < >E»._

nmo_.._.mmum .= uU<G_Iu a>¢. Em_._mNO Z mv_. ._v____v_ m_EmE

m_`_.~.mw_.oo l__ ._.mmm_.__z._m m>< E>n_~_m_u 2 o#m mmmw._vr.v m3 Eumom E v_Q_:mn_ _._. m._m_waw_ _2 xu.EmL

.~.nmo.Nommm 25_ mm._.mm__._oon_ 3m _n_ __u>._am mmmv G:_._. =mEv_u_._m _2 ms_ om_..~. Co_. m3 _._. :mExu_._n_ J. _=_2. E~Exo.:n_ _2 m_z

 

 

u_.mv.m:no 92 m>.n_w zm._.mmm>>

25 §§ ~___> h

__E. = WE_§ _. >»E._m

uame 2 §m=no

 

undivan w >z z>l_v_OOw_m

~D anm__m>> room

 

mm :..mwoo_. >2 v_mO> >>mZ

 

cm d. ~w u_._Nm Emm umw

E__._§ _. __e=~_.
_._mEm_=__z _._ ucmu

 

 

 

 

 

mm_.N._.Nva _.5_ .:Oz_'mn_ ~W o_.__En_ momm_. _._w._. __.. :nco_._ mu:m___> _® :oto_._ _vun_w
dumde $...m _>> >OE ._.m<m m=._ ca__._om _.._.am _.5 ~u____._ wm_.

 

 

ov§ommm <_ ._IN_OA_ZW><D

5 E:nE.__m»_ oven

cw._. _1 wsm 0 wu_.__O

mqmn_ n_ wo._:o_.

 

mob TEm_._u <E ZZ>._

mm>> :=w._ man

u=_ m=oE_w m _.

 

vmmn\v _.N_.m <U <._.ZWQGMN_Q <1_

~mu.__.w _ENE nmnN

 

#va_. >Z <_¢_U_<DZ<?.<U

35 E=Lo_numw :~E.

=mu:.s_ _____ umEuE.
socist < wo_._vom

 

 

 

 

 

 

v_.N\wmmnm l__ OU<O _._u >¢.._o_§ml_ w NFmv ~Emm cvn_._m
wnom.v_.mou .__ OU<Q _._u ha._.* _W m__om.w._ 2 oum_. cmc>._. 2 mu_:o_z

___ _.._.N\mv_.am ¢__ n_m<m$ O._ _n_ HEO m own mno:_¢.D m Hm_z
mm_.~.~moom l__ v_OOmm I._..n_DZ man _a< wm 3qu omov _._=9__ ___um`.

 

,_m_~_a_§ w 532

 

 

 

 

 

 

 

 

 

 

 

 

 

Q.$.BS¢ <u 555sz E& Bv_s> _.:..2 _m=..._. ___Eq"_ ._2~_5§ 3.._$¢ 5 _._. x~_HmmE m EET
§..~.ES@ .__ mmz¢:u m>< .3._¢_.~ _.~wv _Eumam < geo
w_.oo_. >2 v_zo> _smz 3 =_< _m 52 m _.._S. ..E. ._. 255 wl&£. DE_E=< >m_o
_..$n.-§ ou zo_.m._t._._ §_n_ =..._u=_s_ umw mm$ §§ .._ _.___2.
m$».§t § zm>oz<_._ v>_.._n m§> _m 3m 5._. =, §B_w =EE_w 536 2 »_3§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ovv.m._v_.muv ZH._.E<I¥._W
..n_ u£§_umm§ mc_.q

5 mum._h_ m 3me

o__ncus_ s_ mmm._uz._.

 

N._.mn. rouvm OE mEOU_l_.__IG

5._.=. _vE:» m §sz

._uE_._._. u_ mmm_._Q_E

 

 

 

 

 

 

 

RS.NSNN .m Enw> m:.zna a 33 §§ B 5b =.. @_2__§: §§ m_&l|m§>» E§_>
vomm.ho :m .= anLxuOm_ ha F.o._o§mo Nmm _._m._. =. mE >> § =Em__w mc._ .>> _2 Em=u_m
m_hmn ¢E Doz<._mc .+_mn_ =Eu_.__xo._ 33 hanna m m_._=on_
mmn?$§ <_ wuz_os_ mun Em=s 5 _mEEE SB _.E. s §ng x §§ §§ m .:_EE<_
._.N¢ _..m _.mam l__ n:m_n_xoomm »=wrcnr unum =u._. =. §_m£w _. .:=oE_._. 235 0 c»m._=ns_
;B.SE § zoE:or 5 §__E§E,_w m §§ 335 < 55

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

h¢nm.mmm_.m <D n X<O DZ<mDOI._. ._.mom unume m:Enm unum __<
mm_.n.mwm ..m Os_ ZO._._<L 0 ._D __o=v_ HEamu »E_. wu_>_.o_._Em m .
mm _.N\aNmom l__ OO<U_IU 5 53 >> o_.m ._c__m>> _2 B_vo.wm_
m._.nnl,_.mmom l__ OU<O_IO _`mw ~:mEr_ < mounom Gm>> own _EEEW ._. _.Emumom
N_.Nv.mmmum .= ._.ZOEPGM>> m>< _._a_=c._mI own o_an_ w c=,c=_.
mNmn\vmom_. <n_ Ol_m_LOZ_mn_w baum : §qu vmm cv._.. ~_.. _=:m». m. m_.__._oD E=m> W._£mm
hon _..nmo=m J_ <¥._.wZZ___S am o_._H> Nmm cou=_nom _. E._._wG
4 _.$\8_. wm <U <zmn_<w<m nm amum__o_._ mE.. ccmEE_ES m:unnn._. _._m£mco_.
nm_vn,._.NmnF >Z m._l__$_ v_ij mm¢ xum Om wm_._:mn_ >> 3m_._=m_2
manor >Z m._<mwm<uw m~N m=:w mcmu=:m vetch »B:vz 0 _Em_._u_m
mv__.w.nno...o _.2 f _.mO>)-__Zm_x o>< E§Z umw .Cmul_ 5. v_..»E.m."_
uwm_..+ma,_.w X._. ZO.FW_._OI _uwvz _._o>mz w.m_. :u._. =. mnnm_ m m.=_m._ mnnw < _Em._s_um
m:_.¢mo:.~. <.:wOn_m>mw_Iw c_._m:._O ca ._E~Bto nunez E>_mU
oNNu.u_. _.tm ._.D >._. 0 mv_<._ ._.._<w oNNN xnm Om ou mc_:m=u.:n_ §Z _Eumun
.E=mn_ § >._NU

pmm T_.movu OE ._._EE:w mmm._

 

m gm ho>__m, 32 u¥..

_._u._. =. mccun_ m_ m_u_._E_

 

m_`ww.mo¢~m if OnZ<l_mO

w>< ~mv_om z nam_.

zmcmnno co£_u

 

mvwm.m;~m if On Z<l_mO

._n_ mu:o~m mvmv

._£_..Em m mmE_E._.

 

m._.,_.m.mvmnm .= 0 uw>)wO

 

vaca cogsa wm

=. __@._a< l_ nicol

 

vac F.._. _Nnn ___S mmv__\ <___5.__§

§ §§ §§ z 33

EB_:E HEE_._. _uu=mz

 

 

Nwomlvmncm l__ <n_zOqu.>> m_ __.:D >m>> .“m~um_@ a._.mw hm.u__._m¢_ < crown
om_`w.m~woo l__ ._.mmDI$_._m n>< ngame own cwb § cycqu xcm_..._ connie Hm_z
o Em:_cm._w mv_. ._m,.m_z uhmca_u

 

...n.vn.mvvmn Jn_ Io<mm n_lm=“_mmmn_

 

mmm_..nw_.am l__ Z_Q._m_

 

nw _n¢wo__..: >Z mmOIw ><m

W _._._ mm:o_._._mnm §

Uwom Uau__sw_ucmo m._. :.
_._w.F =, mcEEI m _Em_mms_

 

¢_“_.a:_>> < £»_E»z
m_._EEI n_ m=ummw

 

 

mmvm.mm_am# _E ._._<Iwm<§

§ 25 ..E»E. 932

5b __. E=_“_us> >> __§m_

n_._:§u_b> _. __vmm_._¢

 

 

Fm.mm. _.mn wm <U U._> m¥¢l_._¢mw..$

550 525 235 §

5322 o E_o_.

 

§.mw.mmuvm <U ¥E<L O._Zm§

hn_ _§E._._. mac

v_uoo ._._O .EEQ

 

 

.,_.Nmmm N< >W>>mn_

._wm__._m 255 _mmm moon

 

5 § :EmEmE

 

NN_.vv IO w._.I va_(_._n

u,n_ _u:m_uno>> w mm _.m

m_~=§us_ m m_._cm=:_.

 

 

 

nnmmo.v m.m w>>On_W<_z ._¢w<m

mm.ho n

§ "_B$_ ,_E§_ EEE. §

:~F ~_.. uB_E_Emn_ n u~E=um

 

 

 

 

 

 

 

 

 

 

Emm.quom .= m._.=>Oms_Dm ego mm =m._. __.. _,_._S=s_ m m@EE. EE=_>_ m § mm
rof...m»nmm <>> Im=z<$=.._<w _m __=nN mm com _.N _»_=n>ow < o_m_._on_

ho¥.mgmm .E QOO>>>._._OI mcn_ a< um t_._w z nov E_.Em Emm
SB.§E >z w:_m<"_ 525 3331 art §th ._ §§

vam.vm ram l= Em._.meU._.mm>> _m __:I mwm_. : mE_D S_._Em < mm=mz_ ._m_._U nn:mmm mmu._m_z
m__.:.mmm£ ca zoEE<.._._.:ow 5 §§ m3 E>N_,_ 35

om~w.ovwom l__ OU<GMIH_ u>< wongme 2 m.qmm __, _._o>_=mw m E _S

 

monmm Z_z mi_|:>mzm:m

m: =:3

._c _.E>m__E:m gone

cn&w“m=u m muEE,

 

nnm¢.ommwr >Z l_n_ mEmUZ_mL<>>

o>tn_ >_Eumm_z mm

U=m=@nz r_m> 1 mku_._m._h

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mcmw.o»mmm <0 m_><n_ _w £m th m_._g_._n_ 0 _E.un_

owv._..momwm <u mgwmmm>um ca >u>_mI m,.._nv_. sub =, mn_:v_ m_uu:< mF.__sv_ wu:._m

umw ".~vaoo l__ EOOEme._m w_>m_c. mac m__._u_=uu w aged

umw _..Nv._.wm <_ ._.._._>> mm E.£vn_ _m 5a # _.m _._0._. =. ._$nnmU 0 EoP RENMU x mn_.:_<
vvwv.om_nu .__ hmm_._r___jm Bv_o__m: _.vn _._m._¢ =.. toum_mE_I m Em€mm tqumE“,_._ _EE..

homo.mooom <O wm._mwz< mO¢_ v>< :w_m>> nneNF nucor _uvi

owcn.mvuom <U wm._mwz< wO._ ._n_ ..mmuwl_ Z mmr Bm._D m__onu=z

nonm.mvomv __2 hhme _.C.zOZ Umom _._mmEmO _.mmm :w._. =. com § =mU tom U :wnom

E.mv.o Fmom l__ OU<O_IO 5 m_w.m 2 con mwnm. __.._c_ __ mEn_._ n._m=om._ ..___ cmu.=._m§ _m:u En_._om._ _2 m_._con
m:.TNFnoN n_s_ OIUN Zm._O n>¢. m_m> moow _._u._. =. _SE._mm .ccvr coram _EmU

~Ew. §§ _>> :<m_._<>> »>< £v z m~! _m.=._. »zBu>@m EBEEw OQE._S 5 m. BEEE» ___,_ E_.=E aumE%m x Em__u_~_

 

vmmm.v:. wm l__ n_.mOmv_QOm

Umom ocowm_=<< U_O mnmm

 

§§ 5 §§qu =2_§@

§§ SBN_S ~_._ »._.

_Ecun._@ _2 Hm_z

 

 

 

 

 

 

 

 

 

 

 

 

 

§§va 5 z<<z<u§m_z § _E___E B~ a_z§_ z mm=ai

593an N< m._<n_zw._o ,_._ §§ _s ~§ § =. =Em"_ §§ z =EE m Em§m

§$~§ J_ §m__>zm._w § ._g¢_§_ §§ §§ 1 31 05 EEEE < _._._u _EEE>_._ §§
m§¢mm$ ._h_ ._§oo m%_o § 52 mm 32 __SEu m ,_B_ES_

ER.BE 5 zmnuo z 33 . mg ¢&. .“. 953 <;==5. §§ E=m usi

NB~.§S <u zo<wm zoEsz§ 5 _§§ S~m %5_5 ~E_ §§_x

2~¢.~3.3 ._“_ :u<mm n._m_mmmm_g was 5 az § ._E q 95 § =£ “Em___=s 2__§

§m.w§@ .__ mw_.._& §§ _F=.......F.Hm v 22 smu s 523

 

 

 

 

m_._:_.v Z_ mmOZ.v_ wn_>O¢E

vi co_m:.>mz mmn___.

EE._. »m:m__m

=.co._o muE_oI m :u=m mm_._._o._

§N._mo m3

._._. mmE_oI _m_._Emm _E_._co_.

 

 

 

 

 

 

 

 

 

 

 

an_.m.nw_.oo .._“ ._.meI_z._m =m.=._m §> w wm cch #> =m>=_:m 1 u=u_u._ _._n>=__._w v_ w_..__._on_

n FNm.mm _.m_v z_ n_Am_mZ"<._n_ ._n_ __mm._osm._. own v _._m._. n._.. >w_u£._ ¢. _EnD >u_u:_._ <. qum_.

nnmm.em _NN <> <sz_> >> w gm ._9=¢>> m~ co._. ~_.JEE“_ >.=u._. v_th_ l_ mo__w;o

ann Tnnnow l__ ._.mmmOn_ Mw>_m m>¢ _mEnm vm_. co._. ga oqumm 0 __mU BoEmw > EN=_S>

NmE.EEm .= Gm:mmm._<U mm=_< uw_uEmn_ m,..n:. =P_. =. sodium N_B._mm xuu:um =m=w_._so

ecwm.mnmum _>> 0<._ Dn_ n_ZDn_ u>_._D E___w.:_._$ ._.ov Fm:._._. m_.=>m._ hm_m_m_.~ .£m_z d c_._o .. mm_.NENo m3 h._. ._o_w_u: l_ bmi ._m_mmmI _. _.__._o_.
vom_..m._.n m. 22 ww<><w w u>< mEmnm_< mmav_. N_ uZ 1 §>mn_

 

 

 

 

 

 

 

 

 

._.Fm___..mmm~u _.n_ zo_>>m<>>

 

w>< Boumm:_o_._o._ 0

 

mcmu_=_z _._me

 

 

 

 

 

 

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goodmva >2 >Z€m._< ~mP_.m m_m_w o :. Eo_m __=m muc_._.... umEHm_o:D »O uu_.=O Ea> .smz »O Empm E__F: Eoo
._.N...o.ow_.om <> ml_.__>m_¢._.ZmU ._.N_..omN nom On_ m_mv_n=m§ v_ ___m_oI

omnm.»w_.mv Z_ D._m_mz_<._n_ o>cn_ ==._ me v»..m.~. N~m\_ _uw_._u;.._ E>>

romn.ww ram ..__ ._HN_DIE._m ho_UE..._._U wmm E:mm I mmu_.=m_n_

man _`¢nooow Un_ ZO._.mZ_Im<__S mm ~w < ¢Nmr cv.r ~_.. _._omn_Ho_._._. l_. wEuc< :uunEoE. I _._mtv<

ownm\vnumh X._. OQG_K"_ :._ >nou hhan mv_mm_m_. S_ E._< oh

2313an =._ D.__._.._OZOI m>_._n_ ==m_o§ anew _._u._. =. mm=$_ m >n:m E_vun_ 4. =_mn_

n _n __..nnm~m <0 zO._.zml_l=Jn_ _m m_m:$ _.nv omm_._NN._n wD .m:._._. mo>_.> hB_.__ m_o§_u>om EBWW < _or_om_..u ._._. =_Emmm < itan
mmhn»mwvmo 02 m=._.U._ ._.Z_<w o_._m» o._m__m.m g :o.». ___.. cmEEnZ x mau_._mm_¢ cmEEuZ m, _C._mI

nhv_.m l= m_._l__>mmOw._ _.:m<¢ m co :u._. =. EuEnccwI v__m_.:~_.. F_._Ecmccor am_omw

Smmhw =n$_um_. hmo cn._l =. __uu:w_ bond =uv:m ca

Sow.mhnmm 25 mun_Dv_<Iw

 

 

 

 

 

naming ._m _:<_< :. saw _u..,_m E__§£ am 5 . »E=_£ 5>3_
mau~.-w~o _~_ mm._.mxm 245 =Enm Nv _m:_._. m£>..._ §m=__s.a~u §§ m3 .F seeing
...$v».~.vwom l_ Ow<u re m_._:u>d. EEES 552 own _._a_._mm .F __st

 

 

 

 

m.vmn\v§m l_ DU<U 10

_m _._o_m=_cwm>>>> mmm_v

 

nna.n.vnwmo ._.O ZO._.UZ_.PZDI

5 Suz?n n

5 mE.: ____ usz am_._uw_ _._ m._. 5_._0

corn o=ux m=m
sg§@z z§§_m_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

hmv-_`mmoo l__ OD<U 10 a_P=D _mn>> 2 nn...m hmgmn_ mem_.

mmmv¢mhoho _..2 mz_<._o. IUh.Dn_m u>< u_oEcI mv:. unum mtm§

N_._.N~Nvo,....~. K._. ZO._.m_._OI x._§m_._m nm_. _._w._. __. :o>._oucw> § u:cqh=m uo>._v_u_._m> < Em§um
hmmv.Nom._.m 22 mm <._.Z<m hmmv xom On_ =oh =. _._=._mE < v_._»mm_,:n:._. .:.. ==._m§ 1 um.c_<
Nm._.m. vom_vm <U <n_ws_<._< 525 Em me .__EEnE._mm < mopmmuoum< ~cmE_mm>c_ mqum_(
nnmn.nom wm 10 v_Z<mm_._ wm _._a>< 2 mvv _mE._u_.=um .__ _:mm

arm _`m <O ¥Zc.mz_._ vmm@ xom On. mF_om oo__._o$_

...o~.v.mmoom .__ OU<U_IQ m>< =uonEmu 2 snow =m_._m_m§ D E>mn

mva.mumom l__ OU<G_IO m>¢_ =mmEu=z w mrm_. N.£.". :m_u._a_. mE._oZ cat Em._mc_._mm < a:o_O m:unn_ _Eu_._mc_m m cmc._o>>
_`m_. _..mchr >Z mi_l=>zmz.n_<@ um ._mnc_u m mn._. =. 2an nm_cmn_ mEo_z m wnEm_.
_.w _._m_u_._m_z m mmv: ._`, mmqum 1 _cmcu:z

n_.wv.§.cmw N<X_Zm_GIn_

 

nn_w_..nmmum .: DU<U_Iu

m>< o__o=mm_z z anc

 

.$¢.m=; 1530 _._E._m

 

omwvm _>> OO>>O._._Z<E

uo>;u_°_.__w<¢

m _E_._ .€__au m:..,..

mu_cm: mcmann

 

 

 

 

 

 

 

 

 

 

~EN+§E <u E.zm_ommmu <._ EEQ>< =»=6._ 52 ¢E. § m§o o_E£. win §
33.5”3 z_ _.z_om z>>omu Bm_n_ 23 § m§. =£. =. =~_S_ 2 gm §§ m 532
momm.t§._. __z zw><: mz§u 525 =_B=§ 3va __Sm o ___BE=w

QEN.QSB .= ou<u=._u 520 m §§ EE< s_ EE_

m§~....n§ .: mu<._.__> m_>o~_ox._w 22 EQQEB $: ,_E. =. E__< >_=E»=¢ §EB; E__< __528__,_ z
know <o ro<mm onzommz _EF 55 »>< _uHB_n. w 2a §§ w =m.=m

En 533 .5 zoh.oz_zm<h_ =._ §S__s 520 § =ue_=§ m §_m

§o,_am m c£om

hamm¢.vw_~vv IO DZ<._m>m._O

§§ amuan §§

 

nNon.NN;v IO m¢_.IU_mI mwv_<tm

UM _._EEU mvvn

sums < uu:u.§m.d

 

 

wmmw.mnmnn .E <n=z<._.

m ._D m=_m_._um gm

cam§§w.m ._. _vn;u_§

 

 

moun.ovmom <U ZO._.IUWOI

5 _EBE“ mut

mE§ m va u=:

mu_mE _._EuEmu gammnrau_ iam

§§ 255 u_m=a&

 

mm _.u¢mroh_. <n_ ._._c.>>ZKOU

mar nom Dm

mow __mI >BnEm

nmm_.____:.m

_mE._. “O _._uzm._m_uuc »Q"ED :.

mqum§_un tr E.EE

 

 

.v :.N\nN_uha _.Z l”.N,zu__.._:n_

O_.=._U><_ UP_EE£

mmmro o>n.§. _._m_.Emo

 

hwmm.cmm»_.m l__ ZO.EOE

 

5 §B§_m §

__u~=mI cm=m £vm

 

 

momn..vnuoo l__ w._.IU"mI ZO._.UZ§E<

5 _.=m=u m 39

h:=ml puc wmm._

 

move.wahum ..= mOOEMDZ

ea_._EO z m:.v

 

§§ a §§

 

Nomm¢nmonm .= w¥<l_m_r<mm_

._n_ ~m£mn_ wm_.

=».~ =, 2__._>> < _alu.;o

223 _s §§m

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

B,N.mmm~m <o h.z"on_ §§ E£§._ ¢___m 2 § 255 §§
325an .H_ 0 u<u 10 §Ens_ w 915 __. m.=ss_ Hm.__

52 d E.o k _o van §§ 235 §§ v am mcmn§ 2 §§

N_E.S§ .__ 0 u<u=._o §§ z um v §__HE < §,__5_

§§ <u ._._".§mom 320 HE_§=..._ § Em§x _Em

EE¢ES J_ n._mmz_.s 5 3._ nga =B =. _E_SI v_ E< ¢. §§ < macon

ER.E$Q Z nz<.mz§ Q_< _._S,_: m 32 S.E_o w § §

mom$;m § zom_n<: 5 ___§E mm > 2_8 ~_ gm

St.NEE _.z mwz§_o .Em=s 5 2552 2 >§=§ SE"_E

~SN.BE~ uz m_.sm__._F<: §§ ___: Ee_ h-._“ §£~..6 »=_52.

EE.NES .__ >m_.E.S: 5 EE_.._E. § 3 _.=,_m_a._ .F _.m$_:.

BE.EE m< <z§z$@ u>¢. EHom §§ §§ z §E»>

-&.§S l__ wzoxm »§E._ 33 5._. =. ¢Eu m 238 28 m EE§

Hmwm:% .__ E§mo §§ 5 E_“_ _==om 232 ~E * ,ma._. _.Sa_s w .¢=§o 3_§§ 5 ..... §_ss m 328

SN`....NNE mo Qz<._._.~_o¢ 5 o_m_=$_u gm §§ 555 En_.

~E~.ES@ l__ m_xoxm m_m>u$_ z 33 =£. =. 5> »_.E,=$_ §> m __§_E

~¢.E.nmSw .__ 5cmzz__s »>< Es_§>.. ..§ §§ l_ _D==E

 

<Uz<m D<._.

_.=E._ 0_._:¢>< ___E._nm m _._.

_am _§_ am _=_2. E=Sw

 

§§ __§_._"Eo 53

 

.. 30 .€u:§n_ 3c1 _2

 

¢cvv._.. Fmov >v_ ZO._.UZ_KW._

mnmn.h _om_v IO Z_l_mDQ
.__U mhmn= ___0 me

NNma

n_._=mnv_ m E>mn

 

thv.mmwom Du BOO>:m._UZN

N._.ov xom On_

:o=mn_ .__ _.__._o_.

 

 

 

 

 

 

 

 

 

 

§IEE ._H mue&¢oz @._S><._SE§ E>> 32 B.§_B 3 .m=c. m=_>: »__EE 935 _z §§ :. mxm~_w 1 E%m eam_w z Ee_
__EWE§ § zow_u<: 25 m===wu 25 § 253 Eu__um: §§ 555 53 §m_u~z m £=Eu

N$w¢§m .__ moo_x §§ n>_m Eeu z § 521 EE__C .=BS__N §E__»._. §_2.

ER.§_.F >z <u_<:<_. §< § H.RF ___NS: §§

mN_.~.E§ .__ _zs._ozmu_m .w =_E_eu_.,. ,_ §= _.B =. _,=_: m m_§m § §§ §§

§§.33@ .__ w._.__: ,o._¢n 5 § 3 32 _¢_wse§n_ s 3§._

mmh§§ ._"_ mm._m<o .<mon §|_s __Eu 32 S_Em z E=._m_

§§ :.3 z_ mj_>._._ azws 6 §§ 33 hamm §.

 

 

 

 

 

 

 

 

»ohr.mmvn.n 02 Iom l_w_ Z<m_UO

_.o._.._. xnm Om

smu=uu_z Em=;>>

 

 

 

 

 

 

 

 

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Nvom_. <a zO._.m<m

.mm.=m o..v_m_n_ m_._.

mm mES >_ cum_£on_ wm=m=u G_._u

___ __Baan_ __s §.§_u

 

 

 

 

mmwm._~o~_.m l__ n_z<.,_w_ !OOM m><__an noNN u=m>> _. u=mzw
mome\v_.oam S mm_z< um noo.s_._mEO §§ ._oxm_m n_ mmtm_._u
ownm.omnow .= Z_m_._wQZJE vt onu_r Z annum _Ewrum ¥muw

 

mmmv.whmam BE v_o_w_mnm_mv_ wuz_mm

_._=ou m_nuz o_.m

 

§ 253 __S_§_._ _m__aa 55

§me _, _emu

 

_.thénn.nm <U <._. w_>

m>< nv_ucn_m....m mow w

_ummP_n_ n_ n_._w_._<

 

mwnn\v_._._.nm 05 n_Z<._w_m>D

a><. m._sccm_l m vw

=u._. =. _m_._m_._w.._ =u>£

 

EB_._o=u¢. ou_._u.a_"_

 

¢o_.N.moooQ .= m_w=ImZ._OU /=._

 

m__$ unfme >> moh:

§§ _. gmch

 

 

 

 

 

hvmm»._.mn _.m <U <F_.m<l_u <._.Z¢x m::u>< :uE:t\_. N_.m.mm 252 05me

Q_.mn¢mwoom ¢= wmz_<._n_ mwn_ hn_ unum gm _.mm _._m._. =. __EE_._n_ m =mm=m.v_ §E_._n_ v_ _o anm
thm.m.voum ..__ ._.mz:IZmn=/__l_ u>< ccan n_. _._QP .=. xuun:mz S_ m§._. sumn:uz w_ _um___u_£
mmNo.nmon l= ZOHZB(._. man xom On_ »o_._c_m ._. u_>mn_

 

 

mmmehmaN 02 ¥Q_mwammm muz_mm

550 a_nc? o_.

22 mE§ com_.cq: _u___umm E_._U

=omEm: ._. _Emu

 

 

 

mmm.vlmhmu~ n=z v_U_mem_zm muZ_¢n_

 

 

_.__.EU o_nn? or

§ §§ _§_E: H__Em 55

§.E§ _. _eB

 

 

mnwv.m_.mmo ._.u Zm>$._ ._.m<m_

 

candoth X._. Omm._<

»D m~c_on_ ovo_< ma_.

m>< ucm=uaa>> Nn

 

§ § 3 § m m_=__u_> E_u

BS“EE_RH V__._E¢._
.__.. umw m hmI

 

 

 

N»._.m....mmvh xO <._._<>>mz

>_n_mwn_ £:ow room

Emtw_:oo m :ca_l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ES.NES ts amoh_:m 2 §m ca __o_:&§_v_ va_< o_.o m___um_=an_ < B__§
SB.~__.B¢ __..__ §§ § m__._._ _9£ BNN_ __B =. _ m §§ §B_m§_._ l_ ,_H_EBE

mmm¢._...hh= _.z z<§<»<§ F_._ ..HS__ m _22..%¢ _6: 255

B:ESE <n_ >m._nz<> §BEE_$;» §§ =E __. _m.=_s_._ _. ES._ .__. _u___=o_._ _s 531

355th .__ ._<zmoz 521 _.s §§ __.,:, =. §§ m __$__5 ~__2._ m _HE_:

;..._.~.EE ._h_ uz:mwmm__.m_¢ .Fz_<w _.z ;._. §§ § a_._mu c_§_ms_

SE.EE~ ns_ omz__sozou § =m=___§_uu § §§ H__B

~Q__N.m§m .__ ou<u__\ o 5 350 ._s § ES_»_,_ ___3_".____ __EBB

551 xu¢>__:m §§m_ __S>____m u_m__u__z

Nvmv.mmcoo l__ ._.Umn_mo.n_m ._.E

5 __B& w §

 

Norw._v_.nw 0_2 m_._mOO W>mw 0

258 NE=S §

 

mvm_.._.awcm l__ ZOPwZ<>m.

 

oj_._u>< EE__&Q __S Y~N

 

 

~m_.:._. o.=_:m _.. ommu on__nN_m_u m3 ._._.

 

u_=___e_w 2255
Ev__._m _. wm“mu

 

 

._.oom.¥oom .__ m_v_<._ ._<._.w>~ 0 5 .F_E_mn_ 52 u_“_u>w =m> ¢»._
mm_.m.hnom_. <n_ I._.mm<N_._m um com §uc._.__mm _.n$.. >uEw xo_Z
www_..mmmwn l_“_ Iu<mm Omw> :m._. ucwn own ___I m magnum

 

 

#nmm.mmm.~m l_“_ mZm_-_Om._m§

or m_mu< cm=< No_vN

OEOAWQ m =U_._U>W

 

 

._.um _.....Nm¢v IO mz_.:.wmzu

E ¢:_>o:m m_ owe

_E__E__._ n =sm

 

 

mmwm.vaam ¢__ xm<n_ 02<1_¢0

_U _ucNh m_.Nm_.

cm._. =. wm::_._. Evnrm__z

mn§; xr_m_u_

 

vmmm.nmmnm N< ml_<n_m._\roum

um _._:N_ __n_._U Z nvmm

S_. _Ec~__§ m »=.:»___3

._muxm__¢ m v_._m__z

 

mowm.mmw: >Z Mm:.mmIUOw_

_uz ._w>__._U mnmn

E_._S_ m_ _:mn*

 

. wvmm..mmmwn l_h_ Dn_Z<._mD

dm vo¢¥o_._om vmm__.

m:_§u o _w§_u__>_

 

 

mham.vvom_. <n_ <_ZOmm_O

u>.:n_ _Em:u._O 20 mno_.

_._E. =. B_mmn_ < m_vEmm

§§ m §§

 

 

mmmm.mw. mm nw <_mED|_Du

:._ xm¢._u owed m_.N

_oEm> m :m:am_.w

 

._.N...m»va _.mr <.a 2>>DPZM._1_<

§ o:o_U _Em..m w m_.N

 

cu._. ____ m=_m:_u 0 EE_z

m:_m:__u m_ En:£m

 

hmnh.v_. wm .__ ammuniqu

_._._. o=:m _om_mm_Q mv._.v

 

hmwh.: _. wm .__ DzOn_xuOm

_.C. o::m Uu_mm_U mvhv

_uv£n._w §Ewo_.
_mm_=EO _v__._mo

 

n._.v_.:..#ncw .__ IG_JDN m¥§

EN._ vacuum §§

___E =. Em____»_s ._ ....5_§

 

mvmm.vhn: >Z xm<n_ OUm_z

nn .nc. m>< £ww mr.mm

EH__¢>> m ___,..E$_
___2£»>> n__._

 

om_..m.mm¢ow .__ hZO$_m-A

_m Em;. NN

=E. __. 555 ____ gm

 

mmmv.vm_.om A_ <>mzmmv

c._ ama ac._xm._r whom

cm._. =. m_u_cI § cm._onun_

355 ._. u_m_am
§§ __ E§B

 

mowm.mvwnw l__ DU<u_IU

m _.__< ¢...< §_Q_> 22 z N_B

.E_._n 1 c_>mv_

 

 

 

 

 

 

 

 

 

:.m~.v§m l__ ouqu_:u _..9.§ §§ E_._m__="_ 2a §§ =__2. 335

R$.E~E z.F >.:Q zo_z: __a.s¢_a_m m-~ _E ._ _.

Nm§.~nn$ ___s ><m zmmmu __Q 225 m 52 2333 a E_o_.

SE..SEN <> oz<.__._m< § __$G _»»n §§ =E. =. mqo__$_ m H_....E uuo__$_ m S_w
nu$.$...t x._. v_oomm<mm _$_eoe~z ...o~ 5_. __. >»__=: >> ___E ~ul_.=i s_ S_§_z
HSM.NSE _.z who o>>m._wzm u>< mmaEua ..._. »___mmo»_ m_§._

SE.m~=E >z zo._.wom 93 xom on_ =P_. =. _E_._ < ..._;. _E_._ < 351
32.$3@ .__ ow<o__._u a_§<>= u$.m _._m_. _w _Emz uc_u_m;m _Emz o==_m

 

 

Nwom.o.v:m <U <mDn_zml_U

 

u>< _ou:vm m va_.

 

o~oN.m.Noom .__ >>m_>_.._m_._U

nm unu>>__§__m oqn_,

_.._U.~. g m_Em-v_ U_wd@

eE._£. < m___u=._
m_&_v_ ,_~__§

 

ana _..mmmo@ l__ szS:.wm>>

_._£m_._ _ _._< wm v

En_son_ _om=u_s_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

€S.mNSw l__ >>m_$zw._u 5 E€.o 22 §=__¢u §

NQE¢ES .__ ou<o__._o 83 5 m_§_z z 32 E_. __. §§ .__m_ E»_m> _.._ E_m__ms_

E$.~BB _.z m._.__>._.__: 5 =_§_ >> § =. §§ _____$_ o mm_§_.

§._$_,m~o 5 Ea_m_e..o _a___, §w §._ map §§ m.~m.»§" =E s 225 w §§ _§.,__w 2 5_»_._
@;§BB l_ §om:< _.< ,=_SE_DEEB w md =B=B§ _, S_E_.

§S.$.£~ oz zo_..._smz 5 gm §§ E_§a_ 5 E_.__. 23 E___._ §§ _ eeo __§._ 52
§n.h :_..H ._"_ zo _.<._.z<._,_ 6 F zm § §

mE _.\ENE <u <._.zmummmu <._ E.< _._~.Emu.m 2b .€EE_Q §wm

9mm _.\,_.HQOG ._.O Z.O.FUZEZW¥ _U no§mZ N.QN :m._. =. qu_Nm:m> _2 >_._u>$ ._1 ozm_HU:m> _.¢ _Om£Q=Z

-S.o§w .__ mx<._w><mw _=_8 =s..§con_ __$_. ._B =. __»_..§o n_ E< §u_§n _. @_Eu

___._$.B_.E .__ zo._.<m_.§ 5 m_E_____ w 8a me._. §=.> “_ §_2. §_.:E 5 _._. §§ “_ =,_2.

S:£._EE <u ws____n z<m § 96 $=__o 55 w § 3> m 52

mm£..o~§m .__ _.mz::_z._m w>< _.c_m z m_.m =m._. =. 9=§_ ._ .Ao_._nz 9=§_ _¢ §§

SE._§$ z_ _s<wm<__s E___u E_m m_m___. nom =§BQJ=I."_ ._ 3

~$¢.~§F § z__sm_ 5 _E=EE 33 ¢B. __.. =_¢§m: m __Eu »|m_=§m: _. oo__o

 

mnm~\numwm =._ 3¢__._¢_OZOI

wood ._Ew vaN

 

iwm.nnmwm ._m ._.Zm_zzO._-Z<U

cm._. =. _xmmm.$_ ._. aim
»D D::NN_._® g_ml_ nh_.n

____§..._ z 555
mm=w_._ ¢. :mo_.

 

 

 

 

 

 

h_..vw.m_.@om .__ Om_<v_:v

 

 

o.cmn_ w nunn

 

m_.____ac _._m> § _c<

 

 

 

 

 

 

 

 

 

 

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mmwv.mwmma IZ ZOPGZ_mm<m

nm S_m._ .Smm 252 n

:.. coco »...._._R_._m._ muE£.

 

 

 

 

 

 

Nm._.v.mm_.vm ._m wUz_Mn_w <.rmZOm nom E< am ._m>E _uoonU ramon n_ESw Z _._utm_z
woogm~no 12 n_OO>>n.__>> um Emm m Nn_. _.=.._. =. »=_BEwn_ SEU m=._uno_mo w o_~=_._z
m»~m.m:$. =s mama ma E. §§ 3a 23 ,_»__=,_ w HEE._.

ommo.ao~NN <> <zzm_> szcmn_ cu..s_um_. anna >o_ouu 1 »u

m me.von wm <O v_m<m <UOZ<O u>< ooa>>=§ om._.._. ¢mzm =m_.:.

 

m _.me..~. _.mam l__ mDD_Kn_OO__S

5 __n>> mn_ucus_ mem mEmwun_ Eu.E.

 

 

 

 

 

 

 

 

 

mmm~.homov >v_ m_._.__>m_DO.H m>< oc=m m _`1 EE._. m:m>~._ ~uvmn._&ow D c:o_. oE_,_.N._vn_ m3 ._._ haveng Q =:2.
anna IO ._.D<mZZOU _m nmo._m umw :v._. =. __mI <>cwnE§ __m_._ 1 _._m>u._w

vmmo.w pump <n_ Ow_DmZ_n_m vmm xum OL _._u._. =. Hcm:uE umw m__.“mn >__._o:u§ muEm_. _._._m g

m_.mv.mvvm_. <L m._(n_mz<._ .A___S ._w:nou: omv_. m_z€n:cmn < QBmv>E vhm_._w mcn_\_

mmw§vwr >2 wOn__I MZOPM mmN xcm Om _._m._. =. :m_._m. m> >mcEm.. :ucm=m> < ucaEwa_

maum.u_;.._v¢ ID ZO._.Z<U .._._Z um E_.Exum_m mm,..n =w._. =. EE._EU < _._u___o¢m.@ EE._N_U m mmEaF_.

om:.mom.vm <0 OZ<l_¥<O m m>< m__ac¢dxc\_ ov_.m ccm~u:l_ mo_._mU

 

 

 

 

mam_..__..m~_._. >Z Z>l_v_OOmm

gm mEch mvv

_._m._. =, n=twn_ _vnm_z

m_n n E==EE.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mmmN.»_._.nvv _._0 <mzmm __u._._. uc__sa._. mn_O v:. =O mE_D E_mO E§>> scm E._u 550 m .o_.=..._,

hmnm.mvm$ ro <>O._uzo<d_ ._m B=ow unm,_. _mE._. o_nSn>ux =ow_»o:< a _.Eu E_.h~.=_. ma _\_. co...._mnc< m _._mo
mmwn.oaha_. hz cnmu_._r co ¢mc=wmr u>< _coc._._mmm mm c"v.,`=_“..__._n_ mt_

mum_.._m ..= OO<u_:u .m w=._mu< 525 NNN _mno Hnum o_._ ou m ._ _m 0._0 =m._. =. EE< _.z ___me Ew=< m mmEnE.
nnmw.gmom .= <mom:< __0 m.EH_._$_ 33 _._Emm _. u.=ao

Nmmw.mu_.§ _._o m._.__>mwzom._.m mg E< § _._Bm 303 P§

RB.~BB mz >to n_><n_ § §m on_ =. N>EENE m »§2_._.

mmmm.m~o~n ._"_ On_z<._mo 283 u=m.smmEo §n_. =P_. =. .Q_ENU ozan 595 §ch

mvmn.wnnmo _._Z zm_¢_m:< m>.:n_ xo.:u>m§ vw _._n._. =. ._u__=z Euom~=m ._u_ § m EE_U

mvw~...mw_.mm =_5 <IQO_.,NE w>< 53 mnmm ccwxu_._oumcm z x._ns_

Nm_.m.eaaam l__ m._..._Um_I zD._.Oz_._m< _._._ hmm_c:_. vann connoom“.. 0 Emu_mm

mmo¢.¢¢_.ow .= Dm<mso._ m?&._ iam $o_. ==z E_m_.a.sm c_.=_< m_u=_,

mmhw.n_.mcm l__ Ous.u Iu _m =E»m >> va_. com=:o_. < mEES

mom_..n_.wow .__ Ow.n.u=._u ooF:u._. E:oncmm z mci _._u\_. =. Emz< m ucru_.=mu _m com._muc< m >._mE Euz< 5 m==m.::u
Nm._=_._mm Em!um

 

vmhm.m._.o,_k X._. zG._.mJOI

_._._ gmc

=u¢_r =.. ~c._=.cmm mtms_

 

 

nv_.nd#a 5 >Z v_m<m wD>I _.SNZ

525 E:oEw_n_ mm

cm¢_. =, mmu=< :o._

wvo=< 9=5_

 

 

 

 

.B..§»B 12 m.:_>zm_n § 225 z mm _,|8§§. u o .=E=$_

§S.¢ES .W_ un_mmm>_m z §§ van 01 §§n_ ¢_ §§

SB.QEB l__ ._.mm_._:zmnz: § 2~?_§2 3m __ esa _m?.>> em§m 225 E_u \¢|_w.§
hun_.._.m._.wv zu mm...z<w_...u<._ o=m.:_m >> mmn _._m\_. =. ___._m ._ :u_or 92 n_ I Em._o=z
§§ < EE=§

 

 

ovhm.w Fmvm =S ZD:.UZD_. mmn_._DOm

ca §th cruz mmwov

 

mmmN.u :.._ GZ_EO?_S

dam nom Oa

._mE_u=_.EaaO m a.EuI

 

 

nmvm.wmoom .= xOO.mmI\_.mOZ

cl_ EExO mmom

nEQmw NEE.<

 

_.n~n.mvomm mv_ mvzw§§

_l Eznm:._m S> mu_._.

_._=._Ez _._~._cam nn =B <

 

 

 

 

S$.o§.m .E zohzmn<mm 5 323 25 gang § _..=E. .A=E$ ___>># ___>> < §Ba: _=_.s m §
m$m.mw§ ou zoE:.._._._ 5 m$_a>n_m 2 =E. q §§ ._ annum umw ._ mm=§:.
§".er __,z _.sm_>z_<.E 25 224 2 §E,_§,_m E§E

 

mwmw.mmmom .= §D§wa.§

50th _._Sm:Emm>> £:nw m_.N

m=:S_u__z>> _P_E.

 

v _.NF.mNNNm .= mq.=>m._._wm

_w€um #a_.

E.._. .1 xumo§=o_._ m mwwn

~_umn:m__ol § u_>m.n_

 

owned room l= n_._m_n_.mmmn_

vww ~,._5 oz E_._£mv_ umw

m§£$BE __. E.:¢_N_Z

 

wuwm..vh_.wm lE Iu<m_m DZOE”_O

._o,w mccord _.m

cm._. =. _m=ox m Eu:mm

hm=n¥ m so Em

 

_.Nmm. vammm <> O¢DmZOw_mm<I

._m =:~E m :__..

meceF >> F_ >>

 

___.m_:.»_.mmmm ZE <Im<m<__$

5 0=!._¢ :N_.

ku=:m n_ u._m:u_m

 

 

naFN.Qmo _N DS_ l_._=._ ._.mw.mOn_

6 __.v_§_a_: 33

Em ==._. xoh_ 5_ .m_._n_.

§"_ 1 §§

 

uvmn._m_.mow l= >MU mmmz>>GQ

m>< omS_=u umw

cch =. mx_mO q m_mEmm

._w mv=£u m _mm:o_$_

 

 

 

 

vumn.m~oo_. >Z vED> >>mz m gm _m o._. >> mg cuw._§ 0 ._w;n_£w_._co
hong m_z O.n_Ommw._.<>> m F v xnm NoN mE cv._.. s1 xu__._U cmu_. xu"_._u ._mmmm
onN¢omomh X._. ZOwn_N_$._u_m m>_._D xuu._u m.£m.m >> mnaw ._m__=z l_ m=m=um=_z.

mmm_..owomm mZ ZO_mJ< _m uaw £_._ow ona_. _._cw_.__£<¢ mmEm_.

 

_.Er.wN-.nm 05 w=._O._ ._.m

m>> :n_Em_m Nvm

   

BBm m _.§_nm

 

 

=E =. .€E_w_._ §

 

_._n._. =. .HF:_._S_ 1 u=£_._mm

xuu=._~mm _. uncovsz
wn.E__z _. H_._Em

 

 

§~.EB@ mz z._ouz_._ n E< .m m 25
Hmm.m$om .__ ow<o“rc n>< msua_._ m §§
mmhm.mm__.~n .E §§ mm..z_>> §§mev_ m §

E mE=._ _Euc. uaw < =_Em_=cm W=Q

 

oh von >Z m<Onu.> m<._

m>< m._ou__r.O wmwn

EE..>EQ _umm=m
_3§_ s_ Emzum

 

mm_.N-hwaam <G wml_m_UZ< DO._

mom% _u>_m N=ww mod mmvv

 

NN#N.NE&Q .__ I._.EO>>

_n_ £v_._. ___5 mm__..w

 

=m._. =. om__._uw.m_._=mxu_z = _.=ux

meoE. chm huE._.
mu_r.om v_ sut._mn_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§§ <o muzm¢moh. 253 m m_.> 83 E=._. u=. § __EE E_=_w 355 v 5 :. aim E< §§ aim w §§
§§ <n_ m.:.m<u zm_z sea En_< 25 morse z &B....=E

B$.o.$$ _._o <_z<>._>m =_Heu ,_B._o “Em m §§ m_n§>§ E_§m w seem wencke 5 # §§m o diaz

325 ._M §§ nz<._:u=,_ 35 am§ SN owen s 250

EQ.BB._. <._ w_m_§m: 2< .§E_,m__ss 2~ EE “_ £E_»_..

S~h..£»$ 02 w¢m;ml .;__<w 5 .s>§__»m ~_EN ma._. zm§ z ¢5..=_§ §§F § t .€m§ z »=§_Eh_

..EE§@ .H_ m._.__>>.Ewm_._ §§ 33 EN v_uu=._ =H_E

§va 10 _.Ezz_uz_o z E_m ___: E=B_._ ,-~ 355 z ..§_=§

SB.._§B .__ ow<o_:o § §§ 22_»9_»._ 85 §§ sea

 

hm wm.wmm.mu 12 ZO._.UZ_Eml_m

§ §§ .$_._mm_ 2

§Em w B_Ewm

 

mmhw.o Fmom l__ <_><¢_.<m

_w 533 man

_._m._. =. FEEM n_ u“m=em

_Em ,_=Em < £mnm~__m

 

§va >>> Omnmmz_._.w?.§

5 _:__“,F_._mvm ve

Mu§m>> 5>=0 52th

 

ou:._.mwow l__ v_m<n_ <l_¢__>

m>< m _> E._oZ nom

n_:w._m_.__._mn_ ¢ w_m_._:mn_ _,_EO

 

vdmm.v~_vmv IO m._.I mmm_.=._

nm =m_scn_ vav

._2_£"_ =mo_. O_O

n_Ew§E§_ <

0_5__2

 

 

 

 

 

.u_.o_..m:.=m l= m._<v_ m.n_

 

 

gm _m_. Z aohN

= mE=._ cumu¥ _._ _:_o_. inc

 

 

=umov_ __ _._E_._<

 

 

 

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uvwn.m#mmh X._. O_ZO.._.Z< Z<m

._nI mv_m u_O mama

 

cm._. __. .__E.»__._m._. m mc=$>m

 

.__=_.___._m¢_¢m _wm:o;.._

 

 

om._. _..m_.h_.N 92 zu___$mz_._mm

§ m_._.._n_m E__u ._.~

.m$=s_ §._E< §§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~NB.BNB mo :.<zz_uz_u E_N._ E_u xo“_ 33 _¢E gm m Eu=§a_<

Nn._.n.r_.__._.m n_E >w=< .szO_z um 50 252 anne _macm s_ Ew S>

3§.2 § <._ wz<m._mo >>mz _w H_.EE_NI 53 _._.=Em: =._Sm E.Em Ew >>

w$m.~omvv 10 <mOm:< E m_nwo<m_ 3m =quE.Eo: ._ 532

mh~m.:o% _s_ xmmmo w.F_.<m 5 B_m._ §Sm 53 BE__E § § E:» »»=o_z m_uEmn_ s t >u_.nz marin s

wnnn.mmm__d <o O_,m._._c.> >m>> Sw?_i.~_< h$ vo_.o_._.m nn Fm:_._¢ >=Emu_ >mm m;._.._._. >om m §§ 20 >cm s_ _wmvmm
Smn....o_.~m <o owan z<m §§ m_.€=mxo_< 33 mo E_a: __==3_ § z LS= m s=u 530 .Em_.

335 :E. x.r m._.__>wmmo._“_ 25 2_“£_._§ mt = m=_=ou <EE¢_.

m §§on .__ <v_._.mzz§ 23 §m on EA_.£ S_._S_.

 

N__.mv.mmoon <U <._l_.m_m<_a

._n_ quEm§_w mg

 

wEmJ nnEo_om .EE< minimum E=o

ano_om E _._E=_m

 

 

 

 

 

 

 

momn.mmonv "<< >DN_._. wenng mmmv cm._. =. m:m._ommE_.E>._ 01 mcmame E~=< moEm_.
m_.v_.\m~.~nam l__ m_v_Ov_w u>< >acmx mrmm _._o._. 91 :Eu=uu cuu=< :E D xu_.:wm
ramadaon <_ mDUDmDD ._D umm§.bt< ono_. =O >> =omn=_.,

now Toma__..h X._. ZOPWD_OI uninon o_m.=:m mNmN NGmF =._oFEmn<. nj m._u_._.:mm n.mm
no_.m\mommm 40 mn__mmm_.>_m gm =m.v.w.mz onnm_. c_n¢ m=mw_.

mmmm.v._.ovm l__ <ZZ<><U _uz oqu B_._muw ._.wN__.»_. m:muJ _mmnu_$_

N__..mw.mmcwm lE DDZ<._KO ._Q ._e>vEm_E_w FNnm cawccow < >_w§

 

 

movm.om;m ___5 mz_m_sz

N umnw_ w.c_._ou E..w.QS

_xm_._mEv.O m mtn_U

 

mmnN.mnmNN <> d._mOz<Xw._<

m...< . : name

cmr ._. EESEE wu._ mmmmm_..

EEEE§ o Ee§m

 

 

n:o.morow l= ZO._.<NI>>

nh_. xom On_

wu=_mn_ < n_oE<

 

02 _..m Fmow l__ m>OmU wImZ>>DD

E< §§2» _.NB

hcxum_._ :m__q»_m

 

mmp _..wommm wv_ DUO>><W._

of uc_l_ mFEw w_.nm_.

guzch

o_m“uomm.¢. ._ nunez :o“_u_»._ O_.U

com_uz ._ ._._wnox

 

m_..on\mwmom .__ OO<O_IO

m__.omm~ kem On_

E_Em Um:u=m$,

 

oN_. T_.mw: >Z n_jm_

who aim ._.o§

o§._,_u_.__w S=B.s_$

 

 

 

 

mm:n.mh...~m n_“_ n_OO__SU_ZOJ u>_._n_ 930 .smm>$_m._ mmwn cn._. s. .~cmu_m m_uE.mn_ _Ncmu_n_ n:m§
mvom.mm._.wa 12 Z(DDW(Z<.E =a._._. _._i:om_< NNmN cu\_. =. u._m.cmn_ m _Em_z o._E._um 1 _umc£§
._.mn_.\mo~ov >v_ m._ln>m_D.U._ m>< EntmE:m mom_. o=_~:.._ d _um;u_§

 

56 immqu .= m._.=I wO._<l

xu¢._U €cr_._m::_nu ._.

sumcmm w ncaaqu

 

moov.mvmam <O ¢.PZ¢..E.C

wm ._s_Z mci m._.N

mU ~0 >>m._ m:._. 523 w_u£_>_

._ur___ul

_EE__um =Em_._nr .Eu:mx£< G=u

.m=__m“_ s_§uw _=E.

 

maov.mc@mw <> ZO.E§¢I

cm ._u>mm>> w mm

.C._wm n_ N:ENLU

 

nguyenva <_ mn:n_<m meaan

35 .EB.E|m¢t~M

._uumEv_ nunc

 

vmmwm l__ ZDme> ._.E

mmzuq€m mwm~ _m>m_._. _€lnl:n:

EE=§ _. E_smm

 

Nqom_` <m ZG._.m<m

_cu.__w w€m~n_ m_._.

§ mE_:

cnnm_um nrc E \`S_m_._u

=ow._£an_ ___5 mucmzu.

 

 

_w_`cw.mm...mm .E ¥mc.n_ zw._.Z_>>

m>< m uwo_.

comm .E»._.

 

cnmn.qmm_.m .__ zw_mn_

~mu.:m z=. wom_.

cohn =. E_NI d_ mmm._w_.:,

E_mI>>E=m_.S

 

 

¢ _.mN.NNN_.N n=z mmOs__._..._<m

c=c@>< =v>im_z m_.mr

._m_._m§wc.:w m m_n;u_s_

 

mmpm.am¢aw Ds_ ZEOPDK<ZOU._

hn_ muc_.$_w>mm mmw~e

_._m._. =. :tu>zcu>> < m_::._an_

cto>>Eu>> _2 Emnu_.n_

 

 

human <U <PZ<._._.<

.,>2 v._:_n_ .._Bm£EoE dan

_._m._. =. Em_mmf >> ;Eumhm_z

.__.. Ew_wmr >> BEE,

 

_.nmm.mmv: >Z n_OO>>mSMm

_§._xw §§ _._m> mm 3

532 _._ §§

 

mm_.m.m FN_._. >Z Z>._v._DDmm

._N.E< ¢w ,=w_. mvv

 

Eummom E.> =me

 

m :o.m...vn_. >Z XZOMM_

m_.v nom On_

m : _o .SE_H..._.__ mE=.,_

 

 

_.wm©.m.mmom l= OU<G_IU

m>< _Em>_mr m mNNN_.

__ §§ §Pa_. ,_§~< 56

:mu._o_. x ___m:_._._m_._

 

nmm_v._.mhmn l_n_ DZ<JP_<E

_n_ m._._w.._. mbh

 

nmu_.\m§mn .E <m§<._.

m=>< mn_ quh_m=m> nmmm_.

_“_ §§ m_>_ws_ §§ E_u
z §§ »_m_=o =_E=. sam §o.

mm>_w$. czm>m

 

m_.N_TnmmNm <O IG<mm ._.mOn___SuZ

u><huu_._=.cmw>= va

 

 

 

NoN.v.mNnmw du O._.Zw_z<du<m

_D :on.rmu cna

EB_S_ x u_su

 

mov_.»mv_._vm _>> m._lrmz_m¢.i

 

emergva Z_ >E<O

_m wm:m\_. N:.»_

 

dunham sanbch mra

_._c~.§m>> _. m_m.n_

 

 

=_ QE 3 5= l_ m=_mom_m:o

__D§._ < E.E

 

 

 

 

 

 

 

 

 

 

 

 

=~B.§N~ <> <_mnz<xm._< § =_5 E< §§Es. §§ _Ia.%z 1 §§
HB.°BB . _ ou<o_:o m><.a=.E: z 23 _,_§_§> m @.==B

N#um$n.m.vn ._n_ DOO__SD|__>> m:w. me mma 5 cu._. =. xuN_uE < xa_< goEmE I H__Em
mm~§§$ ._"_ mbo._~_<ro Eo¢ § s._ ?|Tlmm\=§|§~ ._3, s inc n m=m.z §~»_o a _:_2.
33.2¢5 = mouwom E ._.__§E=s §§ 5..§»_“_ n _.§

33sz § ooz_o:z<s E< .am=_u_z §§ § §§ =. song z §§ E.u cause 5_2.
mvmm.mn _nm 0_2 m_DO._ ._. _c.m 5 :w£m¢ __ch _._m._. =. __o>>n_uu n_ _._u.=m>> __v~>n_mu _2 ou=<

 

 

 

_..mn#.umuam .: mOQ_M E<n

vcmxcdon w m _.¢

=E. r- »mm?.mm_._o>_._ v m.u_.=mn_

hmw_m%§>: c E_£.

 

 

 

NovN.wnmnm .__ Ow<o=._n

m>< magic ¢ mme

co._. ~_., ammm_< § n_.__._an_

BB_< a_ E§_m

 

 

 

Nmmw¢vn.vmv IO xmm_w_U mm_><.mw

maj m_._=m;ov_ mann

:u._. =. u_mnEE< _. mco_u_.>

u_mn_§< >> _uEmD

 

 

 

mw_. platon l__ <va_O_z

§ ams_ 5 252

__ .:=5 E»uon_ nEum_._Hm_. ¢m=u

2250 mm:_m__.

 

mmv Tvmn_.m l= Dmmm

._n_ ou_m¥_mn_ noon

=u» =.._m=w=s_ m cmw_.

 

 

  

._m__m:s_ moich <.

 

 

 

 

 

 

 

 

 

 

 

 

wEm._ESm .__ <__._> m_>omo z._.“_ E 3 S... q. §_a_o §§ § _E_a_u s ,=3:3_
§§ vc. m_._.._>mz>>omm §§ 555 m~$ ,z § 3 E==& §§ _~_=B E_o e==§ §§

nNoN.monN <.> ZO._.UZ_¢_E< _W ¢=¢r Z memo cu._. H_. E_o___u>N l_ _QmE E_oc.v>m 2 c._
mmcm.o$om <w mz_s_.z:o 5 ¢moEa: 35 _._E. =. _._¢E_m o l_ =¢Emm _.z 5=<
nvNo.hmnmm ZE m~._l=>mzm_._m MvN_. Xom _._=_w_w 0 Emn__uud

 

 

 

 

 

 

 

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23 §§ =s muzmzo._m am mmz_n_ ._._<._. §§ mucsz os_ o ._.._.mmm<m
moon EAA` .__ aoo__s_._u_: .GM_>> noo>> am<zom._ § ._._m>___zz<m wmo____ w_o._
>mmm_ E z_. mw><._m
53 §§ n____ m._.__>mmzm<m §. xom on m_. mw><._m m mm._m<_._o _,F_.< ¢m._.__s_ go_:zouos_ m_._<.Ez § 3 H 2 En_ E. ._.mmmm_.z_ »zmmwmn_ m mm._m$._o + mmzam<u z >:.5::. o._m_h_“_on nm<_._u_m
23 §§ .__ zm_m<n ._.m m_____<n< _.~E. z__<o z_mom <n_z_._
22 325 <u oz_~_§_ z<m mo<._n_ §§ 82 v_coom<m m z>._onzm_sw
§§ ._h_ :u<mm zo_.z>om z ma _sm_> .Emommmu 23 _.Q_E. nm__. wmaan <_._ E. mm.:._umn m mzm_u_._m mm._.:umo >m._n_$_m
QEN 533 l__ wm<._.__> m>om@ v_._m m:zw>< m_.._o_._ 3b x__soz m mmzomu m:_. §S§ <_._ E. z__soz m mm~_omw
¢o<z<u 20
83 339 N_ mz_m<_.=.<u _.m E_._ou x."_mm:w w a<> zmmw§> >zoEz<
33 NHE mv_ v_z<a nz<._mm>o mn v_.,._o.__zm_._ 232 ___ zowmo_. < _s
_.w:E. mw>o._w m
53 229 z.F ruo__.z< B_ mmz~_cm 52 n._om<r m>o._o o utmzz< mmao§ q_._ E. mm>o._o m n._om<_._ zm>o._u o mtmzz<
23 ESm <u mw_._._.__._>> n_>._m >._mw>mm 202 xoh_ m ._>mm_._u
<zz_§_m E~ ._._z_._ mm ma mma_m >> 33 z_m__.wz_m_.s nmm"_._¢
z<m: 02 mo <_oz<. 32 zw_.._._. oz<om_._ w z¢m:m om<omn_ w >_.__.o____:
>_._u >mmmm=. ._p_ m.$ wmz_.__. <N<._n_ Q.N 00 4 >m_._z<._.w z<umos_
>:u zowmmo .E z<szs._o 2__ zoEoz z ..E<w
xm<h_ z_._v_z<.“_“_ _.w mzmo:._._s<: wme Nu___>m__§m___z o wmzo._on
nz<,_w_ zm_.<._.m m>< >._._o_._ 02 zm.F _.1 zo._>E m_~_<_z mwoz mo._>E. mzmm_._m
:.Eo_s 5 rt 2 _s 22 z$_m_n z >zzm:
m._.__>zoo_._o._ ma m:zm> _. xm<._o m z<o_.
.E:E. ._mv_mm____ w m.__>o._m<____
§§ § § <u <o<z¢u <._ .E .me_zo >m._._<> nom _mxmmz ____ ammn:< 3 umw :. <_._ E. ._mxmm_s_ o m_so._~_<____ ._m_v_zm____ _.__._ nmz"_.z
_.._2~ whom
22 §§ l__ . ou<c__._o .u>< z<o_ro_s_ E._"_oz __2 u._._ n_:omw wmm_mn_mm__.zm z<>m o_o z<>m w zu_m._.<n_
32 295 _.z_ zmxomo_._ Bm~:.m zohmz__._m<_.s 22 z_v_n_§_ zm>m._.w
§§ 2~“» l_¢._ _z$_uz_:m_m @22 xom on_ z_v_n_§_ zmm¢v_
mmm~ 2§ ,__ oo<u_:u wm § ..E mo_.m< 2 32 zszmmomu >oz<z
23 233 l__ xoo._.maoo_s n<om m<u:._ 232 xooo z boom
32 5 § 2__ x_zm_o_._o_ ._.o zm._u mnm<_emhw 2 <._._.“_z__.<m h_ z.._o=
zom._mz
33 226 _>> zo_.m,_n_n_< 2~ m.c_._w _m>< mw.u.._._oo ______ 52 l_ n__><o < _._ E:“__~o S_.E.r w_m<uo>m_m E. zow._mz ._ a_><n
2 § 330 12 zo.E__,_<._._ mo wmmu< >m.»z:oo 9 zomv_u<_. zm._._m
52 BB.N § z__zz<m“_ m>_mn >mo_zz< 32 >._mm>m mmz<.._ "_
32 230 .m_ oo<o__._u 52 .E< am z<n_zmrm z 23 zm_mm.o m._._.o._m<_._u
52 222 >z m._<nwm<om am m._uz_u 2 zm_._. _._. wm.__.rz$_u ._ 5._._5 wm.__._.zs_u 0 m<._o_._o_z
._.w|m.wm: m<uo>mm
Nmm.. 253 .__ mon_~_ v_x$_ m>< zu.Bm:u m 2a v_z$_.,_ z_._o_. nzo:><m 2228 § ah zz§u_ z_._o_. nzo:><~_
.G_.E._. m._m<uo>mm
~»E. §§ .__ moo_z §§ m>< mm._.wm_:o w 2m zz<mu_ m_.<mx m_~_on_ S__E___.__.._ § E. v.z§_“_ w_.<mv_ w_mon
22 m...~mm N< m._<nw.:.ouw mo m_._uz<._m ._.m<m 022 zw._. _._. _so._mmm_.s E<m ____.o._m~_u_s _. _.._..E<m
52 h Eo~ os_ <nwm_:_.mm m>._m n_o€_z>_.,_._ 53 m_m"_$._<s_ m<mm<“_ :_._Q.__.
§§ 238 .__ $__.mzz__s mz<._ mum_,zmo__._. 22 ."_z_o_wzou __s v_z<_"_“_
zm_._. ._._. zowz:o_.
§§ m~S¢ .,__ >>m_>zw._o z._ z<zm_mz 32 wos_<m .__<w + wo_z<m z<m_. z>>omm zm_.m__._
3a m__.w
22 225 <o <_,m_n_<m<m _o>._m oo<mo._ou _s 02 mm_._._~=._um_w m_oz<:o zom_z<_._.____> m zmmm<§
~33 ou mma._:om :N< _.n_¢ >smn<o< mrp m>< <mom:< Em 535 >m_za_m _. nm<_sn_m wb..N_E 4_._ E. >ng_u _. nassau
§§ 295 _.z w._.__: _.mo_._ am mmn_m v_<o m.:___s ._2 z_v_n_<z z>.__m<z
25 303 <_s nz.u____nmm mz u>¢. _,__._`H m~x_ zm_. .c. mz__._m_._u ____ mmwmm_.= ~=. uz_rm_._o m wms_<_,
22 §§ z_ nzmm E.:ow 32 xom L_:mmm_z.E§_ < ou o zuoE
33 $NB x_. w<._._<n mo >>on<m_z m>on 23 z_. mmv_§_ m_._.__.s <m_
_.w:E.
§§ m~$m <o xm<n_ o._zws_ me 920 zoz$._w mea >.__z<u_ ._._mnmo._ o .E."_mom §EB <: E. ._._momo._ >oz<z ._._mnmo._ o ._.zmmo~_
53 nBN <> mEm<uz§ Bm xom on_ zm__. .:. zot_u_m_zu _._ z<o_. zo»:_u_mmu ._<mz
23 2qu >z m_._<omz<uw n<o~_. mw.rmm_._umoo 22 un_on_ <:.E<_z
22 225 l__ ou<o__._o w:zm>< zo_.mm._,_:“_ __> 22 mmz$_o>m w nmE
22 §§ _.z max o__ or am v_u<m._wo<~_ own ___ ._._w:ot_z m m<:o_.:
52 §§ l__ ou<o__._o w>< z<____._E. m 32 ._ozuz<_s .._ ____<_.:=___
§§ §§ § z__.w_._< S._. E__._W.Hm ¢o<><._ __2 w:_zm_o ._s V_z<E
_:mN 22~ ms_ mmos__._.._<m am aoo__z_z_._ BN.. "_.___¢w_~___u nmoh_n<mm mzz< zo_.._<_._m
_.m:~__.
§§ $_.Ezz___s ~__N .E< ,._.wm_m._.m xxo :~_. _.m_m ._._<:o l_ nz§> 32§__3 <_._ E. ._<<_._0 l_ am<>__
32 §§ ow<o__._o ._.m m._._<w <._ z § 2$__<_. w___sm._
33 393 §wzz__s ~__~ _.m< umwum v_<o § ._<s._a l_ nm<>___
83 23.... m>ozo mmmz_son _.m mm._.wmm_s a~$ _Ezm»_ >._mm_>wm
32 82__. zo.E:o_._ ma aoo__sz_ 32 uz_>_._ nm_<mm .C._mm § mm< 2 § E. nm_<mm >._._mm
33 325 §._mzz___> ~n_~ .E< .m:zm>< v_<o § ._<<_._0 l_ nm§__
33_.._ <x._.mzz__s won .E< ammum z<o § >m_~_ ._<<a_u >Eomon 32§__3 4_._ E. ._<<:o >E.omoa_
352 m._.__>w._._.m>§ 5 zm._.zwu .B<m mzo <o_~m__,_< “_0 v_z<m
nwwa m._<amm<om am mm_.mmmomon 2_. m_“_on_ _. ,_..:><m._ m_.<_.mm xESomxm mmon_ n_ <:_.m<_z
u
¥a__N .___N 23a ____u w $.Eun¢_ _. HEEE _ B__._ E_< § _=__._ com n u___._ mum. ~ E__._ nom 2 u=_._ nom

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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_>> §
Z<U_D<E v_O_K._.¢.n_ I._.”mu=w_U ._.w_._u

Z<D_D<E m I._._mn=.¢@

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§§ 225 =5 zom_n<: mz<._ <_E.z>u 33
m=S~ un zo»mz_:w<_s m nw ._.n_< .Sz mu<._.“_ zom._.§_. comm >>o~_._.mo _.. 3¢.20m
m:_.m -RH .E zm<n_ zomm<m am mnoz__zmm 34 zm._. t. mn=._S zm._.._<._s mn:<._ <._..mm<m_
mmmm_m m z>.._Oz<o
35 §§ <o mv_<o m_<“_ ><_.s §§ <ooou 23 < : §:.F v .S:E. >.__s_<"_ mp mm:m_h_ w z>._om<u
35 225 l__ oo<u_:o our .m_>< ...._zw ...w<m x.50m 33 B_mom <n_~_mu mz_z
._.m_._m._. >.___2€.“_
59 ww.au .__ moo:mwod nw moo_._wmo._». hn- ._.z: 3 _._.Ezzuz B__E_E <_._ mp .E_._ w moz<m.m
33 EB@ J_ m>omu mzmz>>on 5 mw._.mmm_s ame zw.F ._._. >mmmn_ >.Em>mm >."Emn_ 4m_._
55 NSS l__ zoozmr.Eoz mz<._ moo_mmmzohm :m~ zr<u >E.omon F§EE 43 m\_. z:<u :._.mzzmv_
25 §§ l__ ._.wz:::._w mz<o<: 26 zmmz<: n_ m_z<:mm._.w
on_ mmn<._w_._oo:
53 _NmE. _s_ uz_wz§ ._.m<m am r_.omm< EE_. z<.E wz_z<rm ..l._n_ mm>o._,.._s_m wm_._uu<_. m__._..~.§o <n E mm:<._m:uo: wmsou<_,
SNN §§ <u <m<._u <.Fz<m m>< §§ 33 zm._, :. m__.sm._ m3 z>._o~_<o m=sm._ z<mn nms._o_z
._._.an as_ <mmmIEm v_.v ._.a< _n.>._m >u<~_oos_wn_ mom~.. zm._. ._._. awkwame ._ mz<`. mm._.wms_mv_ z<s_¢Oz
_GE. u~$n .onzx]_m a<om zo.Es_<x EP._ wm§_. room ,_.mmmmoz
23 =m...$ mmwz<mm m_o mm<:ow zoEm.F<>> mE.F. mv_z_m_m .. E<_...__>>
hamm 302 §._mzz=s nm :uz:xo mm_. zm:..:. mmmwm 2101 mmm§ zm:.wm§
unum whth _.z m._.__: .Eorm am mun_m x<o mEr>> BF zv_a<m z>.__m<:
38 SB... =s nmomm:.w:: Bm xom 01 zmmm._mom_ a z<._<
33 Rn: >z ma_mnoo.s >» E< m>_zm E.mn an wm zw.p .:. mm:<s_ < >._.Em mm:<s_ < z_._oh.
33 335 .= Bz_mz<.__ n_c_Om mwn_m mann 00 a Ouz<._
325 .__ §...mzz_§ mo aoo>>zmozn §§ .= § z<w_n<_z < :<_._._s>._.m_._o z<w_n<: >> zm<:
.ESE z_._o_..,_>ww _2 <m<mm<m
§§ ENS <u ro<mm <mo_zmmx ._.m .E§ 33 m:o§>mw _._ z:o_. 3 m<_>_ ~N <: E. maoz>mw s_ <m<mm<m z:os_>mm : z:o~,
233 l__ m._.__>mw»_<z m_o_._uoz_ .N.a. ._._m__sor m z:ow
22 302 >z >`_._u v_mo> §mz _.m E. 3 m ~ z<s_n__._ x z<m:w
N§. E~B co wma<w_._<n_ u_“__u<m m:zw>< amo,._zw>$_ E.... oz=._om_~m_u zmzz<_.>
._.w:E m.Fw<u
§N wang mi z<_n_mm$ wSN xom on_ mu<mo >w.__._w< mm_sr.m= <_._ E. wz¢:m n _._
._.me._. mm_._.z_»_Ou
83 wong mi z<_n_mms_ §§ xom mzm:m >E< mm..m:m= <: E mzz:m n :
mmm¢ mmnmo ._.> E<IOZ_>> ca ._.__I ¥000:0._._: m,_.m zOzz<Iw m ._.mmmom
SEN_.S <: ._.m:m._.
25 §§ =s z>._v_oozm d_:nz=s E.. m._mcuo>mm a._oo s_ z<._< E. 500 z z<._<
535
zo_Esm_xm mm._.:mm m m.Em_mw<r
33 S$m <o cmom <._.z<w w:.. .E< mo v_<o m._,_ES § m nm<>>or m§E <_._ E. mm.Smx m m.r_.m_zz<x
m § §§ z_z m._.__>mwom mmn_<ma §§ ._ms_mm:.rom mms_<_. zmrn_m.E
l_.m=E.
23 §§ n_z wo>om nm nz<._m<w:m §§ nm>m m nm<>>am_ nausea <: ah nm>m m nassau
303 .__ §.m_zz§> ¢_.._ aoo_szmoz_._ 35 .__ § z<w_o<z m nassau E:u z<u_n§_ >> v_z$.¢
305 <o mun__m_._»moz mz<._ _z¢wm<m N~m 3 zm,l.r ._._. ~.__<w ._m_maz m<m 34
a :a §§ .5 :o_>>zmmmw ...w$ xom|om_ zowz:o_. < z<m:m
HB 238 <u <u_zo: <._.z¢w ¢ _meme 52 fm wwmmn_ z>._m>m_ hammom DBQS <: E, mmmma o_m_._<s_ z>._w>m mmmwa .E<o .Emmom
35 vow~q <o wwz_mn_w s_._<m on m._umuu mz=._mz_._w E~N ._._m__smz z zw>m._.w oo_. .,._u>>mz <zsn
mmmmzm&or >.Emm
h~u~ ~._.Nom <u mmn<m_._<a u_“__u<m nm mtmz_m<: 39 mmmmzmm“_o: z_>m<£ mug__mo § E. wmmmzm.._mo: w >._._.mm ommmzm&o_._ z_>m<:
53 3va _z mn=n_<m mz<mu wm mmu._< mix zm._. :. _._uw:<mn._m"_ m mzz<m; :ow:¢.n_a._m». l_ >mz<m
25 S_..:. >z mmo_._w ><m m z._ mwnor_.<om :. zm:. .:. wz_ww=._ w .E."_<Om<s, wz_wo_x n_ mzmm:m
BN¢ v: E l__ omo“_¥oo~.__ mn m§.$ mn:o r..$ _»_m>>m._m<~w m_zm._z<n_ >~Emu zz>._ o_.o zm... .:. >mmmg mzm._z<a >mmmn_ zz>._
32 mower >z mz_z_mmo ._n_ >>m_>z_<h_ 3 maoa <_z_um_>
nz¢._<m~ §wz E.._
anna cocoa N_ nz<l_xu:< 3£::<._.0 S..e mm xOm OL mmm_mn_zm_._.zm_ u>m >nzm>>
32 ~S.E l__ m._.__>z¢.o _.0 mmorm mv_<._ § zm= t. 0_<zu :0._ >m<s_ w_<mu ¢. zmx
n_z<._<m~ >>mz 05
novo ocean N_, oz<._zoa< :IDI¢.._.O _.W wm xOm mmm_m.n_zm._.zu m>a >nzm>>
32 S»~n ._.r_ on_z<._zo ma mun_zmn_n_mn_ 53 mm._.__: m<z_u_. <zzs._
23 §§ >z mmaz¢. E~ xom n_ mzo.»mo<._o m zw§§>
32 292 >z mm._.mm:uom m_u mun_z >w._._o_._ m zm>.__m m <zz¢
_va Na§m .= z>_szmm m>< noo>>:._m w ...3~_ ma § wo n.E <m_ mmN:<: zm:n_m»w E_._o EJE. zam:.§oz
fmc E~m~ uz m_.o¢_z<_._o mo >m._muz_z ~5 zx<u n_><n wmom
BSQ ou zom_zmos, mo >>omo._ou w wm$. mum<wn_ m <nz_._
._.mmo Nommm N< moz<mO ¢m<O ma S._U_._.z< w mann zw._. ._._.. _v_mm_um d z>z<:w _xwmom 0 >m_zmI
_B~N _::~n ._». B<ou :._<m ._n_ <._.wou<._ v mm._._<zuw “_ ._m<mm 25 E. zm._.E:uw n >zm$_
v E_. :.Sm .= 00<0__._0 nw:. .E< mm<>>§mo m_ mt z_>§ m j<_..m~_§_m
uz_ mwh<_oomm<
mE.N nn...mn .E Om:mwmm._.mu ._.m mvhm_. me 0 n_ >_Sv_m ZO._.__m<o nom d mms_<__. ozos_>¢z
23 §§ zs_ m.:_>mmom mo mm_.._<mn_ ~E., .m_s&w_.toz m z<_._n_m»m
mean wiman <G <._.zc..:.< am Pz_OmIU_I ne Fw._ m._._:._$ m_m.zoz m_szu

 

 

 

 

 

 

 

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z_§<¢ om<_sW”

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_§~ 293 _.z m_.___._ .onm n<om maez x<o wt:_s 62
Q..R 293 ._h_ <m:<.v E~_. .E< mz._son m wong mmqu 522 z."Fm_ ,,_ z_._o_. E_a~__m¢ § § zw.r_.m_ »_ z:.u_.
82 ~B G __ m._.__>z<n ._.u wmo_._m mv_<._ ¢N zmp .:. o_$_u _._.Ezzm_x m_§_o 30,_>¢<_,_
._.m:E. m._m¢oo>m_m
35 ~2¥ _._o nz<._m>m._o u>¢. mv_<._ 32_. ._._$_wm<s_ < <_._3_. 3__3.~__ § E ._._<rmm<: _ zoE§_ ._._<rwm§_ <s._a_.
33 §§ ._L ru<mm omm> 2 ¢_u mmmo_._m §§ __s 3_. zm.r _._. 255 z mz_<.m ~:m<._ m z_>>am_
S- 202 N< >m.:<> zmmmu Q§_._§| mm.__m>>zm:._._., <moz<._
nunn =:..- <> <_mnz<xm._¢ ma >m_.Eu 3$ zom_z<_._.___s z zw._m_._
5_._¢_. m._m<oo>mz
33 ~2_4 :o nz§m_>m_._u m>< mv_<._ gm : ._._$_wm<_z ._ zo_m<: 8..3_.~__ Eb< : E. ._._$_mz<____ < <_.__.=. ._._<rw.ms____ .. zo_."_<z
n § §§ .__ m._._.m_:.___.s ._m_m_._<._ :@ zw.C._. zow._mz >mmm_._m zom]_mz :<:.____s
§ <_ "Eoozm__._.wm_' w>_zn noo>>moz §§ zw._. ._._. ._m_u=._ c ."_zc.m_mxo ._m__w_s_ _. _._n_mmo_..
22 ESQ § ow<u_zu goo>___m_._n_$.__ z $m~ v__u:v_ s_ z_>m_v_
535 oz_>_._ :u<mm."_m_z
22 BBQ HF ou<u___u z<_wm__.~._< w 522 m mz_n_<mm_u gamma <_._ E. :u<mwmm_z m mz_n._§m_o
12 §§ oz :o_m._<m mn m_._wm._ 232 zE _._. §§ > zm_._u: s_<._. z m:wm._
22 B|_H_ <u mmo_. z<m mm zw>_z ._._E 33 m_.os_ .Emmmx mz<_.
83 ma gm ss mE<wm mz m>< nm$ 83 v_mzu_o < n_>¢.n
2_~ ::NN <> z<m._ u_z am mo_.um: 29.. zm__.._._. z_._._<:u z ._o~_<u z_._¢s_u _.__ zw_._nm__.w
22 3a § ns_ <_ms_:._ou ><_s mzo_.m"_.m_ 322 z."__. ._._. :u.:._mn m _._._.__m xu.Em_o mou<_.
23 SSQ .__ oo<o__._u 231 xom on. _.x§i>mHm zo_.._z.|<u .F.mm_|.mo¢
33 253 _.z mmm__._~_oo> ma ma__._wzo>mn h No__.__om__u m zmm$_
23 ¢..UE .__ ow<u_ru m>¢ mn<m_z m n~m... zm:. .:. _v_wz_m_<~ 2 mz<_. _v_mz_m§ _, >m._z<.G
.E:E. oz_>:
82 §§ .__ §§ v_<o m>¢. muzmmw._o w 32 m_..:>mn zm:n_m_.m S__¢Q_a <..._ E. mb_>m_a z.“_r.“_m:,m
32 §§ .__ <_.onzm=._ m>< ¢.z<_nz_ Bm_. m_. zm.__._<h_ m mm.E$_o
§§ §§ <u mo<.:_> mx<.=.mm_s mo nz__s__§om n §_. zm_._. _._. zmmzzm__._ w _._m_u<m< z."_w____mm: w nm<>__mm
._.m:E. wz_>_.. zm._oz~_mnz<>
25 113 .__ n._m_mz_<._m _.o m¢o_z<u>m _.s 03 § z tasz S__B._N_. <_._ E. zm_._oz~m_nz<> z ._,Ezm_o
35 502 § z>>oE:o.E 22 xom on_ §szme m zo~?.< §._N_§ <_._ E. zm__.mzmmm _s m_z_._:s“_ z_m:wzam_m >wzm<m
32 m F.B .= w>omw wzm_z_soa _.m wm_.E=o < 22 _.m:E. mz_>_._ v_o<mm_\_o 533 <_.. E. zo<mmro mz_:n_mmo_. xo<wm:u nm<__som_
35 229 <_z wnmm.__ mw<._.__> ><_s¢_<“_ how V_z=m _____ z:o_.
83 295 z_. m._._>zommwazwr m>ou mw§_w m_._._m 82 z§_x__s m<s_o_._._.
22 §§ 00 uwn_zzmxom~_m 32 xom on_ ~_=“ msa zu.r .:. >m._:ofom < _._.:o:_. >m.__zo_._.om _. nz<zzm_m
333 a m>oxw 563 ._.m:ou ...._._m_mmmo: 1 z_m_m.__._<a mm._ §_s_
m..é. 32@ 5 m._.___._ <n<z<~_u o>._m zo_mw_s_ onz<zmm"_ z¢m 932 zm__. .:. mno_mnoz < m._om¢u Nm:w_maoz < ummw
lE:E. >mm
§§ :=.5 5 m>:z z<> m>< 0._<&§ ~m~m zomzzo_. z <_z_um_> E_§E <_._ E. zomz_._o_. z <_z_om_>
33 S...S l__ <mom_._¢ .E:oo zo._.oz_wzm_._ 52 means ._.m:E. mo zo_._.<m<._umo zmnz_.. E. zowzm_m < :.Bm
33 §§ :z w<z_._._ wo_ z._ noo_s zoEoo 2 zom<o<____ z>.__._z<E
~@¢ §§ n_z m_._.__>v_oom an m_nn=sz_n 322 zm.F .:. mwmwm:m h_ mz<_. ___ wmmuz_._m §sz mm_z<_.
mz<._<m_~ _sm_z E._
38 953 2 nz<d_oa< ::::Eo r:` ~N xom on_ wmm_zu~m:zm m>n_ .Ezw_s
zw.v_s.__mw»wzmh_
32 §§ f wz~m_om 32 xom ou ¢zm_som >m<s_
52 SQE § mzmwom 52 xom_ on mmv_<smm»wzmw m_._mm_._ mzz<
53 §§ 5 mz._<n_ nz<w:oE u>< w._.___._ zzm:.§om 952 E_._E. z<om_ m:_. ~m_~:: <_._ E. z<wm ._._ om._
25 §§ l__ _.mm_.__._z._u mz<o<: 25 zm_mz<x zogmom v_Em
_FB._~ 303 .__ 2d zo_.wz_._z< w>< ._._m_._o.:s_ m m § zo<w:u __ ._oz<o
25 §§ l__ Ez_.__,____jm mz<o$_ non zmwz<_._ mz_mm_z_.$_ m__m<__._
.E_._E. m._m<oo>m_z
:=N §§ 46 §<mm<m Ez<w n<om o_mm~m_m 32 moz_ru._.__._: w a._om<; §2__~0 § E. woz___u.§_._ m >m._m___w mwz___u._.:: < z_._o_.
~,.._2 ~SB ,__ mouzm_._o zomzw“_"_m=, x= .__ <s_.S v_z<m“_ o ¢_w<_.m<z< 530 v__m_$_ 502
§§ 263 .__ ow<u__._u m>< mz>o_._ _._50w 52 zm_. ._._. zz_“_ o _._<z<w zz_“_ _. wm=._<_,
NB~ §Sh E. z__.m:< w>< v_m<n_ miqu §§ mmrw_“_ _.._ w_uz§_"_
38 n 52 >z zmo> _smz § m_.w ><_.so<ozm _s 25 wasn so_m._.§
2_~ §§ <> z<m,_ us_ nm zo»om: 22 z_._n_s._u ____ zwx,m:w
35 a §§ oo zm>zm_o .E .Fz<mo w 32 uz_._.__w <>m._m__._m
38 _.an <u <._._o_. <._ u>< n<nm._om §§ .E_s__._ow a :,_mmo_.
33 325 |.__ §§ nz§ru_: m._>._~_<o 32 l__ §§ zw»_wmv_ nw."_¢_. .G_._u mw._._mmv_ ._._m__._u.:____
23 §§ l_l__ ou<u__._o ._.w r._._.m ._s 2,§ soo zm: <Nz<mm<c o _.c._n_.=, nzm"_“_oz l_ mm:<_.
33 322 § >m:m._.mm>> m>< >~__.._m$. 3~ _.Es_m m mm._m<_._o
~$S <: m._._¢.“_ m_s._ zo§>mz ...m m>m§_ .E § mm>o.E w m_z_¢<:_.$_
35 230 l__ oo<u__._u oz _V_m<._:n_ w 33 2 5 mo 2b .E:E uz_¢$_w .:“_o¢@ nz< zo_wzm_n_ E._ man E_._ m v_u<_,
mme §§ <u <z<mm<m <._.z<w <...__"__o<“_ <N<._n_ §2 m<mn_w zo~_<_._w
zonwz_v_ nmEz_._
33 893 2 mm_<oz<._ mm____<om_mo: _z<_._m ..m__._ u>< m<._w:on m zom_s<a >mz&omu
zonuz_v. am_._z_._
83 BB__ § mm._.m<oz<._ ____<xm>m: m_>¢ miu:on m zow_s<u >m_z&omu

 

 

 

 

 

 

 

 

 

 

 

 

 

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§ §§ <w _s<mmzzwx wu<mmE. >E.m_mm_m § zm:. t. l__m_z..u m .E<s_ .__m_z_o z<_mm _.
_E~n §th mo az<._._.mon_ ma m._<n._.wumu ._sm §§ z_z:<._ z:o_.
53 E.Bv _.z 502 mm memumo§ §§ ._.wmm m zs._._.<zo_.
our 595 ._w ._.m § >>z umw uzi>>o_._o o wms_<_.

xz§h_
31 893 .w_ mwm_mx<o ..s BEN .= §.5 zz<E u zmmm<>> ._.m_._o m:c_z___zoo §oz$m_._<
32 §§ z_ m>_mo mmm_mm:uw 22 E:oE mzz¢o_.
.Fm:m., ._._m=soo <wmn<._._E
EE EBQ .E <cmn<._._<p ...mh xom on m:m.om >._._mz <mw_._ws_ 33 § <: E. mo zz<m ._<zo:.<z ._.wz_h_ mrp
...m_._E. <wwa§d¢
55 G$.m ._< <wmn<._._§ _S... mu>><mn 0 »._ m._oom mam<>>om <_u_E.<n_ 33~§ <: E. mo v_z<m ._<zo:.dz E_
.= ou<u=._u <._owz E.."_oz § n .:z: :moz._. 0 553
§ zo._.>>mz § »€< .z 5 § 3m mE.zmo zz<..._ zowz§u_n _. >._.m_m
._H 205qu zm P¢< m>< ._.mmmom mg zommmuzo.r <m:
mSS mma_m v_m<n_ lmme .:_mmms_ z § z$_wmz < n_><n
92 ESQ n.m__"_mmmn_ kw am_mm:._m 03 oz_n.<mm z §§
ton m~B@ ow¢u_:u ._.m<~o: z a~m.\ ...mz<r§ <._>mm:u
E~N 253 .B_ nmom:<._,m am noo>>xow w~ om_n_s._m ._ z_>x<s_
»wnmh
>>an<omm m>< E.E m m~m~ uz_>_._ _v_wz_>>zm~ooon_ No: :m= <: E. _xmz_>>mm~onon_ z »m._o_> _v_mz_§mm~uooa < >sz<._.w
am<m_zo._ 5 muz<> _.:.now 2a zomz<§m z ._m<:u_z
lSw_“_wozn_ .:z >>w_>m_<"_ z .~.¢~ zE. .:. zmu_.m_azon_ < ._om<u v_mu_._mnzo“_ ._ ._.~_mmom
<zmzo_z ._.m:oo mz_g m.:_.=s 303 zm:. .:. ccom < zm_mm_._<_a ~=. wwom .., _.Emmo_.
zm._:_._. x<~um<m
32 ma § _ wJ<nwz_s_oo._m .5 mp=._._s mom v£ _mjmrw + x<~om<m _m#mm:_z ><v_o_z < :._._aa_.
.E:E
IZ 235 J_ §._.mzz=s mz<._ noo>>munm wn+_. z<mom._o o m_._._.z<_a §:.~F § E. z<:ow._o o mE.z<_a
._.m:E. mmo:nm_s
.‘B~ 280 ._.u zo._.z<u mo nz<._n_oo..s ¢_. z om<:u_m §uao 5 E wmo:nm§ 2 nm¢:u_m
3- ~2- <> z<m._us_ m>_mo <_oz<._ 32 zm._:_._. om<umn_ >EosE om<umn_ z<w:w
35 B,.S l__ m_~_zo_z am moz_.:.:om ._s 3_. zow._wv_u_s_ ._ zom<mm
32 §§ .__ ow<o=._u m>< mz_nms._ _._.Eom SSF :u<mmmm_z s_ n_><n_
§§ 2an ._h_ ._._=.Ewo:<._ too Q>.E zomw>zw §§ zu._. t. zmnn<: z zm._m: zmoo<r z w<._u:on
nth 353 <w <._...mm<:n_._< ._E. E._..w_m_._ zowmmnzm_._ 95 zm><:mo : zro_.
33 §§ l__ __z<mE.m ._om<u EB ._,n_< mo §§ momnz_..s 3 <_wo:¢m<m mwzo_._n_._<
E..E E.S_ l__ m_v_oxm gm .E< am E_om mmomo 3a zm:. ._._. N.m_zm:x z :.Em N._.mzw:z emm"_
33 §§ ._“_ >._._o mmz_$._ >§> mw»<>¢wm>>m 3m Q._<zoou<z m m_._om<u
...EN 255 5a zo._,cz_._x:m am mmpmo"_ 2 qu_u_w o zmm_.__m
.E:E
92 m?...m z_z <z_n_m mn mz>oo ..Sw mm:.z<z zq_z_z E._E=a <: E. mmpz$_ s_<_m_z
55 5 § >m._o<: 153 mo m>omu mz_m m mmrs:w E.m_zru
35 225 ._h_ .:=.Emo:<._ 33 n>._m zom_>zm san zmoo<z z m§u:Qn
m
:H_. -.RS <u .m__zm<m z<m am n._w_“Em_._m ,..S» G:E. mzm>um m:._. E.§_.S <: E mzm>m_.w __ n_><n
»mm,.. 335 § a._m_"_mz<z mn §m=._._h<: Pz_<m S... zomzwuom >>>o:_,
A~.SN 255 .__ mn_wmm>_m am zo_,_s_ooozo._ mi zm.F ._._. mz<:uo: zwm.=.¢<v. mz<_._uus_ _. z_._o_,
93 §§ >z _.c._u nz<._m_ ezo._ <N .K<._.m _._._.S G `.... mmuos_ ._ mz_zm£.<o
.Fm:E uz_>_,_ zmmm<>>
§§ 233 .= mun_m v_m<n_ S_._n_._mn_ z 2 < .me<o¢<z SBQ.E <: E zmmm<_s < ._.mm<uz<z
.,..mSm .__ §zz__s mo noo__szmaz_._ 39 .__ §§ z<o_o<: < s_<_._.__z. ._.m_._u z<u_n<: 3 §§
555 <m_
.~.~Rn ._"_ <zo.§mo n>.Hm <zo§ma § F zz<m <Soro<§ o._u ._::m w._.mm:<_._om z <uommm_m E. zo_za »wm_.._
zm:. .:. §<m m
ESm .= oo<o_ro § .:z: ._.m zo»._:p_ ._s 3m §mzo._o:._.z<m .. <._._<m >>m:t.§_ q._._<m z mz_m<._u
82 §§ .__ was_.__>> mzwzm><._ NN¢ moo<_. > _z<_._<mm<
¢-_. -3@ l__ mooswmo._"_ am mmrh<m_._ ..$~ xm_m>a _>m<z
£~m §§ .__ oo<o=._o ._.m oz<._m>m_._o z 32 zmp ._._. zomzmm u zm_._._m zomzmm __s uomomu
33 a....m : >z >._._u zmnz<m Gwm._.m zomzu<_. $F :m._<_s zxo=
.E:E o_momms_<.n
23 953 .__ Emzo"_ mx<._ EN .E< mn mug_mm_zmn_ 32 ><z >m_<_.._ ~.§_.N_.E <: E o_womms_<.n ><: >m_<e
§§
_:m£ .__ m@n_xnoo>> mz<._ mm>o._o E_.._~ E_._E. h_o zo_._.<m§omo auoz: E. m._>om ><mcmm<m
§§ m3 § >z m:oo:u:..u m>< vmm_mu ._.mm=s 30 >mzo_o wm._m<_._o
macon l__ m.c._ zohwz_._m< m3 .:z: m>< .=<> z 3 oz:.=.ou : m<s_oE
33 $mnm __s o._._m:.zos 5 E.Z Eo~z zE. t. :om:zu _. §<mx<m rom::o "_ wm._~.__<_._o
53 §§ N< <_moma mm wm._m<u >E.z:oc >> 32 zo.rwz:oq <<m_._
§§ >v_ zo_m<: ...> 8 m 3 2§.. zm:. ._._. nmo“§<zu < >._._..“_m omo§><mu 0 E<_._.__>>
emma _.mm~m <o :u<mm <z:w§ mm._. .Ezw_s m3 N.:zc<E m zzoo
33 238 .__ ow<o=._o m._u<z m @;.,.. zm._. _._. wom<_som _._ >ommn_ mnm<>>n_m m zzm._m
195 mowm._. E. m<.:<n m>< >n_<um< own¢ m.__._n_ w mz_mmr._.<u
§§ §§ .__ ow¢.u_:u z w :z_.. m:zw>< mzuo§_ z 33 z_._¢u m_z<:mm_.m
35 S§~ uz :m._<m zoEz_>> am .on_zm_<h_ 912 zwmmu § <s_._<
§§ E~R E. m._._wa<z nm zomz:.m 33 z<zmm._ z ._mQ..
33 §§ >z zmo> >>mz_ §§ .E< EME,G ltd .E<m 3~ ~=. >.__>mo: m m§o_¢

 

 

 

 

 

 

 

 

 

 

 

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Pm:mw
38 oh § _._._._._os_>.E ._.o mw_._o:_.:m_._ 932 <nz<_. : n_><o §§ <_._ E. <nz<_. _._ n_><n_
~B~. §§ zo._.oz_:oo._m_ Ezm§ ._.mw_.s 22 <.c.ommo o m&§_
._.mDm_._. Oz_>_._ w._m<uo>mm
33 n 53 o_____ m<>_..om hmme ._._zs__._m _s ~S v_m<._u zz< mm._ E:Q~o <: E, xx<._o zz< mm..
_H- §§ _.z zomxo<_. >__> mz<>z v ._.__m>mmc m >mm<._
mt._. room l__ om<o__._u ._n_ mm<>><,_mg m ...m down ._._z_._ w:s_ ____ >E.omon
~mE =EE <s_ amouxo ~w~ xom on _._._.__zm m zomzm_..m_
§§ 253 j__ hm_¢o“_ mv_<._ ._n_ mz_mnoo__> § §oz_._oo§ zmn>om so:._
._.m:m._. Uz_>_._ ._l_.Oum m_won
__Nw~ _ES¢ .__ w>>n_z oz_._._om mm E<w<m:m ma~m .__ ._.rouw n m__sm.. 353 <,_._ nw ._._.oow n w__sm._
.E__._
w_r..~ §§ ._“_ §s_<._. NNNF .E< .__.._>._m mz_son m mu:mm m$$ wzm_._m ._ ._mw<r ¢o__»~._~_. § E. wzm:m ._ ._H.$._
mmom amoco l__ v_uO._.mDOU>> mo QOO>>§<E vow >._<mr n_ ._.Mmmoz
33 _`B.._m Nc >m._._<> zmmmu 500 mo omm<n_ m 2:. >wz$_§_ m mm_zmn
..~_..: __.m§ l__ ow<u=._u m>< ._.mon___<.mz __> 33 mam._. zm_.._:<u _. z_._ow
.F
t.£ _:24 re <mzm_m _.mmmE mun_mm._.mm=s _...._. mmx__._ 1 moz<z 332 <3 m._. mm:__._ _. moz¢z
32 B.Bm l__ .Emmo"_ mm>_z m>< ._.mwmo“_ 33 .m_m<._. n_ z<wm<o
wn:.. 525 .__ mb._ zo._.wz_._m< mo a._m__“_mm<_._ iv zowz_._o_. ._ ._omcu
,_.ooh 3an ._.zDEv_._m mm zo_.n_s_<: ._.mOm N*ww_. room mz_<.m_
...wo_.. ammnn ._.zos_x.m n_<OM zO._.n_§_<.I ._.~.\.Ov_ woqu room mz_<wEO._
mv:. 952 _.z amoh_mm_.=:m .Fm<m m .E _._n__za_E 9 zo.csmz l_ zw_§<n

n_.n_.._m l__ mmz_<._m mma m>< zo._.v_oo._.w mmo_. ._m_._z$zm mwzmm
32 953 l__ ._.mwmom mx<._ m>_."_n zo_.wz=m_._ z gm zm._:_._. oz_<._< v_ z>.__z<z oz_<._< r¢wmo_.
c_..mm 5va l_h_ <.._<OD z._ ____._.mm >>w m room <><._.<E l_ zIO_.
~2~ 258 l__ ma_mmw>_m nm zo§<._ md zm._. .:. mm:m._.u.v_ __ mu_E.<n_ ._.___,_ < wms_%
NN,~ NE.B .__ _.__.mo._s ._n_ :._.E . _s B...u zm._. _.__. um._zuw <zzmzo: z>m_._._.$_ mm.__._uw x xo_E.<n_
nan §§ <n_ v_~_<n_ zow_._._< m>< z.._$_ 53 >._.Ezu____ < <_z_uz_>
m:.m NQ.B ns_ omom._z<: mn_o_: u>¢. wz_._mu:_s __.__N..H_. ._._mzzonu<§ z<o_.

m._>on_ u_,__v_
amco ._._w_SD._ mm xOm m < 3 .v§_. F .rm:m._. >.___.,_<n_ m._. m._>On_ Oz_x m
53 zopuz_mm<m m_m_<ma m oF. .__ <s_w: mmmv_ ._. z_._oo 530 ___ mmw.v_ m mm_z<_.
32 v_~_<n_ mo._<n_ o<o¢ 595 m 255 _xw~_om<~ >.n_<zmmom
N_.._.m v_mO> >>mz wm ._.m< ._.w >>Omz<m mh .._._mn_z<s_ z<_.:.<zo_.
32 §§ ._"_ wwz_m,.._m Ezo:<._.._< m>< <_z_wm_> ~B o_wm<>._<m < mm_zmn
3- 253 .__ w§on<m: wz..__._om z._ gomm<> 33 zm_. .:. ~.:.E < sum<s_ ~._.am ___ nz<:u_m
39 mEB <o >m._mv_~_mm m>< mm<wm._.___._ 83 mm>o._u u m_m:<._
BE. 325 .__ _.on_mmozn_ .:z mz<._ <w._<~< m n~_: zm_. .:. m._._m.<_ v_ Qz¢ro_x m._._w_s _. mzm._m<s_
n>._m _._._m_m>__

33 o_.,..~w.» N¢. m._<nm._._.oow ~§ .E< n_>o._._ zz<mn_ z aava zmwmm>__nz<: m.Eo._z<:u
.¢. § m rr.._~ z_ m._.__>wz<>m ma nme»_._$_ man >v_w$_ E.._.mmom
880 .__ om<u_:u ._.m ms_<n< ._wm_s N~N .E...._n_ umomm zF< u._._ ou .~ m_<._m 2<_._.__.__>
.E_._E uz_>_._ zmo:mm_:um zzo_._am___._um

32 .B»B l__ zo._.<m:__s l_.~_Jou zo~_>m :_. m_zon z>._oz<o §_.E_No § E. m_m_un z>._o~_<u
nunn annum <> n_._mw_uz_mn_w mz<._ v_OOmmzm§Oa gao Iw.__<>> "_ oz<ru_z
32 wz_om <u wm._mmze. mo._ mo mos<._.._< 35 w_>m<_.. s_ z<m_.
23 952 >z mun__m nz_._On_ am oz<._aoo_s v mmv_zm._m m¢om <E<_.__
vmm: >z >>On_<ms_ ._.m<m m><v_o_m.mm_z am ._.D_Erowmo»_ mz_.=.

._.o< wzoz_$. O._. mmwu_mz<~&.

_EE 503 .__ mz:.<._<n. >>m_> wzo._ 2a l__ mmaz: _= ou_wm<_z _. m__._o._ 530 ou_mm<: _. w_:o._

202 00 n._m_"_____oomm >mm>oum_n m :H zowu_mm m n_><_..._

._.m:m._.

§§ l__ ow<u_:u m>< zw____<n z :H_. mozzou_o __ v_o_m.En_ §~..Ra_. § E. zozzou_o _. zu_E.<n_
mSN §§ _.z z__so._.m._n_o_: _._.F:om mu<zzm.r ___.,w_>_._._._._om mw zm_. ._._. mv_ozm:m .r .§_<_._ wxumw:m ____ :mmwo_.
33 255 <u xz<mm:m 5 zo>< z mvv ._m_s.~m_:_.oz l_ .__.,<_“_
nmmv m...oo~ n=z ¥U_xm_n_mmn_ moz_~._n_ ._.a:Oo m._moz own Ds_ <s_._.D ZOsz<r ._mru<.m ._.m_._o zom_mm<: ._. ._Om¢.u
23 E.S~ ns xu_xm_nmm“_ muz_mn_ .E:oo m._moz E» oz S._E._ zom_mm<_._ >.___..m_ _.m:u zom_mm<: w ._om<o
anne P..BN ns_ xo_xmn_mmh_ moz_mn_ ._.mDOU m._mOz E.n 92 §._.D ZOm_m¢<r ._u_z<a ._.m:u zom_mm<: ._. ._Om<o

moe ._,.,.._< v_m<a szmmEp_m=,

S: 088 l__ ow<u__._u >>>_._ Em.._>_._Eoz z 33 "_o m.::m mo_zmw um_>>o_._o<: m >~_5.__
vmm_. §§ ._.o v_OOr >n_z<w m>_mn_ OZ<JW>O._ m ___ wzz:m ._. ._.zmoz_>
3..3_ 325 l__ >~_zm_,_us_ m .E< mo noo___§<o ._s _a$ nl_<.mmw~_._"_< nzo_._><~_
mw><s_._n_mw

92 §§ >z <_zonmmh_ ._.m _.zmm:<._ wl mmmwom _._._.mm<~_._m
__.m: §§ uz_mz<._ mz<._ mm~=. mz_n_ S.,.._. h_muno._m 3 zzom
mm~mn l__.._ :<_._oz_:z_m .__<E. zmmmu mmm_znoo_s 33 z_§<m zmm<x

dam wzm_._§. am m._._m><._ m.~.~m zm._, _._, _._._mz_m<s_ < zmm_._xw§ m_. _._._m_z_m<: _. ma_._.E<
wmmr mOuzm._U zomzm“_mm=. vme v__w_mv_ <._Oz

l.,."1._._~:. zs>_._<nz<
comm zm<m nz<.=._U_: E_. ._._z: am n_._m_mmmmn_ com § rammo_. oo:..o._~a <_._ ¢._. z<_____._<n_z< _____ xamwo_.

 

 

 

 

 

 

 

 

 

 

 

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§§ 903 .__ ow<o_:o .E .on:m_§ z 33 535 mz_>_._ .:_wzo mma§: 5 ._.__m__.__o _z z<m=, ._.__mzo _. :<_._.____s
§§ :.~3 re _Ezz_uz_o mo monEmmE, §§ zm:. ._._. zmnm<m m_><a < >uEm zmnm<m §§ _, Jm<:u_:
§§ §§ 5 nme&z§ 595 m>< mc@_m 2 _ z<cmo: m_zw.u
32 53 .= z>._._m zm._u Qm§> m mm_z<q
§§ 252 § ozomm.zw.so zm:. :. xo_§ou >m._z_:m v_u_&ou o zonz.":w
32 E.,_.E § _so»w zE. .:. gram l_ .Emmom draw _s z<m:m
33 m 33 z_ mz>§> Eom wz_wwozu mwn_~_sz. ~G... wmm:.§ z >._._<m_
am$_u_m
nmm_. ~Ncow .__ moozm._O m:zm>< ¥m<n_ v,_.n mw.=._m QO._. 4._.m 0._. ._.Ow_.m:m .C.Om n_O._. ._l_..um mn:m.Emw
moon omSm .__ >mzmrus_ ._.w mz_._o> § Bwn zm._. t. EOO.E s_ <nz_._ :Oo._m < amscsz
.-~ 553 ._. m._.m_:._s> >< w§,_zmmmw NB~ zz§§o_._ m zo_m<z
3§ § § .__ oz<m:o._ moz<> m 9~ zowz<_sm wz_mmv_ m .___Em_:u
§§ _.ES 02 noo>>n._§ m>_~_a >>w_> mm._m<m §§ >._w.v_<._s s_ Im_m<~_._m
~3~ 280 l__ o.m__mmmmn ma zo._.z<oz_._s 32 zmo_mm w :<_._._=s
§§ N:.S §_ z§oEm.E>> 3¢ m>< wwnnooo m§ ozo,_ h .Em_moz
23 mnww¢ <._s m.._.__>mn_:oo ._.m mm:m_m._ mz 92 mow.m_> z<> m w_§u
Bm~ §§ § a>>_.z>§ n_<om mmms_m§o _i .,.__m:mw~ _z _._.Em<~_._m
§§ x<o < n m>¢ mmn_mz:um mm : >mm_mmoz m umwa
._.__r ._mn_<ro m>_zn mug_mmzo.$. § >>oz:uo§ w §=<._
§J_>>mwmm= nom xom ~mzm:=. 253
wq_._S>mwmm_. 3m x.um 2<:!00§ r§<m
m.:_>>mwmm=. m3 xom z<o<zz_._n §._<m
BJ_>>mw~_m= 3m xom z<zzoozm §wmo_.
m._.__>zo._.§mz n<ox noo>>v_<o :. §_ §§ :_._x <._m_mq 530 r:x <._._§
m._<nwz_r mv.<._oz_§w 3 women .Emmom
m_._.__>moomm>> nm mzoomv_ m F.m_. mmzzm_~_ "_ nm<_so_._
._.m:E. m._m§o>mm ~m:om<>
Nmm,. >m._._<> m._§< nm mauro mw$_. 4 nmmn.=: m o_o<zo_ S_.NN_B <_._ 5 Nm:om<> l_ nwmu.__s_ Nmaow<> w o_u<zu“
E_._E.
23 nz<._._o: Ebom an mz<>m 35 §<E:o _,_ mzz<o_. §E§ <_._ E. §§So 5 zz<o_.
32 oo<u_:u w>< <um<zo z 93 _zm>_..o:u>~ w z=sam
33 zoo._._.<s_ 3 xom on_ mu>ou n >_.Fo:p
33 zoot.<: wm xom on_ zm>ou _._ z>._&<s_
NB. mouzm._m m>< zommm§m=, $v .= <_E._._ z_w~mv_ zom>m ._m_z<a 530 z_m_E_ w 502
mcf m_v_ov_m ._.m mH><n_ mn$ zo..moz >nE.m mz<_.
§§ o._m_muz_§m mm m._o>>v_o<._m 23 zm:. .:. m::E< m r._.m_m<~_._m z_._:.E< m z:o_.
33 ._.wmmo§ mz<._ mz<._ m_._.z:z 23 zm:::, E.<zon <<m_z<: E.<zoo z m_._n_.
535 quE§E_“_ z w_._._>ra
225 .__ mb._om_._ .Emn_mo§ 5 ._.___zmz_v_ < mg zu_m._.<h._._"_ _.s mm:<_. 8§_= _ 5 E zo_m..<§._._“_ m m_._._>:n_ zo_E.§N.E § wmz<_.
SM~ §§ 15 wwo_, z<m E:ou mw._§> _NB <u <:.5 sz.§ < <E._. »m:u v_m._._>x o w_:o._
§ <:.E
33 2 § <o mwoq z<m E:oo ww._§> 23 v_m_._._>v_ _._.m_m<~_._w >mzn>w 530 v_m.:>v_ Emm<~_._m zmm$.
BR § § <o §§sz m>< zob<n m §.. zow.__: .__<m
52 §§ .5 omo"_:<._.m ma §n_z<xm._< 3 u_h_o.~nxm=sw < n=><n_,
55 NSS .__ zoomm£.xoz nm >z_._um= m@...... m_zz$_ zoz<<
382 .__ v_oommz_.xoz mo wmmznoo>> _§N w_mms._ z<_zm
32 ¢~mE >z zom_mm<o mm mwn_~_ ~... zmw._o __s om§>u:
33 $..3 .= zmwom .E .onm v~w£ <§~3_ m<:oE.
32 §§ _s_ m._.__>:_.moz .E:ou z>._m>>m._._ ~_E$ zm._. t. _xm_so.:._o ._ m__zzou _v_w>>o:._u z B<zoz
92 m~$.m 5 o§mz§u§ >§> omo ma o_m §§ zm; .:. mmzm_mm w zm.m=,_ ¢m.smmm o zm§o
._.Q:E
32 5~3 l__ zoh.wz<>m m=._zm>< zmu__sou ._s msa omx_._m _.>mw¢u §Sa <: E. omv_:m ;m_m¢u
»~2 3va _._o =.<zz_uz_u m_o mmEm_.::a, z 35 m:z<w<._ _ mu_._mm
52 §§ § zmzmmmn ma mm<:zwv_ 32 >._._mzzoa m >oz<z
guam .__ <v__.mzz=s ma noo_szmnz_._ 39 l__ §§ z<o_n_<s_ m nz<>>om »m_._u z<w_n<: _.s §§
33 390 5 §§ o._zms_ mo >..._z_E. 32 zE t. v_oou m mu_z<_. ¥ooo amc >mm<o
82 953 .__ ou<c__._o l_\_..=.§_m: z 53 zE. .:. w_z<m_z$_ »m<s_. m_z<mz§ m z:o_.
22 ~:B~ on zohuz_:m§> mz .E zo:smz 22 § 553 mud_s_ _s zom<:w 530 zm._.__s_ >> wzo: _<E.
23 § : >z wo_m><m m>< 3 t ..§ zm:<zwgz_._ <nz_._ E.E mwow <nz_._
l__ $.__.5 v_z<§
mm! 239 .= zo_.wz_§<m mun_§<o .qu>> .G$.N m_._Qz§_oo §oz<xm:< 530 §<E o zmzz<__s
35 ~Q~B .__ zo_.wz<>m_ ~ ._a_< nw z<n_~m_:w N$ oz_§w: zm.u.._E.$_
§§ 325 s S_Ezz=s oz .m_mz:w m3 zm._. § zwmm<: l_ z<m:w zmmm<s_ _. .Emmo¢
§§ §§ .E amo..:_:w uz_mmozu >m>ou h omopz<m Em_mom
2 5 :;~m ._“_ zm.§sm@nm_ wage mmE wz_n_ 35 jun z mm:<_,
:..$ 230 .__ zE.wz_§<m m_m_<§ m § .__ 553 crux __ .Ewmo¢ .E:u ___ zsz m mms_<_.
39 xiv ._L _._o§m >§.m_a § .E¢. mn >wz.:_s 33 >._<n z§mm:
23 §$ _z ._.Eso._ mm ma noo§mzo_.m 39 zmx§v_z<> <.Ewmom
303 .__ oo<u__,_u mo noo..szmnz_._ 25 l__ <E.: z<w_n<z z mv_:._ .E:u z<u_n<z 3 §§
§§ 225 l__ a._m__h_zom oz >> 33 z § zE. .:. mm<uus_ : <ozmzm mm<ous. >> n._<zon
uz_
33 2a3 z_ rc"_“__¢w Em xom on_ zosz.m_¢.._u oz< >zwos_

 

 

 

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wm ram

 

 

 

ZO._.<NI>>_

 

zo.Sm<o z §§

 

 

 

mmc §§ mo w_._._<>mou _.m zm._._< gm 33 >m._o“_ m >E.o_z:
:.B. 3~_~ 02 mmo§._.._<m am m._<>zmmzu 92 >><mz<._ s_ >mmh_»_m_.
mmwm ::.om l__ v_m<n_ z_._zz<mh_ >m:¢ z o:n .__ 555 zo._.._m:m >> v_o_m._.<n_ ._.m:u zo._.._m:m s_ >m._mmms=v_
E.m_. mwo$ l__ >_m=>zu._w § ._.n.q mwn__m mmzs_< ton z<_.__.~o_._ w >0242
S¢~m <o mz$z_ mmc. noo>>moz §§ mwz_m..s m ._m¢.mo_z~
33 §.: >z zo».oz_`_.z:z .E aoo§>a<:w v zm:. k, z=,o<r mzz.wwwmd. z__,n$_ m mms_<=
nnonv m_Imz>>O._. zO._.z_._o mm mun=m >>m_>mm>~m cm~$ zOmzms_m _. >>wxoz< mm..m:.vo 45 E. zowmmzm ;>wmn_Z<
mmmr woman m>_mn_ zm._m. >v_uum awn:. zw._. ._._, zmmmmm 5 >._..wmm zmw.~_wm w nmmn_.“<
32 §§ mo._><w m oimm_ § wmon_omr._.
m§. 253 v_z<n_ oz<._ro=._ w>< ._.z<m<m.E _§ oz._.mmm a z<o=
,_N...F __.¢mom GU<O_IO m>< m._n_m_rg z n¥..w Z<E_._uw_mm zm._.m_ >~_<E
th_. hoag >m._n_z<> m>< mEOImUzO._ ._.nr mmon_ r._.mm<N_._m
35 $m$ om_<m<n_._<> mz<._ >mmmmz<m 3m mm>w: _._ Emmom
_..EN §,_.o v_umz<m:. B¢.Om zommm_v_u~n ...nnv Io<m> mms_<_.
umwa macon m._._._ zO._.Oz_.E< n_z¢._:@_r m ,_.aw_. zm:. .:. mmmv_._n_n_ _. mz<_n_ wmmx.__o“_ m z_._Oq.
32 Em: z>._moz wv_uo._s_mr mE. wm zo._ow n mmaz<xm._< z._._.< zo._om m_mm<x dwmm:m
mBN 325 momnz=s ><>> mu<_zm<u E_. zowzro_, >.., mms_<_.
§§ §an >.:mm¢wom». n<om v_<mn_ mmv=n_ 03 zm:. .:. oz<mmmo._=._ _, m_._._>_._n_ oz$_mm_a.__: m _z<_._.__z..
mman >._._mmn_momn_ _u<Om v_<wL wmv=m om_. n_z<mmmn_.__: m s_<_._.__._$
__r_._u m._n=zm._. ><>>n_<Omm 33 zm._{_._. Oz_._r._.mom >02<2 m_. UZF._:._.mOm _.>mzmr
OU<G_IQ m._.rum< >> mmmn zm._. ._._. _n_m<z m_m<s_wmom _n_mc.z bruqu
E_._E.
Ow<o_ro ._.w m.;m_m< >> mvmw _nm<Z I Oz:mm wa_.w~__»a 45 m._. _n.m¢z x Ozamm
ru_z:w mx<._ mz<._ moozxom N§ __ >E.zmm z me<_.`
ow<u_:u on .E< m>_mn mmoxm mv_<._ 33 mozzouo _. mms.<_.
ma zoomm._mz ..~Nw _v_wz,oz<._om _s moz_,_m
n<om noo>¢_<o :. <_z <:.5 ::v_ m<_._m 530 :_.=._ <._.___.s
._.w ._.w EN hamm zmwzmwomu z_‘_.m<§
m>omu zo.Eos_ >mzm_mx __s m :~m mm._._:.._ < .Ewmom
anuzOO uz<._ v_OOzm >m._._¢.> von xoO._.z_._uus_ __ m<ED:._.
mzm>: Eow m § mo >m._._<> mz_n_ §§ zm:. ._._. z_._o z. muz<._.mzoo z_._o n._<mmo
.._ <_zt._
guam .__ §.szz=s mn noo>>zmnz_._ 35 z<u_n§_ zommmoz< _>_S._.___s 530 z<u_a<_,_ _s v_m<s_
~N:_ :En ou noo>>._muzm 5 m_m<n_ m EB zz<Eh_o: h mz><§
hamm N__._.ow ¢= >m._._.z_._: ><>> zmwz_w mova zm._. ._._. xEmUz§ 2 ._Om<u _.c.mmwzc\_ _. n=><n_
§§ omm$ z_ m:<._ <zoz__s z._ noo>>n._=s mann §m<_uw wmmmw
53 §§ ou <n<>m< 3a mu<.E nm$ .me.<, 3~2 mmrE.E < ._m_z<n
gov en _.wv 10 <_zm<n mo Z>>Opmm_zd._. mFNw zm_._.._._. x<n_Nm mOz<m._m v_<n_Nw >zOI._.z<
33 E § >z m<wm> m<._ § m_.m 5 15 Ebow nom zm.r :. ._.:w_¢._s m <_0_~:.§ .:._w_m_.s < nm$._u_m
_.~3. ~moam l__ zOOmmT.hzOz mo QOO§mmmo o_. :. zm._. ._._. >m¢nz<r > w.._><...u >m."mz<: < z:Q..
33 §§ l__ w>omw mw>_m xom mo >§>_._u<mm @2 zmp ._._. z_.=,_am .. 556 z::zm l_ E.mzzmo_
._n_ Ow_Dmmmm_._.wn_ ._.w ><>>xm<a zo._.__m<u own comm< m wms_<_. azo§>¢m
52 m._.__>zo§mz n<om ooo.ec_<o : § 525 max mo.__._o ._.w:o r:v_ <..._=s
¢.0 m.p<nz.n._._u ._.w zmm>mc w m_.m zm._. ._._. zz>._ _. >v_umm 225 _. m<s=u:._.
._n_ mmoz<§ zO._..__>> v FN.“ m>< oz~ mz comp mv_wm=.<s_ m v_u$,
_.z m._<oz<zz¢ nm amax ~m~ _.z <_,_5 "__mmu "_<m._ ._.m:u L_mmc .§<:m m<:§
_.z m._<az<zz< am zm>_m Nn~ _.z <s_.:._ L_wmu >mmm_._< ._.m_._u h__mmw ._,_<:m m<zE
12 zoEuz_mm mz<._ m._<n_m_wom mm zm_.r ._._. mo._mN_zw> _. s_<_,_.__>> o>o.: < <__.:.z>o
l__ Dw<u_:u m>< Z<D_:u=a Z mnm .:oN ._..,.._< .E_._.w>z:u ._. zz_._>m<.s_
._< :<:wz_:z_m m_u Eomu a:o._o _..:~. :u._<mm>mzm:
._.m:m._. m._u_mm
33 No~$ _._o §om:< wz<._ m_zzom BN _.._ nm¢:u_m m:._. ~_.m__m§ o._.n <_._ E. m._n_mm __.._ nm<_._u_m
avo... _..nEm l__ z>._._m zm._O mo >m._."<> zm._w mmh__$ wm ._I.....__m h mzm¢_m<£
mama $Sm l__ om.<o__._u m._>wm< _S 33 zuh._._. _nm¢.z oz:mm _am<z m<._o:o_z_
_.oE.. m...w~a <5_ zU._.Oz_.E< ._.m ._.mOn_>>mz n __. sz ._H ZO._.m.En__s_ m §§ zo._.m._on__£ ._. zw._.mn__
._.m:m._.
§§ »~_~m ._h_ mwz<mo .Eom m_u zuos_:<: ._<m<w 58 m._m<oo>mm 83 zmmou :n_ @ES__S <: E. zw:oo : <m<mm<m zm_:ou z ._J<n_
53 _.m_.om _>> ><m mi<_j_>> ._.m <>mzm@ ._S cm¢ :uwD<m < I._._n_:_.
33 5..5|»_ .= zm._u mms_o: ma 03_>> 3va zmoo<: _. azos_><m
zm._!_._. mm>Om
53 palm <u 920 z§_mm_._m .G §<n_moo: Nm:: l_ §on .. d_mmmz < z<_._._s> ._._Emmz m mzz<~:m
mann 233 <v_._.mzz_>> mm Pn_z_>_._mn v: mm<._.w l_ z_._.w_av_
§§ wBS m_xo..._m m..<>omv_ §§ zm:. t, z§_n__._ _.=.3m z<zn__._ >x<m.
o:~ m~.a@ Eo%_z<z.._ m_u ._.nzmm_k._m m 22 o._._mzmro ._:<a
$E mm § mm._.<._,wm z<£“_uo_._ mz<._ >zo._oo m3 zm._. t, mmoo: mz_...m_mmu mmwos_ :¢_._.=_.s
mcf mumom mOZ<mU 5 m>< mzC._.m. 02 me zz<§:rum .__ ¢m_._
2 § §§ §§ zmwmmmm>m gm<._.__: w 35 v.u_m¢m: o uzz<_._:_.
mE.m guam §._.mzz_>> am ._.n_z_>>uo E.F mm<hw l_ z_._,m_mx
39 ~m..ow .Gmmou_ x<o m>< m_<mu SEF 1050sz z>mm_:._.§
93 326 muz<mu <._ w>< ._mxmmn 5 x<_~n_~<o mE<:zz<
~Qm._. §§ :u<mm zo._.uz¢z:_._ m_u mz<._m_¢"_ §§ zmp .:. >m._m<m m ._m_m:z >m_._w<m l_ :<_.:__s
33 mSS §§ o._zg_ ma >._._z_E. 32 room ._.m_§mm mu_z<_.
3<.__._ow .F wm._z<:u

 

 

 

 

 

 

 

 

 

 

 

 

 

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_NR §§ <u <zmo<w<n_ z_ won_m <oz_._ 32 _.__._:w .._ m<_w=oa
§§ 223 l__ §m_“_zmm_n w>< mn_m._.___,_ 32 zm_.f._. nmo"_ m am<_so_._ ozo»_ ____ wz_»m_m_._o
muz<z_._mz_
m§_~ §§ z_ nzS:m_: n>._m m__on_<z<_nz_ §§ >z<m____ou E_._ m_.<.E zo>z¢o
~§ 5th l__ ow¢u_:u m.__.m<u_swz z 93 zm__. ._._. m_mmo_m msu m_zm_n_w >_,:z<w_m:u
33 503 .__ oo<o__._o u>¢. z._ouz_._ z 33 rw__.._<n_ "_ .m_s_u__.__
33 §§ >z v_ao> __>mz umw .E< m>< azw ._.mw_s E,_` .c.o_._.m_ _. .c..?._._.E
hva ~EE >z v_zo> _smz in .E< ._.m.“_~__.w _.EE _.m<m § zm» ._._. _.soE_>> ____ n._o."_<: >>9_.:__> _._.:n_.__l
§§ §§ z_. zom:u_a ma m._.__x Emzmou_ E~ _z<____ xzm_>
§§ §§ .__ zm__>zm._u u>¢ mmmmom §§ <zom o mm:o_o.,m_m__u
82 §§ .__ ou<u=_u m>¢ z<z<~o z §§ zm._.r_._v_ <_om§__
B:E. 2<2_.._0>>
man 3 § l__ ¢>m_zww mgon<w____ ~B w_m<uo>mm¢_ z<E.._o>> m mzz<~_._w m mz><_s mi._. $3~__3 <: E. ___ mwzu_. mn_>._u _s
33 §§ uz mmzm<u § xom on_ m._¢s_<m ._. _._n_mwo_.
.E:E
§§ BS_` m_._on.<z<_nz_ mz<._ nmom"_<_.m §§ >mm z_<._m <._m_<ru_____ 555 <_._ E z_<._m <._m<__u_____
53 §§ mzz< .Fz_¢.m ma wwn_m_¢moz 33 :<m_o_..._<m m_zzmn
35 325 wj_>~_m%z _.o 355 22 m&m=. _.__ z<o_.
33 §§ ooz<._¢o ma wz<_ z_s<x m §§ zow_m_ "_ nm<__snm_
33 ...§_~ mw<_._o >>m__u .E_._ou uz_._._oz 33 ___ z<om_:womw m m<_.__o_._._.
33 §§ m._<nuz_zoo._m_ mz<._ mm__. von zm_. ._._. <mom_ E<E.w <»om mm_zwm
man §a~ zo.Em,_m<_._u Dsz ._._<_s _. 556 zqwm_:uomc <.__m__w
_.m:E. z§>m.._
32 §§ 5 mo<._.__> mv_<._._.wm__s an wz_mn_m m_._._m § nassau >m_zEw ¢EE_....Q § 5 z<.._>mx nassau >m_._zEw
38 m~$m <u §§ o._zm__.__ - ma >._._z_¢_. 32 V_oou z~_o >mm<o
m § 5 a 53 .__ ou<u_ro .E mz<__s<._m_n _5 2 va .EU_ _.§mm<~_.m_ >~_¢_.__
§§ z_ zowmmnz< n<om o_.E:m §§ mm_____.__$_ wmo:._m_
32 3 am l__ noo§._.m_m m>< _.E:. :_~ m____<_._._=s mo.E_> z<>_
¢~R 523 l__ §§ mmom._ms_ m>< 53 z §§ w$__._cmm____mo _.._ muzomw
33 .,.:.E .__ m._.__>m_wom __§ xom § .E zm__. _._. m&<.r< z<m:w mn_o_<_. < >omm._
§§ -:5 ou zo.m_._._.:._ .E:ou §oo_.m_ w §§ w._.»om m z_._o=
l__
m~@~ §§ .__ §§ z_._v_z$_.,_ >m:m z §§ <E_._ zo.r._m_xw < :.Em<~_._w ._.w,._u zo»_m_._m _._ rm._~_mms__v_
§§ 325 .__ mcz_~_n_m zmm.§wm=s 5 Ez._<_s §§ ._m._._.:m ._. _____m:._._.<z
§§ §§ .__ mwz_zmm zxm=wm__s 5 .Sz._§> §§ ._EL:m .F _smmnz<
555 mnwmz ._<_um_n_m
§§ ou zo_.m._.c._._ m_u w>oo m §§ mu<._._§> mmoa mz_mm_.__.<u §§3 § E. s_s._§o mu<._._§> m_mm_._<>
§.».N 298 :z :m_._<m ._.m om<_so: _.S zm__._uwmo: ._. v_u_m._.<a
33 §§ .__ wmz_<._.,._ mma nm mm\Fo.“_ 33 zow___s m::_.m<u<: z¢._._<
§§ §§ 25 am»wm:oom _sw mo ._._m_s._om §§ hw:m» z<zv_u_mn_ z >m<: $_§_.E § E. z<s_v_u_."_m ._ z_._o_, z<:v_u_m“_ s_ >z<____
EN_. R:..m __s >oE. 55 ..w_.: :<.__._m_m §§ .__> mm._.____ ><_.
33 m 52 >z v_mo> ____m_z mv E< 5 _.§$ _s B~ zmwm:mx §§
33 §Sw .__ ou<u_ru _.E .E N_._._<m<._ z 32 z<z>.§ ____ <u_zo:
?N,. §§ ro m_._mz_:._oo n<o~_ .on:m~__. B- wzowm<n_ m n_._<zoo
v § 953 _.z zm_._u:h_: m:zm>< §o> ..smz 3 zm§ t. ._._omm<u _. zm_m._:_.$_ ._._omm<o _. v_u_E.<m
|m _,n =~E E. m._.__>m.§z_.____ §§ _§_moz ¢ E.._ zom._mz < z<._
L~.W §§ co¢u_:u_ _.w zo_.._§> § §§ .__n_m_~u ._w<_._u_s_
§ 3 mm~m» ~< m_<nmfoum >§> _.:.E z ~_§~ zm_m_:_.z .Ewmom
§§ §§ n_ mm_om ma Ez<_m ____ §§ zm§ .=. zm:w__.= m <_u_.._<s_ zw._w_:._. m_ v_z<E
32 §§ »z m._.__>$_u_: aim zm_oz_._ 3 z<mm _. z<_mm
N§ S§..~. __s v_mwmo v_o<._m oz mmwm_._mz 333 >mmm_n_ < <m:
§§ §§ ~_< wwz_zn_w ._.o_._ §§ xom o._ ___ w>__on<mz m zu<_.
§§ S~$ § mmv_:<_.s______ 5 _.__.»N z 52 ._m_~zm:~_c mw._ :Ezzm_v_
§§ S-~ <> zo_bz_._~_< m _.m :_.$ 33 .§.: m m._<n
§§ 825 .__ §oz_._< mg amoun§m mqu ._<w> o mz_mm__,__.<o
55 §§ l__ w._.__>muz_mo_ gm mm.__m__._= m_.__>muz_mm z §§ zm§ .:. >08____ w m__._.__m >oooz < wzz<mq
§§ §§ m< m._.__>m._.m_>f w._m§ m n§ x_. w.son<m: z ____<_._.___s
§ § z_. w_xn_____w: ma m<_zmzmm~_m _.§ w..son<m: ._ <mw:m=._
33 325 l__ v_oomszoz ma ._._=_ uz_mn_w § 3~ zm__. .= v_u_z_.o._ >$._ :<zz<_._ zo_z_.o._ mm._m<_._o
<u
§§ §§ _.o zoo: .Ez<w m>_mo nz<._m_>o._ m <2_.: mzz_._m z:o_. micru_z _.w:u ___ mzm:m .F §m_uz_>
..~n_. §§ _.o zoo: >nz<w m>_mn nz§w>o._ m <u <_.__5 mzz:m <m:<._ >.__..__u _.m_._u ___ mz~_:m ._:Emuz_>
53 v §E .__ amo%_oom mn w:>._ ma._o §§ >a~._m_m m drugs
@E~ B..S .__ _.__.aom .Em_mo"_ xx<n_ wz<._ mn_mv_<o mg z<__,.n__._ _.._.m¢__sm__.w
§§ §§ >z mn_mz<mco m>< ._.z:o_,_ §~ zm._. h. _l._<_._zm____o._m z §o.m E<_._zm_____o._“_ z<z._$_
23 §§ .__ §§ nz§:o__._ w>< z<n_mw_._m _l._ _HR zm... .:. zowzm_._.___..__ z<m:w zomzm._.__s_ ._~._<_._Q_H_
§§ §§ l__ zmwm.E mo nmomwmm__._ m _.~ zm._.._._. _z_z<“_“?.o mm."_o_oo _z_z<hm<u q omar
§§ E§_ l__ noo_ss_<wm_.w z._ _so._._ox mmz<:o ~...2 zmw_.._m:_._uw m._._~_m:wm<_____
§§ §§ <____ mj_>zo._.>_m_z am ooo___>v_<o § §§ ___._v_ mo.___u .E:u _._3_ 5.____5
.._§N 233 <____ w._.__>zo_._smz am ooo__€_<o § <____ <Eb _._av_ m<_._m ._.m_.,_u _._:v_ <._._s___
23 523 _.z m._<nz<zz< ca mu>__"_ ma =z <2.5 “__mmo .»m_mm:< .E:u "__mmm ._._<____w ~_§E
9mm §§ _.z m._<nz<zz< mm E>E ~3 _.z 525 m_mmu :<w,_ ._.m:o “__mmu ._._<2» z<z<._.
32 ._E.S § .Eos_._wm ga zownm$_u_¢ § zo._.__o q <N_§E<m
§§ ...~S@ .__ _sm__>zm._u mma_z zm:s_< §§ zw~z_w__ mu_._< §§

 

 

 

 

 

 

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._..w:w_._. GZ_>_|_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

vmh+ maheu l__ UUD_EEOZ m_DZm_>< EOWOZ_..$ ._.mws> moon >._=z<n_ me<l_m ____ m__.._um_ nm:\o.____.o <D N_._. Mv_n_<._w 1 ._Em_mO¢ Mv_n_<l_w _>_ MZWE_
wan mmth <n_ om:mwo_z<_._um: mm>o_sm __s wz>¢>>
Nnx~ 325 l__ wwn=m v_z<n_ _.._m._. ._._. z<§._._<._. _.Pmm<~_._m z<:¢_._<._. 2101
35 m$§ l__ m.:_>xm_n_<z mmwmmo m mm._.mn_
m.u_.N vega 12 u.LOv_u>>> Zw._. ._._. w_._.mv_l__)_O_z <Z_._m_mvz<>m m_._wv_¢__._OE 0 wm$_<_..
wnov mv_:m <O W._.I <DZN_O<I n_w_ ZD>Z<U ._._DmZED._. ommN ZWP ._._. UZDO> 524th UZ_._¢> U mmmZ<XmJ<
ctvm v_.mm.. z_ ._.n_$._v_l_m_ mn <Qmm_m m rmcmm m__mzc£ _z <wmmmr._.
ow...v womoo .__ zO._.mz<>m_ W>< z_Own___._H. v ::. Zm_. .:. zm_._Ou Z>.__z<s_ Zm:OU U E<_.._n__>>
mem mowom <U wj_: >.._w_m>mm mmvm XO_N On_ _zz<._ _._O._ >m<§
woman _.Z m_l_<n_Z<ZZd. D<O~.._ Km>_m NnN "__m_w_mv _._<wl_
._.wDE._. >.__2<"_
much mv___vn l_h_ wm:mmmm._ m_>< _‘_w_z<a_m m=m_. zmn_mzr_ n_ 2502 mm_wa__ma <_: z._. MNEH_D£ n_ Z<l__uz
m_._I. m_.mco ._.u. Zm><_._ ._.mw>> m.JZN>< l_._mmn_§¢u »_.m Zm._.._._. me¢ .F <_Z_Um_> mmO.m m ._.N_mml_<
o_.mv m_‘mom l__ Ow<u__._u m>< sz._.w>m_v_ z nunn zm._. ._._. GW_m<u_ Qn_._<z>mm Oy_mc.u_ m_Ow_<§
N_.N' mmmom l__ ._.zOE._.wN>> N>< ZO._..__E<: nNm O._On_ _. I._._n_:_...
v_.n~ _.ua _.m <0 <zmn_<._.._< m>c_ Oz_._O$. ._m draw zmn_._OU >m.>m_$._ < om..mcuo N_._. zwgow >m>m<_._ <
$NnN nNomm N< X_ZNOIL mn_ ._._m_._"um __5 mvoN D?_<mm_._ n_ ¢_D¢.n_
ago nmmmw mn_ m._l__>mUm_~_m >>>I mmO_._m<mm m_.Nm Zm.._. ._._. .._.mmu_bmm m U_.__Sn_D._ ._.w_mh_:m_m l_ <m<mm<m
moon mNNnN d.> szE_._U_m n_E EN>ODZ<> wN_~N wmou<_. m_._,._.m_.
§_. <zOO._.._< m_>< Z_>>Mm_._m vo_~m zw._. .E. mm._.__s_ v_ >._zm>m_m N_m._.___z 0 Z_>>n_m
__th 5 FNm <_ I<mDan_ n_z >>w_> njva m_...mN Mm._.OOEn_ G I.mzzm¥
mv.~._. nno._.o _..2 _._._.MO__S.__ZMV_ W>d. v_z<____>mz omh >E<m._ 5 xo_z._.<m
comm mmn»m <0 <Dmmm.n_ m ._.n_< ._.m m._l_.OOZ<>._S anne mz_._.__uu < _uw<_._u_m
mae Nnmmv _E mumm_z_z_uu >>m_>zm_mw__.u moon __2 <EU_._ Uzmm_>> dZ<n_ ._.mDO Gmmm_>> Z<m__._m
mwmm mmth 02 <ZE<> ><DOD“_ n_>._m m_zO._.w._.Uw>> Z umw ___ mz<v_ 1 Z_._O_.
mh._.m nvmoo l__ Omm>>mO Q<On_ ._.Em_mom_ _.N ~=. ._._mmm< l_ n_._<z._um
mwmm m F_L..e Z_ m_.j_>mz<>m w_n_ n_w_On_._<I Nnmv >v_m<¥ 0 >m_>z$\_
Nvmw mmvam .__ Uz_wz<._ m_>< mn_>._o cover Zm._. ._._. _v_wz_._D_zw 7_m__2.n_(0 _v_mz_._UEm § v_C_mmn_w~.._n_
um mmmmw v_m__v_>n?.._ umw mw_m>>Oa zz< w_O._
10 >w.._._<> _s__w ._.MDOQ Z$.¢m._OU mean 25"_05_ m v_u_w_._.<.n_
N_. muz<mh_ m_m<n_ w._.___z_._.z$ mn_ m=._m on _z_w_:._l_.:m <.._D<n_
._m ._.mw._$ <DZD._.DE mm Z<S,m._.xon_m m._.r <0 <___E.D wm<mU _. zm._<U ._.w_._u wm<m_w m.._>mw_n_z< ._O~_<O,.
._.3 >._._0 wv_<._ ._.._<w w ~._._.._.w w mmm_. ZW._. ._._.. Z_._.m_<_z 3 Z<_m_<<._ Z_._.I<<¢ >> Z<mn_
l__ zOz.rm mZS OU<msz_>> m _.vm ._.m=._UD_/_S :._.DN_ ._l_=.
S_J_U.._mm
NF w_._wwwb¢m o__._._. m_w_mzzOu:<»._ <._ m_n_ mDZm>< nw ._,.m__._G_.._Ou. n__><n_
l_“_ wm._m<U l_¢_EOO <N_NDG_._.Z< va n O>OZ l_ <>wz_.§_
vowN munn_m l__ v_m<n_ mezUw_m_>w ._.m I._.mm __> mwum IUD<Z<><U >w_<$_.
mmm_. nN_.o¢ l__ Z_G._N D<Oz DOO.__SN._DZ<U m._. _._. _v_w_,._<l_v__>> < I._..n._ZZm&
hamm me.mm <U O._.Zm_zdun_O<w ><__S m_._.Zu=.<u_ _L Zd.w mmnr ._l_¢_Z_.._UW _"_ <_z_U_"__>
_.owm cream l__ m._.__>Oms_Om m._UN_HO v__._._.¢.@:<m mmc Zm_._. ._._. >_._u.y.w=.._ m mms_<_. >v_mm_._§ m me.__m
oonmm zs_ m._.__>mzz_._m o :. _._z: N_D Zm.>$._Zm:m E_.._n_. ZOmn_m._.me m mm§<_.
§ mnovm <D xm<.n_ O._ZWE zn_ >._._Z_m._. mma_. v_OOU NEO >mM<U
_.th mdumm <>> IM_S_<EE<G ._.w _._._.mN mm monN n_l_Om_rmm < D._<van_
mnm_. m_.wmm <u w_>¢.n_ wm I._.m ,..wn 1302 0 mm_.mn_
ow...F thmm <_ ._L.___S mm ._¢m :._.m gm zm._. ._._. mwn_n_<O 0 EO._. zmmn_<O v_ <mI._.._<
mw_._. N_.muw n__z O_._um z.m._U w>< ml_<> moon zm_._. ._._»>>Omm<m >N_zm_._ ZO.»z<m l_D~.._<n_
._L_.a_. mNn_nm l__ >>m_>zm._w ._.N_DOO m=.un__m_ N_ms_s_< _.hm_. »oN ZmNZ_m_._ n_ mU_._¢. >m<s_
_.E__. oman .__ ._.mw_:_.__z.._m _.wm_zu._l_=._ eve zm_._. ._._. LmOn_mmm._.z=._ m <~_<mm<m um_unw¢mc.z_r z_._Ow
mmmm mmNmm N< m\_<nw._l_.DUw ~_D m_._nvz<._m m_ nmma_. ____>O._mw_m.__> >m~?.m
crow ammnn l_n_ ._<mOU mm<u ~n_m._r I._.nw mm wo_.w zOQZOo m me.__._._.<v_
nor n_.nom l__ mmz_<._m mmn_ N_m_._._.<m_._ cm:. _v_m__$me<EO._. v_Z<_"_m
<n_ <5_5
tamm l_n_ ._.mm>> <n_zO._.Oz mm z<§w._.moaw m_._.__ mm<mm_ zOm_mm_._n_ 92 _mOu ._¢mm._u mw<mO w>>mmoz< ._ON<U
_....m § >Z n_._O_._._.:Om mo mJO_zO 05 mmmm_n_z< w_Zm_n_
on_.m mm_.ow l__ ._.mm_.=.__z,_m zmw=._m Z<> m an Zm.._. ._._. Z<>_._.__\_w _.<._me_O._ 2<>_._1__3m z w_zzmn
wNm~ nnowm >._5 wz_._mm_._>> ._ln_mw_._.w z_<_a eom_. .,vz_ >Z<n__aou UZCL.DZ mI_.
mNhn _.N_:_.n Z._. <UOOZ<._L.<_._G hon ._.L< Q<Om_ mez_<mm ._.w<m ¥..mo zOmDD_._ m ._.mm<OE<s_
._.wmw_On_ w_m>_w_ w.>< ._.mm_mOu ._\n_._. Zm._. ._._. OUU<m<m 0 .__<U OOU¢N_<w > §<_._.____5
mz:mz<amo wm >mozu_: ES.. >> § z >~_<mz 0 n__._=.E
v_w_O> _sz ._.w wm w nev mx._.<Z zz<O_.
<nzou:<_s .__<E. mwn_m z<Ez_ § rwo_.z_us_ ¢_.5_.
wm\__z gone XDm Dn_ Zm._. ._._. .F_.mw_m<m _. mz_w_.mI._.<U ._l_.m_~_w_<m v_ Z:G__.
Z>><._ v_¢_C m>¢. sz<s_ m mNmm <n__._m u zw._U
<¥._.m_zz_>> .__.mm_m._.m m<mwu man mmm>s_ ._. >u_._._
OU<U_IU n__Z<.__>>mZ w Nmmm § <WEQZ¢,
l__ mUn__szZ ._<n_O nwhv Zw._. ._._. _v_ww_<_._u_.._v_ <._:ww_: v_me<._h_ w m_zmw_._m
S~» 953 .__ Qoo_s:c_.._ § oz m><._§`_.zmo _._.Eoz § _zozws_ _. zw.m_.G
h#mn Nnaw l= Z>>>mmm N.>< N._n_<_§_ Nmmn mfg 4 mms_<_.
rn._.n mvmnn ._m N_.:._ m_z<._ ¢_.mm_mD...._ mm>.__m moon m_On_z_u<_z < .__<O
__va mmmom .__ OU<u_IO N_O._._ZO_Z Z mmNN _._Qw__.__._um._.=.$> m__Z<In_m._.w
mNmN wong ._.0 >N_me_m._.<>> n_N_ mv_<._ l_w_<m.“_ .v_.m zm._. ._._. O_UU<E ._. >UZ<.Z D_UU<$. m v_Z<zn_
mmvm ovnné _.Z ZD._.m_UZ_In_ zn_ DOD>>KDD ._.w v_¢<<.__mz 0 I._._OW
unum m _.amh X._. ZO.FUZ_._E< n_>._m N_m_¥UD._. >> name mmv_<m >> mm=>_<_.
Fm»N_ manor >Z m._<n_mm_<Uw mm ._.mDo. man m_&D_..._ l_m:Z<n_

 

 

 

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wz_jn.m 0 5_<5.____5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

33 moan _§ zommm_n_ noo>>s_._m _.me
._._.ov oram_. <n_ ._.zD_z.n._mOz mz<._ >m_Ov_u=._ _._._. ._.Zm_ zw_. meO_z ¢_ Z<m_. mEOOs_ __S mozm~=<_<._
§§ w§. :. >.z m_._._o: wu<._m I.EE. __.N am wmzm._wxu _Smmnz¢.
._.m:¢._. GZ_>_._
._.va m:.oa ho ._._m>>_zomu mz<._ amome m _z_u:“_ < <wmmm._. m_.:. _.E_Q»o <: E. _z_u_._»_ p_ wms_<__. _z_u:p_ < <wmmm._.
__th _w~nn z._. >._._0 20_2: .B<_szn_._.m mwwm >mu_ ._ _.
mem |Hmmm_|.=_ oo<u_ro m.¢@m<>> 93 zm._. .:. _nz<z mz_n._<mm_w _n."_<z oz_._mm
fmc mES 5 n._m__h=._u:._ l_.__::J.“_.md§ :¢. xom on_ m:<_._.__>> o w§_o_._._.
wmv_. omN”N 92 ZOm>>O._. D~.__ Z<EM.FZ_._I com ~_m._._O._.m <._.w$o z_\_O_.
§§ mecom 40 mm._mUZ< wO._ mv mm_._. hub ._._m__>w<v .F w<EOE
35 :.Em <o I._.mo§m._.<_._u m_u .rm._._<> >>Oo<_._w annum ._mwm<u m mm_._m
ava mm _._. w as_ j<_._ >mzma warn z>.=._u_m :mm xz<m»_ > mwmomw
...:.F Fmonw __S w¢_._<m meOEOZm_z ma u_zm_um mmnum>> omz hzmv_ m._<n_
:m~ !S“ on 20._.02_.._¢.<>> __S z ._.m mEOG<E _.:m emma _._ s_¢._._.____s
32 5va 05 w_._nE<zz< mz<._ zon:o._ v Nm<>>_._ow zo> rawwo`. zro`_
_.m _.m 3th l__ n_._m_h_OZEn_w Z._ 0_200 mm_. mw._=._ ._ mu>O_.
wmom m _.c*m .5 zO._.Z_._Q Z comm >> amf mE<_._._=S._.zmv_ >n_z<m
m._.a,.._ _.§Nm l__ n_._m__n_OZ_~u.n_m Z._ .__m~_v_uou omhn zm.___._ _2 >n_..=,
m:.w Fm_.nm l__ v_m<n_ z_._v_z<mn_ zm_OI._.>><I Z eve IUWN n_ _._._.mZZm_v_
mwmw hmmnm ,__ Ow<u_xu mr: »wma_w>_n_ _S own w<<_._ _. >m._z=._m
hmo_. oho$. IO n_m._.ms_.HO _.r_.w_OZ mo ._.Zmuz_> anew v_<n_Nw _. Om<>>n_m__
wuwo §on .__ ZD._.._< PM<W_ umw xOm On_ Km._wz<n_ ._>E<D
n _.m_. __.E....m <u >m._mzmmm <n_ws_<._< m_.c. mmp >v_m._P_. u_mn_mzu_
n._.,.._. 5me zs_ ._B<L ._.z_<w oom_` N._.w m ._.m _._._.m m_ >m_._v_m<§ a __wa
worn owmmv z_ >><mm<>> zomzm._.m..._ ._ >xxm._.
mv_; mo_ 5 40 <zmn<m<a sz._mz mu>mm
w#Nv wov._.v Z_ zO._.Uz_s_OO¢_m m>_m_D n_<m._.wms_OI mm#n_ Zm_. .R. w<KDU<l_<m 22<_n_ Z<m.q. w<m:w<._<m _. w<\_OIQ__/_
93 momow .__ Ow¢.o_r_o 32 »m< m>< z<w_:o_s_ w on!_ zmw.__mz _2 n__muz_
E.N_. wmmmm N< <._._Qsz ___wa XOm Om Dm<>>OI .n._ me_xb<¥
33 more 2_ D._mEz_<._a. m>_mn l_._=._ v_<O F_.m... N._.<._ ._m<:u_z s_>>
53 mNEm l__ ._.mm_.=._s_._m zm..nz<ro 3m zm_.?.m .._ <_u_m._.<n_
amax IO_ m_._.__>mg_m z >¢.__S >z:zn_ mmvm Zm_.r._._. _n_mde<U _. zz<O_. _D~.._<_._U<U < n_ZOs_><-n_
mn_.n 323 :M_ ._._m_smm wz<_ >>O._._o_._ xo“_ ...m zom:u<_. _. n._Om<_._
unhm Nmmna .__ m._w_._ 040.¢ >m_¢__._D! nom mmZ_I ZZ<
_KEW._ ._H m._.__>mmoz z_<: w non zw._. ._._. ._.zw"_zmzzmr w._._wz<_. ._.zmmzmzzw: mwmomw
§§ _lmw_. >Z z_n_Z<._ zO._.._Om n_w_ wn_OO_.$ >w._._<> mom <v_mme._. .._ mmn__Z_/_m_¢
53 BE; >z <_zo>_._ ._.m z_<s_ mm mn_<m: >mz mEzz<
mwmm mvwnn ._n_ ru<wm ><m._mn_ m>_an_ ¢_uzm._<> anew ma€rum. mz>._w_<_\_u
§ § ~E...... x._. zo._.w:o_._ v_¢<n_m<_mm 32 zm._. ._._.._.mo>mmnz<> s_. mzz§:w ._.mo>mmnz<> < az§>n_w.
BNN 903 <o. zo._.w_.»_m ._.mw_s ._.m z_._:z<mh_ ...N~ ._mv=..__._m zon._m:m n__._.__:m
moon ocean <> zo\_.a:<: m>_mn_ <_I._.z>o ¢NF zm._. ._._. zmomz<w m m._l_.mco zmomz<w "_ .,_D<n_
m Gow l__ W.,ON_B mme>>On_ m_._zm><._.._.m.n.xuo._m moen zm._. ._._. mm._.__s_ ._ m._._w:u__z xm._..__$. __ z:U_.
nn _.m mwoo.~. <._ mu<._m .¢1_ ._.m m_Z_,_< mha ._.Zm_EW._Q v u_w_m
m_.on mdon <u <._.m_> m_.om xOm Oa ._.mb¢._.>.__s_<m !u_~t.m_._ wooNBoEF <D z._. v_O_m_hm: ._. mz_.=._<u v_o_m_._.m_._ w ._.w_mmom
wmwN aw_.hm Ez mDGEmDGBm._< m._.>>Z <Z_._ D._.z<w avco zm._¢ ._.1 mwOm “_ mu_m_._<§. mwOm _z 0_.
penn form l__ <_N_Om_n_ ._.U ._.=I>Omm n_.mv zw._. ._._. w<s_Or._. ." >w_<§_mmom w<EO_._._. < nm<>>om
mmpa mE..Nm <U <2< <._.Z<m m>< ._.zOEN__d."_ Z mgm Ummmz<>>.w n__><n_
n _.mn hanna .__ mu<._.=> m_>Om_Uv_._W* mz<._. hmwmm__z_uw he F_. zm._¢ ._.1 Zm._._< >N_me_w._l_.< w<EO_.F ZW_._< n__JO,_uUE §
::N r..oE l__ m._._<"_v_uom mo ._.mwz_._m 83 ~._m_v_omo _. om<_._o_m
emma woman <> w>>mz ._.mOn_>>m_Z ma n_z<._n_OO_S o_._. M_. DDO._. m mwwm_.
m r.._. mean .__ ._.._.m._._.m<m ma mv_<_u mw._._"_<zu mmr zm._. ._.1>._.m_m_._0n_ < >m_<s_ thng m v_u<_.
mann nn _.3. 10 ZO\_.._<>O~.._ Z mz<._ ZOm_n_<E mmvm ZIOv_ mm_v_._<._$ wm_zw<
:Nn _.Nv~m <u OUm_n z<w <mmm%.._ow ¢._> m._.? mmm>_z _._._.E"_Eu ._ Em._. 90 :._._"_"=mu ._ _zm:.
_.anv NNmmw <n_ n_m_O.._n_mm 03~ xOm 0..._ ._.m <Z<_._D_. m v_.F >w.__w¢ § m
§§ 5th |u<u o_m<.,zo m>< zozm._ w 23 z:.z_._._<§ wmz<_,
_.nmN woman <..._s_<._. m ma m_._._mzmm v_.N zowzm_rn.w._.w ._. ._m<ro_s_
____.hn nNmow v_ODmm v_<O n_OO._ DOO>>¢<_~_m ncr Zm._.._._. wcs_<~_m m z_._O_. m<_a<m@ <_O_M._.<n_.
N§F omEm n_._m__“_z_>> ._.0 wm¢_ mnuwn_ Zm._. ._._. z<OO_._ v_ ZZ( O_. Z<QO_._ < m_zzmn_
N_.w_. mvomv_ _s_ a_:wz>>O._. ZOwE~._<_._ mm_._um< m mm¢_mm zm._. ._._. z<E_mD_mZ 1 S_m_._w z<s_._wn__mz m l_u$._u_____
N...NN mmot.. X._. ZO._.wbD_._ room ._.n_< mn_ n_z<._mwhmw>> wom.N zO._ln_._n_n___z : n_mmn_.____$
23 E...dm .._H zw_m<a am wl_._=._ zoozmm<._u Nmm zm._. ._._. z<_z.r._ <w<."_z... z<s_>._ o .Emm.vz
mm..¥ mr_.nm v_S ZDW_D<E w>< ._._<QZS.._ w _.Nm zmmmw_n_z¢ 0 ._.w_mmOm
NN_.N bpan .__ m_v_Ov_m m_s_<m<._ vomm zm_._.._._. mZOu m mzm_._w_¢.n_ szo m Q._<sz_
once cocoa N_. ED_G._m_m w._m_ww:w_m uh:. m w_mm_ZZOUJ<n_ <._m_n_ mDZm>< n._. .__m:U:Ou n__><n_
Sm._. Nv»ow .__ >m._._.z:_._ ma mmomn_.=>> _N..._._` z_.=._w_._n_._ P rumwo_.
EE _.mm:. >z xo<mm erwqu mo om<>v_u<._.m mv mm.._wm:um ._. >x<m_
wan »~Rn ._"_ <.,._s_<._. am >mm<u n~_.m zm._. ._._. I._._s_w > :m._<m :._.st $_._._wm
me amomh x._. ._L.m.§>cz m>_zn mmc:w._.mm>> 33 Nmn_zmzms_ ._m<m<m
awmnm 00 _"_W>Zm_n_ >>>v_n_ m>< I._..~._. m mnmv mOm:_> __ m<_zor._.
mmw_. ._.w_. wm n_E m._..____z muz=$O m_>_w_n_ Emzx._b(n_ v_. FN_. z_m._.wz_w__$ U nm<__$OI
._._.3~ az vi ._.m< n>._m )u¢doos_mo 32 mm._.wm:mv_ z<s_moz
503 12 mn_ >>Ommn_ o <ms_m_N u.._m_. _z._.._.< n.__.~wam_z._.z€a < aDOw_G v_cOO<m_n.
mwmn muoam .__ m._._._u_m: zo._.uz_._m<_ mn Zm><: _S ZN_. zm_. .E. _0030~_5¢ s_ <m_._ .oojum<s_ _. ._.mmmom
omni >z 2>._v_00mm_ ._.m >0_.._50 mm mammz~_w_.m >_.BO£_._.

 

 

 

 

 

 

 

 

 

 

 

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§§ EE_._ __ m_$_wn wm Sz_.mm:u 32 z_z¢ma _. n_><n
._H ow<u_:u 5 m:<n< ._.mm>> N- Emn mmomm o._._ ou a m_<._m 05 zm._. h_ zzm:¢. .__ z>m<v_ zmm:< m m<s_o:._.

_._o mo_.zms_ oz<>m._:om mm>.__._u 32 zmzo<zm _.va_

.__ m._<nmz_: 9..... xom on_ m.Ewmom < s_$._._=s

zH zm._<w ._.m >mmmm.__._: >> mem zE. .a. E._:"_ < z>._om<u N.S:h_ o z<>~_

¢.u wm._mwz< wo._ mm._. zo_.uz_>m_ :. § mmuz__mm.__._ow <_.__omo

.E zopzm_o<zm mm mmnz:n 25 .E:E. >._EE ._._=5 ma._...:mo <__._ E ._._=s < .Em<m~_<z ._.___s m _d;>

_.z mwn_m §§ ma amo“_“__._o mm >n<o mz<_n z._._.< >n<u _.:.mm§_._m

>z §§ mo>: _smz ._.mmm._.w r._.:os_>._n_ mm zm._. ._._.<mo_._< _mo._ <mo_._¢ uv__:

32 §§ 25 <:m<m§> z._ o:.m_._m :N_ zm._.__.r_ n om§o&
mow~`. m< xoom m._._.:._ ...w mm.:£ z -: wmmm._§> __ ._m<ro__z

§§ B._B § m_._.__>zo._._smz oz ooo>>x<o : 52 §E._ _.__._x Em_m<._.w:o ::z <._._=s

§ 336 40 9szqu go _:._zoos_ h_. wixom _. >_._._.<u
2 § §§ 40 ru<mm ozo._ m>< szmow_._<u 35 ._._<._ x _sm_.__r_.<z
Em... §§ >z v_zo> _smz m xo_ _.m E _.s ms zow____s o mmrn_o_.w_mzo
mm$ woman oz muz_m% zm>.__w ><>> whmm<om<z _.m ~_._..E. oz_wom x mm._m.s._u
_~b. §§ § z>>owmm._>on m>_ma d_:_.m<m § zos__w ..s vE<_z
:Z gunn oz :w_w._<m .E nm>m 53 _= mwv_z<n_ ___ nmm“_

_.m_._E. Hm¢uo>mm
33 639 10 sz<>._>m uz_mmomu vm_mzu .qum w z__somm m n._<zoz 333 <: E z__somm 0 ._._.Ezoz
usa 233 <o mm_.wz_s:.mw>> .E ._.mmzms_om mon hm< ._m_z<n
535
325 ¢0 mozmmmop ozm¢mm ._w <_> 33 @z_>_._ ».___z<"_ zm"_<_._m 3._@_.= _ ca m._. mm“_<:w zz< E._Q:_. zm“_<:w m .Ewmoz
39 m 53 .__ a._m_"_mmmn v- ._._z: nm zm_._m.m_x Nmm w_sm_.:.»<z __ <:E¢E
55 §§ ._"_ <.Em<m<m __.u x<o mm:m m §§ zw._::_ xom s <zzom xo"_ w z_>._mz
S§m_|mz zo_m._< .G nz~ x.Sow 32 zowz_v__.< < wm:<_.
_.w:E. m_m<oo>wm
S__.B N< zoum:.r mnmm> <_._u< md<u z §§ oz_._o.r mza__ _z 352 E uz:o> mz_._“. z
22 253 .___ noo__s_._m_: w>< z<n_mm_._w ._.- zm= t_ ._m:.mm__s mumowc <~zuu<__.._ 555
23 3~: >z z...._v_oomm M~SI xom on_ mzo~__u<._.._<u z<_m<:
E: §§ 02 w__._o_ ._.m ><_s >_n=._m:<m NB mmmmm m .Emmom
n__:mmmz_.m<¢
nut 5 § l__ §§ <._.__> m><<d_> :.Eoz 93 < mmmz_.m$_ z_<w
mn._.~ 653 l__ <_>E.<m ...m ...m_._oo,_ 3a _,m:. .c._ ..:.=._w a a._<zom _.E_zw < Emm<~_._m
22 m Eu_.. l__ >¢u mmwz__son m>< ow<o_ro 63 zm._. .:_ §_wo < <._ms_<n_ mm $__mo m .m_<ro_s_
3~$ :o :.<zz_uz_u z n>._m ._._=._ mm_.:.<m: §§ mzzom z >__m_.F_.<s_
.EDE.

_E~__. 225 02 mmm._.mm ._.z_<m mo mm_so.§._mm ~...o~ >._wm<x z mz_oz§"_ §:.S § E_ >._wm$_ z mz_uz<mh_
mg 5 § l__ zo._.<m_§ mo mzo___mn<._u mE~ onm<:<u q _..§_ommn
33 §§ x._. zomnm<:u_m m>_mn §me w§<z_,._ ._s Bo~ mm.:_: l_ m._._m_. om_s_
55 N~»B 12 zo»uz_zm_._m am hime >m._m<m u_. r.:s_w m mu_,_mmm
§~ 235 _.o >m:mE:om am z__so.m_.=.._.mz §§ zm.r.:_ zo.__m._nn_z _._ <_z_sz m__ zo.m_._na_: m z:o_.
23 m~mS .m_ muz<mw <._ m_._zm>< r._.x_m E.:ow .~,:. l__ <:5 mz><n_ _. mm_.,_<_. 53 mz><m m z:o_.
32 §§ § >._._u m._.m_><"i__ am _s.o<z 63 m<_._ m mm:_.__o._.m_m:o

E. >_._

22 § § .__ _z<mm._.m ._om<o <_._._.<>>5_._ ._H_.. ._._.ozzuE_ zm._mm Bmmnz¢. wzm~.ao <_._ E. guzon s_ zm:m_._ t.ozxo__.:. z _.smzez<

.E:E. mw_._o»m._"_
m§~ 2._.$ <o >.:u mdva m>< oz<.=soz 33 ___ <monomE QQ_~:S <_._ E. mw_._u._.m._"_ : <monom_.¢
32 ._EE <_ mm:< am noo_szwmmw §§ mmzm_m n mm._m<:u
o:: §§ .__ m..$_ mo wm E_. z SR .__ <:.5 :u<oz .._ zro_. .E:o :u<oz __ zo.E<
._._._.: §§ .__ mn_wmm>_m z._ ma._u »m§:ou §§ zm._. t. §m:ov_ < mwmmm:._. :_m_._ov_ _. m§_o_¢
32 363 ._H z_m__mnz:§ nm >mov_u_: z em$~ mmm<row mmmo_.
33 258 ._H wmz_<._“_ mma mo ozmm m_m 52 zm._. _._.._.__.Hom:n_ m _._m<.__§ __._:om_._m z Eu._m<mm
83 mmmmm 02 mw:<_. .~m mm noo§:um_._m .F.F zmmzm_. _z Nmz_

E.m:E.
32 ¢~m_».._ _._o zzomm_<m m._um_u won_m wwz§ Q,.E. A_:oz.r "_ _.Bmzzm_v_ mm_.._. :_E <_._ E. maoE. "_ Emzzmz

._.w:E. >.__s_<"_
-¥ mm § <o emma z<m mE.m_._E< md<u Bm__._ z<u$_ m §j_>> 3.¢~._5 <_._ E_ z<w$_ w E<_._.__>>
m~m: 3 § <n_ <__._n_._mo<.__:n_ .B z_<n:<z 32 zw._. _._. m_mmo_z w m._oo_z m_mzos_ <§mzo
35 NS$ _s_ >mmmn_ mo w._._=._ z>.m_<m 3-. zm___ :. xu<m._mmw<_._ m >no._ws_ zo<m._mmw<r l_ zo_mm_ammu_
on § §§ x._. oom_._< mo m_.z_on_ oam._< 2: x._. <203 ><a m <_mo_E_> 530 m__ >§_ z ._s._
33 286 .H_ mv_<._ ._E.m>mu ma >§>m_<m :E. m._zo>m z<> mm._
nunn _x=..m <o mzmzm__i Eon_ mo ma_m.._m:w w ~§ mz§m < .ct.omon
82 E__.E .__ ._<:moz .rm>o_._ __s B~_ zm:. .:. N._.._om m zm_m._._ou NF._o_._ m _m_<ru_s_
§§ §§ ro m._.__>zm_mmc m>_mn w._m_v_o_._m 32 zm.r _._, zmmmc __ §$._<._. zwwmw __ mmwm=
§§ 232 >z zmo>>>mz § mo mo_wmm_>_x m: ._.<._“_ w n__><o
w_.mm n,_.mmv z_ 2101._.2__¢5 M<~Om_m_s_m ZIO__
uaw 368 l__ ou<u_ru 32 _S>v_m zo...mm._._:“_ mg mma<m zzo_. mm._m<xo
Em~ -m:. >z mmpwmroom mm mm>._:u wm~m <m:s_ m .__._<n_
53 §§ <u mEu_m: <nzm_u<_._ n<om zo>z<u ,___:mzz:_. 33 0230> mmaz<xw,_¢.
...E_. EEm l__ noo__s:<mm.E z._ _so._._o_._ mmv_<:o 32 zm._. ._.... uz_:._ <mmmm_._._. cz=._._ __ .Emmom
23 ._.EB l__ :u_m:N mv_<._ mz§ wmwwoom §§ zm:. ._._. nz<om=s ._ w_mm§.> nz<w_m§ m :Ezzmx
33 §§ .__ gsame w>< _.E.F §§ m_z<..._ ._m<_._u_s_ >
~mw__ mun*m dam Zm_m_mU m_u mmD:m w __m._._. mm>mmu_m._ n_ ZIO_.
m § §§ mozm_mo._u_ am mmz_m ._._E. 2.=._ mowmzw 92 u __._.mzz<m

 

 

 

 

 

 

 

 

 

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._.mDm._.

 

 

 

 

 

 

  

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§§ __me __s <woov_mz >§> moz_v_ 95 ._mn_.__w n zxo__ ~E_EE <3 z._. _m¢a_w n zmo__
33 ___§B <_ Ew___w._z__s n<o.n_ mm>>o_. v_m<,_o §§ 520 l_ zozzm___w
mva ___Sm .__ zo.rmz<>m m>< z<____zwmm §§ m¢ ._..u_< ._.m_._m_._w mu_._<
33 334 _._o omomuz_mn_m am m._.z_ou_ w>_.._ m,_._.>.. _s ______ zm_._. _.__ zmm_zo_._._ : <Iml__ zmmzo_.___ _._ z<w_._w
m._.mm mmvm_. IO zOh><u mz<._ >m._.__<> ._.Dz.?.>> ou:_ zm.r ._._. mm>w___=._._.:m _. Dm<zzmm mm>m:r._bm ..._ zz< >m$z
mm._:m no._ <._m
_.§__ E §.. <0 _._.Eo_so< mo __>on_<m_z wz_mn_w §§ op ._.om_B:w zowz_v_.=_s z >m_m<u 30._. mmmaz<w m _._n_._<m
22 Nmn_._ >z zom_z m._._.:_ mu<._n_ _.m_§ § 3 zw_. .__. _.__:w w zmm__m _.__:m zm._ _m:v_
mm § l__ 00<0__._0 __mm_s 3m m_._¢_._.___.s E~ z_ m_m<m ___&wo__
_G~__. 252 <n_ mo_mzw._u nm mm._n_z<_._u 33 zm._:_.__ z_m._V_ ._ ._m_<:u_____ mm._ ms__<.r ____._ 3>
-§ 253 l__ m._.__>>.__mmm_._ m>_mo H_m_>mmoom 3m mm >mzo._§_ ~_ z_._.m<____
.E_._m._
mwn_m mm___m an zo>mn § zS.__o_. m quom B.__s_m__ <3 § z<s_o_. m n._<zom
zom._.mmm._< __:. .__z_._ w>< m_._.___s 33 z<m¢:u m z<w__
o._zms_§_u<w .5 :om_m<u 38 zmom._m_v_ m m_<mu_
omo%_oom mn m__._>._ m_._,_o §_~___ _v_w_sw.._m<~w mzm_._m<n
mz__.<._<m z_._ w_zmo___ m _N__ zm._ ._._. mm_zz__w <m<mz<m zmzz__w q zm>m:.m
._.m_._E. 02_>_._
w>ozw mmmz_sou Emm._m N~_w_u _§n NE____."__,_ ___ ._om<u 555 <_._ mp E.msm_z _._ ._om<u
m>ozu mmmz__son ._w Nmm__w _§n N._mzmz m >02<2.
._.~_o,_x__._"_oz _.m<m z._ mo:zm __ zm_. ._._. zowh_._o__> .__<w zomm._o.._> >m._z<_.m
<_mnz<xm_¢ § .:z: m>< zowm___._<_. §§ _._on_<z __ mmz<_.
o._w_n__._:s_w mo zm._._m _mo._ v zw.__ _._. m§<,_u < 535 ____ mv__m<._u ___ _._<_.3__<.
l_._s._ >mmm»_ m>_ma z>._xo_¢ tmm v_z<E > mmmomm
>m._z¢m_¢ _.._<om manznom _______ munoz m_o._
Sm_zm._ .__m nsz _____ __m.§_ zm__. _____ _._.5_.__._03_~_ >.Emm_____v_ E._._z_._u_m~._ z_>mx
noo_s>.__o_._ z m>< >E.zmu §§ zommmazux __.."_."_mom
oz<_s<_._m gm xom on_ zm._ ._._. mmnm__ l_ <Eo._u zm“_mv_ a >~_m<_._
xozm._ ___.m_z 3~ xom mm_m_:x w_zzm_o
n_"__._._m ux<._ m>< hom__woz“_ m m :. ._¢.<30 m_zz< mmm_zzm__.
<z_._<m am >m__mo~_ __ ___ mm.__s<._ ___ s_<__.____>
<_._._<a <._ m._oa_u ..._z_n 9mm zm_,_ § z§_§ nassau z§___o <nz<._o>
w>o~_c zo_.mo_z ._.m zo._uz__._m<_s ..s 53 >v_w._m_._um ____ EL."EQ._
zowo_._._ m>_zo zo_.z_._<._.m _.__.30m §m m.____s < mz:.m_m_._u
zo.E__._.:_ ._n_ <,_.__._woo m 33 zm._ ._._. zm._._:____ zz< <_o_z.__<..._ zm._.__._____ _. _z<_._.___s
zo._zmo$_m ._.wm_s m>< ._.._ § 53 .m_<_._u_: m Som<z
535 wz_>:
m.:_>m__._o._ w>< mz___m .~.$ mmnmom:ow _.._ z:o__ B.__§_B <3 m._ mmomom_._om n z_._o=
noo_sz._ouz_._ mazw>< >_.___o._ __N:. zm._. _._. <N¢_____ >m<_____ <~z____ ._m___:<m
ru<mm n._w_m~m_m_a ><__s mn_mwv_<._ 00 05 wmzo_. 252sz __sm_m_.._
mn_n_<m m<nmu m_z zw.__ nz<zom,_ 23 muz<_"_"_ _s wm_:<=
m"_ <._z<m .__w z_<___ m § mz¢>m l_ _____v_
n__:wz__so_. zow_mz<_._ mz_n_z<._ >_._u_._E __ §§ z<_._.__._om m mmuz<E
wcz_~_n_m oo<mo._ou N§ ._.,_< m_o ._<zoc.<zmm._z_ §§ zm._ .__. zm_vE< ____ z>._m>m zmx.:< o 2<_._.____>
w___: zonzmm<._u __.w ._._m_soa 3m mwz_zzm_. w 555
02 <_E_._
zou.____> _sz ~_n m><.n_u.__,_w §§ m<zo___. mm._oou _.mmm._< l530 x__ w<zo_._._ m .Em_m._<
nz<.__._w_: mz<._ z<o m_._:__> §§ _v_m>>on§ ._ z>z¢_u
§§ mm_.z__<_ § .E< ._.0 mm_so._“_><_,_ §§ gm<_so_._ “_ m_t.o_m<_._o
x_zmo:a ._n_ ___.H m §§ wmzn__._x o a_><o
0~_3mm_>>m._ .E w_,__»_ ______ zm_. _._. m_zz.“_n __ >_._._<0 m_zzm_a m jmmw:~_
§ ____ ~_ E.n_ _.m_._m,r .E,__
§§ __wa .__ z_m_._waz_._s_ _mm>n ._m<_._o_____ z._.__.< am zowz<._< ..._§__ z<._n_ zo_wzm___ mw<_._uz:n_ >mzo_.__ mm_wo._oz:um._ 0_mm._.<Ew
~§_ §§ <0 m>o~_o zmom<o _.m _.m>__._.m____< § § ._.m_._E. wzm_._._<> m_._..r 3__~:~_ <3 E. mzm._._<> zoo
35 man N< zow_u_.__. mo m____._<..._ zm>ww m 33 zw__. ._._. <_._0<._¢: >_.Fomoo <_._0<._§_ w z__sn_m
l_.w_.="__. m._m<oo>mm."__
33 302 l__ 00<0__._0 5 m._._<w 5 z 933 wz_v__<o m mwom ..m_m___S E mz_v_._<u __ nz<>>nm
____$ ..§m l__ 00<0__._0 ._.m w._._<m 5 z __m_= mz_v_._<u __ am<__>gm
~_=...._ -_ § as <zmn<w<n_ m>_m_._ _.mmz:m 35 um>o_._o<___¢ >mm<._
§§ 282 <w zmxc____. §§ xom on_ mz_v_n_o: _s m<._03oa
__§. 203 ._“_ v_m_mmo ._.__zouou wmme :.:6 _.sz 35 _uo__._..__m 3 $_wm<____
§§ §§ v_o <,_._<>>m_z >._mm_mn_ _E._ow 53 ._._._w_m.E_._ou m z__oq
._.m:a__. m._m<uo>mz
33 ~E$ _._o <>o._ozo____ mm ___._._ow §§ zow¢mnz< n_ ._m<u ____§.._._ <__._ E zommmnz< ___ ._m<u
§§ m$.o@ l__ m._m_n_z_<._n_ z_o mmmoozm._u §§ zm._:_.__ ._._<__ < >._zmms__v_ .3<_._ __ zw_.m__m
~Bn 380 l__ m.___._u_m_._ zo.__oz_._z< z._ mmn__z_.__. §§ zmmmou<_. u <z<mm<m
33 N___.E l__ _._.50_._20____ m>< 5~__"_ _.m<m o§ am._.§m n :5§
§§ -Em .__ moo_zwmo._h_ m>< mmzz:m 33 w¢m<x ____ mz<_o
_.NE 23a mz >._._0 o_><n § xom on_ m_, w>$_umsz m m<_.__o_¢
§§ SE_ >z zown:r 20 moz____m<: m>< Eos_m_<"_ 3 z<s_n__n wE_
92 § § ___s <_._mozmv_ w>< _________ 32 zmmv_u_am_om__,.__,_ z v_m<s_
E~n ___ § l__ v_m<n_ <._.__> ._.m momzo_z m m zm._. ._._. mmv_o._.m m <zam> m<_,_~o$_ 0 _.Ewwo_,
§§ :___= mn_ v_z<_<m_z nw mz_wu_: 2 _.._._3..._ o__ >zE_

 

 

 

 

 

 

 

 

 

 

 

 

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J¢BMDm UZ__._wm wm=a_.r<._ 05

 

 

zm_ZU<E xm<§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

33 §§ § w.K< _§>z<=. :..l.
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395 _,z am zozzm> .Fz:o: - >:n_m:s_ m z<mn
33 o §§ <o m>< moz<zo QB~_ zm_zm<z _. nm<zmw
Nmm¢ Nmmmv § >>m_>zmmzm_ mmnm =_._ <_aw: Ommm_>> <z<n_ ._.w:o Ommm_>> Z<m_._m
BNE. K_. ._.m .zozx oz_uzm :B_ w<z<m _. §§
E._.N §§ >z mz<._ munmm h zow"_._o..s >m._z<.$
32 §§ ._.o am >m<o 2 amwm <._mm<um§
55 253 <_ zoE<_ m>< .__<:o 22 zz>._n_ s_ z>.__m<:
hon EE~ oz omomwzwwmw m>_mn <n§u ._.._.$. >m.Ez<._.m w >mm§
¢~»_. __._..B_. <n_ m_mw Emm._.m _._._.3 ._.w<m n 5 <v_ommw s_ _.Hmwo_.
§§ .:._ »._._o mx<._ ._.._<w 5 r.Sow r._."__m m 3m om<za<m z z<_mm
.L.S.,.. §§ l__ ow<o__._o m:zm>< n.m__mm_<.._ z mem zm:. § z_._:u_._<._uz m 563 z::w:<._u_z < m<._u:on
53 303 <w r._.:.§o >>z ma .:_: mp¢w:»_._ow 59 mwzmw_>> .Emmom
m._._H>zo.Eo am morwmwmo_._ 33 __2 <:.5 ._mmm$_u n. zammo_. ._.m_._u mmwz=._<._ Em<um§_
z>>ohz_v_zm_. >> E... l§..=._ m>< .Em_s E: wm_:w<s_ o zo_mwamzm
xm<n_ moz<m.u 5 aqua n<m_.mm:c: Em zmmmu s_ mmrn_o.,w&:o
zohmz_zoo._m w>En u_zmw 33 mzo._ zowzmpm_~_ro mou<_,
zo.rmz_zoo._m m>_mn_ u_zmow §§ mzo._ <uommmm mz_z$:.<v_
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>z<..._zoo
nz§:w=._ n>._m w:on_<z<_oz_ 25 moz<z_._mz_ mm_._ .E<oo
ow<u_:u m_._._.w<u>>wz z 93 __ w_mmn=w w wio_._o_z
ou<u_:u m>< .Eo:mm<..o z 33 z~.:. ._._. z_.=.m_~ z>._._w mesz z_.=.m_~ n__._=._n_L
>wzo_m umw xom o n_ ..m zo`_.uz_:w§> oz iv mmv.o:mm m=___z
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<z_>ou m>< z<s_d §§ an_o,_ "_ mz_<mmo._
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ouzo_.z< z<m ._._ozv_ oz_ozm §§ zE. ._._. m<_z<m m xz<m"_ m<:<w l_ >Eozon
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az§._or _.smz 5 n<omm >> _F._. ._.z:o._m o m<._u_._oo
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35 353 l__ ml_.__>mmm<z w._o~__o zo.F._oo §§ zor<m<._omn amaz: §§ E. _z§n_>m m szzmz
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.G:E. m._m<oo>mm
§§ _2 u<_u<>>on 22 xom on_ E.<mz < z<m:w ~__aemo <: E. r.?m_z < z<m_._w
15 §§ <u wmo_. z<m m>< uz_>m_ § zw.*r ._._. <wz:mzm < _zE. .h<>ox z mz<_n
33 §§ <w _s<mmzzmz >___z am._. zaomz__s 25 zoomm:o >zz<n
E@N 335 .G >~_:mz.§om am z>>ohw._Emv_ §§ zm.F .:. zE.mEn__z x <_z_um_> m_. zo._.m._on_: m z:o_.
§§ 33|¢_ l__ m_mmoz am z>>ot_.u:q z comm zm:. .:. zm~z<E mm:<_. zw~z<m“_ z<o=
35 Sm% .__ zo_m._< 5 z_§_ m § mz_._._ou n z>.=m<z
33 v;m~ 25 zo_.mm._m<ru mn m._<>noo§ n § ._wwo> m >m<s_
25 3~3 N< _.mmm.__m zoz& _s E.: zm._:_._. E.zmmv_ x.:n:_. ~_.zmmz __ azoz><m
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23 953 ou mun_m .Ew:_s 5 xm<o o ;...,.. >m._:<uuz no_. >m.__._<uu: o §§
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nme 263 I._l__ ou<o_:u zm._w .Emzo“_ z 23 zm:::. Qn_<o._mn u zmmz:<s_ on<u._mn < ._w<m<m
zEr .:.
§§ l__ ou<o_:u mz_<._n. mjmm z 33 z<m<x zo_E.<n_ + z<m<: nzo:><m z<m<_._ z_._o_.
23 ...NB~ Q,_I_ msz uz_mmmm=.§ sz:m § wz<_._._=s m _._.:H_Ew
32 52 § ns_ mz_mn_oo>> anu ooo>>m.toom §§ nzozmm m §§
§§ ms m < _ zo_.<o .m_ am <mo§_<_. 5 <a<: x z>,_.m<:u
33 3m v _._0_ z<>mm m._um_u n._m_mmmm_n m zw._, t. v_u_.m_xm _._ mz_._om<o v_u_._l#_o .. >zo:.E<
l$mm ~e. _. §_ §o> zE.wz_wzmx v ~ m.FSz :_.F

 

 

 

 

 

